EXHIBIT C
                                                              EXECUTION VERSION

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                REVOLVING CREDIT AND TERM LOAN AGREEMENT

                            dated as of September 4, 2014



                                       among



                      MILLENNIUM ENTERTAINMENT, LLC

                                    as Borrower



                THE LENDERS FROM TIME TO TIME PARTY HERETO



                                        and



                                SUNTRUST BANK

                               as Administrative Agent



                     SUNTRUST ROBINSON HUMPHREY, INC.

                      as Sole Lead Arranger and Sole Bookrunner




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                REVOLVING CREDIT AND TERM LOAN AGREEMENT

       THIS REVOLVING CREDIT AND TERM LOAN AGREEMENT (this
“Agreement”) is made and entered into as of September 4, 2014, by and among MILLENNIUM
ENTERTAINMENT, LLC, a Delaware limited liability company (the “Borrower”), the several
banks and other financial institutions and lenders from time to time party hereto (the “Lenders”),
and SUNTRUST BANK, in its capacity as administrative agent for the Lenders (the
“Administrative Agent”).

                                     W I T N E S S E T H:

        WHEREAS, the Borrower has requested that the Lenders (a) establish a $20,000,000
revolving credit facility in favor of, and (b) make term loans in an aggregate principal amount
equal to $20,000,000 to, the Borrower;

       WHEREAS, subject to the terms and conditions of this Agreement, the Lenders, to the
extent of their respective Commitments as defined herein, are willing severally to establish the
requested revolving credit facility in favor of, and severally to make the term loans to, the
Borrower;

       NOW, THEREFORE, in consideration of the premises and the mutual covenants herein
contained, the Borrower, the Lenders and the Administrative Agent agree as follows:

                                          ARTICLE I

                             DEFINITIONS; CONSTRUCTION

       Section 1.1 Definitions. In addition to the other terms defined herein, the following
terms used herein shall have the meanings herein specified (to be equally applicable to both the
singular and plural forms of the terms defined):

         “Acceptable L/C” shall mean an irrevocable standby letter of credit which: (a) names the
Administrative Agent (or a third party Licensing Intermediary, as applicable) as the sole
beneficiary thereunder, (if the beneficiary thereunder is a third party Licensing Intermediary) is
advised through the Administrative Agent, and otherwise is in form, amount and on terms
reasonably acceptable to the Administrative Agent; (b) is payable in Dollars at an office of a
Non-Defaulting Lender or another issuing or confirming bank which is acceptable to the
Administrative Agent in its sole discretion; (c) is issued or confirmed by any Person that, on the
date of issuance or confirmation of such letter of credit, is a Non-Defaulting Lender and is a bank
which the Administrative Agent, in its good-faith discretion, determines to be of acceptable
credit quality; and (d) has an expiry date which is no later than the Maturity Date.

        “Acceptable Obligor” shall mean any third Person that (i) has been granted exploitation
rights in an Item of Product by a Loan Party (or by an Approved Sales Agent on behalf of a Loan
Party, or by a Licensing Intermediary) and (ii) is either a Primary Major Acceptable Obligor, a
Major Acceptable Obligor, a Non-Major Acceptable Obligor, a Minor Acceptable Obligor, or
such other Person or Affiliated Group that is acceptable to the Administrative Agent in its
reasonable discretion.


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          “Additional Lender” shall have the meaning set forth in Section 2.21.

         “Adjusted LIBO Rate” means, with respect to each Interest Period for a Eurodollar Loan, (i) the
rate per annum equal to the London interbank offered rate for deposits in Dollars appearing on Reuters
screen page LIBOR 01 (or on any successor or substitute page of such service or any successor to such
service, or such other commercially available source providing such quotations as may be designated by
the Administrative Agent from time to time) at approximately 11:00 a.m. (London time) two (2) Business
Days prior to the first day of such Interest Period, with a maturity comparable to such Interest Period,
divided by (ii) a percentage equal to 100% minus the then stated maximum rate of all reserve
requirements (including any marginal, emergency, supplemental, special or other reserves and without
benefit of credits for proration, exceptions or offsets that may be available from time to time) applicable
to any member bank of the Federal Reserve System in respect of Eurocurrency liabilities as defined in
Regulation D (or any successor category of liabilities under Regulation D); provided, that if the rate
referred to in clause (i) above is not available at any such time for any reason, then the rate referred to in
clause (i) shall instead be the interest rate per annum, as determined by the Administrative Agent, to be
the arithmetic average of the rates per annum at which deposits in Dollars in an amount equal to the
amount of such Eurodollar Loan are offered by major banks in the London interbank market to the
Administrative Agent at approximately 11:00 a.m. (London time), two (2) Business Days prior to the first
day of such Interest Period.

          “Administrative Agent” shall have the meaning set forth in the introductory paragraph
hereof.

       “Administrative Questionnaire” shall mean, with respect to each Lender, an
administrative questionnaire in the form provided by the Administrative Agent and submitted to
the Administrative Agent duly completed by such Lender.

        “Affiliate” shall mean, as to any Person, any other Person that directly, or indirectly
through one or more intermediaries, Controls, is Controlled by, or is under common Control
with, such Person. For the purposes of this definition, “Control” shall mean the power, directly
or indirectly, either to (i) vote 5% or more of the securities having ordinary voting power for the
election of directors (or persons performing similar functions) of a Person or (ii) direct or cause
the direction of the management and policies of a Person, whether through the ability to exercise
voting power, by control or otherwise. The terms “Controlled by” and “under common Control
with” have the meanings correlative thereto.

       “Affiliated Group” shall mean a group of Persons, each of which is an Affiliate (other
than by reason of having common directors or officers) of some other Person in the group.

        “Aggregate Revolving Commitment Amount” shall mean, as of any date of
determination, the aggregate principal amount of the Aggregate Revolving Commitments as of
such date.

     “Aggregate Revolving Commitments” shall mean, collectively, all Revolving
Commitments of all Lenders at any time outstanding.

       “Allocated Overhead Expenses” shall mean the actual costs for overhead and certain
services (such as sales, human resources, accounting, legal and treasury functions) furnished to
or on behalf of any Loan Party by the Borrower; provided that Allocated Overhead Expenses (a)

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may not be billed more frequently than quarterly and then only in arrears, (b) may not include
any mark-up and (c) may not be billed to any Loan Party before having been incurred by the
Borrower.

        “Allowable Amount” shall mean, with respect to any Acceptable Obligor, such amount as
specified on Annex A hereto as the maximum aggregate exposure for such Acceptable Obligor
(as any such amount may be modified from time to time in accordance with Section 2.25).

      “Anti-Terrorism Order” shall mean Executive Order 13224, signed by President George
W. Bush on September 24, 2001.

       “Applicable Lending Office” shall mean, for each Lender and for each Type of Loan, the
“Lending Office” of such Lender (or an Affiliate of such Lender) designated for such Type of
Loan in the Administrative Questionnaire submitted by such Lender or such other office of such
Lender (or such Affiliate of such Lender) as such Lender may from time to time specify to the
Administrative Agent and the Borrower as the office by which its Loans of such Type are to be
made and maintained.

        “Applicable Margin” shall mean, in the case of Base Rate Loans, 3% per annum, and in
the case of Eurodollar Loans, 4% per annum.

       “Approved Fund” shall mean any Person (other than a natural Person) that is (or will be)
engaged in making, purchasing, holding or otherwise investing in commercial loans and similar
extensions of credit in the ordinary course of its business and that is administered or managed by
(i) a Lender, (ii) an Affiliate of a Lender or (iii) an entity or an Affiliate of an entity that
administers or manages a Lender.

        “Approved Sales Agent” shall mean (i) such Person(s) as may be acceptable to the
Administrative Agent in its reasonable discretion for a particular type of Item of Product (it being
understood that the Administrative Agent may approve an entity as an Approved Sales Agent for
a particular type of Item of Product (only)) and (ii) those Person(s) specified on Annex C hereto;
provided, however, that the Administrative Agent from time to time may (or shall, if so
instructed by the Required Lenders) by written notice to the Borrower remove any such Person
as an Approved Sales Agent as the Administrative Agent (or the Required Lenders, as the case
may be), acting in good faith, may in its (or their) discretion deem appropriate (which notice
shall be prospective only, i.e., such removal shall not be given effect in the context of any Item of
Product for which the Loan Parties have already received credit under the Borrowing Base, but
such removal shall nevertheless be effective for all other purposes under the Loan Documents
immediately upon the Borrower’s receipt of such notice).

        “Approved Valuation Expert” shall mean any of the following: FTI Consulting, LEK
Consulting, Salem Partners LLC or such other independent consultant with experience in film
library valuations as may be approved by the Administrative Agent, each of whom shall be
jointly retained by the Borrower and the Administrative Agent at the sole cost and expense of the
Borrower; provided, however, that the engagement letter with the Approved Valuation Expert
shall expressly authorize the Approved Valuation Expert to have direct discussions with the
Administrative Agent and, subject to the Administrative Agent’s execution of an access


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agreement in form and substance acceptable to the Approved Valuation Expert and the
Administrative Agent, to provide Library Valuation Reports and other information from time to
time; provided, further, that the Administrative Agent may (or shall, if so instructed by the
Required Lenders) by written notice to the Borrower remove any such Person as an Approved
Valuation Expert as the Administrative Agent (or the Required Lenders, as the case may be),
acting in good faith, may in its (or their) discretion deem appropriate (which notice shall be
prospective only, i.e., such removal shall not be given effect in the context of any Item of Product
for which the Loan Parties have already received credit under the Borrowing Base, but such
removal shall nevertheless be effective for all other purposes under the Loan Documents
immediately upon the Borrower’s receipt of such notice).

       “Assignment and Acceptance” shall mean an assignment and acceptance entered into by a
Lender and an assignee (with the consent of any party whose consent is required by Section
10.4(b)) and accepted by the Administrative Agent, in the form of Exhibit A attached hereto or
any other form approved by the Administrative Agent.

      “Availability Period” shall mean the period from the Closing Date to but excluding the
Revolving Commitment Termination Date.

       “Bank Product Obligations” shall mean, collectively, all obligations and other liabilities
of any Loan Party to any Bank Product Provider arising with respect to any Bank Products.

        “Bank Product Provider” shall mean any Person that, at the time it provides any Bank
Product to any Loan Party, (i) is a Lender or an Affiliate of a Lender and (ii) except when the
Bank Product Provider is SunTrust Bank and its Affiliates, has provided prior written notice to
the Administrative Agent which has been acknowledged by the Borrower of (x) the existence of
such Bank Product, (y) the maximum dollar amount of obligations arising thereunder (the “Bank
Product Amount”) and (z) the methodology to be used by such parties in determining the
obligations under such Bank Product from time to time. In no event shall any Bank Product
Provider acting in such capacity be deemed a Lender for purposes hereof to the extent of and as
to Bank Products except that each reference to the term “Lender” in Article IX and Section
10.3(b) shall be deemed to include such Bank Product Provider and in no event shall the
approval of any such person in its capacity as Bank Product Provider be required in connection
with the release or termination of any security interest or Lien of the Administrative Agent. The
Bank Product Amount may be changed from time to time upon written notice to the
Administrative Agent by the applicable Bank Product Provider. No Bank Product Amount may
be established at any time that a Default or Event of Default exists.

       “Bank Products” shall mean any of the following services provided to any Loan Party by
any Bank Product Provider: (a) any treasury or other cash management services, including
deposit accounts, automated clearing house (ACH) origination and other funds transfer,
depository (including cash vault and check deposit), zero balance accounts and sweeps, return
items processing, controlled disbursement accounts, positive pay, lockboxes and lockbox
accounts, account reconciliation and information reporting, payables outsourcing, payroll
processing, trade finance services, investment accounts and securities accounts, and (b) card
services, including credit cards (including purchasing cards and commercial cards), prepaid


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cards, including payroll, stored value and gift cards, merchant services processing, and debit card
services.

        “Base Rate” shall mean the highest of (i) the rate which the Administrative Agent
announces from time to time as its prime lending rate, as in effect from time to time, (ii) the
Federal Funds Rate, as in effect from time to time, plus one-half of one percent (0.50%) per
annum and (iii) the Adjusted LIBO Rate determined on a daily basis for an Interest Period of one
(1) month, plus one percent (1.00%) per annum (any changes in such rates to be effective as of
the date of any change in such rate). The Administrative Agent’s prime lending rate is a
reference rate and does not necessarily represent the lowest or best rate actually charged to any
customer. The Administrative Agent may make commercial loans or other loans at rates of
interest at, above, or below the Administrative Agent’s prime lending rate.

       “Beneficial Owner” shall mean, with respect to any amount paid hereunder or under any
other Loan Document, the Person that is the beneficial owner, for U.S. federal income tax
purposes, of such payment.

        “Borrower” shall have the meaning set forth in the introductory paragraph hereof.

        “Borrowing” shall mean a borrowing consisting of Loans of the same Class and Type,
made, converted or continued on the same date and, in the case of Eurodollar Loans, as to which
a single Interest Period is in effect.

        “Borrowing Base” shall mean, at any date for which the amount thereof is to be
determined, an amount equal to the aggregate (without double counting for any receivables, prior
collections or items of cost or expense of the Loan Parties) of the following:

                (a)     100% of the Loan Parties’ unrestricted and uncommitted cash held in a
Controlled Account (other than a Collection Account) with respect to which the applicable
requirements of Section 5.13(a) are satisfied (i.e., such cash is held in a Controlled Account that
is subject to the sole dominion and control of the Administrative Agent);

                (b)   100% of Eligible Receivables secured by an Acceptable L/C, plus

             (c)    95% of Eligible Receivables from an Acceptable Obligor that is a Primary
Major Acceptable Obligor, plus

             (d)     90%% of Eligible Receivables from an Acceptable Obligor that is a Major
Acceptable Obligor, plus

             (e)    80% of Eligible Receivables from an Acceptable Obligor that is a Non-
Major Acceptable Obligor, plus

                (f)   80% of U.S. Theatrical Rentals; plus

             (g)     50% of Eligible Receivables from an Acceptable Obligor that is a Minor
Acceptable Obligor, plus


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                (h)    the Library Credit; minus

                (i)    the Netflix Release Reserve; minus

               (j)      to the extent not already deducted or excluded in computing the foregoing,
and without duplication of any deductions contained within any of the foregoing components of
the Borrowing Base, the aggregate Dollar amount of any payments which a Loan Party is
required to pay to any third Person in respect of any receivable or other amount contained within
any of the foregoing components of the Borrowing Base (e.g., royalties, residuals, participations,
fees, commissions) and any other projected expenses required to be paid to a third Person, in
each case, as a direct result of the receipt by the Loan Parties of the applicable receivable arising
in connection with such amounts (in the case of amounts which are not due and payable within
two (2) years following the date of determination, such amounts shall be discounted to present
value on a quarterly basis by a rate of interest equal to the interest rate in effect on the date of
computation with respect to Revolving Loans that are Eurodollar Loans);

provided, however, that:

                      (i)    credit may not be included in the Borrowing Base for any
        Incomplete Items of Product;

                       (ii)   credit may not be obtained for any items in the Borrowing Base
        which are in the aggregate (together with any the aggregate amount of any Borrowing
        Base credit derived from any other anticipated receivables or revenue from such Person)
        due from a single Acceptable Obligor in excess of the Allowable Amount with respect to
        such Acceptable Obligor or, in the case of an Affiliated Group, in the aggregate (together
        with any Borrowing Base credit derived from any other anticipated receivables or
        revenue from any of such Persons) due from the relevant entities in such Affiliated Group
        in excess of the Allowable Amount with respect to such Affiliated Group (but in each
        case only to the extent of such excess), unless in either case such excess is supported by
        an Acceptable L/C;

                        (iii) credit may not be obtained for any item in the Borrowing Base
         except to the extent that the Administrative Agent (for the benefit of the Secured Parties)
         holds a first priority perfected security interest in the Loan Parties’ interests therein
         under the UCC and applicable law, other than with respect to Permitted Encumbrances
         of the type described in clause (i) of the definition of such term;

                        (iv)    in the event that a default shall be made by a Loan Party or a
         Licensing Intermediary under a Distribution Agreement or applicable Notice of
         Assignment or Interparty Agreement (after giving effect to any applicable cure periods
         thereunder), which, in the determination of the Administrative Agent, results in a
         substantial adverse effect on the timely collectability of the applicable accounts
         receivable, credit for the applicable accounts receivable may be removed from or
         reduced in the Borrowing Base, as determined by the Administrative Agent and
         promptly notified to the Borrower in writing;



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                        (v)    no Library Credit may be taken for any Library Title if the
         Borrower has failed to timely deliver a Library Valuation Report (together with all
         supporting calculations), as and when required under this Agreement; and

                         (vi)    in the event that unsold rights with respect to any of the Library
         Titles are sold to a Distributor for an amount in excess of $2,500,000 and intended to be
         included in the Borrowing Base as Eligible Receivables, then the Administrative Agent
         may, in its sole discretion, cause the Borrower to provide a new Library Valuation
         Report reflecting an adjustment for such unsold rights within ten (10) Business Days and
         the Library Valuation Amount (and the Library Credit) shall be recalculated
         accordingly.

        “Borrowing Base Certificate” means a certificate substantially in the form of Exhibit B,
including all annexes, exhibits, schedules and attachments thereto.

        “Business Day” shall mean any day other than (i) a Saturday, Sunday or other day on
which commercial banks in Atlanta, Georgia or Los Angeles, California are authorized or
required by law to close and (ii) if such day relates to a Borrowing of, a payment or prepayment
of principal or interest on, a conversion of or into, or an Interest Period for, a Eurodollar Loan or
a notice with respect to any of the foregoing, any day on which banks are not open for dealings
in Dollar deposits in the London interbank market.

       “Capital Expenditures” shall mean, for any period, without duplication, (i) the additions
to property, plant and equipment and other capital expenditures of the Borrower and its
Subsidiaries that are (or would be) set forth on a consolidated statement of cash flows of the
Borrower for such period prepared in accordance with GAAP and (ii) Capital Lease Obligations
incurred by the Borrower and its Subsidiaries during such period. For the avoidance of doubt,
Capital Expenditures shall exclude the amount that the Loan Parties have advanced for fully paid
Rights Acquisition Costs.

        “Capital Lease Obligations” of any Person shall mean all obligations of such Person to
pay rent or other amounts under any lease (or other arrangement conveying the right to use) of
real or personal property, or a combination thereof, which obligations are required to be
classified and accounted for as capital leases on a balance sheet of such Person under GAAP, and
the amount of such obligations shall be the capitalized amount thereof determined in accordance
with GAAP.

        “Capital Stock” shall mean all shares, options, warrants, general or limited partnership
interests, membership interests or other equivalents (regardless of how designated) of or in a
corporation, partnership, limited liability company or equivalent entity whether voting or
nonvoting, including common stock, preferred stock or any other “equity security” (as such term
is defined in Rule 3a11-1 of the General Rules and Regulations promulgated by the Securities
and Exchange Commission under the Exchange Act).

        “Change in Control” shall mean that (i) Holdco ceases to own and control, directly or
indirectly, beneficially and of record, at least 51% of the outstanding shares of the voting equity
interests of the Borrower and/or (ii) Sponsor ceases to be the general partner of Holdco and


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Virgo Societas Partnership (Onshore) III, LP and Virgo Societas Partnership (Offshore) III, LP
(or one or more Affiliates thereof) cease to collectively own and control, directly or indirectly,
beneficially and of record at least 51% of the outstanding shares of the limited partnership
interests of Holdco. For purposes of this definition, a Person shall be deemed to be “controlled
by” another Person if such latter Person possesses, directly or indirectly, the power to direct or
cause the direction of the management and policies of such controlled Person whether by
contract or otherwise.

        “Change in Law” shall mean (i) the adoption of any applicable law, rule or regulation
after the date of this Agreement, (ii) any change in any applicable law, rule or regulation, or any
change in the interpretation, implementation or application thereof, by any Governmental
Authority after the date of this Agreement, or (iii) compliance by any Lender (or its Applicable
Lending Office) (or, for purposes of Section 2.17(b), by the Parent Company of such Lender, if
applicable) with any request, guideline or directive (whether or not having the force of law) of
any Governmental Authority made or issued after the date of this Agreement; provided that for
purposes of this Agreement, (x) the Dodd-Frank Wall Street Reform and Consumer Protection
Act and all requests, rules, guidelines or directives in connection therewith and (y) all requests,
rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel
Committee on Banking Supervision (or any successor or similar authority) or the United States
or foreign regulatory authorities, in each case pursuant to Basel III, shall in each case be deemed
to be a “Change in Law”, regardless of the date enacted, adopted or issued (and the
Administrative Agent shall give the Borrower similar treatment in connection therewith as it
gives other borrowers).

        “Change in Management” shall mean (i) Bill Lee shall cease for any reason, including,
without limitation, termination of employment, death or disability, to serve as the chief executive
officer of the Borrower or to substantially perform the functions and services currently being
performed by such individual and (ii) John Avagliano shall cease for any reason, including,
without limitation, termination of employment, death or disability, to serve as the chief financial
officer of the Borrower or to substantially perform the functions and services currently being
performed by such individual, and that a replacement of such individuals reasonably acceptable
to the Administrative Agent has not been retained within a period of ninety (90) days following
the last day that such individuals shall have ceased to serve in such capacities or to perform such
functions and services as aforesaid.

        “Class”, when used in reference to any Loan or Borrowing, refers to whether such Loan,
or the Loans comprising such Borrowing, are Revolving Loans or Term Loans and when used in
reference to any Commitment, refers to whether such Commitment is a Revolving Commitment
or a Term Loan Commitment.

        “Closing Date” shall mean the date on which the applicable conditions precedent set forth
in Article III have been satisfied or waived in accordance with Section 10.2.

        “Code” shall mean the Internal Revenue Code of 1986, as amended and in effect from
time to time.




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         “Collateral” shall mean (a) all tangible and intangible property, real and personal, of any
Loan Party that is or purports to be the subject of a Lien to the Administrative Agent to secure
the whole or any part of the Obligations or any Guarantee thereof, and shall include, without
limitation, all casualty insurance proceeds and condemnation awards with respect to any of the
foregoing and (b) 100% of the issued and outstanding capital stock, partnership interests,
membership interests, beneficial interests or other equity interests of or in each of the Loan
Parties, whether now formed or formed hereafter and whether now owned or hereafter acquired.

        “Collateral Access Agreement” shall mean each landlord waiver or bailee agreement
granted to, and in form and substance reasonably acceptable to, the Administrative Agent, as the
same may be amended, supplemented or otherwise modified, renewed, restated or replaced from
time to time.

        “Collateral Documents” shall mean, collectively, the Guaranty and Security Agreement,
the Pledge Agreement, the Control Account Agreements, the Perfection Certificate, the
Copyright Security Agreement, all Copyright Security Agreement Supplements, all Trademark
Security Agreements, all Collateral Access Agreements, all Laboratory Access Letters, all
Laboratory Pledgeholder Agreements, all Licensing Intermediary Security Agreements and all
other instruments and agreements now or hereafter in existence from time to time that create or
purport to create a Lien in favor of the Administrative Agent (for the benefit of the Secured
Parties) in connection with the transactions contemplated by the Loan Documents, or that secure
or perfect the Liens securing the whole or any part of the Obligations or any Guarantee thereof,
all UCC financing statements, fixture filings and stock powers, and all other documents,
instruments, agreements and certificates executed and delivered by any Loan Party to the
Administrative Agent and/or the Lenders in connection with any of the foregoing, as any of the
same may be amended, supplemented or otherwise modified, renewed, restated or replaced from
time to time.

        “Collection Account” shall mean a Controlled Account located at SunTrust Bank which
shall serve as a collection account for the receipt of proceeds of Collateral.

       “Commitment” shall mean a Revolving Commitment or a Term Loan Commitment or
any combination thereof (as the context shall permit or require).

        “Commitment Fees” shall have the meaning given to such term in Section 2.13(b).

        “Commodity Exchange Act” shall mean the Commodity Exchange Act (7 U.S.C. § 1 et
seq.), as amended and in effect from time to time, and any successor statute.

         “Complete” shall mean, with respect to any Item of Product, that (a) either (i) sufficient
Physical Materials and other elements thereof have been delivered to the applicable Loan Party
to permit such Loan Party to exhibit such Item of Product in the theatrical, television or other
medium for which the Picture is intended for exploitation, or (ii) the applicable Loan Party has
delivered to the Administrative Agent a Laboratory Access Letter or Laboratory Pledgeholder
Agreement, and such letter or agreement reflects that the Physical Materials described in clause
“(i)” are then on deposit at the subject laboratory and that under such letter or agreement the
applicable Loan Party has access to or control of (as applicable) a complete final 35mm or 70mm


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(or other size which has become standard in the industry) composite positive print, video master
or other equivalent master copy of such Item of Product as finally cut, main and end titled,
edited, scored and assembled, with sound track printed thereon in perfect synchronization with
the photographic action and/or animation and fit and ready for exhibition and distribution or
broadcast in the medium for which such Item of Product is intended for exploitation then on
deposit in an independent laboratory that is a party to such agreement, and (b) the entire Rights
Acquisition Cost required to be paid by a Loan Party in order for such Loan Party to acquire the
distribution or exploitation rights in and to the subject Item or Product specified in the Rights
Acquisition Agreement pursuant to which, among other things, a Loan Party acquires distribution
rights in and to such Item of Product from a third Person shall have been paid and there is no
condition or event, the occurrence of which might result in the applicable Loan Party losing any
of its rights in such Item of Product.

        “Compliance Certificate” shall mean a certificate from the principal executive officer or
the principal financial officer of the Borrower in the form of, and containing the certifications set
forth in, the certificate attached hereto as Exhibit 5.1(c).

       “Consolidated Net Income” shall mean, as of any date of determination, the consolidated
net income (or loss) of the Borrower and its consolidated Subsidiaries, determined on a
combined basis in accordance with GAAP.

       “Contractual Obligation” of any Person shall mean any provision of any security issued
by such Person or of any agreement, instrument or undertaking under which such Person is
obligated or by which it or any of the property in which it has an interest is bound.

        “Control Account Agreement” shall mean any agreement by and among, inter alia, a
Loan Party, the Administrative Agent and a depositary bank or securities intermediary at which
such Loan Party maintains a Controlled Account, in each case in form and substance satisfactory
to the Administrative Agent, as the same may be amended, supplemented or otherwise modified,
renewed, restated or replaced from time to time.

        “Controlled Account” shall have the meaning set forth in Section 5.13(a).

      “Copyright” shall have the meaning assigned to such term in the Guaranty and Security
Agreement.

       “Copyright Security Agreement” shall mean a Copyright Security Agreement,
substantially in the form of Exhibit C-1 hereto, as the same may be amended, supplemented or
otherwise modified, renewed, restated or replaced from time to time by delivery of a Copyright
Security Agreement Supplement or otherwise.

      “Copyright Security Agreement Supplement” shall mean a Copyright Security Agreement
Supplement, substantially in the form of Exhibit C-2 hereto.

       “Debtor Relief Laws” means the Bankruptcy Code of the United States of America, and
all other liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors,
moratorium, rearrangement, receivership, insolvency, reorganization, or similar debtor relief
Laws of the United States or other applicable jurisdictions from time to time in effect.

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        “Default” shall mean any condition or event that, with the giving of notice or the lapse of
time or both, would constitute an Event of Default.

        “Default Interest” shall have the meaning set forth in Section 2.12(c).

        “Defaulting Lender” shall mean, subject to Section 2.24(c), any Lender that (a) has
failed to (i) fund all or any portion of its Loans within two (2) Business Days of the date such
Loans were required to be funded hereunder unless such Lender notifies the Administrative
Agent and the Borrower in writing that such failure is the result of such Lender’s determination
that one or more conditions precedent to funding (each of which conditions precedent, together
with any applicable default, shall be specifically identified in such writing) has not been
satisfied, or (ii) pay to the Administrative Agent or any Lender any other amount required to be
paid by it hereunder within two (2) Business Days of the date when due, (b) has notified the
Borrower, the Administrative Agent in writing that it does not intend to comply with its funding
obligations hereunder, or has made a public statement to that effect (unless such writing or public
statement relates to such Lender’s obligation to fund a Loan hereunder and states that such
position is based on such Lender’s determination that a condition precedent to funding (which
condition precedent, together with any applicable default, shall be specifically identified in such
writing or public statement) cannot be satisfied), (c) has failed, within three (3) Business Days
after written request by the Administrative Agent or the Borrower, to confirm in writing to the
Administrative Agent and the Borrower that it will comply with its prospective funding
obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender pursuant
to this clause (c) upon receipt of such written confirmation by the Administrative Agent and the
Borrower), or (d) has, or has a direct or indirect parent company that has, (i) become the subject
of a proceeding under any Debtor Relief Law, or (ii) had appointed for it a receiver, custodian,
conservator, trustee, administrator, assignee for the benefit of creditors or similar Person charged
with reorganization or liquidation of its business or assets, including the Federal Deposit
Insurance Corporation or any other state or federal regulatory authority acting in such a capacity;
provided that a Lender shall not be a Defaulting Lender solely by virtue of the ownership or
acquisition of any equity interest in that Lender or any direct or indirect parent company thereof
by a Governmental Authority so long as such ownership interest does not result in or provide
such Lender with immunity from the jurisdiction of courts within the United States or from the
enforcement of judgments or writs of attachment on its assets or permit such Lender (or such
Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements
made with such Lender. Any determination by the Administrative Agent that a Lender is a
Defaulting Lender under clauses (a) through (d) above shall be conclusive and binding absent
manifest error, and such Lender shall be deemed to be a Defaulting Lender (subject to Section
2.24(b)) upon delivery of written notice of such determination to the Borrower and each Lender.

       “Disposition” shall mean any transaction, or series of related transactions, pursuant to
which any Loan Party or any of its Subsidiaries sells, assigns, transfers or otherwise disposes of
any property or assets (whether now owned or hereafter acquired) to any Person (other than a
Loan Party), in each case, whether or not the consideration therefor consists of cash, securities or
other assets owned by the acquiring Person, excluding licenses of distribution rights in Items of
Product entered into in the ordinary course of business of the parties to such transaction and on
ordinary business terms.


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        “Distribution Agreement” shall collectively mean (i) any distribution, license or similar
agreement (whether in long form, a deal memo or a purchase order) heretofore or hereafter
entered into by a Loan Party (or by a sales agent on behalf of a Loan Party, or by a Licensing
Intermediary) with a Distributor with respect to the distribution, sub-distribution, broadcasting,
streaming, lease, sublease, transfer, revenue share or other exploitation of one or more Items of
Product in the applicable territory in the applicable media described therein, and (ii) any written
agreement heretofore or hereafter entered into by a Loan Party, as licensor, and a Distributor, as
theatrical exhibitor, with respect to the theatrical rental or sale of one or more Items of Product in
the United States, as the same may be amended, supplemented or otherwise modified, renewed,
restated or replaced from time to time subject to the terms hereof and of any corresponding
Notice of Assignment or Interparty Agreement.

       “Distributor” shall mean any entity which any Loan Party (or a sales agent on behalf of a
Loan Party, or a Licensing Intermediary) engages to distribute, broadcast, stream, exhibit or
otherwise exploit any Item of Product in any medium or territory.

        “Dollar(s)” and the sign “$” shall mean lawful money of the United States.

        “Domestic Subsidiary” shall mean each Subsidiary of the Borrower that is organized
under the laws of the United States or any state or district thereof.

        “Domestic Territory” means the United States and Canada.

        “EBITDA” means, for any applicable period for which such amount is being determined,
the sum of: (a) Consolidated Net Income for such period, (b) the interest expense that decreased
Consolidated Net Income for such period, (c) the amount of all amortization of intangible assets
(other than the amortization of Rights Acquisition Costs) for such period deducted in arriving at
Consolidated Net Income, (d) the amount of all depreciation expense for such period deducted in
arriving at such Consolidated Net Income, (e) the amount of all taxes for such period deducted
(if any) in arriving at such Consolidated Net Income, (f) the amount of ultimate participations not
payable during such period but deducted in arriving at such Consolidated Net Income, and (g)
the amount of any non-recurring charges, expenses or losses for such period deducted in arriving
at such Consolidated Net Income.

         “Eligible Receivables” shall mean, at any date at which the amount thereof is to be
determined, an amount equal to the sum of the following (discounted to present value on a
quarterly basis, in the case of amounts which are not due and payable within two (2) years
following the date of determination, by a rate of interest equal to the interest rate in effect on the
date of computation with respect to Revolving Loans that are Eurodollar Loans): (x) all net
amounts which pursuant to a Distribution Agreement are contractually obligated to be paid to a
Loan Party (either directly, or indirectly through a Licensing Intermediary) with respect to an
Item of Product either unconditionally or subject only to the passage of time or customary
delivery requirements, and which are reasonably expected by the Borrower to be payable and
collected from an Acceptable Obligor (which net amounts, for the avoidance of doubt, shall
include Netflix MGs) or are supported by an Acceptable L/C, cash deposit or other form of credit
support acceptable to the Administrative Agent minus (y) the sum, without double-counting, of
(i) the following items (based on the Borrower’s then best estimates): royalties, third party profit

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participations, residuals, collection/distribution expenses, home video fulfillment costs, fees,
commissions, participations and other payments to third Persons (including any applicable sales
agents and Licensing Intermediaries), collection/distribution expenses, fulfillment costs, Taxes
(including foreign withholding, remittance and similar Taxes) chargeable in respect of such
accounts receivable, and any other projected expenses of a Loan Party arising in connection with
such amounts required to be paid to third Persons (including any sales agents and Licensing
Intermediaries) as a direct result of such receivable and any other projected expenses of a Loan
Party arising in connection with such amounts, (ii) reserves for participations and residuals in the
amount of five percent (5%) of such net amount referred to in clause (x) above, (iii) to the extent
that an Acceptable Obligor is subject to returns of Item of Product, additional reserves in the
amount of thirty-five percent (35%) of such net amount referred to in clause (x) above, and (iv)
the outstanding amount of unrecouped advances made by a Distributor or a sales agent in respect
of such accounts receivable to the extent reasonably expected to have to be repaid by a Loan
Party, as applicable; provided, that Eligible Receivables shall not include amounts:

               (a)    which are in the aggregate (together with any the aggregate amount of any
Borrowing Base credit derived from any other anticipated receivables or revenue from such
Person) due from a single Acceptable Obligor in excess of the Allowable Amount with respect to
such Acceptable Obligor or, in the case of an Affiliated Group, in the aggregate (together with
the aggregate amount of any Borrowing Base credit derived from any other anticipated
receivables or revenue from any of such Persons) due from the relevant entities in such Affiliated
Group in excess of the Allowable Amount with respect to such Affiliated Group (but in each
case only to the extent of such excess), unless in either case such excess is supported by an
Acceptable L/C;

               (b)     which, in the sole judgment of the Administrative Agent, are subject to
material conditions precedent to payment (including a material performance obligation or a
material executory aspect on the part of a Loan Party or any other party or obligations contingent
upon future events not within the relevant Loan Party’s direct control within the ordinary course
of business including any condition relating to any Item of Product being released in any manner
in the Domestic Territory; provided, however, (A) the theatrical release condition set forth in any
Netflix Distribution Agreement shall not, for that reason, disqualify such receivable from being
an Eligible Receivable for any Qualifying Picture under the Netflix Distribution Agreement so
long as the Netflix Release Reserve is reserved from the Borrowing Base for the payment of
prints and advertising costs and theatrical releasing costs in connection with the initial theatrical
release of such Qualifying Picture in the Domestic Territory);

               (c)     which are to be paid in a currency other than Dollars unless such
receivables are contractually hedged in a manner satisfactory to the Administrative Agent;

                (d)    to the extent included in a Loan Party’s estimated bad debts;

                (e)    which are either (i) more than one hundred twenty (120) past due or (ii)
due from any Acceptable Obligor which has 10% or more of the total receivable amount from
such Acceptable Obligor one hundred twenty (120) or more days past due (exclusive of amounts
that are being disputed or contested in good faith);


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               (f)     for which there is a bona fide request for a material credit, adjustment,
compromise, offset, counterclaim or dispute; provided, however, that only the amount in
question shall be excluded from such receivable;

              (g)    which arise from a Distribution Agreement which contractually permits
the Acceptable Obligor for such receivable to exercise a right of offset or recoupment for any
amount payable to or advanced by such Acceptable Obligor under such Distribution Agreement,
against any amount payable with respect to such receivable; provided, that only the maximum
amount which such Acceptable Obligor may offset or recoup shall be excluded as an “Eligible
Receivable”;

              (h)     which are attributable to an Item of Product or right in which a Loan Party
cannot warrant sufficient title to the underlying rights to justify such receivable;

               (i)     to the extent that the Administrative Agent (for the benefit of the Secured
Parties) does not have a first priority perfected security interest in the Loan Parties’ interests
therein under the UCC and applicable law, other than with respect to Permitted Encumbrances of
the type described in clause (i) of the definition of such term;

                (j)    which are determined by the Administrative Agent in its reasonable
discretion, acting in good faith, to be unlikely to be collectible on a timely basis, upon notice
from the Administrative Agent to the Borrower (which may be delivered telephonically) and
effective ten (10) days subsequent to the Borrower’s receipt of such notice (it being understood
that any such receivables may be made Eligible Receivables if secured by an Acceptable L/C,
cash deposit or other form of credit support acceptable to the Administrative Agent);

               (k)     which are payable under a Distribution Agreement in respect of which a
fully-executed Notice of Assignment (or an Interparty Agreement) has not been delivered to the
Administrative Agent; provided that, the failure to have delivered a fully-executed Notice of
Assignment (or an Interparty Agreement) shall not preclude the respective amount from
qualifying as an Eligible Receivable until 45 days after the Closing Date;

               (l)    the payment of which is to be through a Licensing Intermediary, unless the
terms of Section 5.17(d) have been satisfied with respect to such Licensing Intermediary;

               (m)     which relate to an Item of Product as to which the Administrative Agent
has not received a fully executed Laboratory Access Letter or a Laboratory Pledgeholder
Agreement (as the case may be) for the laboratory holding an original completed set of first
generation Physical Materials (or, in the case of digital Physical Materials, a completed set of
digital Physical Materials) for such Item of Product;

               (n)    which will be subject to reduction or repayment to the extent not earned
by performance other than delivery by a Loan Party to such Acceptable Obligor in the ordinary
course of business; provided, however, that only the amount subject to reduction or repayment
shall be excluded from such receivable;

              (o)    which do not become due and payable prior to the date which is twelve
(12) months following the Maturity Date; or

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                (p)    which are determined by the Administrative Agent in its reasonable
discretion, acting in good faith, upon notice from the Administrative Agent to the Borrower
(which may be delivered telephonically), to be unacceptable.

        “Engagement Letter” shall mean that certain Engagement Letter dated as of July 24,
2014, executed by the Sole Lead Arranger and accepted by Virgo and assumed by the Borrower
pursuant to Section 10.17, as the same may be further amended, supplemented or otherwise
modified, renewed, restated or replaced from time to time subject to the terms hereof.

       “Environmental Indemnity” shall mean each environmental indemnity made by each
Loan Party with Real Estate required to be pledged as Collateral in favor of the Administrative
Agent for the benefit of the Secured Parties, in each case in form and substance satisfactory to
the Administrative Agent.

        “Environmental Laws” shall mean all laws, rules, regulations, codes, ordinances, orders,
decrees, judgments, injunctions, notices or binding agreements issued, promulgated or entered
into by or with any Governmental Authority relating in any way to the environment, preservation
or reclamation of natural resources, the management, Release or threatened Release of any
Hazardous Material or to health and safety matters.

       “Environmental Liability” shall mean any liability, contingent or otherwise (including
any liability for damages, costs of environmental investigation and remediation, costs of
administrative oversight, fines, natural resource damages, penalties or indemnities), of the
Borrower or any of its Subsidiaries directly or indirectly resulting from or based upon (i) any
actual or alleged violation of any Environmental Law, (ii) the generation, use, handling,
transportation, storage, treatment or disposal of any Hazardous Materials, (iii) any actual or
alleged exposure to any Hazardous Materials, (iv) the Release or threatened Release of any
Hazardous Materials or (v) any contract, agreement or other consensual arrangement pursuant to
which liability is assumed or imposed with respect to any of the foregoing.

         “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as
amended from time to time, and any successor statute and the regulations promulgated and
rulings issued thereunder.

        “ERISA Affiliate” shall mean any person that for purposes of Title I or Title IV of ERISA
or Section 412 of the Code would be deemed at any relevant time to be a “single employer” or
otherwise aggregated with the Borrower or any of its Subsidiaries under Section 414(b), (c), (m)
or (o) of the Code or Section 4001 of ERISA.

        “ERISA Event” shall mean (i) any “reportable event” as defined in Section 4043 of
ERISA with respect to a Plan (other than an event as to which the PBGC has waived under
subsection .22, .23, .25, .27 or .28 of PBGC Regulation Section 4043 the requirement of Section
4043(a) of ERISA that it be notified of such event); (ii) any failure to make a required
contribution to any Plan that would result in the imposition of a lien or other encumbrance or the
provision of security under Section 430 of the Code or Section 303 or 4068 of ERISA, or the
arising of such a lien or encumbrance, there being or arising any “unpaid minimum required
contribution” or “accumulated funding deficiency” (as defined or otherwise set forth in Section


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4971 of the Code or Part 3 of Subtitle B of Title 1 of ERISA), whether or not waived, or any
filing of any request for or receipt of a minimum funding waiver under Section 412 of the Code
or Section 303 of ERISA with respect to any Plan or Multiemployer Plan, or that such filing may
be made, or any determination that any Plan is, or is expected to be, in at-risk status under Title
IV of ERISA; (iii) any incurrence by the Borrower, any of its Subsidiaries or any of their
respective ERISA Affiliates of any liability under Title IV of ERISA with respect to any Plan or
Multiemployer Plan (other than for premiums due and not delinquent under Section 4007 of
ERISA); (iv) any institution of proceedings, or the occurrence of an event or condition which
would reasonably be expected to constitute grounds for the institution of proceedings by the
PBGC, under Section 4042 of ERISA for the termination of, or the appointment of a trustee to
administer, any Plan; (v) any incurrence by the Borrower, any of its Subsidiaries or any of their
respective ERISA Affiliates of any liability with respect to the withdrawal or partial withdrawal
from any Plan or Multiemployer Plan, or the receipt by the Borrower, any of its Subsidiaries or
any of their respective ERISA Affiliates of any notice that a Multiemployer Plan is in endangered
or critical status under Section 305 of ERISA; (vi) any receipt by the Borrower, any of its
Subsidiaries or any of their respective ERISA Affiliates of any notice, or any receipt by any
Multiemployer Plan from the Borrower, any of its Subsidiaries or any of their respective ERISA
Affiliates of any notice, concerning the imposition of Withdrawal Liability or a determination
that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization, within the
meaning of Title IV of ERISA; (vii) engaging in a non-exempt prohibited transaction within the
meaning of Section 4975 of the Code or Section 406 of ERISA; or (viii) any filing of a notice of
intent to terminate any Plan if such termination would require material additional contributions
in order to be considered a standard termination within the meaning of Section 4041(b) of
ERISA, any filing under Section 4041(c) of ERISA of a notice of intent to terminate any Plan, or
the termination of any Plan under Section 4041(c) of ERISA.

        “Eurodollar”, when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, bears interest at a rate determined by reference
to the Adjusted LIBO Rate.

        “Event of Default” shall have the meaning set forth in Section 8.1.

        “Excess Cash Flow” shall mean, as of the end of the applicable Fiscal Year, the excess, if
any, of (a) the net sum, without duplication, of (i) the Consolidated Net Income for such Fiscal
Year, (ii) the amount of all non-cash charges deducted in arriving at such Consolidated Net
Income, (iii) decreases in working capital for such Fiscal Year, and (iv) the aggregate net amount
of non-cash losses on the sale or other disposition of property by the Loan Parties during such
Fiscal Year, to the extent deducted in arriving at such Consolidated Net Income, minus (b) the
net sum, without duplication, of (i) the amount of all non-cash credits included in arriving at such
Consolidated Net Income, (ii) the aggregate amount actually paid by the Loan Parties in cash
during such Fiscal Year on account of Capital Expenditures (excluding the principal amount of
indebtedness incurred in connection with such Capital Expenditures), (iii) the aggregate amount
of all prepayments of the Revolving Loans during such Fiscal Year to the extent accompanying
permanent optional reductions of the Revolving Commitment (to the extent permitted
hereunder), all optional prepayments of the Term Loans during such Fiscal Year (to the extent
permitted hereunder), and all amortization prepayments of Term Loan during such Fiscal Year,
(iv) the aggregate amount of all regularly scheduled principal payments of a Loan Party’s

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Indebtedness having a maturity of more than one year from the date of creation of the
Indebtedness made during such Fiscal Year (other than in respect of any Revolving Loans to the
extent there is not an equivalent permanent reduction in the Revolving Commitments), (v)
increases in working capital for such Fiscal Year, (vi) the aggregate net amount of non-cash gains
on the sale or other disposition of property by the Loan Parties during such Fiscal Year, to the
extent included in arriving at such Consolidated Net Income, and (vii) the amount that the Loan
Parties have advanced for Rights Acquisition Costs.

         “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended and in
effect from time to time.

         “Excluded Swap Obligation” shall mean, with respect to any Guarantor, any Swap
Obligation if, and to the extent that, all or a portion of the Guarantee of such Guarantor of, or the
grant by such Guarantor of a security interest to secure, such Swap Obligation (or any Guarantee
thereof) is or becomes illegal under the Commodity Exchange Act or any rule, regulation or
order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) by virtue of such Guarantor’s failure for any reason to constitute an
“eligible contract participant” as defined in the Commodity Exchange Act at the time the
Guarantee of such Guarantor becomes effective with respect to such related Swap Obligation. If
a Swap Obligation arises under a master agreement governing more than one swap, such
exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps for
which such Guarantee or security interest is or becomes illegal.

        “Excluded Taxes” shall mean any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are
Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed on
amounts payable to or for the account of such Lender with respect to an applicable interest in a
Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
such interest in the Loan or Commitment (other than pursuant to an assignment request by the
Borrower under Section 2.23 to a Lender designated by Borrower) or (ii) such Lender changes its
lending office, except in each case to the extent that, pursuant to Section 2.19, amounts with
respect to such Taxes were payable either to such Lender’s assignor immediately before such
Lender became a party hereto or to such Lender immediately before it changed its lending office,
(c) Taxes attributable to such Recipient’s failure to comply with Section 2.19 and (d) any U.S.
federal withholding Taxes imposed under FATCA.

         “Existing Credit Agreement” shall mean that certain First Amended and Restated
Revolving Credit, Security and Guaranty Agreement, dated as of March 23, 2013, by and among,
Borrower, Millennium Media Services, Inc. and Pacific Mercantile Bank, as amended, modified,
restated or supplemented from time to time.

       “Existing Lenders” shall mean all lenders party to the Existing Credit Agreement on the
Closing Date.

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        “FATCA” shall mean Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Code.

       “Federal Funds Rate” shall mean, for any day, the rate per annum (rounded upwards, if
necessary, to the next 1/100 of 1%) equal to the weighted average of the rates on overnight
Federal funds transactions with member banks of the Federal Reserve System arranged by
Federal funds brokers, as published by the Federal Reserve Bank of New York on the next
succeeding Business Day or, if such rate is not so published for any Business Day, the Federal
Funds Rate for such day shall be the average (rounded upwards, if necessary, to the next 1/100 of
1%) of the quotations for such day on such transactions received by the Administrative Agent
from three Federal funds brokers of recognized standing selected by the Administrative Agent.

        “Fee Letter” shall mean that certain Fee Letter dated as of July 24, 2014, executed by the
Sole Lead Arranger and accepted by Virgo and assumed by the Borrower pursuant to Section
2.13(c), as the same may be further amended, supplemented or otherwise modified, renewed,
restated or replaced from time to time subject to the terms hereof.

        “Fiscal Quarter” shall mean any fiscal quarter of the Borrower.

        “Fiscal Year” shall mean any fiscal year of the Borrower.

       “Fixed Charge Coverage Ratio” shall mean, as of any date of determination, the ratio of
(x) EBITDA, to (y) the aggregate sum of the following (in each case, to the extent paid during
the applicable testing period): cash interest payments on any Indebtedness plus cash payments
made by any Loan Party on account of any Taxes plus any scheduled principal payments on the
Term Loans made pursuant to Section 2.8(b) plus any actual Capital Expenditures made by any
Loan Party.

       “Foreign Lender” shall mean (a) if the Borrower is a U.S. Person, a Lender that is not a
U.S. Person, and (b) if the Borrower is not a U.S. Person, a Lender that is resident or organized
under the laws of a jurisdiction other than that in which the Borrower is resident for tax purposes.

       “Foreign Subsidiary” shall mean each Subsidiary of the Borrower that is organized under
the laws of a jurisdiction other than one of the fifty states of the United States or the District of
Columbia.

        “GAAP” shall mean generally accepted accounting principles in the United States
applied on a consistent basis and subject to the terms of Section 1.3.

        “Governmental Authority” shall mean the government of the United States, any other
nation or any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supranational bodies such as the European Union or the European
Central Bank).

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        “Guarantee” of or by any Person (the “guarantor”) shall mean any obligation, contingent
or otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other obligation of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly and including any obligation, direct or indirect, of the guarantor (i)
to purchase or pay (or advance or supply funds for the purchase or payment of) such
Indebtedness or other obligation or to purchase (or to advance or supply funds for the purchase
of) any security for the payment thereof, (ii) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness or other obligation of the payment
thereof, (iii) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation or (iv) as an account party in respect of any letter of credit or letter of
guaranty issued in support of such Indebtedness or obligation; provided that the term
“Guarantee” shall not include endorsements for collection or deposit in the ordinary course of
business. The amount of any Guarantee shall be deemed to be an amount equal to the stated or
determinable amount of the primary obligation in respect of which such Guarantee is made or, if
not so stated or determinable, the maximum reasonably anticipated liability in respect thereof
(assuming such Person is required to perform thereunder) as determined by such Person in good
faith. The term “Guarantee” used as a verb has a corresponding meaning.

        “Guarantor” shall mean collectively Holdco and each of the Subsidiary Loan Parties.

       “Guaranty and Security Agreement” shall mean the Guaranty and Security Agreement,
dated as of the date hereof and substantially in the form of Exhibit D, made by the Loan Parties
in favor of the Administrative Agent for the benefit of the Secured Parties, as the same may be
amended, supplemented or otherwise modified, renewed, restated or replaced from time to time.

         “Hazardous Materials” shall mean all explosive or radioactive substances or wastes and
all hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum
distillates, asbestos or asbestos containing materials, polychlorinated biphenyls, radon gas,
infectious or medical wastes and all other substances or wastes of any nature regulated pursuant
to any Environmental Law.

        “Hedging Obligations” of any Person shall mean any and all obligations of such Person,
whether absolute or contingent and howsoever and whensoever created, arising, evidenced or
acquired under (i) any and all Hedging Transactions, (ii) any and all cancellations, buy backs,
reversals, terminations or assignments of any Hedging Transactions and (iii) any and all
renewals, extensions and modifications of any Hedging Transactions and any and all
substitutions for any Hedging Transactions.

        “Hedge Termination Value” shall mean, in respect of any one or more Hedge
Transactions, after taking into account the effect of any legally enforceable netting agreement
relating to such Hedge Transactions, (a) for any date on or after the date such Hedge
Transactions have been closed out and termination value(s) determined in accordance therewith,
such termination value(s) and (b) for any date prior to the date referenced in clause (a), the
amount(s) determined as the mark-to-market value(s) for such Hedge Transactions, as
determined based upon one or more mid-market or other readily available quotations provided


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by any recognized dealer in such Hedge Transactions (which may include a Lender or any
Affiliate of a Lender).

        “Hedging Transaction” of any Person shall mean (a) any transaction (including an
agreement with respect to any such transaction) now existing or hereafter entered into by such
Person that is a rate swap transaction, swap option, basis swap, forward rate transaction,
commodity swap, commodity option, equity or equity index swap or option, bond option, interest
rate option, foreign exchange transaction, cap transaction, floor transaction, collar transaction,
currency swap transaction, cross-currency rate swap transaction, currency option, spot
transaction, credit protection transaction, credit swap, credit default swap, credit default option,
total return swap, credit spread transaction, repurchase transaction, reverse repurchase
transaction, buy/sell-back transaction, securities lending transaction, or any other similar
transaction (including any option with respect to any of these transactions) or any combination
thereof, whether or not any such transaction is governed by or subject to any master agreement,
and (b) any and all transactions of any kind, and the related confirmations, which are subject to
the terms and conditions of, or governed by, any form of master agreement published by the
International Swaps and Derivatives Association, Inc., any International Foreign Exchange
Master Agreement, or any other master agreement (any such master agreement, together with
any related schedules, a “Master Agreement”), including any such obligations or liabilities under
any Master Agreement.

        “Holdco” shall mean Calrissian LP, a Delaware limited partnership.

      “Incomplete” shall mean, with respect to any Item of Product, such Item of Product is not
Complete.

        “Increasing Lender” shall have the meaning set forth in Section 2.21.

        “Incremental Revolving Commitment” shall have the meaning set forth in Section 2.21.

       “Incremental Revolving Commitment Amount” shall have the meaning set forth in
Section 2.21.

         “Indebtedness” of any Person shall mean, without duplication, (i) all obligations of such
Person for borrowed money, (ii) all obligations of such Person evidenced by bonds, debentures,
notes or other similar instruments, (iii) all obligations of such Person in respect of the deferred
purchase price of property or services (other than trade payables incurred in the ordinary course
of business; provided that, for purposes of Section 8.1(g), trade payables overdue by more than
120 days shall be included in this definition except to the extent that any of such trade payables
are being disputed in good faith and by appropriate measures), (iv) all obligations of such Person
under any conditional sale or other title retention agreement(s) relating to property acquired by
such Person, (v) all Capital Lease Obligations of such Person, (vi) all obligations, contingent or
otherwise, of such Person in respect of letters of credit, acceptances or similar extensions of
credit, (vii) all Guarantees of such Person of the type of Indebtedness described in clauses (i)
through (vi) above, (viii) all Indebtedness of a third party secured by any Lien on property
owned by such Person, whether or not such Indebtedness has been assumed by such Person, (ix)
all obligations of such Person, contingent or otherwise, to purchase, redeem, retire or otherwise


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acquire for value any Capital Stock of such Person, (x) all Off-Balance Sheet Liabilities and
(xi) all Hedging Obligations; provided, that Indebtedness shall not include any non-refundable
advance made to a Loan Party by a third party Distributor in connection with the distribution or
sale of any Item of Product. The Indebtedness of any Person shall include the Indebtedness of
any partnership or joint venture in which such Person is a general partner or a joint venturer,
except to the extent that the terms of such Indebtedness provide that such Person is not liable
therefor.

       “Indemnified Taxes” shall mean (a) Taxes other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under any
Loan Document and (b) to the extent not otherwise described in the preceding clause (a), Other
Taxes.

       “Initial Library Valuation Report” shall mean the Library Valuation Report dated March
19, 2014 issued by Salem Partners LLC, which sets forth a calculation of the Library Valuation
Amount as of March 19, 2014.

        “Intercreditor Agreement” shall mean an intercreditor agreement among, inter alia, a
third Person, the applicable Loan Party and the Administrative Agent (on behalf of the Secured
Parties) in form and substance satisfactory to the Administrative Agent, as the same may be
amended, supplemented or otherwise modified, renewed, restated or replaced from time to time.
For the avoidance of doubt, an Intercreditor Agreement may constitute an Interparty Agreement
hereunder (and vice versa).

        “Interest Period” shall mean with respect to any Eurodollar Borrowing, a period of one,
two, three or six months; provided that:

               (i)    the initial Interest Period for such Borrowing shall commence on the date
        of such Borrowing (including the date of any conversion from a Borrowing of another
        Type), and each Interest Period occurring thereafter in respect of such Borrowing shall
        commence on the day on which the next preceding Interest Period expires;

               (ii)   if any Interest Period would otherwise end on a day other than a Business
        Day, such Interest Period shall be extended to the next succeeding Business Day, unless
        such Business Day falls in another calendar month, in which case such Interest Period
        would end on the next preceding Business Day;

               (iii)  any Interest Period which begins on the last Business Day of a calendar
        month or on a day for which there is no numerically corresponding day in the calendar
        month at the end of such Interest Period shall end on the last Business Day of such
        calendar month;

               (iv)   each principal installment of the Term Loans shall have an Interest Period
        ending on each installment payment date and the remaining principal balance (if any) of
        the Term Loans shall have an Interest Period determined as set forth above; and

              (v)    no Interest Period may extend beyond the Revolving Commitment
        Termination Date, unless on the Revolving Commitment Termination Date the aggregate

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        outstanding principal amount of Term Loans is equal to or greater than the aggregate
        principal amount of Eurodollar Loans with Interest Periods expiring after such date, and
        no Interest Period may extend beyond the Maturity Date.

       “Interparty Agreement” shall mean, with respect to an Item of Product, an interparty
agreement, among (a) the Administrative Agent, (b) a Loan Party, (c) (if applicable) an
Acceptable Obligor or an Approved Sales Agent, and (d) such other Person(s) as the
Administrative Agent shall require, which agreement (i) is necessary in the reasonable judgment
of the Administrative Agent to allocate the risks of Completion and delivery of such Item of
Product and (ii) shall be in form and substance reasonably satisfactory to the Administrative
Agent, as the same may be amended, supplemented or otherwise modified, renewed, restated or
replaced from time to time.

        “Investments” shall have the meaning set forth in Section 7.4.

        “IRS” shall mean the United States Internal Revenue Service.

        “Item of Product” shall mean any motion picture, episodic series, film or video tape or
other audio-visual or digital work produced for theatrical, non-theatrical or television release or
for release in any other medium, in each case whether recorded on film, videotape, cassette,
cartridge, disc or on or by any other means, method, process or device whether now known or
hereafter developed, with respect to which any Loan Party (i) is the copyright owner or (ii)
acquires distribution rights (including, without limitation, each Library Title). The term “Item of
Product” shall include, without limitation, the scenario, screenplay, teleplay or script upon which
such Item of Product is based, all of the properties thereof, tangible and intangible, and whether
now in existence or hereafter to be made or produced, whether or not in possession of the Loan
Parties, and all rights therein and thereto, of every kind and character.

        “Key Item of Product” means, as of the Closing Date, each Item of Product identified as a
Key Item of Product on Schedule 4.22(a) and, after the Closing Date, any Item of Product
required to be by the Administrative Agent to be identified as a Key Item of Product on Schedule
4.22(a).

       “Laboratory” shall mean any laboratory reasonably acceptable to the Administrative
Agent which is located in the United States of America (or any other jurisdiction acceptable to
the Administrative Agent in its sole discretion, so long as, if requested by the Administrative
Agent, appropriate local law security documents in form and substance satisfactory to the
Administrative Agent are delivered to the Administrative Agent) and is a party to a Laboratory
Pledgeholder Agreement or a Laboratory Access Letter.

       “Laboratory Access Letter” shall mean an agreement among (a) a Laboratory holding any
Physical Materials (including data backups of work in progress) of any Item of Product to which
any Loan Party has a right of access (but does not own such Physical Materials), (b) such Loan
Party and (c) the Administrative Agent, substantially in the form of Exhibit E hereto or a form
otherwise reasonably acceptable to the Administrative Agent, as the same may be amended,
supplemented or otherwise modified, renewed, restated or replaced from time to time.



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        “Laboratory Pledgeholder Agreement” shall mean an agreement among (i) the applicable
Laboratory, (ii) each applicable Loan Party, (iii) the Administrative Agent, and (iv) if applicable,
a Distributor, substantially in the form of Exhibit F-1 or Exhibit F-2, as applicable, or in such
other form as shall be reasonably acceptable to the Administrative Agent, as the same may be
amended, supplemented or otherwise modified, renewed or replaced from time to time.

       “Lender-Related Hedge Provider” means any Person that, at the time it enters into a
Hedging Transaction with any Loan Party, (i) is a Lender or an Affiliate of a Lender and (ii)
except when the Lender-Related Hedge Provider is SunTrust Bank or any of its Affiliates, has
provided prior written notice to the Administrative Agent which has been acknowledged by the
Borrower of (x) the existence of such Hedging Transaction and (y) the methodology to be used
by such parties in determining the obligations under such Hedging Transaction from time to
time. In no event shall any Lender-Related Hedge Provider acting in such capacity be deemed a
Lender for purposes hereof to the extent of and as to Hedging Obligations except that each
reference to the term “Lender” in Article IX and Section 10.3(b) shall be deemed to include such
Lender-Related Hedge Provider. In no event shall the approval of any such Person in its capacity
as Lender-Related Hedge Provider be required in connection with the release or termination of
any security interest or Lien of the Administrative Agent.

       “Lenders” shall have the meaning set forth in the introductory paragraph hereof and shall
include, where appropriate, each Increasing Lender and each Additional Lender that joins this
Agreement pursuant to Section 2.21.

        “Library Advance Rate” shall mean an advance rate equal to 40% of the Library
Valuation Amount for Fiscal Year 2014, 35% of the Library Valuation Amount for Fiscal Year
2015 and 30% of the Library Valuation Amount thereafter (for the avoidance of doubt, when
calculating the Library Advance Rate, the rate for the preceding Fiscal Year shall apply until such
time as the new Library Valuation Report is delivered pursuant to Section 5.1(g) hereof);
provided, that if, at the end of each Fiscal Year, actual net revenues included in the most recent
Library Valuation are (i) less than 90% but greater than or equal to 80% of the aggregate amount
of the projected net revenues during the same period, the Library Advance Rate applicable for
such period shall be reduced by 5%, (ii) less than 80% but greater than or equal to 75% of the
aggregate amount of the projected net revenues during the same period, the Library Advance
Rate applicable for such period shall be reduced by 10%, and (iii) less than 75% of the aggregate
amount of the projected net revenues during the same period, the Library Advance Rate
applicable for such period shall be reduced by 15%; provided that, in the event that the actual net
revenues included in the most recent Library Valuation are less than 75% of the aggregate
amount of the projected net revenues during the same period, then the Administrative Agent may,
in its sole discretion, cause the Library Valuation Amount to be recalculated as set forth in the
last sentence of the definition of “Library Valuation Amount.”

       “Library Credit” shall mean, as of any date of determination, the product of (x) the
Library Advance Rate then in effect multiplied by (y) the then current Library Valuation Amount.

       “Library Title” shall mean any of the Item of Product set forth on Annex B hereto and
incorporated herein by this reference, as such Annex may be amended, modified or
supplemented from time to time by the Borrower with the consent of the Administrative Agent in

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order to reflect the addition of new Item of Product or (to the extent permitted under this
Agreement) the removal of any Item of Product.

        “Library Valuation Report” shall mean a written report prepared by an Approved
Valuation Expert that sets forth the then current Library Valuation Amount (and the supporting
calculations reflecting in reasonable detail how such amount was calculated), which report shall
be in form and substance (and shall use methodology, including a discount rate) satisfactory to
the Administrative Agent.

        “Library Valuation Amount” shall mean a valuation of the Borrower’s Library Titles
(expressly exclusive of any revenues that give rise to any Eligible Receivables credit), using a
methodology consistent with the March 19, 2014 valuation delivered to the Administrative Agent
and otherwise in form and substance satisfactory to the Administrative Agent, to be performed by
an Approved Valuation Expert. Notwithstanding the foregoing, if, at the end of any Fiscal Year,
the actual net revenues included in the most recent Library Valuation Report are less than
seventy-five percent (75%) of the aggregate amount of the projected net revenues for the same
period, then the Administrative Agent may, in its sole discretion, cause the Borrower to provide a
new Library Valuation Report, and the “Library Valuation Amount” in such case shall be the
average of (x) the Library Valuation Amount in effect immediately prior to the Administrative
Agent’s receipt of such new Library Valuation Report and (y) the new Library Valuation Amount
reflected in such new Library Valuation Report.

        “Licensing Intermediary” shall mean any affiliate of Fintage House or Freeway
Entertainment Kft. or any other Person acceptable to the Administrative Agent through which
any distribution or other exploitation rights in respect of an Item of Product are transferred as a
conduit between a Loan Party and the ultimate licensee; provided in each case the Administrative
Agent or the Required Lenders may, by written notice to the Borrower, remove any such Person
as a Licensing Intermediary as the Administrative Agent (or the Required Lenders, as the case
may be), acting in good faith, may in its (or their) reasonable discretion deem appropriate on a
prospective basis with respect to an Item of Product which is not yet subject to an executed
Licensing Intermediary Agreement (with respect to an output or a multi-project Licensing
Intermediary Agreement, such Item of Product is not yet subject to an executed project-specific
exhibit or schedule thereto). Notwithstanding the foregoing, and for the avoidance of doubt, no
Approved Sales Agent shall be considered a Licensing Intermediary hereunder.

         “Licensing Intermediary Agreements” shall mean collectively, with respect to any Item
of Product, any license or distribution agreement between a Loan Party and a Licensing
Intermediary and any sales agency letter or other agreement between a Licensing Intermediary
and a sales agent, in each such case, including all addenda, exhibits and schedules attached
thereto, pursuant to which such Licensing Intermediary has been granted (or, as applicable, a
sales agent has been retained by such Licensing Intermediary as its agent with respect to) certain
distribution or other exploitation rights in respect of such Item of Product throughout certain
territories, as any such agreement may be amended, supplemented or otherwise modified,
renewed or replaced from time to time subject to the terms hereof and of the corresponding
Licensing Intermediary Security Agreement.



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        “Licensing Intermediary Security Agreement” shall mean a security agreement between,
inter alia, the Administrative Agent and the applicable Licensing Intermediary, in form and
substance satisfactory to the Administrative Agent, as any such agreement may be amended,
supplemented or otherwise modified, renewed or replaced from time to time.

       “Lien” shall mean any mortgage, pledge, security interest, lien (statutory or otherwise),
charge, encumbrance, hypothecation, assignment, deposit arrangement, or other arrangement
having the practical effect of any of the foregoing or any preference, priority or other security
agreement or preferential arrangement of any kind or nature whatsoever (including any
conditional sale or other title retention agreement and any capital lease having the same
economic effect as any of the foregoing).

       “Liquidity Ratio” shall mean, as of the end of the applicable Fiscal Quarter, the ratio (as
more fully set forth in the Compliance Certificate delivered from time to time as required
hereunder) of (x) the projected known sources for the next twelve (12) months (including
without limitation, ending cash on hand and projected Borrowing Base availability (comprised of
forecasted Borrowings during the period plus ending excess availability) and cash receipts from
operations) to (y) the aggregate amount of all projected known cash uses for the next twelve (12)
months (including, without limitation, debt service, amounts to be spent to acquire Items of
Product, overhead, and all other projected cash expenditures), as projected by Borrower in good
faith.

        “Loan Documents” shall mean, collectively, this Agreement, the Collateral Documents,
the Engagement Letter, the Fee Letter, each Notice of Borrowing, each Notice of
Conversion/Continuation, each Compliance Certificate, each Notice of Assignment, each
Interparty Agreement, each Intercreditor Agreement, any promissory notes issued hereunder and
any and all other instruments, agreements, documents and writings executed in connection with
any of the foregoing, in each case as amended, supplemented or otherwise modified, renewed,
restated or replaced from time to time.

        “Loan Parties” shall mean the Borrower and the Guarantors.

       “Loans” shall mean all Revolving Loans and Term Loans in the aggregate or any of them,
as the context shall require, and shall include, where appropriate, any loan made pursuant to
Section 2.21.

        “Major Acceptable Obligor” shall mean any Acceptable Obligor denoted as such on
Annex A hereto with respect to the relevant type(s) of Item of Product designated therein (it
being understood that an entity may be approved as a Major Acceptable Obligor for a particular
type of Item of Product (only)), as modified from time to time in accordance with Section 2.25.

        “Material Adverse Effect” shall mean, with respect to any event, act, condition or
occurrence of whatever nature (including any adverse determination in any litigation, arbitration,
or governmental investigation or proceeding), whether singularly or in conjunction with any
other event or events, act or acts, condition or conditions, occurrence or occurrences whether or
not related, resulting in a material adverse change in, or a material adverse effect on, (i) the
business, results of operations, financial condition, assets, liabilities or prospects of the Borrower


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and its Subsidiaries taken as a whole, (ii) the ability of the Loan Parties to perform any of their
respective obligations under the Loan Documents, (iii) the rights and remedies of the
Administrative Agent or the Lenders under any of the Loan Documents or (iv) the legality,
validity or enforceability of any of the Loan Documents.

       “Material Agreements” shall mean (i) all agreements, indentures or notes governing the
terms of any Material Indebtedness, (ii) all employment and non-compete agreements with
senior management, (iii) all leases of Real Estate, (iv) all Plans (and each related trust, if any)
and (v) all other agreements, documents, contracts, indentures and instruments pursuant to which
(A) any Loan Party are obligated to make payments of $500,000 or more during any Fiscal Year,
(B) any Loan Party expects to receive revenue of $500,000 or more during any Fiscal Year or (C)
a default, breach or termination thereof could reasonably be expected to result in a Material
Adverse Effect.

       “Material Indebtedness” shall mean any Indebtedness (other than the Loans) of the
Borrower or any of its Subsidiaries individually or in an aggregate committed or outstanding
principal amount exceeding $250,000. For purposes of determining the amount of attributed
Indebtedness from Hedging Obligations, the “principal amount” of any Hedging Obligations at
any time shall be the Net Mark-to-Market Exposure of such Hedging Obligations.

        “Maturity Date” shall mean the earlier of (i) September 4, 2018 and (ii) the date on which
the principal amount of all outstanding Loans have been declared or automatically have become
due and payable (whether by acceleration or otherwise).

         “Minor Acceptable Obligor” shall mean any Acceptable Obligor denoted as such on
Annex A hereto with respect to the relevant type(s) of Item of Product designated therein (it
being understood that an entity may be approved as a Minor Acceptable Obligor for a particular
type of Item of Product (only)), as modified from time to time in accordance with Section 2.25.

        “Moody’s” shall mean Moody’s Investors Service, Inc.

      “Millennium Acquisition” shall mean the purchase of 100% of the limited liability
company interests of the Borrower by Holdco.

        “Multiemployer Plan” shall mean any “multiemployer plan” as defined in Section
4001(a)(3) of ERISA, which is contributed to by (or to which there is or may be an obligation to
contribute of) the Borrower, any of its Subsidiaries or an ERISA Affiliate, and each such plan for
the five-year period immediately following the latest date on which the Borrower, any of its
Subsidiaries or an ERISA Affiliate contributed to or had an obligation to contribute to such plan.

       “Net Mark-to-Market Exposure” of any Person shall mean, as of any date of
determination with respect to any Hedging Obligation, the excess (if any) of all unrealized losses
over all unrealized profits of such Person arising from such Hedging Obligation. “Unrealized
losses” shall mean the fair market value of the cost to such Person of replacing the Hedging
Transaction giving rise to such Hedging Obligation as of the date of determination (assuming
such Hedging Transaction were to be terminated as of that date), and “unrealized profits” shall
mean the fair market value of the gain to such Person of replacing such Hedging Transaction as


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of the date of determination (assuming such Hedging Transaction were to be terminated as of
that date).

        “Netflix” means Netflix, Inc., a Delaware corporation.

         “Netflix MGs” shall mean, with respect to any Item of Product other than a Library Title,
the minimum guarantee or license fee due from Netflix related to distribution rights presold to
Netflix (i.e., excluding rate card payments) with respect to an Item of Product.

        “Netflix Release Reserve” shall mean, to the extent a Netflix MG for an Item of Product
is credited as an Eligible Receivable and pursuant to the Netflix Distribution Agreement for such
Item of Product the payment of such Netflix MG requires a Domestic Territory theatrical release
by a Loan Party, a reserve in the amount determined in good faith by the Borrower (but in no
case less than $300,000) to secure and pay for the required prints, advertising and theatrical
releasing costs with respect to the initial theatrical release by a Loan Party of the applicable Item
of Product sufficient to satisfy the Domestic Territory release requirements with respect to such
Item of Product that trigger payment of the Netflix MG under the applicable Netflix Distribution
Agreement.

       “Non-Defaulting Lender” shall mean, at any time, a Lender that is not a Defaulting
Lender.

        “Non-Major Acceptable Obligor” shall mean any Acceptable Obligor denoted as such on
Annex A hereto with respect to the relevant type(s) of Item of Product designated therein (it
being understood that an entity may be approved as a Non-Major Acceptable Obligor for a
particular type of Item of Product (only)), as modified from time to time in accordance with
Section 2.25.

        “Non-U.S. Plan” shall mean any plan, fund (including, without limitation, any
superannuation fund) or other similar program established, contributed to (regardless of whether
through direct contributions or through employee withholding) or maintained outside the United
States by the Borrower or one or more of its Subsidiaries primarily for the benefit of employees
of the Borrower or such Subsidiaries residing outside the United States, which plan, fund or
other similar program provides, or results in, retirement income, a deferral of income in
contemplation of retirement, or payments to be made upon termination of employment, and
which plan is not subject to ERISA or the Code.

        “Notice of Assignment” shall mean a Notice of Assignment in such form as shall be
reasonably acceptable to the Administrative Agent, as the same may be amended, supplemented
or otherwise modified, renewed, restated or replaced from time to time.

        “Notice of Borrowing” shall have the meaning set forth in Section 2.3.

        “Notice of Conversion/Continuation” shall have the meaning set forth in Section 2.6(b).

       “Obligations” shall mean (a) all amounts owing by the Loan Parties, the Sponsor or any
other Person to the Administrative Agent, any Lender or the Sole Lead Arranger pursuant to or in
connection with this Agreement or any other Loan Document or otherwise with respect to any

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Loan including, without limitation, all principal, interest (including any interest accruing after
the filing of any petition in bankruptcy or the commencement of any insolvency, reorganization
or like proceeding relating to the Borrower, whether or not a claim for post-filing or post-petition
interest is allowed in such proceeding), reimbursement obligations, fees, expenses,
indemnification and reimbursement payments, costs and expenses (including all fees and
expenses of counsel to the Administrative Agent and any Lender incurred pursuant to this
Agreement or any other Loan Document), whether direct or indirect, absolute or contingent,
liquidated or unliquidated, now existing or hereafter arising hereunder or thereunder, (b) all
Hedging Obligations owed by any Loan Party to any Lender-Related Hedge Provider, and (c) all
Bank Product Obligations, together with all renewals, extensions, modifications or refinancings
of any of the foregoing; provided, however, that with respect to any Guarantor, the Obligations
shall not include any Excluded Swap Obligations.

       “OFAC” shall mean the U.S. Department of the Treasury’s Office of Foreign Assets
Control.

         “Off-Balance Sheet Liabilities” of any Person shall mean (i) any repurchase obligation or
liability of such Person with respect to accounts or notes receivable sold by such Person, (ii) any
liability of such Person under any Sale/Leaseback Transactions that do not create a liability on
the balance sheet of such Person, (iii) any Synthetic Lease Obligation or (iv) any obligation
arising with respect to any other transaction which is the functional equivalent of or takes the
place of borrowing but which does not constitute a liability on the balance sheet of such Person.

        “OSHA” shall mean the Occupational Safety and Health Act of 1970, as amended from
time to time, and any successor statute.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered,
become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Loan Document, or sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 2.23).

        “Parent Company” shall mean, with respect to a Lender, the “bank holding company” as
defined in Regulation Y, if any, of such Lender, and/or any Person owning, beneficially or of
record, directly or indirectly, a majority of the shares of such Lender.

        “Participant” shall have the meaning set forth in Section 10.4(d).

        “Participant Register” shall have the meaning set forth in Section 10.4(d).


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       “Patriot Act” shall mean the USA PATRIOT Improvement and Reauthorization Act of
2005 (Pub. L. 109-177 (signed into law March 9, 2006)), as amended and in effect from time to
time.

       “Payment Office” shall mean the office of the Administrative Agent located at 303
Peachtree Street, N.E., Atlanta, Georgia 30308, or such other location as to which the
Administrative Agent shall have given written notice to the Borrower and the Lenders.

       “PBGC” shall mean the U.S. Pension Benefit Guaranty Corporation referred to and
defined in ERISA, and any successor entity performing similar functions.

       “Perfection Certificate” shall have the meaning assigned to such term in the Guaranty and
Security Agreement.

        “Permitted Asset Sale” shall mean any transfer of a Loan Party’s interest in any of the
rights in an Item of Product (including derivative rights) to a Person that is not a Loan Party
permitted under Section 7.6(i).

        “Permitted Encumbrances” shall mean:

               (i)    Liens pursuant to written security agreements (in form and substance and
        in amounts reasonably acceptable to the Administrative Agent) in favor of guilds with
        respect to an Item of Product that are required pursuant to collective bargaining
        agreements;

               (ii)    Liens customarily granted or incurred in the ordinary course of business
        with regard to goods provided or services rendered by laboratories and production
        houses, record warehouses, common carriers, landlords, warehousemen, mechanics and
        suppliers of materials and equipment with respect to an Item of Product; provided such
        Liens are limited to the goods provided or to the goods relating to which services were
        rendered;

                (iii)   Liens in favor of Distributors to secure their right to enjoy their licensed
        rights with respect to an Item of Product pursuant to Distribution Agreements entered
        into in the ordinary course of business on terms reasonably satisfactory to the
        Administrative Agent; provided that the collateral subject to any such Distributor’s Lien
        only consists of the exploitation rights granted to such Distributor with respect to the
        relevant Items of Product and, to the extent necessary to exercise such exploitation rights,
        certain other collateral related to such Items of Product;

               (iv)    Liens imposed by law for taxes not yet due or the validity or amount
        which are being contested in good faith by appropriate proceedings diligently conducted
        and with respect to which adequate reserves are being maintained in accordance with
        GAAP and the failure to make payment pending such contest could not reasonably be
        expected to result in a Material Adverse Effect;

                (v)     statutory Liens (other than those of the type described in clause (ii) of this
        definition) of landlords, carriers, warehousemen, mechanics, materialmen and other Liens

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        imposed by law in the ordinary course of business for amounts not yet due or which are
        being contested in good faith by appropriate proceedings diligently conducted and with
        respect to which adequate reserves are being maintained in accordance with GAAP and
        the failure to make payment pending such contest could not reasonably be expected to
        result in a Material Adverse Effect;

                (vi)   pledges and deposits made in the ordinary course of business in
        compliance with workers’ compensation, unemployment insurance and other social
        security laws or regulations;

                (vii) deposits to secure the performance of bids, trade contracts, leases,
        statutory obligations, surety and appeal bonds, performance bonds and other obligations
        of a like nature (other than completion bonds with respect to Items of Product), in each
        case in the ordinary course of business;

                (viii) judgment and attachment liens not giving rise to an Event of Default or
        Liens created by or existing from any litigation or legal proceeding that are currently
        being contested in good faith by appropriate proceedings diligently conducted (and as to
        which foreclosure and other enforcement proceedings shall not have been commenced
        (unless fully bonded or otherwise effectively stayed)) and with respect to which adequate
        reserves are being maintained in accordance with GAAP;

                (ix)   deposits (i) under worker’s compensation, unemployment insurance, old
        age pensions and other Social Security laws or securing liability to insurance carriers
        under insurance or self-insurance arrangements or (ii) to secure statutory obligations or
        surety, appeal, performance or other similar bonds (other than completion bonds) and
        other obligations of a like nature, in each case incurred in the ordinary course of business
        (other than completion bonds);

                (x)     deposits to secure a Loan Party’s performance as a lessee under leases of
        real or personal property in an aggregate amount (for all Loan Parties) not to exceed
        $1,000,000 at any one time, or such greater amount as the Administrative Agent may
        approve in its sole discretion;

                (xi)   Liens in favor of customs and revenue authorities arising as a matter of
        law to secure payment of customs duties in connection with the importation of goods;

                (xii) easements, zoning restrictions, rights-of-way and similar encumbrances on
        real property imposed by law or arising in the ordinary course of business that do not
        secure any monetary obligations and do not materially detract from the value of the
        affected property or interfere with the ordinary conduct of business of the Loan Parties;

                (xiii) the Liens of the Administrative Agent (for the benefit of the Secured
        Parties) under this Credit Agreement, the other Loan Documents, any other document
        contemplated hereby or thereby;

               (xiv) Liens of or granted by any third Person with whom any Loan Party enters
        into a Rights Acquisition Agreement with respect to any Item of Product, provided the

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        holder of any other Lien with respect to such Item of Product enters into a customary
        non-disturbance and subordination agreement or other agreement reasonably satisfactory
        to the Administrative Agent to the effect that such Loan Party’s licensed rights will not
        be terminated or disturbed in any exercise of remedies with respect to such Lien and will
        be subordinated to Administrative Agent’s Lien in such licensed rights at any time on or
        after the Loan Party acquires rights in the applicable Item of Product; provided that (i)
        Borrower shall have five (5) days from the Closing Date to enter into satisfactory non-
        disturbance agreements (i.e., subordination will not be required) and deliver same to the
        Administrative Agent with respect to the Liens against Borrower in favor of Straight A
        Productions, Inc., Dying Productions, Inc., Promised Land Productions, Inc. and N2
        Productions, Inc. (collectively, the “Nu Image Entities”), and (ii) Borrower shall have
        forty-five (45) days from the Closing Date to enter into such agreements and deliver same
        to the Administrative Agent with respect to any third Persons other than the Nu Image
        Entities; provided further that notwithstanding the foregoing, the Borrower’s failure to
        deliver such subordination and/or nondisturbance agreements for any such third Person
        (other than the Nu Image Entities) with respect to an Item of Product shall not, in and of
        itself, result in a Default or Event of Default, but shall result in the removal of any
        Borrowing Base credit for such Item of Product or to the extent such Item of Product has
        not yet been included in the Borrowing Base, the Borrower may not request Borrowing
        Base credit for such Item of Product; and

               (xv) customary rights of set-off, revocation, refund or chargeback under
        deposit agreements or under the Uniform Commercial Code or common law of banks or
        other financial institutions where the Borrower or any of its Subsidiaries maintains
        deposits (other than deposits intended as cash collateral) in the ordinary course of
        business;

provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness.

        “Permitted Investments” shall mean:

               (i)    direct obligations of, or obligations the principal of and interest on which
        are unconditionally guaranteed by, the United States (or by any agency thereof to the
        extent such obligations are backed by the full faith and credit of the United States), in
        each case maturing within one year from the date of acquisition thereof;

                (ii)    commercial paper having the highest rating, at the time of acquisition
        thereof, of S&P or Moody’s and in either case maturing within six months from the date
        of acquisition thereof;

                (iii) certificates of deposit, bankers’ acceptances and time deposits maturing
        within 180 days of the date of acquisition thereof issued or guaranteed by or placed with,
        and money market deposit accounts issued or offered by, any domestic office of any
        commercial bank organized under the laws of the United States or any state thereof which
        has a combined capital and surplus and undivided profits of not less than $500,000,000;



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                 (iv)    fully collateralized repurchase agreements with a term of not more than 30
        days for securities described in clause (i) above and entered into with a financial
        institution satisfying the criteria described in clause (iii) above; and

               (v)    mutual funds investing solely in any one or more of the Permitted
        Investments described in clauses (i) through (iv) above.

        “Permitted Tax Distributions” shall mean tax distributions by a Loan Party (so long as
such Loan Party is treated as a pass-through or disregarded entity) to its members (“Tax
Distributions”) (i) on a quarterly basis, pro rata in proportion to their respective percentage
interests in such Loan Party (except as otherwise required below), so long as the aggregate
amount of such Tax Distributions does not exceed, quarterly, an amount equal to such Loan
Party’s good faith estimate of the Applicable Tax (as hereinafter defined) with respect to such
taxable year, less the amount paid, if any, with respect to prior quarters of such taxable year; and
(ii) on an annual basis after the end of such Loan Party’s taxable year, to the extent necessary so
that the sum of the amounts so distributed under this clause (ii) and the amounts distributed
under clause (i) above equals the minimum aggregate amount (the “Applicable Tax”) that must
be distributed to provide each member with an amount that equals the product of (1) the sum of
all items of taxable income or gain allocated to such member for such taxable year less all items
of deduction, loss and the loss equivalent of tax credits allocated to such member (or, to the
extent applicable, its predecessors in interest) for such taxable year and all prior taxable years to
the extent not previously offset by taxable income or gain allocated to such member (or, to the
extent applicable, its predecessors in interest) and (2) a percentage equal to ((100%-B) x A) + B,
where “A” is the highest marginal federal income tax rate applicable to a corporation or
individual (as appropriate) for such preceding taxable year and “B”, with respect to each
member, is the highest marginal state income tax rate applicable to such member for such
preceding taxable year; provided that if the amount distributed to the members of such Loan
Party pursuant to clause (i) for the taxable year exceeds the Applicable Tax for such taxable year
(including where the amounts included in taxable income of such Loan Party for such taxable
year are decreased as a result of an audit, amended return or otherwise), then such excess shall be
credited against the next Tax Distributions permitted to be made with respect to subsequent
taxable years.

       “Permitted Third Party Bank” shall mean any Lender (other than SunTrust Bank) and any
other bank or other financial institution approved by the Administrative Agent, (in any such case)
with whom any Loan Party maintains a Controlled Account and with whom a Control Account
Agreement has been executed.

       “Person” shall mean any individual, partnership, firm, corporation, association, joint
venture, limited liability company, trust or other entity, or any Governmental Authority.

        “Physical Materials” shall mean, with respect to any Item of Product, all tangible
personal property relating to such Item of Product, including, without limitation, all exposed
film, developed film, positives, negatives, prints, positive prints, answer prints, magnetic tapes
and other digital or electronic storage media, special effects, preparing materials (including
interpositives, duplicate negatives, internegatives, color reversals, intermediates, lavenders, fine
grain master prints and matrices, and all other forms of pre-print elements), sound tracks,

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cutouts, trims and any and all other physical properties of every kind and nature relating to such
Item of Product whether in completed form or in some state of completion, and all masters,
duplicates, drafts, versions, variations and copies of each thereof, in all formats whether on film,
videotape, disk or other optical or electronic media or otherwise and all music sheets and
promotional materials relating to such Item of Product.

         “Plan” shall mean any “employee benefit plan” as defined in Section 3 of ERISA (other
than a Multiemployer Plan) maintained or contributed to by the Borrower or any ERISA Affiliate
or to which the Borrower or any ERISA Affiliate has or may have an obligation to contribute,
and each such plan that is subject to Title IV of ERISA for the five-year period immediately
following the latest date on which the Borrower or any ERISA Affiliate maintained, contributed
to or had an obligation to contribute to (or is deemed under Section 4069 of ERISA to have
maintained or contributed to or to have had an obligation to contribute to, or otherwise to have
liability with respect to) such plan.

        “Pledge Agreement” shall mean the Pledge Agreement, dated as of the date hereof, made
by Holdco in favor of the Administrative Agent for the benefit of the Secured Parties, as the same
may be amended, supplemented or otherwise modified, renewed, restated or replaced from time
to time.

       “Primary Major Acceptable Obligor” shall mean any Major Acceptable Obligor denoted
as such on Annex A hereto with respect to the relevant type(s) of Item of Product designated
therein (it being understood that an entity may be approved as a Primary Major Acceptable
Obligor for a particular type of Item of Product (only)), as modified from time to time in
accordance with Section 2.25.

        “Pro Rata Share” shall mean (i) with respect to any Class of Commitment or Loan of any
Lender at any time, a percentage, the numerator of which shall be such Lender’s Commitment of
such Class (or if such Commitment has been terminated or expired or the Loans have been
declared to be due and payable, such Lender’s Revolving Credit Exposure or Term Loan, as
applicable), and the denominator of which shall be the sum of all Commitments of such Class of
all Lenders (or if such Commitments have been terminated or expired or the Loans have been
declared to be due and payable, all Revolving Credit Exposure or Term Loans, as applicable, of
all Lenders) and (ii) with respect to all Classes of Commitments and Loans of any Lender at any
time, the numerator of which shall be the sum of such Lender’s Revolving Commitment (or if
such Revolving Commitment has been terminated or expired or the Loans have been declared to
be due and payable, such Lender’s Revolving Credit Exposure) and Term Loan and the
denominator of which shall be the sum of all Lenders’ Revolving Commitments (or if such
Revolving Commitments have been terminated or expired or the Loans have been declared to be
due and payable, all Revolving Credit Exposure of all Lenders funded under such Commitments)
and Term Loans.

          “Product Declaration” shall mean a declaration substantially in the form of Exhibit L
hereto.

      “Purchase Agreement” means the Purchase Agreement, dated as of August 18, 2014, by
and among, inter alia, Borrower, each of the Sellers and Holdco, as the same may be amended,

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supplemented or otherwise modified, renewed, restated or replaced from time to time to the
extent permitted herein.

         “Qualifying Picture” shall mean a motion picture acquired by a Loan Party pursuant to a
Rights Acquisition Agreement that is intended to satisfy all of the following requirements: (i)
will be filmed primarily in the English language; (ii) will be filmed primarily in color
photography; (iii) have a running time of at least 80 minutes and not more than 150 minutes
(inclusive of main and end titles); and (iv) will be capable of achieving an MPAA rating not more
restrictive than “R” (or its equivalent under any revised rating system).

        “Real Estate” shall mean all real property owned or leased by the Borrower and/or any of
its Subsidiaries.

        “Recipient” shall mean, as applicable, (a) the Administrative Agent and (b) any Lender.

      “Regulation D” shall mean Regulation D of the Board of Governors of the Federal
Reserve System, as the same may be in effect from time to time, and any successor regulations.

      “Regulation T” shall mean Regulation T of the Board of Governors of the Federal
Reserve System, as the same may be in effect from time to time, and any successor regulations.

      “Regulation U” shall mean Regulation U of the Board of Governors of the Federal
Reserve System, as the same may be in effect from time to time, and any successor regulations.

      “Regulation X” shall mean Regulation X of the Board of Governors of the Federal
Reserve System, as the same may be in effect from time to time, and any successor regulations.

      “Regulation Y” shall mean Regulation Y of the Board of Governors of the Federal
Reserve System, as the same may be in effect from time to time, and any successor regulations.

        “Related Parties” shall mean, with respect to any specified Person, such Person’s
Affiliates and the respective managers, administrators, trustees, partners, directors, officers,
employees, agents, advisors or other representatives of such Person and such Person’s Affiliates.

        “Release” shall mean any release, spill, emission, leaking, dumping, injection, pouring,
deposit, disposal, discharge, dispersal, leaching or migration into the environment (including
ambient air, surface water, groundwater, land surface or subsurface strata) or within any building,
structure, facility or fixture.

         “Required Lenders” shall mean, at any time, Lenders holding more than 66.7% of the
aggregate outstanding Revolving Commitments and Term Loans at such time or, if the Lenders
have no Commitments outstanding, then Lenders holding more than 66.7% of the aggregate
outstanding Revolving Credit Exposure and Term Loans of the Lenders at such time; provided
that (i) at any time that there shall be two (2) Lenders, both of the Lenders shall comprise the
Required Lenders, and (ii) at any time that there shall be three (3) Lenders, a minimum of two
(2) Lenders must comprise the Required Lenders; provided, further, that to the extent that any
Lender is a Defaulting Lender, such Defaulting Lender and all of its Revolving Commitments,


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Revolving Credit Exposure and Term Loans shall be excluded for purposes of determining
Required Lenders.

        “Requirement of Law” for any Person shall mean the articles or certificate of
incorporation (or formation), bylaws, partnership certificate and agreement, or limited liability
company certificate of organization and agreement, as the case may be, and other organizational
and governing documents of such Person, and any law, treaty, rule or regulation, or
determination of a Governmental Authority, in each case applicable to or binding upon such
Person or any of its property or to which such Person or any of its property is subject.

        “Responsible Officer” shall mean (x) with respect to any Borrowing Base Certificate or
any calculation of the Library Valuation Amount required to be delivered by the Borrower under
this Agreement, or certifying compliance with the financial covenants set forth in Article VI, the
chief financial officer or the treasurer of the Borrower and (y) with respect to all other
provisions, any of the president, the chief executive officer, the chief operating officer, the chief
financial officer, the treasurer or a vice president of the applicable Loan Party or such other
representative of the applicable Loan Party as may be designated in writing by any one of the
foregoing with the consent of the Administrative Agent.

        “Restricted Payment” shall mean, for any Person, any dividend or distribution on any
class of its Capital Stock, or any payment on account of, or set apart assets for a sinking or other
analogous fund for, the purchase, redemption, retirement, defeasance or other acquisition of any
shares of its Capital Stock, any Indebtedness subordinated to the Obligations or any Guarantee
thereof or any options, warrants or other rights to purchase such Capital Stock or such
Indebtedness, whether now or hereafter outstanding, or any management or similar fees, or any
other payment of any kind to or for the benefit of an Affiliate of a Loan Party that is not itself a
Loan Party (or to or for the benefit of any direct or indirect holders of the Capital Stock of such
Affiliate).

       “Revolving Commitment” shall mean, with respect to each Lender, the commitment of
such Lender to make Revolving Loans to the Borrower in an aggregate principal amount not
exceeding the amount set forth with respect to such Lender on Schedule I, as such schedule may
be amended pursuant to Section 2.21, or, in the case of a Person becoming a Lender after the
Closing Date, the amount of the assigned “Revolving Commitment” as provided in the
Assignment and Acceptance executed by such Person as an assignee, or the joinder executed by
such Person, in each case as such commitment may subsequently be increased or decreased
pursuant to the terms hereof.

       “Revolving Commitment Termination Date” shall mean the earliest of (i) the Maturity
Date and (ii) the date on which the Revolving Commitments are terminated pursuant to Section
2.7.

        “Revolving Credit Exposure” shall mean, with respect to any Lender at any time, the sum
of the outstanding principal amount of such Lender’s Revolving Loans.

      “Revolving Loan” shall mean a loan made by a Lender to the Borrower under its
Revolving Commitment, which may either be a Base Rate Loan or a Eurodollar Loan.


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        “Rights Acquisition Agreement” means the agreement pursuant to which, among other
things, a Loan Party acquires distribution rights in and to an Item of Product from a third Person.

        “Rights Acquisition Cost” means the minimum guarantee or advance required to be paid
by a Loan Party in order for such Loan Party to acquire the distribution or exploitation rights in
and to the subject Item of Product specified in the applicable Rights Acquisition Agreement.

        “S&P” shall mean Standard & Poor’s, a division of The McGraw-Hill Companies, Inc.

        “Sanctioned Country” shall mean a country subject to a sanctions program identified on
the list maintained by OFAC and available at http://www.treasury.gov/resource-
center/sanctions/Pages/default.aspx, or as otherwise published from time to time.

        “Sanctioned Person” shall mean (i) a Person named on the list of “Specially Designated
Nationals     and      Blocked       Persons”     maintained    by     OFAC      available     at
http://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx, or as otherwise
published from time to time, or (ii) (A) an agency of the government of a Sanctioned Country,
(B) an organization controlled by a Sanctioned Country, or (C) a person resident in a Sanctioned
Country, to the extent subject to a sanctions program administered by OFAC.

       “Secured Parties” shall mean the Administrative Agent, the Lenders, the Lender-Related
Hedge Providers and the Bank Product Providers.

        “Sellers” has the meaning ascribed thereto in the Purchase Agreement.

       “Specified Capital Contribution” shall mean, for any Fiscal Quarter, any equity
contribution in cash made to the Borrower after the Closing Date which proceeds are used solely
with respect to the exercise of an Equity Cure Right.

        “Sole Lead Arranger” shall mean SunTrust Robinson Humphrey, Inc., in its capacity as
sole lead arranger in connection with this Agreement.

        “Solvent” shall mean, with respect to any Person on a particular date, that on such date
(a) the fair value of the property of such Person is greater than the total amount of liabilities,
including subordinated and contingent liabilities, of such Person; (b) the present fair saleable
value of the assets of such Person is not less than the amount that will be required to pay the
probable liability of such Person on its debts and liabilities, including subordinated and
contingent liabilities as they become absolute and matured; (c) such Person does not intend to,
and does not believe that it will, incur debts or liabilities beyond such Person’s ability to pay as
such debts and liabilities mature; and (d) such Person is not engaged in a business or transaction,
and is not about to engage in a business or transaction, for which such Person’s property would
constitute an unreasonably small capital. The amount of contingent liabilities (such as litigation,
guaranties and pension plan liabilities) at any time shall be computed as the amount that, in light
of all the facts and circumstances existing at the time, represents the amount that would
reasonably be expected to become an actual or matured liability.

      “Sponsor” shall mean Virgo Service Company LLC, a Delaware limited liability
company.

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        “Subsidiary” shall mean, with respect to any Person (the “parent”) at any date, any
corporation, partnership, joint venture, limited liability company, association or other entity the
accounts of which would be consolidated with those of the parent in the parent’s consolidated
financial statements if such financial statements were prepared in accordance with GAAP as of
such date, as well as any other corporation, partnership, joint venture, limited liability company,
association or other entity (i) of which securities or other ownership interests representing more
than 50% of the equity or more than 50% of the ordinary voting power or, in the case of a
partnership, more than 50% of the general partnership interests are, as of such date, owned,
controlled or held, or (ii) that is, as of such date, otherwise controlled, by the parent or one or
more subsidiaries of the parent or by the parent and one or more subsidiaries of the parent.
Unless otherwise indicated, all references to “Subsidiary” hereunder shall mean a Subsidiary of
the Borrower.

        “Subsidiary Loan Party” shall mean any Subsidiary of the Borrower.

       “Swap Obligation” shall mean, with respect to any Guarantor, any obligation to pay or
perform under any agreement, contract or transaction that constitutes a “swap” within the
meaning of section 1a(47) of the Commodity Exchange Act.

        “Synthetic Lease” shall mean a lease transaction under which the parties intend that
(i) the lease will be treated as an “operating lease” by the lessee pursuant to Accounting
Standards Codification Sections 840-10 and 840-20, as amended, and (ii) the lessee will be
entitled to various tax and other benefits ordinarily available to owners (as opposed to lessees) of
like property.

        “Synthetic Lease Obligations” shall mean, with respect to any Person, the sum of (i) all
remaining rental obligations of such Person as lessee under Synthetic Leases which are
attributable to principal and, without duplication, (ii) all rental and purchase price payment
obligations of such Person under such Synthetic Leases assuming such Person exercises the
option to purchase the lease property at the end of the lease term.

       “Taxes” shall mean any and all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees, charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

       “Term Loan” shall mean a term loan made by a Lender to the Borrower pursuant to
Section 2.4.

       “Term Loan Commitment” shall mean, with respect to each Lender, the obligation of
such Lender to make a Term Loan hereunder on the Closing Date, in a principal amount not
exceeding the amount set forth with respect to such Lender on Schedule I.

      “Trademark” shall have the meaning assigned to such term in the Guaranty and Security
Agreement.

        “Trademark Security Agreement” shall mean any Trademark Security Agreement
executed by a Loan Party owning registered Trademarks or applications for Trademarks in favor
of the Administrative Agent for the benefit of the Secured Parties, both on the Closing Date and

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thereafter, as the same may be amended, supplemented or otherwise modified, renewed, restated
or replaced from time to time.

        “Trading with the Enemy Act” shall mean the Trading with the Enemy Act of the United
States of America (50 U.S.C. App. §§ 1 et seq.), as amended and in effect from time to time.

        “Type”, when used in reference to a Loan or a Borrowing, refers to whether the rate of
interest on such Loan, or on the Loans comprising such Borrowing, is determined by reference to
the Adjusted LIBO Rate or the Base Rate.

        “Unfunded Pension Liability” of any Plan shall mean the amount, if any, by which the
value of the accumulated plan benefits under the Plan, determined on a plan termination basis in
accordance with actuarial assumptions at such time consistent with those prescribed by the
PBGC for purposes of Section 4044 of ERISA, exceeds the fair market value of all Plan assets
allocable to such liabilities under Title IV of ERISA (excluding any accrued but unpaid
contributions).

        “Uniform Commercial Code” or “UCC” shall mean the Uniform Commercial Code as in
effect from time to time in the State of New York.

        “United States” or “U.S.” shall mean the United States of America.

        “U.S. Borrower” shall mean any Borrower that is a U.S. Person.

       “U.S. Person” shall mean any Person that is a “United States person” as defined in
Section 7701(a)(30) of the Code.

       “U.S. Tax Compliance Certificate” shall have the meaning set forth in Section
2.19(g)(ii)(B).

        “U.S. Theatrical Rentals” shall mean, at any date at which the amount thereof is to be
determined, an amount equal to the accountable gross receipts estimates of a Loan Party’s share
of revenue, as of such date that are expected to be recognized by a Loan Party from payments by
theatrical exhibitors from the theatrical exploitation of a Qualifying Picture as of such date in the
United States, as calculated in good faith by such Loan Party based on the contractual terms of
the agreements with exhibitors and in accordance with data published by Rentrak and based
solely on known domestic box office as of the date of computation; provided that, in the event
that that the Administrative Agent disagrees with a Loan Party’s calculation, the Administrative
Agent may revise such calculation in its sole discretion and in good faith.

        “Virgo” means Virgo Investment Group LLC, a Delaware limited liability company.

       “Withdrawal Liability” shall mean liability to a Multiemployer Plan as a result of a
complete or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I
of Subtitle E of Title IV of ERISA.

      “Withholding Agent” shall mean the Borrower, any other Loan Party or the
Administrative Agent, as applicable.

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      Section 1.2 Classifications of Loans and Borrowings. For purposes of this
Agreement, Loans may be classified and referred to by Class (e.g. “Revolving Loan” or “Term
Loan”) or by Type (e.g. “Eurodollar Loan” or “Base Rate Loan”) or by Class and Type (e.g.
“Revolving Eurodollar Loan”). Borrowings also may be classified and referred to by Class (e.g.
“Revolving Borrowing”) or by Type (e.g. “Eurodollar Borrowing”) or by Class and Type (e.g.
“Revolving Eurodollar Borrowing”).

        Section 1.3 Accounting Terms and Determination. Unless otherwise defined or
specified herein, all accounting terms used herein shall be interpreted, all accounting
determinations hereunder shall be made, and all financial statements required to be delivered
hereunder shall be prepared, in accordance with GAAP as in effect from time to time, applied on
a basis consistent with the most recent audited consolidated financial statement of the Borrower
delivered pursuant to Section 5.1(a)(i); provided that if the Borrower notifies the Administrative
Agent that the Borrower wishes to amend any covenant in Article VI to eliminate the effect of
any change in GAAP on the operation of such covenant (or if the Administrative Agent notifies
the Borrower that the Required Lenders wish to amend Article VI for such purpose), then the
Borrower’s compliance with such covenant shall be determined on the basis of GAAP in effect
immediately before the relevant change in GAAP became effective, until either such notice is
withdrawn or such covenant is amended in a manner satisfactory to the Borrower and the
Required Lenders. Notwithstanding any other provision contained herein, all terms of an
accounting or financial nature used herein shall be construed, and all computations of amounts
and ratios referred to herein shall be made, without giving effect to any election under
Accounting Standards Codification Section 825-10 (or any other Financial Accounting Standard
having a similar result or effect) to value any Indebtedness or other liabilities of any Loan Party
or any Subsidiary of any Loan Party at “fair value”, as defined therein.

        Section 1.4 Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include”, “includes” and “including” shall be deemed to be followed by the phrase “without
limitation”. The word “will” shall be construed to have the same meaning and effect as the word
“shall”. In the computation of periods of time from a specified date to a later specified date, the
word “from” means “from and including” and the word “to” means “to but excluding”. Unless
the context requires otherwise (i) any definition of or reference to any agreement, instrument or
other document herein shall be construed as referring to such agreement, instrument or other
document as it was originally executed or as it may from time to time be amended, restated,
supplemented or otherwise modified (subject to any restrictions on such amendments,
supplements or modifications set forth herein), (ii) any reference herein to any Person shall be
construed to include such Person’s successors and permitted assigns, (iii) the words “hereof”,
“herein” and “hereunder” and words of similar import shall be construed to refer to this
Agreement as a whole and not to any particular provision hereof, (iv) all references to Articles,
Annexes, Sections, Exhibits and Schedules shall be construed to refer to Articles, Annexes,
Sections, Exhibits and Schedules to this Agreement and (v) all references to a specific time (e.g.,
“11:00 a.m.”), unless otherwise indicated, shall be deemed to be a reference to Eastern time.




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                                         ARTICLE II

                    AMOUNT AND TERMS OF THE COMMITMENTS

        Section 2.1 General Description of Facilities. Subject to and upon the terms and
conditions herein set forth, (i) the Lenders hereby establish in favor of the Borrower a revolving
credit facility pursuant to which each Lender severally agrees (to the extent of such Lender’s
Revolving Commitment) to make Revolving Loans to the Borrower in accordance with Section
2.2; and (ii) each Lender severally agrees to make a Term Loan to the Borrower in a principal
amount not exceeding such Lender’s Term Loan Commitment on the Closing Date.

       Section 2.2 Revolving Loans. Subject to the terms and conditions set forth herein,
each Lender severally agrees to make Revolving Loans, ratably in proportion to its Pro Rata
Share of the Aggregate Revolving Commitments, to the Borrower, from time to time during the
Availability Period, in an aggregate principal amount outstanding at any time that will not result
in (a) such Lender’s Revolving Credit Exposure exceeding such Lender’s Revolving
Commitment or (b) a mandatory prepayment event by the Borrower under Section 2.11(a)(iii).
During the Availability Period, the Borrower shall be entitled to borrow, prepay and reborrow
Revolving Loans in accordance with the terms and conditions of this Agreement; provided that
the Borrower may not borrow or reborrow should there exist a Default or Event of Default.

       Section 2.3 Procedure for Revolving Borrowings. The Borrower shall give the
Administrative Agent written notice (or telephonic notice promptly confirmed in writing) of each
Revolving Borrowing, substantially in the form of Exhibit 2.3 attached hereto (a “Notice of
Borrowing”), (x) prior to 11:00 a.m. one (1) Business Day prior to the requested date of each
Base Rate Borrowing and (y) prior to 11:00 a.m. three (3) Business Days prior to the requested
date of each Eurodollar Borrowing. Each Notice of Borrowing shall be irrevocable and shall
specify (i) the aggregate principal amount of such Borrowing, (ii) the date of such Borrowing
(which shall be a Business Day), (iii) the Type of such Revolving Loan comprising such
Borrowing and (iv) in the case of a Eurodollar Borrowing, the duration of the initial Interest
Period applicable thereto (subject to the provisions of the definition of Interest Period). Each
Revolving Borrowing shall consist entirely of Base Rate Loans or Eurodollar Loans, as the
Borrower may request. The aggregate principal amount of each Eurodollar Borrowing and each
Base Rate Borrowing shall not be less than $100,000 or a larger multiple of $100,000. At no
time shall the total number of Eurodollar Borrowings outstanding at any time exceed ten (10).
The Borrower shall not be permitted to request Revolving Borrowings hereunder more
frequently than once per week. Promptly following the receipt of a Notice of Borrowing in
accordance herewith, the Administrative Agent shall advise each Lender of the details thereof
and the amount of such Lender’s Revolving Loan to be made as part of the requested Revolving
Borrowing.

        Section 2.4 Term Loan Commitments. Subject to the terms and conditions set forth
herein, each Lender severally agrees to make a single term loan to the Borrower on the Closing
Date in a principal amount equal to the Term Loan Commitment of such Lender. The Term
Loans may be, from time to time, Base Rate Loans or Eurodollar Loans or a combination
thereof. The execution and delivery of this Agreement by the Borrower and the satisfaction of all


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conditions precedent pursuant to Section 3.1 shall be deemed to constitute the Borrower’s
request to borrow the Term Loans on the Closing Date.

        Section 2.5   Funding of Borrowings.

                 (a)    Each Lender will make available each Loan to be made by it hereunder
  on the proposed date thereof by wire transfer in immediately available funds by 11:00 a.m. to
  the Administrative Agent at the Payment Office. The Administrative Agent will make such
  Loans available to the Borrower by promptly crediting the amounts that it receives, in like
  funds by the close of business on such proposed date, to an account maintained by the
  Borrower with the Administrative Agent or, at the Borrower’s option, by effecting a wire
  transfer of such amounts to an account designated by the Borrower to the Administrative
  Agent.

                  (b)     Unless the Administrative Agent shall have been notified by any Lender
  prior to 5:00 p.m. one (1) Business Day prior to the date of a Borrowing in which such Lender
  is to participate that such Lender will not make available to the Administrative Agent such
  Lender’s share of such Borrowing, the Administrative Agent may assume that such Lender has
  made such amount available to the Administrative Agent on such date, and the Administrative
  Agent, in reliance on such assumption, may make available to the Borrower on such date a
  corresponding amount. If such corresponding amount is not in fact made available to the
  Administrative Agent by such Lender on the date of such Borrowing, the Administrative Agent
  shall be entitled to recover such corresponding amount on demand from such Lender together
  with interest (x) at the Federal Funds Rate until the second Business Day after such demand
  and (y) at the Base Rate at all times thereafter. If such Lender does not pay such corresponding
  amount forthwith upon the Administrative Agent’s demand therefor, the Administrative Agent
  shall promptly notify the Borrower, and the Borrower shall immediately pay such
  corresponding amount to the Administrative Agent together with interest at the rate specified
  for such Borrowing. Nothing in this subsection shall be deemed to relieve any Lender from its
  obligation to fund its Pro Rata Share of any Borrowing hereunder or to prejudice any rights
  which the Borrower may have against any Lender as a result of any default by such Lender
  hereunder.

                  (c)   All Revolving Borrowings shall be made by the Lenders on the basis of
  their respective Pro Rata Shares. No Lender shall be responsible for any default by any other
  Lender in its obligations hereunder, and each Lender shall be obligated to make its Loans
  provided to be made by it hereunder, regardless of the failure of any other Lender to make its
  Loans hereunder.

        Section 2.6   Interest Elections.

                  (a)    Each Revolving Borrowing and Term Loan initially shall be of the Type
  specified in the applicable Notice of Borrowing. Thereafter, the Borrower may elect to convert
  such Borrowing into a different Type or to continue such Borrowing, all as provided in this
  Section. The Borrower may elect different options with respect to different portions of the
  affected Borrowing, in which case each such portion shall be allocated ratably among the



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  Lenders holding Loans comprising such Borrowing, and the Loans comprising each such
  portion shall be considered a separate Borrowing.

                  (b)     To make an election pursuant to this Section, the Borrower shall give the
  Administrative Agent written notice (or telephonic notice promptly confirmed in writing) of
  each Borrowing that is to be converted or continued, as the case may be, substantially in the
  form of Exhibit 2.7 attached hereto (a “Notice of Conversion/Continuation”) (x) prior to 11:00
  a.m. one (1) Business Day prior to the requested date of a conversion into a Base Rate
  Borrowing and (y) prior to 11:00 a.m. three (3) Business Days prior to a continuation of or
  conversion into a Eurodollar Borrowing. Each such Notice of Conversion/Continuation shall
  be irrevocable and shall specify (i) the Borrowing to which such Notice of
  Conversion/Continuation applies and, if different options are being elected with respect to
  different portions thereof, the portions thereof that are to be allocated to each resulting
  Borrowing (in which case the information to be specified pursuant to clauses (iii) and (iv) shall
  be specified for each resulting Borrowing), (ii) the effective date of the election made pursuant
  to such Notice of Conversion/Continuation, which shall be a Business Day, (iii) whether the
  resulting Borrowing is to be a Base Rate Borrowing or a Eurodollar Borrowing, and (iv) if the
  resulting Borrowing is to be a Eurodollar Borrowing, the Interest Period applicable thereto
  after giving effect to such election, which shall be a period contemplated by the definition of
  “Interest Period”. If any such Notice of Conversion/Continuation requests a Eurodollar
  Borrowing but does not specify an Interest Period, the Borrower shall be deemed to have
  selected an Interest Period of one month. The principal amount of any resulting Borrowing
  shall satisfy the minimum borrowing amount for Eurodollar Borrowings and Base Rate
  Borrowings set forth in Section 2.3.

                  (c)     If, on the expiration of any Interest Period in respect of any Eurodollar
  Borrowing, the Borrower shall have failed to deliver a Notice of Conversion/Continuation,
  then, unless such Borrowing is repaid as provided herein, the Borrower shall be deemed to
  have elected to convert such Borrowing to a Base Rate Borrowing. No Borrowing may be
  converted into, or continued as, a Eurodollar Borrowing if a Default or an Event of Default
  exists, unless the Administrative Agent and each of the Lenders shall have otherwise consented
  in writing. No conversion of any Eurodollar Loan shall be permitted except on the last day of
  the Interest Period in respect thereof.

                 (d)    Upon receipt of any Notice of Conversion/Continuation, the
  Administrative Agent shall promptly notify each Lender of the details thereof and of such
  Lender’s portion of each resulting Borrowing.

        Section 2.7   Optional Reduction and Termination of Commitments.

                 (a)    Unless previously terminated, all Revolving Commitments shall
  terminate on the Revolving Commitment Termination Date. The Term Loan Commitments
  shall terminate on the Closing Date upon the making of the Term Loans pursuant to Section
  2.4.

                (b)    Upon at least three (3) Business Days’ prior written notice (or telephonic
  notice promptly confirmed in writing) to the Administrative Agent (which notice shall be

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  irrevocable), the Borrower may reduce the Aggregate Revolving Commitments in part or
  terminate the Aggregate Revolving Commitments in whole; provided that (i) any partial
  reduction shall apply to reduce proportionately and permanently the Revolving Commitment of
  each Lender, (ii) any partial reduction pursuant to this Section shall be in an amount of at least
  $1,000,000 and any larger multiple of $1,000,000, and (iii) no such reduction shall be
  permitted which would reduce the Aggregate Revolving Commitment Amount to an amount
  less than the aggregate outstanding Revolving Credit Exposure of all Lenders.

                 (c)    With the written approval of the Administrative Agent, the Borrower
  may terminate (on a non-ratable basis) the unused amount of the Revolving Commitment of a
  Defaulting Lender, and in such event the provisions of Section 2.24 will apply to all amounts
  thereafter paid by the Borrower for the account of any such Defaulting Lender under this
  Agreement (whether on account of principal, interest, fees, indemnity or other amounts);
  provided that such termination will not be deemed to be a waiver or release of any claim that
  the Borrower, the Administrative Agent or any other Lender may have against such Defaulting
  Lender.

                  (d)    Simultaneously with each termination or reduction of the Aggregate
  Revolving Commitments or any Revolving Commitment pursuant to subsection (b) or (c) of
  this Section, the Borrower shall pay to the Administrative Agent for the benefit of each Lender
  all accrued and unpaid Commitment Fees on the amount of the Revolving Commitments so
  terminated or reduced through the date of such termination or reduction.

        Section 2.8    Repayment of Loans.

                (a)   Revolving Loans. The outstanding principal amount of all Revolving
  Loans shall be due and payable (together with accrued and unpaid interest thereon) on the
  Revolving Commitment Termination Date.

                  (b)    Term Loans. The Borrower unconditionally promises to pay to the
  Administrative Agent for the account of each Lender the then unpaid principal amount of the
  Term Loan of such Lender in installments payable on the last day of each Fiscal Quarter of the
  Borrower (commencing with the Fiscal Quarter ending December 31, 2014), with each such
  quarterly installment being in an aggregate principal amount for all Lenders equal to (x) 25%
  multiplied by (y) the product of (i) the applicable percentage of the aggregate amount of the
  Term Loan Commitments that is set forth below for such period multiplied by (ii) $20,000,000
  (and on such other date(s) and in such other amounts as may be required from time to time
  pursuant to this Agreement):




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                                                           % of Term Loan
                                                        Commitments to be Repaid
                          Facility Period                  (for all Lenders)
                               Period 1                       10% per annum
                (commencing with the Fiscal Quarter
                 ending December 31, 2014 through
                      the Fiscal Quarter ending
                        September 30, 2015)
                              Period 2                        15% per annum
                (commencing with the Fiscal Quarter
                 ending December 31, 2015 and each
                      Fiscal Quarter thereafter)


provided that any voluntary prepayment of the Term Loans pursuant to Section 2.10 shall reduce
or eliminate, in order of maturity, the four (4) quarterly installments payable under this Section
that immediately follow such voluntary prepayment, and, to the extent the amount of such
voluntary prepayment exceeds the amount of quarterly installments payable with respect to the
immediately succeeding four Fiscal Quarters, such excess may be applied pro rata against all
remaining quarterly installments payable under this Section, and provided further that, to the
extent not previously paid, the aggregate unpaid principal balance of the Term Loans shall be due
and payable in full on the Maturity Date. Any such prepayment shall be applied as follows:
first, to the Term Loans that constitute Base Rate Loans until the same shall have been paid in
full, pro rata to the Lenders based on their Pro Rata Shares of such Term Loans; and second, to
the Term Loans that constitute Eurodollar Loans, pro rata to the Lenders based on their Pro Rata
Shares of such Term Loans.

        Section 2.9    Evidence of Indebtedness.

                 (a)     Each Lender shall maintain in accordance with its usual practice
  appropriate records evidencing the Indebtedness of the Borrower to such Lender resulting from
  each Loan made by such Lender from time to time, including the amounts of principal and
  interest payable thereon and paid to such Lender from time to time under this Agreement. The
  Administrative Agent shall maintain appropriate records in which shall be recorded (i) the
  Revolving Commitment and the Term Loan Commitment of each Lender, (ii) the amount of
  each Loan made hereunder by each Lender, the Class and Type thereof and, in the case of each
  Eurodollar Loan, the Interest Period applicable thereto, (iii) the date of any continuation of any
  Loan pursuant to Section 2.6, (iv) the date of any conversion of all or a portion of any Loan to
  another Type pursuant to Section 2.6, (v) the date and amount of any principal or interest due
  and payable or to become due and payable from the Borrower to each Lender hereunder in
  respect of the Loans and (vi) both the date and amount of any sum received by the
  Administrative Agent hereunder from the Borrower in respect of the Loans and each Lender’s
  Pro Rata Share thereof. The entries made in such records shall be rebuttable prima facie
  evidence of the existence and amounts of the obligations of the Borrower therein recorded;
  provided that the failure or delay of any Lender or the Administrative Agent in maintaining or
  making entries into any such record or any error therein shall not in any manner affect the

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  obligation of the Borrower to repay the Loans (both principal and unpaid accrued interest) of
  such Lender in accordance with the terms of this Agreement.

                  (b)      This Agreement evidences the obligation of the Borrower to repay the
  Loans and is being executed as a “noteless” credit agreement. However, at the request of any
  Lender at any time, the Borrower agrees that it will prepare, execute and deliver to such Lender
  a promissory note payable to the order of such Lender (or, if requested by such Lender, to such
  Lender and its registered assigns) and in a form approved by the Administrative Agent.
  Thereafter, the Loans evidenced by such promissory note and interest thereon shall at all times
  (including after assignment permitted hereunder) be represented by one or more promissory
  notes in such form payable to the order of the payee named therein (or, if such promissory note
  is a registered note, to such payee and its registered assigns).

        Section 2.10 Optional Prepayments. The Borrower shall have the right at any time
and from time to time to prepay any Borrowing, in whole or in part, without premium or penalty,
by giving written notice (or telephonic notice promptly confirmed in writing) to the
Administrative Agent no later than (i) in the case of any prepayment of any Eurodollar
Borrowing, 11:00 a.m. not less than three (3) Business Days prior to the date of such prepayment
and (ii) in the case of any prepayment of any Base Rate Borrowing, not less than one (1)
Business Day prior to the date of such prepayment. Each such notice shall be irrevocable and
shall specify the proposed date of such prepayment and the principal amount of each Borrowing
or portion thereof to be prepaid, with such principal prepayment to be in an amount not less than
$100,000. Upon receipt of any such notice, the Administrative Agent shall promptly notify each
affected Lender of the contents thereof and of such Lender’s Pro Rata Share of any such
prepayment. If such notice is given, the aggregate amount specified in such notice shall be due
and payable on the date designated in such notice, together with accrued interest to such date on
the amount so prepaid in accordance with Section 2.12(d); provided that if a Eurodollar
Borrowing is prepaid on a date other than the last day of an Interest Period applicable thereto, the
Borrower shall also pay all amounts required pursuant to Section 2.18. Each partial prepayment
of any Loan shall be in an amount that would be permitted in the case of an advance of a
Revolving Borrowing of the same Type pursuant to Section 2.2. Each prepayment of a
Borrowing shall be applied ratably to the Loans comprising such Borrowing and, in the case of a
prepayment of a Term Loan Borrowing, as set forth in Section 2.8(b).

        Section 2.11 Mandatory Prepayments.

                  (a)    (i) No later than the Business Day following the date of receipt by any
  Loan Party of any proceeds from any issuance of Indebtedness or equity securities (including
  any Specified Capital Contribution) by a Loan Party, the Borrower shall prepay the Obligations
  in an amount equal to all such proceeds, net of (x) underwriting discounts and commissions
  and other reasonable and customary transaction costs, fees and expenses properly attributable
  to such transaction and payable by a Loan Party in connection therewith to non-Affiliates and
  (y) Taxes paid or payable as a result thereof; provided that the Borrower shall not be required
  to prepay the Obligations with respect to (i) proceeds of Indebtedness permitted under Section
  7.1 and (ii) proceeds of Capital Stock issued by a Loan Party to another Loan Party (excluding
  any Specified Capital Contribution).


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                      (ii)   Immediately upon receipt by any Loan Party of any proceeds of
any Permitted Asset Sale, the Borrower shall immediately repay the Obligations in an amount
equal to such proceeds, net of (x) commissions and other reasonable and customary transaction
costs, fees and expenses properly attributable to such transaction and payable by a Loan Party in
connection therewith to non-Affiliates and (y) Taxes paid or payable as a result thereof.

                      (iii)   If at any time either (a) (x) the sum of the aggregate Revolving
Credit Exposure of all Lenders plus the aggregate amount of the then outstanding Term Loans of
all Lenders exceeds (y) the sum of Aggregate Revolving Commitment Amount then in effect
plus the aggregate principal amount of all Term Loan Commitments then in effect or (b) (x) the
sum of the aggregate Revolving Credit Exposure of all Lenders plus the aggregate amount of the
then outstanding Term Loans of all Lenders exceeds (y) the Borrowing Base then in effect, the
Borrower shall immediately prepay the Obligations in an amount equal to such excess.

                          (iv)    Any prepayments made by the Borrower pursuant to subsection (i),
(ii) or (iii) of this subsection (a) shall be applied as follows: first, to the Administrative Agent’s
fees and reimbursable expenses then due and payable pursuant to any of the Loan Documents;
second, to all reimbursable expenses of the Lenders then due and payable pursuant to any of the
Loan Documents, pro rata to the Lenders based on their respective pro rata shares of such fees
and expenses; third, to interest and fees then due and payable hereunder, pro rata to the Lenders
based on their respective pro rata shares of such interest and fees; fourth, to the principal balance
of the Term Loans, until the same shall have been paid in full, pro rata to the Lenders based on
their Pro Rata Shares of the Term Loans; and fifth, to the principal balance of the Revolving
Loans, until the same shall have been paid in full, pro rata to the Lenders based on their
respective Revolving Commitments. The Revolving Commitments of the Lenders shall not be
permanently reduced by the amount of any prepayments made pursuant to clause fifth above,
unless an Event of Default has occurred and is continuing and the Administrative Agent and the
Required Lenders so request.

                  (b)     The Borrower shall prepay the Term Loans in an amount equal to fifty
  percent (50%) of the Excess Cash Flow (if any) for each Fiscal Year, beginning the Fiscal Year
  ended December 31, 2015. Any such prepayment shall be due and payable to the
  Administrative Agent for the account of each Lender within one hundred twenty (120) days
  after the end of the applicable Fiscal Year. Any such prepayment shall be accompanied by a
  certificate signed by the Borrower’s chief financial officer certifying in reasonable detail the
  manner in which Excess Cash Flow and the resulting prepayment were calculated, which
  certificate shall be in form and substance reasonably satisfactory to the Administrative Agent.
  Any such prepayment made by the Borrower shall be applied as follows: first, to the Term
  Loans that constitute Base Rate Loans until the same shall have been paid in full, pro rata to
  the Lenders based on their Pro Rata Shares of such Term Loans; and second, to the Term
  Loans that constitute Eurodollar Loans, pro rata to the Lenders based on their Pro Rata Shares
  of such Term Loans.

                  (c)    Simultaneously with each termination and/or optional reduction of the
  Aggregate Revolving Commitments pursuant to Section 2.7 hereof, the Borrower shall pay to
  the Administrative Agent for the benefit of the Lenders an amount equal to the excess (if any)
  of (i) the aggregate outstanding Revolving Credit Exposure of all Lenders over (ii) the reduced

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  Aggregate Revolving Commitment Amount. Any such prepayment made by the Borrower
  shall be applied as follows: first, to the Revolving Loans that constitute Base Rate Loans until
  the same shall have been paid in full, pro rata to the Lenders based on their Pro Rata Shares of
  such Revolving Loans; and second, to the Revolving Loans that constitute Eurodollar Loans,
  pro rata to the Lenders based on their Pro Rata Shares of such Revolving Loans.

                 (d)   So long as an Event of Default has not occurred and is not continuing,
  any proceeds of the Collateral may be used by the Loan Parties in any manner (including
  repayment of the Obligations) which is lawful and would not violate any of the provisions of
  this Agreement or any of the other Loan Documents, except as otherwise set forth in any
  Intercreditor Agreement (or any other agreement among, inter alia, the Administrative Agent,
  a Loan Party and a third Person) pursuant to which the Administrative Agent has committed
  thereunder to pay to such third Person a portion of the cash flow derived from an Item of
  Product.

                  (e)     Notwithstanding anything to the contrary in this Section, if an Event of
  Default has occurred and is continuing, subject to the terms of any Intercreditor Agreement (or
  any other agreement among, inter alia, the Administrative Agent, a Loan Party and a third
  Person), all proceeds of the Collateral shall be applied to satisfy the Obligations in the manner
  set forth in Section 8.2.

        Section 2.12 Interest on Loans.

                (a)    The Borrower shall pay interest on (i) each Base Rate Loan at the Base
  Rate plus the Applicable Margin in effect from time to time and (ii) each Eurodollar Loan at
  the Adjusted LIBO Rate for the applicable Interest Period in effect for such Loan plus the
  Applicable Margin in effect from time to time.

                  (b)    Notwithstanding subsections (a) and (b) of this Section, at the option of
  the Required Lenders if an Event of Default has occurred and is continuing, and automatically
  after acceleration or with respect to any past due amount hereunder, the Borrower shall pay
  interest (“Default Interest”) with respect to all Eurodollar Loans at the rate per annum equal to
  200 basis points above the otherwise applicable interest rate for such Eurodollar Loans for the
  then-current Interest Period until the last day of such Interest Period, and thereafter, and with
  respect to all Base Rate Loans and all other Obligations hereunder (other than Loans), at the
  rate per annum equal to 200 basis points above the otherwise applicable interest rate for Base
  Rate Loans.

                  (c)     Interest on the principal amount of all Loans shall accrue from and
  including the date such Loans are made to but excluding the date of any repayment thereof.
  Interest on all outstanding Base Rate Loans shall be payable quarterly in arrears on the last day
  of each March, June, September and December and on the Revolving Commitment
  Termination Date or the Maturity Date, as the case may be. Interest on all outstanding
  Eurodollar Loans shall be payable on the last day of each Interest Period applicable thereto,
  and, in the case of any Eurodollar Loans having an Interest Period in excess of three months,
  on each day which occurs every three months after the initial date of such Interest Period, and
  on the Revolving Commitment Termination Date or the Maturity Date, as the case may be.

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  Interest on any Loan which is converted into a Loan of another Type or which is repaid or
  prepaid shall be payable on the date of such conversion or on the date of any such repayment
  or prepayment (on the amount repaid or prepaid) thereof. All Default Interest shall be payable
  on demand.

                (d)     The Administrative Agent shall determine each interest rate applicable
  to the Loans hereunder and shall promptly notify the Borrower and the Lenders of such rate in
  writing (or by telephone, promptly confirmed in writing). Any such determination shall be
  conclusive and binding for all purposes, absent manifest error.

        Section 2.13 Fees.

                 (a)    The Borrower shall pay to the Administrative Agent for its own account
  fees in the amounts and at the times previously agreed upon in writing by the Borrower and the
  Administrative Agent.

                 (b)     The Borrower agrees to pay to the Administrative Agent for the account
  of each Lender an aggregate commitment fee (the “Commitment Fees”) equal to 0.50% per
  annum, computed on a daily basis and on the basis of a 360 day year, on the amount by which
  such Lender’s Revolving Commitment in effect on such day exceeds such Lender’s Pro Rata
  Share of the Revolving Credit Exposure in effect on such day. For purposes of computing the
  Commitment Fees, the Revolving Commitment of each Lender shall be deemed used to the
  extent of the outstanding Revolving Loans of such Lender. Accrued fees under this subsection
  (b) shall be payable quarterly in arrears on the last day of each March, June, September and
  December, commencing on September 30, 2014, and on the Revolving Commitment
  Termination Date (and, if later, the date the Loans shall be repaid in their entirety); provided
  that any such fees accruing after the Revolving Commitment Termination Date shall be
  payable on demand.

                 (c)    The Borrower shall pay on the Closing Date to the Administrative Agent
  and to the Sole Lead Arranger all fees set forth in the Fee Letter that are respectively due and
  payable to such Person on the Closing Date. The Borrower shall also pay on the Closing Date
  to the Sole Lead Arranger (for the benefit of the Lenders) all upfront fees previously agreed in
  writing. The Borrower hereby assumes all obligations of Virgo arising under the Fee Letter
  and agrees to be bound by the terms of the Fee Letter from and after the date hereof as if the
  Fee Letter was originally executed by the Borrower.

               (d)   The Borrower agrees to pay all other fees set forth in the Fee Letter, as
  when the same become due and payable.

        Section 2.14 Computation of Interest and Fees. Interest hereunder based on the
Administrative Agent’s prime lending rate shall be computed on the basis of a year of 365 days
(or 366 days in a leap year) and paid for the actual number of days elapsed (including the first
day but excluding the last day). All other interest and all fees hereunder shall be computed on
the basis of a year of 360 days and paid for the actual number of days elapsed (including the first
day but excluding the last day). Each determination by the Administrative Agent of an interest



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rate or fee hereunder shall be made in good faith and, except for manifest error, shall be final,
conclusive and binding for all purposes.

       Section 2.15 Inability to Determine Interest Rates. If, prior to the commencement of
any Interest Period for any Eurodollar Borrowing:

               (i)     the Administrative Agent shall have determined (which determination
shall be conclusive and binding upon the Borrower) that, by reason of circumstances affecting
the relevant interbank market, adequate means do not exist for ascertaining the Adjusted LIBO
Rate for such Interest Period, or

              (ii)   the Administrative Agent shall have received notice from the Required
Lenders that the Adjusted LIBO Rate does not adequately and fairly reflect the cost to such
Lenders of making, funding or maintaining their Eurodollar Loans for such Interest Period,

the Administrative Agent shall give written notice (or telephonic notice, promptly confirmed in
writing) to the Borrower and to the Lenders as soon as practicable thereafter. Until the
Administrative Agent shall notify the Borrower and the Lenders that the circumstances giving
rise to such notice no longer exist, (i) the obligations of the Lenders to make Eurodollar
Revolving Loans or to continue or convert outstanding Loans as or into Eurodollar Loans shall
be suspended and (ii) all such affected Loans shall be converted into Base Rate Loans on the last
day of the then current Interest Period applicable thereto unless the Borrower prepays such Loans
in accordance with this Agreement. Unless the Borrower notifies the Administrative Agent at
least one (1) Business Day before the date of any Eurodollar Borrowing for which a Notice of
Borrowing has previously been given that it elects not to borrow, continue or convert to a
Eurodollar Borrowing on such date, then such Revolving Borrowing shall be made as, continued
as or converted into a Base Rate Borrowing.

        Section 2.16 Illegality. If any Change in Law shall make it unlawful or impossible for
any Lender to make, maintain or fund any Eurodollar Loan and such Lender shall so notify the
Administrative Agent, the Administrative Agent shall promptly give notice thereof to the
Borrower and the other Lenders, whereupon until such Lender notifies the Administrative Agent
and the Borrower that the circumstances giving rise to such suspension no longer exist, the
obligation of such Lender to make Eurodollar Revolving Loans, or to continue or convert
outstanding Loans as or into Eurodollar Loans, shall be suspended. In the case of the making of
a Eurodollar Borrowing, such Lender’s Revolving Loan shall be made as a Base Rate Loan as
part of the same Revolving Borrowing for the same Interest Period and, if the affected Eurodollar
Loan is then outstanding, such Loan shall be converted to a Base Rate Loan either (i) on the last
day of the then current Interest Period applicable to such Eurodollar Loan if such Lender may
lawfully continue to maintain such Loan to such date or (ii) immediately if such Lender shall
determine that it may not lawfully continue to maintain such Eurodollar Loan to such date.
Notwithstanding the foregoing, the affected Lender shall, prior to giving such notice to the
Administrative Agent, designate a different Applicable Lending Office if such designation would
avoid the need for giving such notice and if such designation would not otherwise be
disadvantageous to such Lender in the good faith exercise of its discretion.

        Section 2.17 Increased Costs.

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                 (a)     If any Change in Law shall:

                      (i)    impose, modify or deem applicable any reserve, special deposit or
similar requirement that is not otherwise included in the determination of the Adjusted LIBO
Rate hereunder against assets of, deposits with or for the account of, or credit extended by, any
Lender (except any such reserve requirement reflected in the Adjusted LIBO Rate); or

                       (ii)   impose on any Lender or the eurodollar interbank market any other
condition affecting this Agreement or any Eurodollar Loans made by such Lender;

and the result of any of the foregoing is to increase the cost to such Lender of making, converting
into, continuing or maintaining a Eurodollar Loan or to reduce the amount received or receivable
by such Lender hereunder (whether of principal, interest or any other amount), then, from time to
time, such Lender may provide the Borrower (with a copy thereof to the Administrative Agent)
with written notice and demand with respect to such increased costs or reduced amounts, and
within five (5) Business Days after receipt of such notice and demand the Borrower shall pay to
such Lender such additional amounts as will compensate such Lender for any such increased
costs incurred or reduction suffered.

                  (b)    If any Lender shall have determined that on or after the date of this
  Agreement any Change in Law regarding capital or liquidity requirements has or would have
  the effect of reducing the rate of return on such Lender’s capital (or on the capital of the Parent
  Company of such Lender) as a consequence of its obligations hereunder to a level below that
  which such Lender or such Parent Company could have achieved but for such Change in Law
  (taking into consideration such Lender’s policies or the policies of such Parent Company with
  respect to capital adequacy and liquidity), then, from time to time, such Lender may provide
  the Borrower (with a copy thereof to the Administrative Agent) with written notice and
  demand with respect to such reduced amounts, and within five (5) Business Days after receipt
  of such notice and demand the Borrower shall pay to such Lender such additional amounts as
  will compensate such Lender or such Parent Company for any such reduction suffered.

                  (c)    A certificate of such Lender setting forth the amount or amounts
  necessary to compensate such Lender or the Parent Company of such Lender, as the case may
  be, specified in subsection (a) or (b) of this Section shall be delivered to the Borrower (with a
  copy to the Administrative Agent) and shall be conclusive, absent manifest error.

                 (d)     Failure or delay on the part of any Lender to demand compensation
  pursuant to this Section shall not constitute a waiver of such Lender’s right to demand such
  compensation; provided, however, that the Borrower shall not be required to compensate a
  Lender or the Issuing Bank pursuant to this Section 2.17 for any increased costs or reductions
  incurred more than two hundred seventy (270) days prior to the date that such Lender notifies
  the Borrower of the Change in Law giving rise to such increased costs or reductions and of
  such Lender’s intention to claim compensation therefor; provided, further, that, if the Change
  in Law giving rise to such increased costs or reductions is retroactive, then the 270-day period
  referred to above shall be extended to include the period of retroactive effect thereof.




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                  (e)      Each Lender agrees that after it becomes aware of the occurrence of an
  event or the existence of a condition that (i) would cause it to incur any increased cost
  hereunder or render it unable to perform its agreements hereunder for the reasons specifically
  set forth in Section 2.15, Section 2.16 or this Section 2.17 or (ii) would require the Borrower to
  pay an increased amount under Section 2.15, Section 2.16 or this Section 2.17, it will use
  commercially reasonable efforts to notify the Borrower of such event or condition and, to the
  extent not inconsistent with such Lender’s internal policies, will use its reasonable efforts to
  make, fund or maintain the affected Loans of such Lender, through another Lending Office of
  such Lender if as a result thereof the additional monies which would otherwise be required to
  be paid or the reduction of amounts receivable by such Lender thereunder in respect of such
  Loans or participations therein would be materially reduced, or such inability to perform would
  cease to exist, or the increased costs which would otherwise be required to be paid in respect of
  such Loans or participations therein pursuant to Section 2.15, Section 2.16 or this Section 2.17
  would be materially reduced or taxes or other amounts otherwise payable under Section 2.15,
  Section 2.16 or this Section 2.17 would be materially reduced, and if, as determined by the
  Issuing Bank or such Lender, in its sole discretion, the making, funding or maintaining of such
  Loans, through such other Lending Office would not otherwise adversely affect such Loans or
  such Lender. Notwithstanding the foregoing, a failure on the part of any Lender to provide
  notice or take any other action pursuant to this Section 2.17(e) shall not affect the Borrower’s
  obligation to make any payments or deductions required by this Article 2. The Borrower
  hereby agrees to pay all reasonable costs and expenses incurred by any Lender (as the case
  may be) in connection with any such designation or assignment.

        Section 2.18 Funding Indemnity. In the event of (a) the payment of any principal of a
Eurodollar Loan other than on the last day of the Interest Period applicable thereto (including as
a result of an Event of Default), (b) the conversion or continuation of a Eurodollar Loan other
than on the last day of the Interest Period applicable thereto, or (c) the failure by the Borrower to
borrow, prepay, convert or continue any Eurodollar Loan on the date specified in any applicable
notice (regardless of whether such notice is withdrawn or revoked), then, in any such event, the
Borrower shall compensate each Lender, within five (5) Business Days after written demand
from such Lender, for any loss, cost or expense attributable to such event. In the case of a
Eurodollar Loan, such loss, cost or expense shall be deemed to include an amount determined by
such Lender to be the excess, if any, of (A) the amount of interest that would have accrued on the
principal amount of such Eurodollar Loan if such event had not occurred at the Adjusted LIBO
Rate applicable to such Eurodollar Loan for the period from the date of such event to the last day
of the then current Interest Period therefor (or, in the case of a failure to borrow, convert or
continue, for the period that would have been the Interest Period for such Eurodollar Loan) over
(B) the amount of interest that would accrue on the principal amount of such Eurodollar Loan for
the same period if the Adjusted LIBO Rate were set on the date such Eurodollar Loan was
prepaid or converted or the date on which the Borrower failed to borrow, convert or continue
such Eurodollar Loan. A certificate as to any additional amount payable under this Section
submitted to the Borrower by any Lender (with a copy to the Administrative Agent) shall be
conclusive, absent manifest error.

        Section 2.19 Taxes.



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                 (a) Defined Terms. For purposes of this Section 2.19, the term “applicable
  law” includes FATCA.

                 (b)     Payments Free of Taxes. Any and all payments by or on account of any
  obligation of any Loan Party under any Loan Document shall be made without deduction or
  withholding for any Taxes, except as required by applicable law. If any applicable law (as
  determined in the good faith discretion of an applicable Withholding Agent) requires the
  deduction or withholding of any Tax from any such payment by a Withholding Agent, then the
  applicable Withholding Agent shall be entitled to make such deduction or withholding and
  shall timely pay the full amount deducted or withheld to the relevant Governmental Authority
  in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum
  payable by the applicable Loan Party shall be increased as necessary so that after such
  deduction or withholding has been made (including such deductions and withholdings
  applicable to additional sums payable under this Section) the applicable Recipient receives an
  amount equal to the sum it would have received had no such deduction or withholding been
  made.

                 (c)    Payment of Other Taxes by the Borrower. The Borrower shall timely
  pay to the relevant Governmental Authority in accordance with applicable law, or at the option
  of the Administrative Agent timely reimburse it for the payment of, any Other Taxes.

                  (d)     Indemnification by the Borrower. The Borrower shall indemnify each
  Recipient, within 10 days after demand therefor, for the full amount of any Indemnified Taxes
  (including Indemnified Taxes imposed or asserted on or attributable to amounts payable under
  this Section) payable or paid by such Recipient or required to be withheld or deducted from a
  payment to such Recipient and any reasonable expenses arising therefrom or with respect
  thereto, whether or not such Indemnified Taxes were correctly or legally imposed or asserted
  by the relevant Governmental Authority. A certificate as to the amount of such payment or
  liability delivered to the Borrower by a Lender (with a copy to the Administrative Agent), or
  by the Administrative Agent on its own behalf or on behalf of a Lender, shall be conclusive
  absent manifest error.

                  (e)    Indemnification by the Lenders. Each Lender shall severally indemnify
  the Administrative Agent, within 10 days after demand therefor, for (i) any Indemnified Taxes
  attributable to such Lender (but only to the extent that the Borrower has not already
  indemnified the Administrative Agent for such Indemnified Taxes and without limiting the
  obligation of the Borrower to do so), (ii) any Taxes attributable to such Lender’s failure to
  comply with the provisions of Section 10.4(d) relating to the maintenance of a Participant
  Register and (iii) any Excluded Taxes attributable to such Lender, in each case, that are
  payable or paid by the Administrative Agent in connection with any Loan Document, and any
  reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes were
  correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate
  as to the amount of such payment or liability delivered to any Lender by the Administrative
  Agent shall be conclusive absent manifest error. Each Lender hereby authorizes the
  Administrative Agent to set off and apply any and all amounts at any time owing to such
  Lender under any Loan Document or otherwise payable by the Administrative Agent to the


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  Lender from any other source against any amount due to the Administrative Agent under this
  paragraph (e).

                 (f)     Evidence of Payments. As soon as practicable after any payment of
  Taxes by the Borrower or any other Loan Party to a Governmental Authority pursuant to this
  Section 2.19, the Borrower or other Loan Party shall deliver to the Administrative Agent the
  original or a certified copy of a receipt issued by such Governmental Authority evidencing
  such payment, a copy of the return reporting such payment or other evidence of such payment
  reasonably satisfactory to the Administrative Agent.

                  (g)     Status of Lenders. (i) Any Lender that is entitled to an exemption from
  or reduction of withholding Tax with respect to payments made under any Loan Document
  shall deliver to the Borrower and the Administrative Agent, at the time or times reasonably
  requested by the Borrower or the Administrative Agent, such properly completed and executed
  documentation reasonably requested by the Borrower or the Administrative Agent as will
  permit such payments to be made without withholding or at a reduced rate of withholding. In
  addition, any Lender, if reasonably requested by the Borrower or the Administrative Agent,
  shall deliver such other documentation prescribed by applicable law or reasonably requested by
  the Borrower or the Administrative Agent as will enable the Borrower or the Administrative
  Agent to determine whether or not such Lender is subject to backup withholding or
  information reporting requirements. Notwithstanding anything to the contrary in the preceding
  two sentences, the completion, execution and submission of such documentation (other than
  such documentation set forth in Section 2.19(g)(ii)(A), (ii)(B) and (ii)(D) below) shall not be
  required if in the Lender’s reasonable judgment such completion, execution or submission
  would subject such Lender to any material unreimbursed cost or expense or would materially
  prejudice the legal or commercial position of such Lender.

                      (ii)   Without limiting the generality of the foregoing, in the event that
the Borrower is a U.S. Borrower,

                              (A)   any Lender that is a U.S. Person shall deliver to the
        Borrower and the Administrative Agent on or prior to the date on which such Lender
        becomes a Lender under this Agreement (and from time to time thereafter upon the
        reasonable request of the Borrower or the Administrative Agent), executed originals of
        IRS Form W-9 certifying that such Lender is exempt from U.S. federal backup
        withholding tax;

                                (B)    any Foreign Lender shall, to the extent it is legally entitled
        to do so, deliver to the Borrower and the Administrative Agent (in such number of copies
        as shall be requested by the recipient) on or prior to the date on which such Foreign
        Lender becomes a Lender under this Agreement (and from time to time thereafter upon
        the reasonable request of the Borrower or the Administrative Agent), whichever of the
        following is applicable:

                                     (I)     in the case of a Foreign Lender claiming the
                benefits of an income tax treaty to which the United States is a party (x) with
                respect to payments of interest under any Loan Document, executed originals of

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                IRS Form W-8BEN, or IRS Form W-8BEN-E, as applicable, establishing an
                exemption from, or reduction of, U.S. federal withholding Tax pursuant to the
                “interest” article of such tax treaty and (y) with respect to any other applicable
                payments under any Loan Document, IRS Form W-8BEN, or IRS Form W-
                8BEN-E, as applicable establishing an exemption from, or reduction of, U.S.
                federal withholding Tax pursuant to the “business profits” or “other income”
                article of such tax treaty;

                                      (II)    executed originals of IRS Form W-8ECI;

                                        (III) in the case of a Foreign Lender claiming the
                benefits of the exemption for portfolio interest under Section 881(c) of the Code,
                (x) a certificate substantially in the form of Exhibit 2.19A to the effect that such
                Foreign Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the
                Code, a “10 percent shareholder” of the Borrower within the meaning of Section
                881(c)(3)(B) of the Code, or a “controlled foreign corporation” described in
                Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance Certificate”) and
                (y) executed originals of IRS Form W-8BEN (or IRS Form W-8BEN-E, as
                applicable); or

                                       (IV) to the extent a Foreign Lender is not the beneficial
                owner, executed originals of IRS Form W-8IMY, accompanied by IRS Form W-
                8ECI, IRS Form W-8BEN (or IRS Form W-8BEN-E, as applicable), a U.S. Tax
                Compliance Certificate substantially in the form of Exhibit 2.19B or Exhibit
                2.19C, IRS Form W-9, and/or other certification documents from each beneficial
                owner, as applicable; provided that if the Foreign Lender is a partnership and one
                or more direct or indirect partners of such Foreign Lender are claiming the
                portfolio interest exemption, such Foreign Lender may provide a U.S. Tax
                Compliance Certificate substantially in the form of Exhibit 2.19D on behalf of
                each such direct and indirect partner;

                                (C)    any Foreign Lender shall, to the extent it is legally entitled
        to do so, deliver to the Borrower and the Administrative Agent (in such number of copies
        as shall be requested by the recipient) on or prior to the date on which such Foreign
        Lender becomes a Lender under this Agreement (and from time to time thereafter upon
        the reasonable request of the Borrower or the Administrative Agent), executed originals
        of any other form prescribed by applicable law as a basis for claiming exemption from or
        a reduction in U.S. federal withholding Tax, duly completed, together with such
        supplementary documentation as may be prescribed by applicable law to permit the
        Borrower or the Administrative Agent to determine the withholding or deduction
        required to be made; and

                               (D)     if a payment made to a Lender under any Loan Document
        would be subject to U.S. federal withholding Tax imposed by FATCA if such Lender
        were to fail to comply with the applicable reporting requirements of FATCA (including
        those contained in Section 1471(b) or 1472(b) of the Code, as applicable), such Lender
        shall deliver to the Borrower and the Administrative Agent at the time or times prescribed

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        by law and at such time or times reasonably requested by the Borrower or the
        Administrative Agent such documentation prescribed by applicable law (including as
        prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation
        reasonably requested by the Borrower or the Administrative Agent as may be necessary
        for the Borrower and the Administrative Agent to comply with their obligations under
        FATCA and to determine that such Lender has complied with such Lender’s obligations
        under FATCA or to determine the amount to deduct and withhold from such payment.
        Solely for purposes of this clause (D), “FATCA” shall include any amendments made to
        FATCA after the date of this Agreement.

Each Lender agrees that if any form or certification it previously delivered expires or becomes
obsolete or inaccurate in any respect, it shall update such form or certification or promptly notify
the Borrower and the Administrative Agent in writing of its legal inability to do so.

                   (h)    Treatment of Certain Refunds. If any party determines, in its sole
  discretion exercised in good faith, that it has received a refund of any Taxes as to which it has
  been indemnified pursuant to this Section 2.19 (including by the payment of additional
  amounts pursuant to this Section 2.19), it shall pay to the indemnifying party an amount equal
  to such refund (but only to the extent of indemnity payments made under this Section with
  respect to the Taxes giving rise to such refund), net of all out-of-pocket expenses (including
  Taxes) of such indemnified party and without interest (other than any interest paid by the
  relevant Governmental Authority with respect to such refund). Such indemnifying party, upon
  the request of such indemnified party, shall repay to such indemnified party the amount paid
  over pursuant to this paragraph (h) (plus any penalties, interest or other charges imposed by the
  relevant Governmental Authority) in the event that such indemnified party is required to repay
  such refund to such Governmental Authority. Notwithstanding anything to the contrary in this
  paragraph (h), in no event will the indemnified party be required to pay any amount to an
  indemnifying party pursuant to this paragraph (h) the payment of which would place the
  indemnified party in a less favorable net after-Tax position than the indemnified party would
  have been in if the Tax subject to indemnification and giving rise to such refund had not been
  deducted, withheld or otherwise imposed and the indemnification payments or additional
  amounts with respect to such Tax had never been paid. This paragraph shall not be construed
  to require any indemnified party to make available its Tax returns (or any other information
  relating to its Taxes that it deems confidential) to the indemnifying party or any other Person.

                  (i)    Survival. Each party’s obligations under this Section 2.19 shall survive
  the resignation or replacement of the Administrative Agent or any assignment of rights by, or
  the replacement of, a Lender, the termination of the Commitments and the repayment,
  satisfaction or discharge of all obligations under any Loan Document.

        Section 2.20 Payments Generally; Pro Rata Treatment; Sharing of Set-offs.

                 (a)    The Borrower shall make each payment required to be made by it
  hereunder (whether of principal, interest or fees, or of amounts payable under Section 2.17,
  2.18 or 2.19, or otherwise) prior to 11:00 a.m. on the date when due, in immediately available
  funds, free and clear of any defenses, rights of set-off, counterclaim, or withholding or
  deduction of taxes. Any amounts received after such time on any date may, in the discretion of

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  the Administrative Agent, be deemed to have been received on the next succeeding Business
  Day for purposes of calculating interest thereon. All such payments shall be made to the
  Administrative Agent at the Payment Office, except that payments pursuant to Sections 2.17,
  2.18 or 2.19 and 10.3 shall be made directly to the Persons entitled thereto. The
  Administrative Agent shall distribute any such payments received by it for the account of any
  other Person to the appropriate recipient promptly following receipt thereof. If any payment
  hereunder shall be due on a day that is not a Business Day, the date for payment shall be
  extended to the next succeeding Business Day, and, in the case of any payment accruing
  interest, interest thereon shall be made payable for the period of such extension. All payments
  hereunder shall be made in Dollars.

                  (b)     If any Lender shall, by exercising any right of set-off or counterclaim or
  otherwise, obtain payment in respect of any principal of or interest on any of its Loans that
  would result in such Lender receiving payment of a greater proportion of the aggregate amount
  of its Revolving Credit Exposure, Term Loans and accrued interest and fees thereon than the
  proportion received by any other Lender with respect to its Revolving Credit Exposure or Term
  Loans, then the Lender receiving such greater proportion shall purchase (for cash at face value)
  participations in the Revolving Credit Exposure and Term Loans of other Lenders to the extent
  necessary so that the benefit of all such payments shall be shared by the Lenders ratably in
  accordance with the aggregate amount of principal of and accrued interest on their respective
  Revolving Credit Exposure and Term Loans; provided that (i) if any such participations are
  purchased and all or any portion of the payment giving rise thereto is recovered, such
  participations shall be rescinded and the purchase price restored to the extent of such recovery,
  without interest, and (ii) the provisions of this subsection shall not be construed to apply to any
  payment made by the Borrower pursuant to and in accordance with the express terms of this
  Agreement (including the application of funds arising from the existence of a Defaulting
  Lender) or any payment obtained by a Lender as consideration for the assignment of or sale of
  a participation in any of its Revolving Credit Exposure or Term Loans to any assignee or
  participant, other than to the Borrower or any Subsidiary or Affiliate thereof (as to which the
  provisions of this subsection shall apply). The Borrower consents to the foregoing and agrees,
  to the extent it may effectively do so under applicable law, that any Lender acquiring a
  participation pursuant to the foregoing arrangements may exercise against the Borrower rights
  of set-off and counterclaim with respect to such participation as fully as if such Lender were a
  direct creditor of the Borrower in the amount of such participation.

                 (c)    Unless the Administrative Agent shall have received notice from the
  Borrower prior to the date on which any payment is due to the Administrative Agent for the
  account of the Lenders hereunder that the Borrower will not make such payment, the
  Administrative Agent may assume that the Borrower has made such payment on such date in
  accordance herewith and may, in reliance upon such assumption, distribute to the Lenders the
  amount or amounts due. In such event, if the Borrower has not in fact made such payment,
  then each of the Lenders severally agrees to repay to the Administrative Agent forthwith on
  demand the amount so distributed to such Lender with interest thereon, for each day from and
  including the date such amount is distributed to it to but excluding the date of payment to the
  Administrative Agent, at the greater of the Federal Funds Rate and a rate determined by the
  Administrative Agent in accordance with banking industry rules on interbank compensation.


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        Section 2.21 Increase of Revolving Commitments; Additional Lenders.

                (a)     From time to time after the Closing Date and in accordance with this
  Section, the Borrower and one or more Increasing Lenders or Additional Lenders (each as
  defined below) may enter into an agreement to increase the aggregate Revolving Commitments
  hereunder (each such increase, an “Incremental Revolving Commitment”) so long as the
  following conditions are satisfied:

                     (i)    the aggregate principal amount of all such Incremental Revolving
        Commitments made pursuant to this Section shall not exceed $15,000,000 (the principal
        amount of each such Incremental Revolving Commitment, the “Incremental Revolving
        Commitment Amount”);

                      (ii)   the Borrower shall execute and deliver such documents and
        instruments and take such other actions as may be reasonably required by the
        Administrative Agent in connection with and at the time of any such proposed increase;

                        (iii) at the time of and immediately after giving effect to any such
        proposed increase, no Default or Event of Default shall exist, all representations and
        warranties of each Loan Party set forth in the Loan Documents shall be true and correct
        in all material respects (other than those representations and warranties that are expressly
        qualified by a Material Adverse Effect or other materiality, in which case such
        representations and warranties shall be true and correct in all respects), and, since June
        30, 2014, there shall have been no change which has had or could reasonably be expected
        to have, either individually or in the aggregate, a Material Adverse Effect;

                       (iv)   any Incremental Revolving Commitments provided pursuant to
        this Section shall have a termination date no earlier than the Revolving Commitment
        Termination Date;

                       (v)      the Administrative Agent shall have received a Compliance
        Certificate which demonstrates that the Borrower and its Subsidiaries are in pro forma
        compliance with each of the financial covenants set forth in Article VI as of the most
        recently ended Fiscal Quarter for which financial statements are required to have been
        delivered, calculated as if all such Incremental Revolving Commitments had been
        established (and all of the Revolving Commitments, as so increased, have been fully
        funded) as of the first day of the relevant period for testing compliance;

                    (vi)     any collateral securing any such Incremental Revolving
        Commitments shall also secure all other Obligations on a pari passu basis; and

                     (vii) all other terms and conditions with respect to any such Incremental
        Revolving Commitments shall be reasonably satisfactory to the Administrative Agent.

                 (b)     The Borrower shall provide at least 30 days’ written notice to the
  Administrative Agent (who shall promptly provide a copy of such notice to each Lender) of
  any proposal to establish an Incremental Revolving Commitment. The Borrower may also, but
  is not required to, specify any fees offered to those Lenders (the “Increasing Lenders”) that

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  agree to increase the principal amount of their Revolving Commitments, which fees shall be
  based upon the amount by which any such Lender is willing to increase the principal amount of
  its Revolving Commitment, in accordance with the Fee Letter. Each Increasing Lender shall as
  soon as practicable, and in any case within 15 days following receipt of such notice, specify in
  a written notice to the Borrower and the Administrative Agent the amount of such proposed
  Incremental Revolving Commitment that it is willing to provide. No Lender (or any successor
  thereto) shall have any obligation, express or implied, to offer to increase the aggregate
  principal amount of its Revolving Commitment, and any decision by a Lender to increase its
  Revolving Commitment shall be made in its sole discretion independently from any other
  Lender. Only the consent of each Increasing Lender shall be required for an increase in the
  aggregate principal amount of the Revolving Commitments, pursuant to this Section. No
  Lender which declines to increase the principal amount of its Revolving Commitment may be
  replaced with respect to its existing Revolving Commitment as a result thereof without such
  Lender’s consent. If any Lender shall fail to notify the Borrower and the Administrative Agent
  in writing about whether it will increase its Revolving Commitment within 15 days after
  receipt of such notice, such Lender shall be deemed to have declined to increase its Revolving
  Commitment. The Borrower may accept some or all of the offered amounts or designate new
  lenders that are acceptable to the Administrative Agent (such approval not to be unreasonably
  withheld) as additional Lenders hereunder in accordance with this Section (the “Additional
  Lenders”), which Additional Lenders may assume all or a portion of such Incremental
  Revolving Commitment. The Borrower and the Administrative Agent shall have discretion
  jointly to adjust the allocation of such Incremental Revolving Commitments among the
  Increasing Lenders and the Additional Lenders. The sum of the increase in the Revolving
  Commitments of the Increasing Lenders plus the Revolving Commitments of the Additional
  Lenders shall not in the aggregate exceed the unsubscribed amount of the Incremental
  Revolving Commitment Amount.

                  (c)     Subject to subsections (a) and (b) of this Section, any increase requested
  by the Borrower shall be effective upon (I) payment to the Administrative Agent of all fees,
  expenses and other amounts due and payable on or prior to the effective date of such increase
  (including all fees set forth in the Fee Letter that are due and payable to the Sole Lead Arranger
  in connection with such increase, and all upfront fees previously agreed in writing in
  connection with such increase (which upfront fees shall be paid to the Sole Arranger for the
  benefit of any applicable Increasing Lender(s) and any applicable Additional Lender(s))) and
  (II) delivery to the Administrative Agent of each of the following documents:

               (i)    an originally executed copy of an instrument of joinder, in form and
        substance reasonably acceptable to the Administrative Agent, executed by the Borrower,
        by each Additional Lender and by each Increasing Lender, setting forth the new
        Revolving Commitments of such Lenders and setting forth the agreement of each
        Additional Lender to become a party to this Agreement and to be bound by all of the
        terms and provisions hereof;

               (ii)    such evidence of appropriate corporate authorization on the part of the
        Borrower with respect to such Incremental Revolving Commitment and such opinions of
        counsel for the Borrower with respect to such Incremental Revolving Commitment as the
        Administrative Agent may reasonably request;

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               (iii) a certificate of the Borrower signed by a Responsible Officer, in form and
        substance reasonably acceptable to the Administrative Agent, certifying that each of the
        conditions in subsection (a) of this Section has been satisfied;

               (iv) to the extent requested by any Additional Lender or any Increasing
        Lender, executed promissory notes evidencing such Incremental Revolving
        Commitments, issued by the Borrower in accordance with Section 2.9; and

               (v)    any other certificates or documents that the Administrative Agent shall
        reasonably request, in form and substance reasonably satisfactory to the Administrative
        Agent.

             Upon the effectiveness of any such Incremental Revolving Commitment, the
Commitments and Pro Rata Share of each Lender will be adjusted to give effect to the
Incremental Revolving Commitments, as applicable, and Schedule I shall automatically be
deemed amended accordingly.

                 (d)     If any Incremental Revolving Commitments are to have terms that are
  different from the Revolving Commitments outstanding immediately prior to such incurrence
  (any such Incremental Revolving Commitments, the “Non-Conforming Credit Extensions”), all
  such terms shall be as set forth in a separate assumption agreement among the Borrower, the
  Lenders providing such Incremental Revolving Commitments and the Administrative Agent,
  the execution and delivery of which agreement shall be a condition to the effectiveness of the
  Non-Conforming Credit Extensions.          If the Borrower incurs Incremental Revolving
  Commitments under this Section, regardless of whether such Incremental Revolving
  Commitments are Non-Conforming Credit Extensions, the Borrower shall, after such time,
  repay and incur Revolving Loans ratably as between the Incremental Revolving Commitments
  and the Revolving Commitments outstanding immediately prior to such incurrence.
  Notwithstanding anything to the contrary in Section 10.2, the Administrative Agent is
  expressly permitted to amend the Loan Documents to the extent necessary to give effect to any
  increase pursuant to this Section and mechanical changes necessary or advisable in connection
  therewith (including amendments to implement the requirements in the preceding two
  sentences, amendments to ensure pro rata allocations of Eurodollar Loans and Base Rate
  Loans between Loans incurred pursuant to this Section and Loans outstanding immediately
  prior to any such incurrence).

       Section 2.22 Mitigation of Obligations. If any Lender requests compensation under
Section 2.17, or if the Borrower is required to pay any additional amount to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 2.19, then such
Lender shall use reasonable efforts to designate a different lending office for funding or booking
its Loans hereunder or to assign its rights and obligations hereunder to another of its offices,
branches or affiliates, if, in the sole judgment of such Lender, such designation or assignment
(i) would eliminate or reduce amounts payable under Section 2.17 or Section 2.19, as the case
may be, in the future and (ii) would not subject such Lender to any unreimbursed cost or expense
and would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay
all costs and expenses incurred by any Lender in connection with such designation or
assignment.

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         Section 2.23 Replacement of Lenders. If (a) any Lender requests compensation under
Section 2.17, or if the Borrower is required to pay any additional amount to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 2.19, or (b) any
Lender is a Defaulting Lender, then the Borrower may, at its sole expense and effort, upon notice
to such Lender and the Administrative Agent, require such Lender to assign and delegate,
without recourse (in accordance with and subject to the restrictions set forth in Section 10.4(b)),
all of its interests, rights (other than its existing rights to payments pursuant to Section 2.17 or
2.19, as applicable) and obligations under this Agreement to an assignee that shall assume such
obligations (which assignee may be another Lender) (a “Replacement Lender”); provided that
(i) the Borrower shall have received the prior written consent of the Administrative Agent, which
consent shall not be unreasonably withheld, (ii) such Lender shall have received payment of an
amount equal to the outstanding principal amount of all Loans owed to it, accrued interest
thereon, accrued fees and all other amounts payable to it hereunder from the assignee (in the case
of such outstanding principal and accrued interest) and from the Borrower (in the case of all
other amounts), and (iii) in the case of a claim for compensation under Section 2.17 or payments
required to be made pursuant to Section 2.19, such assignment will result in a reduction in such
compensation or payments. A Lender shall not be required to make any such assignment and
delegation if, prior thereto, as a result of a waiver by such Lender or otherwise, the
circumstances entitling the Borrower to require such assignment and delegation cease to apply.

        Section 2.24 Defaulting Lenders.

                 (a)    Defaulting Lender Adjustments. Notwithstanding anything to the
  contrary contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until
  such time as such Lender is no longer a Defaulting Lender, to the extent permitted by
  applicable law:

                        (i)     Such Defaulting Lender’s right to approve or disapprove any
        amendment, waiver or consent with respect to this Agreement shall be restricted as set
        forth in the definition of Required Lenders and in Section 10.2.

                        (ii)   Any payment of principal, interest, fees or other amounts received
        by the Administrative Agent for the account of such Defaulting Lender (whether
        voluntary or mandatory, at maturity, pursuant to Article VIII or otherwise) or received by
        the Administrative Agent from a Defaulting Lender pursuant to Section 10.7 shall be
        applied at such time or times as may be determined by the Administrative Agent as
        follows: first, to the payment of any amounts owing by such Defaulting Lender to the
        Administrative Agent hereunder; second, as the Borrower may request (so long as no
        Default or Event of Default exists), to the funding of any Loan in respect of which such
        Defaulting Lender has failed to fund its portion thereof as required by this Agreement, as
        determined by the Administrative Agent; third, if so determined by the Administrative
        Agent and the Borrower, to be held in a deposit account and released pro rata in order to
        satisfy such Defaulting Lender’s potential future funding obligations with respect to
        Loans under this Agreement; fourth, to the payment of any amounts owing to the Lenders
        as a result of any judgment of a court of competent jurisdiction obtained by any Lender
        against such Defaulting Lender as a result of such Defaulting Lender’s breach of its
        obligations under this Agreement; fifth, so long as no Default or Event of Default exists,

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        to the payment of any amounts owing to the Borrower as a result of any judgment of a
        court of competent jurisdiction obtained by the Borrower against such Defaulting Lender
        as a result of such Defaulting Lender’s breach of its obligations under this Agreement;
        and sixth, to such Defaulting Lender or as otherwise directed by a court of competent
        jurisdiction; provided that if (x) such payment is a payment of the principal amount of
        any Loans in respect of which such Defaulting Lender has not fully funded its appropriate
        share, and (y) such Loans were made at a time when the applicable conditions set forth in
        Article III were satisfied or waived, such payment shall be applied solely to pay the
        Loans of all Non-Defaulting Lenders on a pro rata basis prior to being applied to the
        payment of any Loans of such Defaulting Lender until such time as all Loans are held by
        the Lenders pro rata in accordance with the Commitments under the applicable facility.
        Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
        are applied (or held) to pay amounts owed by a Defaulting Lender pursuant to this
        Section 2.24(a)(ii) shall be deemed paid to and redirected by such Defaulting Lender, and
        each Lender irrevocably consents hereto.

                      (iii) No Defaulting Lender shall be entitled to receive any Commitment
        Fee pursuant to Section 2.13(b) for any period during which that Lender is a Defaulting
        Lender (and the Borrower shall not be required to pay any such fee that otherwise would
        have been required to have been paid to that Defaulting Lender).

                  (b)    Defaulting Lender Cure. If the Borrower and the Administrative Agent
  agree in writing that a Lender is no longer a Defaulting Lender, the Administrative Agent will
  so notify the parties hereto, whereupon as of the effective date specified in such notice and
  subject to any conditions set forth therein, that Lender will, to the extent applicable, purchase
  at par that portion of outstanding Loans of the other Lenders or take such other actions as the
  Administrative Agent may determine to be necessary to cause the Loans to be held pro rata by
  the Lenders in accordance with the applicable Commitments, whereupon such Lender will
  cease to be a Defaulting Lender; provided that no adjustments will be made retroactively with
  respect to fees accrued or payments made by or on behalf of the Borrower while that Lender
  was a Defaulting Lender; and provided, further, that except to the extent otherwise expressly
  agreed by the affected parties, no change hereunder from Defaulting Lender to Lender will
  constitute a waiver or release of any claim of any party hereunder arising from that Lender’s
  having been a Defaulting Lender.

        Section 2.25 Provisions Relating to the Borrowing Base.

                  (a)     The Administrative Agent or the Required Lenders may from time to
  time by written notice to the Borrower (i) remove any Acceptable Obligor or Affiliated Group
  from Annex A, or (ii) decrease the Allowable Amount for any Acceptable Obligor or Affiliated
  Group, (iii) reclassify any Acceptable Obligor or Affiliated Group into a different category of
  Acceptable Obligor or Affiliated Group (as the case may be), or (iv) modify the type(s) of
  Item(s) of Product permitted for such Acceptable Obligor or Affiliated Group, in each case as
  the Administrative Agent or the Required Lenders, as the case may be, acting in good faith
  may deem appropriate as a result of a change in the circumstances of such Acceptable Obligor
  or Affiliated Group or experience with regard to the set offs or deductions taken or asserted by
  the Acceptable Obligor or a member of its Affiliated Group with regard to prior credits

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  included in the Borrowing Base; provided, however, that any such removal, decrease,
  reclassification or modification shall be effective on a prospective basis only and shall not be
  effective (x) with respect to any Acceptable Obligor or Affiliated Group if, prior to the
  Borrower’s receipt of such notice, any of the Loan Parties has executed a deal memo or other
  written agreement with such Acceptable Obligor or Affiliated Group with respect to amounts
  to be paid to such Loan Party solely in connection with a single Item of Product and such
  execution occurs not more than thirty (30) days prior to the initial extension of credit made
  hereunder in respect of such Item of Product and/or (y) to the extent that giving effect to such
  notice would otherwise result in a mandatory prepayment by the Borrower under Section
  2.11(a)(iii) (but such notice shall nevertheless be effective for all other purposes under this
  Agreement), subject to the provisos in subsections (d) and (e) of this Section. The
  Administrative Agent and the Required Lenders, as applicable, agree to consult with the
  Borrower regarding any removal, decrease, reclassification or modification contemplated
  hereby to the extent practicable and permitted by applicable law, provided that the failure to do
  so shall not render ineffective any such removal, decrease, reclassification or modification, and
  any such removal, decrease, reclassification or modification shall be effective notwithstanding
  any such consultation.

                 (b)     The Required Lenders may (either independently or after a request has
  been received from the Borrower) from time to time by written notice to the Borrower, as they
  may in their discretion deem appropriate, (i) add or reinstate an Acceptable Obligor or
  Affiliated Group to Annex A, (ii) increase the Allowable Amount for any Acceptable Obligor
  or Affiliated Group, (iii) reclassify any Acceptable Obligor or Affiliated Group into a different
  category of Acceptable Obligor or (iv) modify the type(s) of Item(s) of Product permitted for
  such Acceptable Obligor.

                 (c)      In the event either Administrative Agent or the Required Lenders notify
  the Borrower that an Acceptable Obligor or Affiliated Group is removed from Annex A in
  accordance with subsection (a) of this Section, no new Eligible Receivables with respect to
  such Person or Affiliated Group may be included in the Borrowing Base, and any existing
  Eligible Receivables may no longer be included in the Borrowing Base for purposes of further
  Loans made hereunder, in each case subsequent to such notice, unless supported by an
  Acceptable L/C or the Required Lenders thereafter notify the Borrower that such Acceptable
  Obligor or Affiliated Group is reinstated as an Acceptable Obligor in accordance with
  subsection (b) of this Section.

                   (d)    In the event either Administrative Agent or the Required Lenders notify
  the Borrower that the Allowable Amount with respect to an Acceptable Obligor or Affiliated
  Group is to be reduced in accordance with subsection (a) of this Section, (i) no new Eligible
  Receivables with respect to such Acceptable Obligor or Affiliated Group may be included in a
  Borrowing Base subsequent to such notice if such inclusion would result in the aggregate
  amount of Eligible Receivables from such Acceptable Obligor or Affiliated Group being in
  excess of the Allowable Amount for such Acceptable Obligor or Affiliated Group after giving
  effect to such reduction, and (ii) no further Loans shall be made on the basis of Eligible
  Receivables with respect to such Acceptable Obligor or Affiliated Group subsequent to such
  notice if such Loans would result in a mandatory prepayment by the Borrower under Section
  2.11(a)(iii) after giving effect to such reduction, in each case to the extent of such excess only,

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  unless such excess is supported by an Acceptable L/C or the Required Lenders thereafter notify
  the Borrower that the Allowable Amount for such Acceptable Obligor or Affiliated Group is
  increased in accordance with subsection (b) of this Section.

                   (e)     In the event either Administrative Agent or the Required Lenders notify
  the Borrower that any Acceptable Obligor or Affiliated Group is reclassified into a different
  category of Acceptable Obligor with the effect of reducing the advance rates in the Borrowing
  Base with respect to Eligible Receivables with respect to such Acceptable Obligor or Affiliated
  Group in accordance with subsection (a) of this Section, (i) any additional Eligible Receivables
  from such Acceptable Obligor may be included in a Borrowing Base subsequent to such notice
  only if classified at the new category of Acceptable Obligor or Affiliated Group and at the new
  advance rate after giving effect to such reclassification, and (ii) no further Loans shall be made
  on the basis of existing Eligible Receivables from such Acceptable Obligor or Affiliated Group
  subsequent to such notice if such Loans would result in a mandatory prepayment by the
  Borrower under Section 2.11(a)(iii) after giving effect to such reduction, in each case unless
  the Required Lenders thereafter notify the Borrower that such Acceptable Obligor or Affiliated
  Group is reclassified in accordance with subsection (b) of this Section.

                 (f)    In the event either Administrative Agent or the Required Lenders notify
  the Borrower that the type(s) of Item(s) of Product permitted for an Acceptable Obligor or
  Affiliated Group have been modified so as to eliminate a particular type of permitted Item of
  Product with respect to such Acceptable Obligor or Affiliated Group in accordance with
  subsection (a) of this Section, no new Eligible Receivables with respect to such Person or
  Affiliated Group may be included in the Borrowing Base in respect of such eliminated type of
  permitted Item of Product.

                                          ARTICLE III

                          CONDITIONS PRECEDENT TO LOANS

       Section 3.1 Conditions to Effectiveness. The obligations of the Lenders to make
Loans hereunder shall not become effective until the date on which each of the following
conditions is satisfied:

                 (a)    Payment of Fees and Costs. The Administrative Agent shall have
  received payment of all fees, expenses and other amounts due and payable on or prior to the
  Closing Date, including, without limitation, reimbursement or payment of all out-of-pocket
  expenses of the Administrative Agent, the Sole Lead Arranger and their Affiliates (including
  reasonable fees, charges and disbursements of counsel to the Administrative Agent) required to
  be reimbursed or paid by the Borrower hereunder, under any other Loan Document and under
  any agreement with the Administrative Agent or the Sole Lead Arranger.

                (b)    Documents. The Administrative Agent (or its counsel) shall have
  received the following, each to be in form and substance satisfactory to the Administrative
  Agent:




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                       (i)    a counterpart of this Agreement signed by or on behalf of each
        party hereto or written evidence satisfactory to the Administrative Agent (which may
        include facsimile transmission of a signed signature page of this Agreement) that such
        party has signed a counterpart of this Agreement;

                        (ii)    a certificate of the signed by the manager, general partner,
        Secretary, or a Responsible Officer of each Loan Party and of the Sponsor in the form of
        Exhibit 3.1(b)(ii), attaching and certifying copies of its bylaws, partnership agreement or
        limited liability company agreement, and of the resolutions of its board of directors or
        other equivalent governing body, or comparable organizational documents and
        authorizations, authorizing the execution, delivery and performance of the Loan
        Documents to which it is a party and certifying the name, title and true signature of each
        officer of such Person executing the Loan Documents to which it is a party;

                        (iii) certified copies of the articles or certificate of incorporation,
        certificate of organization or limited partnership, or other registered organizational
        documents of each Loan Party and of the Sponsor (including any foreign qualification
        documents), together with certificates of good standing or existence, as may be available
        from the Secretary of State of the jurisdiction of organization of such Person and each
        other jurisdiction where such Person is required to be qualified to do business as a foreign
        entity;

                       (iv)    a correct and complete organizational chart reflecting the
        organizational structure of Holdco, its Subsidiaries and its equity holders;

                       (v)    a favorable written opinion of Stroock & Stroock & Lavan LLP,
        counsel to the Loan Parties and the Sponsor, addressed to the Administrative Agent and
        each of the Lenders, and covering such matters relating to the Loan Parties, the Sponsor,
        the Loan Documents and the transactions contemplated therein as the Administrative
        Agent or the Required Lenders shall reasonably request;

                        (vi)   a certificate in the form of Exhibit 3.1(b)(vi), dated the Closing
        Date and signed by a Responsible Officer of the Borrower, certifying that after giving
        effect to the funding of the Term Loans and any initial Revolving Borrowing, (x) no
        Default, Event of Default or event that would result in a mandatory prepayment by the
        Borrower under Section 2.11(a)(iii) exists, (y) all representations and warranties of each
        Loan Party set forth in the Loan Documents are true and correct in all material respects
        (other than those representations and warranties that are expressly qualified by a Material
        Adverse Effect or other materiality, in which case such representations and warranties
        shall be true and correct in all respects) and (z) since June 30, 2014, there shall have been
        no change which has had or could reasonably be expected to have, either individually or
        in the aggregate, a Material Adverse Effect;

                       (vii)   a duly executed Borrowing Base Certificate dated as of July 31,
        2014;




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                       (viii) a duly executed Notice of Borrowing for any initial Revolving
        Borrowing;

                        (ix)    a duly executed funds disbursement agreement, together with a
        report setting forth the sources and uses of the proceeds hereof;

                       (x)     certified copies of all consents, approvals, authorizations,
        registrations and filings and orders required or advisable to be made or obtained under
        any Requirement of Law, or by any Contractual Obligation of any Loan Party, in
        connection with the execution, delivery, performance, validity and enforceability of the
        Loan Documents or any of the transactions contemplated thereby, and such consents,
        approvals, authorizations, registrations, filings and orders shall be in full force and effect
        and all applicable waiting periods shall have expired, and no investigation or inquiry by
        any governmental authority regarding the Commitments or any transaction being
        financed with the proceeds thereof shall be ongoing;

                        (xi)   copies of respect to the Borrower and its Subsidiaries, (1) the
        internally prepared quarterly financial statements of the Borrower and its Subsidiaries on
        a consolidated basis for the Fiscal Quarter ended June 30, 2014, (2) the audited
        consolidated and unaudited financial statements for the Borrower and its Subsidiaries for
        the Fiscal Year ended December 31, 2013 and (2) financial projections on a quarterly
        basis for the Fiscal Year ended December 31, 2014 and annually thereafter through 2018;

                       (xii) a duly completed and executed Compliance Certificate, including
        calculations of the financial covenants set forth in Article VI hereof as of June 30, 2014,
        calculated on a pro forma basis as if the Term Loans and any initial Revolving
        Borrowing had been funded as of the first day of the relevant period for testing
        compliance (and setting forth in reasonable detail such calculations);

                       (xiii) a certificate, dated the Closing Date and signed by the chief
        executive officer or the chief financial officer of each Loan Party, confirming that each
        Loan Party is Solvent before and after giving effect to the funding of the Term Loans and
        any initial Revolving Borrowing and the consummation of the transactions contemplated
        to occur on the Closing Date;

                        (xiv) the Guaranty and Security Agreement, duly executed by the Loan
        Parties, together with (A) UCC financing statements and other applicable documents
        under the laws of all necessary or appropriate jurisdictions with respect to the perfection
        of the Liens granted under the Guaranty and Security Agreement, as requested by the
        Administrative Agent in order to perfect such Liens, duly authorized by the Loan Parties,
        (B) copies of favorable UCC, tax, judgment, lien, copyright office and patent and
        trademark office search reports in all necessary or appropriate jurisdictions and under all
        legal and trade names of the Loan Parties, as requested by the Administrative Agent,
        indicating that there are no prior Liens on any of the Collateral subject thereto other than
        Permitted Encumbrances and Liens to be released on the Closing Date, (C) a Perfection
        Certificate, duly completed and executed by the Borrower, (D) a duly executed Copyright
        Security Agreement and Trademark Security Agreement, (E) to the extent certificated,

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        original certificates evidencing all issued and outstanding shares of Capital Stock of all
        Subsidiaries owned directly by any Loan Party (or, if the pledge of all of the voting
        Capital Stock of any Foreign Subsidiary would result in materially adverse tax
        consequences, limited to 65% of the issued and outstanding voting Capital Stock of such
        Foreign Subsidiary and 100% of the issued and outstanding non-voting Capital Stock of
        such Foreign Subsidiary, as applicable) and (F) with respect to any certificated Capital
        Stock of any Subsidiary that is subject to the foregoing clause (E), stock or membership
        interest powers or other appropriate instruments of transfer executed in blank;

                       (xv) the Pledge Agreement, duly executed by Holdco, together with (A)
        a UCC financing statement and any other applicable documents under the laws of all
        necessary or appropriate jurisdictions with respect to the perfection of the Lien granted
        under the Pledge Agreement, as requested by the Administrative Agent in order to perfect
        such Lien, duly authorized by Holdco, (B) copies of favorable UCC, tax, judgment and
        lien search reports in all necessary or appropriate jurisdictions and under all legal and
        trade names of Holdco, as requested by the Administrative Agent, indicating that there
        are no prior Liens on any of the Collateral subject thereto other than and Liens to be
        released on the Closing Date, (C) a Perfection Certificate, duly completed and executed
        by Holdco, (D) to the extent certificated, original certificates evidencing all issued and
        outstanding shares of Capital Stock of the Borrower and (E) with respect to any
        certificated Capital Stock of the Borrower, stock or membership interest powers or other
        appropriate instruments of transfer executed in blank;

                      (xvi) Control Account Agreements, duly executed by each Permitted
        Third Party Bank and the applicable Loan Party;

                        (xvii) Laboratory Access Letters (together with the related access letters
        in favor of the relevant Loan Parties) and Laboratory Pledgeholder Agreements, as
        applicable, for each Item of Product;

                        (xviii) evidence satisfactory to the Administrative Agent that (i) each
        Loan Party has sufficient right, title and interest in and to its respective Collateral and
        other assets which it purports to own (including appropriate licenses under copyright), as
        set forth in the documents and other materials presented to the Administrative Agent
        prior to the Closing Date, to (as applicable) enable the applicable Loan Party to perform
        its obligations under the Distribution Agreements, the Licensing Intermediary
        Agreements and all other Material Agreements to which it is a party, and to grant to the
        Administrative Agent (for the benefit of the Secured Parties) the security interests
        contemplated by the Collateral Documents and (ii) all UCC financing statements,
        copyright filings, trademark filings and other filings under applicable law necessary to
        provide the Administrative Agent (for the benefit of the Secured Parties) with a perfected
        Lien in such Collateral (with the priority contemplated by Section 4.20) have been filed
        or delivered to the Administrative Agent in satisfactory form for filing;

                      (xix) with respect to the Existing Credit Agreement, copies of duly
        executed payoff letters, in form and substance satisfactory to the Administrative Agent,
        executed by the administrative agent under the Existing Credit Agreement, together with

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        (a) UCC 3, copyright termination, trademark termination and other appropriate
        termination documents, in form and substance satisfactory to the Administrative Agent,
        releasing all liens of such administrative agent upon any of the personal property of the
        Borrower, its Subsidiaries and (to the extent secured by any of the Collateral) any
        Licensing Intermediary, (b) termination notices with respect to each existing interparty
        agreement, intercreditor agreement, labpledge agreement, account control agreement and
        any other applicable documents entered into in favor of the administrative agent (or any
        other Person) in connection with the Existing Credit Agreement, in form and substance
        satisfactory to the Administrative Agent, and (c) any other releases, terminations or other
        documents reasonably required by the Administrative Agent to evidence the payoff of the
        Indebtedness respectively owed to the Existing Lenders;

                       (xx)   copies of all Material Agreements;

                         (xxi) (i) a summary of all existing insurance coverage maintained by any
        Loan Party, (ii) evidence acceptable to the Administrative Agent that the insurance
        policies required by Section 5.10, have been obtained and are in full force and effect, and
        (iii) certificates of insurance (accompanied by appropriate endorsements) with respect to
        all existing insurance coverage which certificates and endorsements shall name the
        Administrative Agent (to the extent that none of the Secured Parties shall be liable for
        premiums or calls) as additional insured and (with respect to any applicable insurance)
        loss payee and shall evidence the Borrower’s compliance with Section 5.10(e);

                      (xxii) an engagement letter for the services of Salem Partners LLC in its
        role as the initial Approved Valuation Expert, duly executed by such Person, the
        Borrower and the Administrative Agent, in form and substance acceptable to the
        Administrative Agent;

                        (xxiii) the Initial Library Valuation Report, duly executed by the
        Approved Valuation Expert, together with a calculation of the initial Library Valuation
        Amount (calculated as of March 19, 2014, in accordance with the definition of such term)
        certified by a Responsible Officer of the Borrower;

                        (xxiv) with respect to each receivable of a Loan Party as of the Closing
        Date, a Notice of Assignment duly executed by each party thereto, together with
        (i) evidence that each such Notice of Assignment has been delivered to the applicable
        account debtor and (ii) the corresponding Distribution Agreement (or other agreement)
        related thereto;

                       (xxv) receipt of the most recent domestic and, if appropriate, foreign tax
        returns and extension filings of the Borrower prior to its acquisition by Holdco; and

                     (xxvi) such other documentation and information as the Administrative
        Agent may reasonably request.

                (c)   Collection Account. The Borrower shall have established a Collection
  Account with SunTrust Bank.


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                 (d)     Litigation. No litigation, inquiry, injunction or restraining order shall be
  pending, entered or, to the knowledge of the Borrower, threatened, which involves any of the
  transactions contemplated hereby and by the other Loan Documents or could reasonably be
  expected to have a Material Adverse Effect.

                (e)     No Material Adverse Effect. Since June 30, 2014, there shall have been
  no change which has had or could reasonably be expected to have, either individually or in the
  aggregate, a Material Adverse Effect.

                  (f)      Required Consents and Approvals. The Administrative Agent shall be
  satisfied that (i) all required consents and approvals have been obtained with respect to the
  transactions contemplated hereby and by the other Loan Documents from all Governmental
  Authorities with jurisdiction over the business and activities of any Loan Party and from any
  other Person whose consent or approval the Administrative Agent in its reasonable discretion
  deems necessary to the transactions contemplated hereby and by the other Loan Documents,
  and (ii) all such consents and approvals remain in full force and effect.

                  (g)    Federal Reserve Regulations. The Administrative Agent shall be
  satisfied that the provisions of Regulation T, Regulation U and Regulation X will not be
  violated by the transactions contemplated hereby.

                  (h)    Compliance with Laws and Material Agreements. The Administrative
  Agent shall be satisfied that the transactions contemplated hereby and by the other Loan
  Documents will not (i) violate any provision of applicable law, or any order of any court or
  other agency of the United States or any state thereof applicable to any Loan Party or any of
  their respective properties or assets or (ii) conflict with, or result in a default, breach or right of
  termination or acceleration under, any Material Agreement.

                  (i)   Approval of Counsel to the Administrative Agent. All legal matters
  incident to this Agreement and the other transactions contemplated hereby shall be reasonably
  satisfactory to Akin Gump Strauss Hauer & Feld LLP, counsel to the Administrative Agent.

                  (j)    Due Diligence. The Administrative Agent shall have completed and be
  satisfied with a due diligence investigation relating to all matters in connection with the Loans
  and the Millennium Acquisition, including the Loan Parties’ management, ownership structure,
  business agreements (including, without limitation, all then existing Distribution Agreements
  and other Material Agreements), business plan, contingent liabilities, and any other matters
  deemed appropriate and requested by the Administrative Agent.

                (k)     Patriot Act. The Administrative Agent shall have received any
  information required and requested by Administrative Agent or any Lender under or in
  connection with the Patriot Act.

                (l)   Millennium Acquisition. The Millennium Acquisition shall have been
  completed, and the Administrative Agent shall have received and approved copies of the
  Purchase Agreement and all other documents in connection therewith as determined by
  Administrative Agent in its sole and absolute discretion, including, without limitation,
  evidence that Holdco’s acquisition of the Borrower’s equity interests pursuant to such

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  Millennium Acquisition is not subject to divestment or termination for any reason whatsoever,
  and that any contingent payments due in connection with the Millennium Acquisition after the
  closing of the Millennium Acquisition will be paid by Holdco.

        Without limiting the generality of the provisions of this Section, for purposes of
determining compliance with the conditions specified in this Section, each Lender that has
signed this Agreement shall be deemed to have consented to, approved of, accepted or been
satisfied with each document or other matter required thereunder to be consented to, approved by
or acceptable or satisfactory to a Lender unless the Administrative Agent shall have received
notice from such Lender prior to the proposed Closing Date specifying its objection thereto.

        Section 3.2 Conditions to Initial Borrowing Base Credit for any Item of Product.
The ability of the Borrower to obtain initial Borrowing Base credit for an Item of Product, and
the obligation of each Lender to make any Loan supported thereby, and are subject to the
satisfaction of the following conditions (to the extent applicable to such Item of Product):

               (a)     Product Declaration. The Administrative Agent shall have received a
Product Declaration in respect of such Item of Product, duly executed by an Authorized Officer
of the Borrower and in form and substance acceptable to the Administrative Agent; provided that
the foregoing shall not apply to any Item of Product that is an existing asset of a Loan Party, and
that has been Completed, as of the Closing Date.

               (b)    Item of Product Documents. The Administrative Agent shall have
received the following (which shall be in form and substance acceptable to the Administrative
Agent):

                        (i)    fully-executed copies of all then existing Distribution Agreements
         and sales agency agreements in respect of such Item of Product;

                       (ii)    a fully-executed copy of a Notice of Assignment (or an Interparty
         Agreement) from each applicable Acceptable Obligor with respect to any Eligible
         Receivables to be included in the Borrowing Base at such time relating to such Item of
         Product;

                       (iii) with respect to each Licensing Intermediary that has entered into
         any then existing Distribution Agreement for such Item of Product, a fully-executed
         copy of all then existing Licensing Intermediary Agreements entered into by such
         Licensing Intermediary with respect to such Item of Product and a fully-executed
         Licensing Intermediary Security Agreement (accompanied by all other documentation
         required by Section 5.17(d));

                         (iv)   certificates or binders of insurance for such Item of Product as
         required by Section 5.10, together with endorsements naming the Administrative Agent
         (to the extent that none of the Secured Parties shall be liable for premiums or calls) as an
         “additional insured” and (with respect to any applicable insurance) as a “loss payee”;
         and



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                         (v)    a list of all agreements executed in connection with such Item of
         Product that provide for deferments or participations, together with a summary of such
         payments and copies of such agreements as the Administrative Agent may reasonably
         request (in each case to the extent available to the Borrower in the event that a Loan
         Party is not responsible for making payments of such deferments or participations).

                (c)     Chain of Title. If such Item of Product is a Key Item of Product, the
Administrative Agent shall have received copies of all agreements, Rights Acquisition
Agreements, instruments of transfer or other instruments (including, without limitation, chain of
title documents and third Person Lien termination or subordination documents) necessary to
establish, to the reasonable satisfaction of the Administrative Agent, the applicable Loan Party’s
ownership (or rights under license) of sufficient rights in such Key Item of Product to enable
such Loan Party to exploit such Key Item of Product and to grant to the Administrative Agent
(for the benefit of the Secured Parties) the security interests in such Key Item of Product
contemplated under the Loan Documents (with the priority contemplated by Section 4.20),
together with evidence reflecting that the relevant documents have been submitted for recording
with the U.S. Copyright Office.

                (d)   Security Documents. The Administrative Agent shall have received the
following (all of which shall be in form and substance acceptable to the Administrative Agent):

                        (i)    a Copyright Security Agreement Supplement for such Item of
         Product, duly executed by the Loan Parties;

                         (ii)    Laboratory Access Letter(s) (together with the related access
         letters in favor of the relevant Loan Parties) or Laboratory Pledgeholder Agreement(s),
         as applicable, for such Item of Product, duly executed by each party thereto;

                        (iii) a Trademark Security Agreement (together with any related
         trademark license agreement), if applicable, duly executed by the Loan Parties; and

                       (iv)     (in satisfactory form for filing) any financing statements or other
         security documents or filings necessary or reasonably requested by the Administrative
         Agent to provide to it with a first priority perfected security interest (with the priority
         contemplated by Section 4.20) in the applicable Loan Party’s interest in such Item of
         Product.

                (e)     Lien Searches. The Administrative Agent shall have received UCC,
copyright office, patent and trademark office (if requested by the Administrative Agent), and
such other searches reasonably requested by it and reasonably satisfactory to it indicating that no
other filings (other than in connection with Permitted Encumbrances) are of record in any
jurisdiction in which it shall be necessary or desirable for the Administrative Agent to make a
filing in order to provide the Administrative Agent (for the benefit of the Secured Parties) with a
first priority perfected security interest in the Collateral (with the priority contemplated by
Section 4.20).

              (f)     Payment of Purchase Price for an Acquired Item of Product. If such Item
of Product has been (or will be) acquired from a Person that is not a Loan Party, that portion of

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the Rights Acquisition Costs necessary to effect a transfer of sufficient rights, title and interest in
such Item of Product to the applicable Loan Party to enable such Loan Party (i) to grant to the
Administrative Agent (for the benefit of the Secured Parties) the security interest in such Item of
Product contemplated under the Loan Documents (with the priority contemplated by
Section 4.20), (ii) to distribute or otherwise exploit such Item of Product and (iii) to otherwise
comply with the Distribution Agreements and any other agreement entered into by a Loan Party
with respect to such Item of Product, has been paid or is being contemporaneously paid from the
proceeds of a requested Borrowing or cash of a Loan Party.

              (g)    Updated Schedules. The Administrative Agent shall have received an
updated version of Schedule 4.22, to the extent required to reflect the information relating to
such Item of Product pertinent to such Schedule (and only to the extent there have been any
changes thereto since the version of the Schedule previously delivered to the Administrative
Agent hereunder).

        Section 3.3 Conditions to Each Credit Event. The obligation of each Lender to
make a Loan on the occasion of any Borrowing (including the initial Borrowing) is subject to the
satisfaction of the following conditions:

                (a)     No Default, Event of Default or Mandatory Prepayment Event. At the
  time of and immediately after giving effect to such Borrowing no Default, Event of Default or
  event that would result in a mandatory prepayment by the Borrower under Section 2.11(a)(iii)
  shall exist.

                 (b)     Accuracy of Representations and Warranties. At the time of and
  immediately after giving effect to such Borrowing all of the respective representations and
  warranties of each Loan Party set forth in the Loan Documents shall be true and correct in all
  material respects (other than those representations and warranties that are expressly qualified
  by a Material Adverse Effect or other materiality, in which case such representations and
  warranties shall be true and correct in all respects).

                (c)     No Material Adverse Effect. Since June 30, 2014, there shall have been
  no change which has had or could reasonably be expected to have, either individually or in the
  aggregate, a Material Adverse Effect.

                (d) Notice of Borrowing. The Borrower shall have delivered a duly executed
  Notice of Borrowing for any Revolving Borrowing.

                   (e) Qualifying Picture. If any of the proceeds of such Borrowing are to be used to
  acquire a new Item of Product that is a motion picture and not a Library Title, the Borrower shall have
  demonstrated to the satisfaction of the Administrative Agent that such Item of Product satisfies the
  criteria for a Qualifying Picture.

                (f)    Borrowing Base Certificate. The Administrative Agent shall have
  received a Borrowing Base Certificate dated as of a date within five (5) days prior to the
  requested Borrowing date, duly executed by a Responsible Officer of the Borrower, and
  demonstrating to the satisfaction of the Administrative Agent that after giving effect to such
  Borrowing no mandatory prepayment event under Section 2.11(a)(iii) would result therefrom.

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                 (g)     Eligible Receivables. With respect to any Eligible Receivables for an
  Item of Product that are included in the Borrowing Base Certificate delivered to the
  Administrative Agent in connection with such Borrowing, the Administrative Agent shall have
  received the following (all of which shall be in form and substance acceptable to the
  Administrative Agent), in each case, to the extent not previously delivered to the
  Administrative Agent: fully-executed copies of all Distribution Agreements in respect of such
  Eligible Receivables, together with (A) a copy of a fully-executed Notice of Assignment (or an
  Interparty Agreement) with respect to each such Distribution Agreement; provided that,
  Borrower shall have forty-five (45) days from the Closing Date to make such delivery with
  respect to any Item of Product that is included in the Borrowing Base Certificate as of the
  Closing Date and (B) (if any of such Distribution Agreements were entered into by a
  Licensing Intermediary) a fully-executed copy of all then existing Licensing Intermediary
  Agreements entered into by such Licensing Intermediary with respect to such Item of Product
  and a fully-executed Licensing Intermediary Security Agreement therefor (accompanied by all
  other documentation required by Section 5.17(d)).

                (h)    Acceptable L/Cs. If any Eligible Receivables for an Item of Product that
  are included in the Borrowing Base Certificate delivered to the Administrative Agent in
  connection with such Borrowing are secured by an Acceptable L/C, the Administrative Agent
  shall have received an issued original (or, where applicable, an issued copy) of such
  Acceptable L/C in form and substance reasonably acceptable to the Administrative Agent.

                (i)     Other Documents. The Administrative Agent shall have received such
  other documents, certificates, information or legal opinions as the Administrative Agent or the
  Required Lenders may reasonably request, all in form and substance satisfactory to the
  Administrative Agent or the Required Lenders.

              Each Borrowing shall be deemed to constitute a representation and warranty by
the Borrower on the date thereof as to the matters specified in subsections (a), (b) and (c) of this
Section.

        Section 3.4 Delivery of Documents. All of the Loan Documents, certificates, legal
opinions and other documents and papers referred to in this Article, unless otherwise specified,
shall be delivered to the Administrative Agent for the account of each of the Lenders and in
sufficient counterparts or copies for each of the Lenders and shall be in form and substance
satisfactory in all respects to the Administrative Agent.

                                          ARTICLE IV

                         REPRESENTATIONS AND WARRANTIES

The Borrower represents and warrants to the Administrative Agent and each Lender as follows:

        Section 4.1 Existence; Power. The Borrower and each of its Subsidiaries (i) is duly
organized, validly existing and in good standing as a corporation, partnership or limited liability
company under the laws of the jurisdiction of its organization, (ii) has all requisite power and
authority to carry on its business as now conducted, and (iii) is duly qualified to do business, and


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is in good standing, in each jurisdiction where such qualification is required, except where a
failure to be so qualified could not reasonably be expected to result in a Material Adverse Effect.

        Section 4.2 Organizational Power; Authorization. The execution, delivery and
performance by each Loan Party of the Loan Documents to which it is a party are within such
Loan Party’s organizational powers and have been duly authorized by all necessary
organizational and, if required, shareholder, partner or member action. This Agreement has been
duly executed and delivered by the Borrower and constitutes, and each other Loan Document to
which any Loan Party is a party, when executed and delivered by such Loan Party, will
constitute, valid and binding obligations of the Borrower or such Loan Party (as the case may
be), enforceable against it in accordance with their respective terms, except as may be limited by
applicable bankruptcy, insolvency, reorganization, moratorium or similar laws affecting the
enforcement of creditors’ rights generally and by general principles of equity.

        Section 4.3 Governmental Approvals; No Conflicts. The execution, delivery and
performance by each Loan Party of the Loan Documents to which it is a party (a) do not require
any consent or approval of, registration or filing with, or any action by, any Governmental
Authority, except those as have been obtained or made and are in full force and effect and except
for filings necessary to perfect or maintain perfection of the Liens created under the Loan
Documents, (b) will not violate any Requirement of Law applicable to the Borrower or any of its
Subsidiaries or any judgment, order or ruling of any Governmental Authority, (c) will not violate
or result in a default under, or create any right to terminate, any Contractual Obligation of the
Borrower or any of its Subsidiaries or any of its assets or give rise to a right thereunder to require
any payment to be made by the Borrower or any of its Subsidiaries and (d) will not result in the
creation or imposition of any Lien on any asset of the Borrower or any of its Subsidiaries, except
Liens (if any) created under the Loan Documents.

        Section 4.4 Financial Statements. The most recent (i) audited consolidated balance
sheet of the Borrower and its Subsidiaries as of the applicable Fiscal Year then ended, and the
related audited consolidated statements of income, members’ equity and cash flows for such
Fiscal Year, and the related notes and supplemental information for such audited statements and
(ii) unaudited consolidated balance sheet of the Borrower and its Subsidiaries as of the applicable
Fiscal Quarter then ended, and the related unaudited consolidated statements of income and cash
flows for such Fiscal Quarter and the year-to-date period then ended, in each case, delivered
pursuant to Section 3.1(b)(x), 5.1(a)(i) or 5.1(b) hereof (as applicable), fairly present the
consolidated financial condition of the Borrower and its Subsidiaries as of the applicable date
and the consolidated results of operations for such periods in conformity with GAAP consistently
applied, subject to year-end audit adjustments and the absence of footnotes in the case of the
statements referred to in clause (ii). Since June 30, 2014, there have been no changes with
respect to the Borrower and its Subsidiaries which have had or could reasonably be expected to
have, either individually or in the aggregate, a Material Adverse Effect.

        Section 4.5    Litigation and Environmental Matters.

                  (a)    No litigation, investigation or proceeding of or before any arbitrators or
  Governmental Authorities is pending against or, to the knowledge of the Borrower, threatened
  against or affecting the Borrower or any of its Subsidiaries (i) as to which there is a reasonable

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  possibility of an adverse determination that could reasonably be expected to have, either
  individually or in the aggregate, a Material Adverse Effect or (ii) which in any manner draws
  into question the validity or enforceability of this Agreement or any other Loan Document.

                 (b)    Except for the matters set forth on Schedule 4.5, neither the Borrower
  nor any of its Subsidiaries (i) has failed to comply with any Environmental Law or to obtain,
  maintain or comply with any permit, license or other approval required under any
  Environmental Law, (ii) has become subject to any Environmental Liability, (iii) has received
  notice of any claim with respect to any Environmental Liability or (iv) knows of any basis for
  any Environmental Liability.

       Section 4.6 Compliance with Laws and Agreements. The Borrower and each of its
Subsidiaries is in compliance with (a) all Requirements of Law and all judgments, decrees and
orders of any Governmental Authority and (b) all indentures, agreements or other instruments
binding upon it or its properties, except where non-compliance, either individually or in the
aggregate, could not reasonably be expected to result in a Material Adverse Effect.

        Section 4.7 Investment Company Act. Neither the Borrower nor any of its
Subsidiaries is (a) an “investment company” or is “controlled” by an “investment company”, as
such terms are defined in, or subject to regulation under, the Investment Company Act of 1940,
as amended and in effect from time to time, or (b) otherwise subject to any other regulatory
scheme limiting its ability to incur debt or requiring any approval or consent from, or registration
or filing with, any Governmental Authority in connection therewith.

        Section 4.8 Taxes. The Borrower and its Subsidiaries and each other Person for
whose taxes the Borrower or any of its Subsidiaries could become liable have timely filed or
caused to be filed all Federal income tax returns and all other material tax returns that are
required to be filed by them, and have paid all taxes shown to be due and payable on such returns
or on any assessments made against it or its property and all other taxes, fees or other charges
imposed on it or any of its property by any Governmental Authority, except where the same are
currently being contested in good faith by appropriate proceedings and for which the Borrower
or such Subsidiary, as the case may be, has set aside on its books adequate reserves in
accordance with GAAP. The charges, accruals and reserves on the books of the Borrower and its
Subsidiaries in respect of such taxes are adequate, and no tax liabilities that could be materially
in excess of the amount so provided are anticipated.

        Section 4.9 Margin Regulations. None of the proceeds of any of the Loans will be
used, directly or indirectly, for “purchasing” or “carrying” any “margin stock” within the
respective meanings of each of such terms under Regulation U or for any purpose that violates
the provisions of Regulation T, Regulation U or Regulation X. Neither the Borrower nor any of
its Subsidiaries is engaged principally, or as one of its important activities, in the business of
extending credit for the purpose of purchasing or carrying “margin stock”.

       Section 4.10 ERISA. Each Plan (if any) is in substantial compliance in form and
operation with its terms and with ERISA and the Code (including, without limitation, the Code
provisions compliance with which is necessary for any intended favorable tax treatment) and all
other applicable laws and regulations. Each Plan (and each related trust, if any) which is

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intended to be qualified under Section 401(a) of the Code has received a favorable determination
letter from the Internal Revenue Service to the effect that it meets the requirements of Sections
401(a) and 501(a) of the Code covering all applicable tax law changes, or is comprised of a
master or prototype plan that has received a favorable opinion letter from the Internal Revenue
Service, and nothing has occurred since the date of such determination that would adversely
affect such determination (or, in the case of a Plan with no determination, nothing has occurred
that would adversely affect the issuance of a favorable determination letter or otherwise
adversely affect such qualification). No ERISA Event has occurred or is reasonably expected to
occur. There exists no Unfunded Pension Liability with respect to any Plan. None of the
Borrower, any of its Subsidiaries or any ERISA Affiliate is making or accruing an obligation to
make contributions, or has, within any of the five calendar years immediately preceding the date
this assurance is given or deemed given, made or accrued an obligation to make, contributions to
any Multiemployer Plan. There are no actions, suits or claims pending against or involving a
Plan (other than routine claims for benefits) or, to the knowledge of the Borrower, any of its
Subsidiaries or any ERISA Affiliate, threatened, which would reasonably be expected to be
asserted successfully against any Plan and, if so asserted successfully, would reasonably be
expected either singly or in the aggregate to result in liability to the Borrower or any of its
Subsidiaries. The Borrower, each of its Subsidiaries and each ERISA Affiliate have made all
contributions to or under each Plan and Multiemployer Plan required by law within the
applicable time limits prescribed thereby, by the terms of such Plan or Multiemployer Plan,
respectively, or by any contract or agreement requiring contributions to a Plan or Multiemployer
Plan. No Plan which is subject to Section 412 of the Code or Section 302 of ERISA has applied
for or received an extension of any amortization period within the meaning of Section 412 of the
Code or Section 303 or 304 of ERISA. None of the Borrower, any of its Subsidiaries or any
ERISA Affiliate have ceased operations at a facility so as to become subject to the provisions of
Section 4068(a) of ERISA, withdrawn as a substantial employer so as to become subject to the
provisions of Section 4063 of ERISA or ceased making contributions to any Plan subject to
Section 4064(a) of ERISA to which it made contributions. Each Non-U.S. Plan has been
maintained in compliance with its terms and with the requirements of any and all applicable
laws, statutes, rules, regulations and orders and has been maintained, where required, in good
standing with applicable regulatory authorities, except as would not reasonably be expected to
result in liability to the Borrower or any of its Subsidiaries. All contributions required to be
made with respect to a Non-U.S. Plan have been timely made. Neither the Borrower nor any of
its Subsidiaries has incurred any obligation in connection with the termination of, or withdrawal
from, any Non-U.S. Plan. The present value of the accrued benefit liabilities (whether or not
vested) under each Non-U.S. Plan, determined as of the end of the Borrower’s most recently
ended Fiscal Year on the basis of reasonable actuarial assumptions, did not exceed the current
value of the assets of such Non-U.S. Plan allocable to such benefit liabilities.

        Section 4.11 Ownership of Property; Intellectual Property; Insurance.

                 (a)      Each of the Borrower and its Subsidiaries has good title to, or valid
  leasehold interests in, all of its properties and assets material to the operation of its business,
  including all such properties and assets reflected in the most recent audited consolidated
  balance sheet of the Borrower referred to in Section 4.4 or purported to have been acquired by
  the Borrower or any of its Subsidiaries after said date (except as sold or otherwise disposed of
  in the ordinary course of business), in each case free and clear of Liens prohibited by this

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  Agreement. All leases that individually or in the aggregate are material to the business or
  operations of the Borrower and its Subsidiaries are valid and subsisting and are in full force.

                 (b)     Each of the Borrower and its Subsidiaries owns, or is licensed or
  otherwise has the right to use, all copyrights, trademarks, service marks, trade names, patents
  and other intellectual property material to its business, and (to the best of the Borrower’s
  knowledge) the use thereof by the Borrower and its Subsidiaries does not infringe in any
  material respect on the rights of any other Person.

                  (c)     Each of the Loan Parties has sufficient right, title and interest in each
  Item of Product owned by or licensed to it (including under copyright) to enable it (i) with
  regard to each Item of Product exploited by it or on its behalf, to exploit such Item of Product
  and (ii) to perform its Contractual Obligations relating to each such Item of Product.

               (d)      As of the Closing Date, neither the Borrower nor any of its Subsidiaries
  owns any Real Estate.

                  (e)    The properties of the Borrower and its Subsidiaries are insured with
  financially sound and reputable insurance companies which are not Affiliates of the Borrower,
  in such amounts with such deductibles and covering such risks as are customarily carried by
  companies engaged in similar businesses and owning similar properties in localities where the
  Borrower or any applicable Subsidiary operates. All such insurance coverage complies with
  all applicable requirements set forth in this Agreement and any other Loan Documents.

        Section 4.12 Disclosure. The Borrower has disclosed to the Administrative Agent and
the Lenders all agreements, instruments, and corporate or other restrictions to which the
Borrower or any of its Subsidiaries is subject, and all other matters known to any of them, that,
either individually or in the aggregate, could reasonably be expected to result in a Material
Adverse Effect. None of the reports (including, without limitation, any reports that the Borrower
is required to file with the Securities and Exchange Commission), financial statements,
certificates or other information furnished by or on behalf of the Borrower to the Administrative
Agent or any Lender in connection with the negotiation or syndication of this Agreement or any
other Loan Document or delivered hereunder or thereunder (as modified or supplemented by any
other information so furnished) contains any material misstatement of fact or omits to state any
material fact necessary to make the statements herein or therein, taken as a whole in light of the
circumstances under which they were made, not misleading; provided that, with respect to
projected financial information, the Borrower represents only that such information was prepared
in good faith based upon assumptions believed to be reasonable at the time.

        Section 4.13 Labor Relations. There are no strikes, lockouts or other material labor
disputes or grievances against the Borrower or any of its Subsidiaries, or, to the Borrower’s
knowledge, threatened against or affecting the Borrower or any of its Subsidiaries, and no
significant unfair labor practice charges or grievances are pending against the Borrower or any of
its Subsidiaries, or, to the Borrower’s knowledge, threatened against any of them before any
Governmental Authority. All payments due from the Borrower or any of its Subsidiaries
pursuant to the provisions of any collective bargaining agreement have been paid or accrued as a



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liability on the books of the Borrower or any such Subsidiary, except where the failure to do so
could not reasonably be expected to have a Material Adverse Effect.

       Section 4.14 Subsidiaries. Schedule 4.14 sets forth a true and complete list of each
Loan Party and of each Subsidiary of a Loan Party, reflecting as to each such Person, in each
case as of the Closing Date or as of the most recent date on which such Schedule is required to
be updated in accordance with Section 5.1(c)(iii) (as the case may be): (a) the name of such
Person, (b) the jurisdiction of incorporation or organization of such Person, (c) each jurisdiction
in which such Person is qualified as a foreign entity (if any), (d) the type of entity of such
Person, (e) the number of each class of outstanding Equity Interests of such Person, (f) the
ownership interest of the applicable Loan Party in such Person (broken down by class of
outstanding Equity Interests of such Person), and (g) whether such Person is a Subsidiary Loan
Party.

        Section 4.15 Loan Party Information. Schedule 4.15 sets forth a true and complete
list with respect to each Loan Party, reflecting as to each such Person, in each case as of the
Closing Date or as of the most recent date on which such Schedule is required to be updated in
accordance with Section 5.1(c)(iii) (as the case may be): (a) the address of its chief executive
office, (b) the address of its principal place of business, (c) all of the places where it keeps (or
intends to keep) the records concerning its Collateral or keeps (or intends to keep) any material
goods included in its Collateral, (d) its U.S. federal taxpayer identification number (or, in the
case of any Foreign Subsidiary that does not have a U.S. taxpayer identification number, its
unique identification number issued to it by the jurisdiction of its incorporation or organization)
and (e) its organization identification number.

       Section 4.16 Fictitious Names. Except as disclosed on Schedule 4.16, no Loan Party
has done business, is doing business or intends to do business other than under its full legal
name, including, without limitation, under any trade name or other “doing business as” name.

       Section 4.17 Responsible Officers. Set forth on Schedule 4.17 are the respective
Responsible Officers of each Loan Party, holding the offices indicated next to their respective
names, as of the Closing Date or as of the most recent date such Schedule was required to be
updated in accordance with Section 5.1(c)(iii) (as the case may be), and such Responsible
Officers are the duly elected and qualified officers of such Loan Party and are duly authorized to
execute and deliver, on behalf of the respective Loan Party, each of the Loan Documents to
which such Loan Party is a party.

     Section 4.18 Solvency. After giving effect to the execution and delivery of the Loan
Documents and the making of the Loans under this Agreement, each Loan Party is Solvent.

        Section 4.19 Deposit and Disbursement Accounts. Schedule 4.19 lists all banks and
other financial institutions at which any Loan Party maintains a deposit account, lockbox
account, disbursement account, investment account or other similar account as of the Closing
Date, and such Schedule correctly identifies the name, address and telephone number of each
such financial institution, the name in which the account is held, the type of the account, and the
complete account number therefor.



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        Section 4.20 Collateral Documents.

                  (a)     The Guaranty and Security Agreement is effective to create in favor of
  the Administrative Agent for the ratable benefit of the Secured Parties a legal, valid and
  enforceable security interest in the Collateral subject thereto, and when UCC financing
  statements in appropriate form are filed in the offices specified on Schedule 3 to the Guaranty
  and Security Agreement, the Guaranty and Security Agreement shall constitute a fully
  perfected Lien (to the extent that such Lien may be perfected by the filing of a UCC financing
  statement) on, and security interest in, all right, title and interest of the grantors thereunder in
  such Collateral, in each case prior and superior in right to any other Person, other than with
  respect to Liens expressly permitted by Section 7.2(b) (but only to the extent constituting a
  Permitted Encumbrances of the type described in clause (i) or (ii) or, to the extent agreed in
  writing by the Administrative Agent pursuant to an Intercreditor Agreement or an Interparty
  Agreement, in clause (iii), (iv) or (v) of the definition of such term) or by Section 7.2(c).
  When the certificates evidencing any of the Capital Stock pledged pursuant to the Guaranty
  and Security Agreement are delivered to the Administrative Agent, together with appropriate
  stock powers or other similar instruments of transfer duly executed in blank, the Liens in such
  Capital Stock shall be fully perfected first priority security interests, perfected by “control” as
  defined in the UCC. When a Control Account Agreement with respect to any deposit account
  of a Loan Party maintained at a Permitted Third Party Bank is executed and delivered to the
  Administrative Agent, the Liens in such deposit account shall be fully perfected first priority
  security interests, perfected by “control” as defined in the UCC.

                   (b)      When the filings described in the first sentence of subsection (a) of this
  Section are made and when, if applicable, the Copyright Security Agreement and any
  Copyright Security Agreement Supplements are filed in the United States Copyright Office and
  the Trademark Security Agreements are filed in the United States Patent and Trademark
  Office, the Guaranty and Security Agreement shall constitute a fully perfected Lien on, and
  security interest in, all right, title and interest of the Loan Parties in the Copyrights and
  Trademarks, if any, in which a security interest may be perfected by filing, recording or
  registering a security agreement, financing statement or analogous document in the United
  States Copyright Office or the United States Patent and Trademark Office, as applicable, in
  each case prior and superior in right to any other Person, other than with respect to Permitted
  Encumbrances of the type described in clause (i) or (to the extent agreed in writing by the
  Administrative Agent pursuant to an Intercreditor Agreement or an Interparty Agreement) in
  clause (iii), (iv) or (v) of the definition of such term.

       Section 4.21 Material Agreements. As of the Closing Date, all Material Agreements
of the Borrower and its Subsidiaries are described on Schedule 4.21, and each such Material
Agreement is in full force and effect. The Borrower does not have any knowledge of any
pending amendments or threatened termination of any of the Material Agreements outside of the
ordinary course of business. As of the Closing Date, the Borrower has delivered to the
Administrative Agent a true, complete and correct copy of each Material Agreement (including
all schedules, exhibits, amendments, supplements, modifications, assignments and all other
documents delivered pursuant thereto or in connection therewith).



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        Section 4.22 Items of Product; Copyrights, Trademarks and Other Rights.

                (a)      The Items of Product listed on Schedule 4.22(a) comprise all of the Items
of Product in which any Loan Party has any right, title or interest (either directly, through a joint
venture, partnership, license or otherwise) as of the Closing Date or as of the most recent date
such Schedule was required to be updated in accordance with Section 3.2(g) or Section 5.1(c)(iii)
(as the case may be). Set forth across from the title of each such Item of Product on Schedule
4.22(a) is listed (i) the copyright registration number (or with respect to pending applications for
registration, the filing receipt/control number), (ii) the name of the relevant copyright registrant
(or, with respect to pending applications the applicant for copyright registration), and (iii) the
nature of all interests held by the relevant Loan Party (i.e., whether owned by, optioned by,
assigned to, and/or licensed to, such Loan Party) in such Item of Product, unless waived by the
Administrative Agent. The Loan Party holding such interests has duly recorded or caused to be
duly recorded (or, with respect to pending applications for registration, has submitted for
recordation) such interests with the U.S. Copyright Office and has delivered copies of all such
recordations to the Administrative Agent to the extent required hereunder. Schedule 4.22(a) also
identifies the location of the best available Physical Materials owned by any Loan Party or to
which any Loan Party has a right to access in relation to each Item of Product. To the best of the
Borrower’s knowledge, all such Items of Product and all component parts thereof do not and will
not violate or infringe upon any copyright, right of privacy, trademark, patent, trade name,
performing right or any literary, dramatic, musical, artistic, personal, private, civil, contract,
property or copyright right or any other right of any Person or contain any libelous or slanderous
material. There is no claim, suit, action or proceeding pending or, to the best of the Borrower’s
knowledge, threatened against any Loan Party or any other Person that involves a claim of
infringement of any copyright with respect to any Item of Product listed on Schedule 4.22(a),
and the Borrower has no knowledge of any existing infringement by any other Person of any
copyright with respect to any Item of Product listed on Schedule 4.22(a) which, in each case,
either individually or in the aggregate, could reasonably be expected to have a Material Adverse
Effect. Each Item of Product set forth on Schedule 4.22(a) as of the Closing Date has been
included in the Copyright Security Agreement delivered to the Administrative Agent pursuant to
Section 3.1.

                (b)    Schedule 4.22(b)(i) lists all the trademarks registered and applications for
trademark registration filed by any Loan Party and identifies the Loan Party which registered or
filed each such trademark, (ii) specifies as to each, the jurisdictions in which such trademark
registrations have been issued (or, if applicable, in which applications for such registrations have
been filed), including the respective registration or application numbers and applicable dates of
registration or application, and (iii) specifies as to any and all, as applicable, material licenses,
sublicenses and other material agreements to which any Loan Party is a party and/or pursuant to
which any Person is authorized to use such trademark, in each such case as of the Closing Date
or as of the most recent date such Schedule was required to be updated in accordance with
Section 3.2(l) or Section 5.1(c)(iii) (as the case may be). There is no claim, suit, action or
proceeding pending or, to the best of the Borrower’s knowledge, threatened against any Loan
Party or any other Person that involves a claim of infringement of any trademark listed on
Schedule 4.22(b), and the Borrower has no knowledge of any existing infringement by any other
Person of any trademark listed on Schedule 4.22(b) which, in each case, either individually or in
the aggregate, could reasonably be expected to have a Material Adverse Effect. Each trademark

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set forth on Schedule 4.22(b) as of the Closing Date has been included in the Trademark Security
Agreement delivered to the Administrative Agent pursuant to Section 3.1.

                (c)     Except as disclosed on Schedule 4.22(c), all applications and registrations
for all copyrights, trademarks, service marks, trade names and service names in which any Loan
Party has any right, title or interest are valid and in full force and effect (other than applications
and registrations for copyrights, trademarks, service marks, trade names and service names that
in the aggregate are not material) and are not and will not be subject to the payment of any Taxes
or maintenance fees or the taking of any other actions by any Loan Party to maintain their
validity or effectiveness.

         Section 4.23 OFAC. Neither any Loan Party nor any of its Subsidiaries or Affiliates
(i) is a Sanctioned Person, (ii) has any of its assets in Sanctioned Countries, or (iii) derives any of
its operating income from investments in, or transactions with, Sanctioned Persons or Sanctioned
Countries. No part of the proceeds of any Loans hereunder will be used directly or indirectly to
fund any operations in, finance any investments or activities in or make any payments to a
Sanctioned Person or a Sanctioned Country or for any payments to any governmental official or
employee, political party, official of a political party, candidate for political office, or anyone else
acting in an official capacity, in order to obtain, retain or direct business or obtain any improper
advantage, in violation of the United States Foreign Corrupt Practices Act of 1977, as amended
and in effect from time to time.

        Section 4.24 Patriot Act. Neither any Loan Party nor any of its Subsidiaries is an
“enemy” or an “ally of the enemy” within the meaning of Section 2 of the Trading with the
Enemy Act or any enabling legislation or executive order relating thereto. Neither any Loan
Party nor any or its Subsidiaries is in violation of (a) the Trading with the Enemy Act, (b) any of
the foreign assets control regulations of the United States Treasury Department (31 C.F.R.,
Subtitle B, Chapter V, as amended) or any enabling legislation or executive order relating thereto
or (c) the Patriot Act. None of the Loan Parties (i) is a blocked person described in Section 1 of
the Anti-Terrorism Order or (ii) to the best of its knowledge, engages in any dealings or
transactions, or is otherwise associated, with any such blocked person.

                                            ARTICLE V

                                 AFFIRMATIVE COVENANTS

The Borrower covenants and agrees that so long as any Lender has a Commitment hereunder or
any Obligation remains unpaid or outstanding:

        Section 5.1 Financial Statements and Other Information. The Borrower will
deliver (or cause to be delivered) to the Administrative Agent and each Lender:

                 (a)     (i) as soon as available and in any event within 120 days after the end
  of each Fiscal Year of the Borrower (commencing with the Fiscal Year ended December 31,
  2014), a copy of the annual audited report for such Fiscal Year for the Borrower and its
  Subsidiaries, containing a consolidated balance sheet of the Borrower and its Subsidiaries as of
  the end of such Fiscal Year and the related consolidated statements of income, members’


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  equity and cash flows (together with all footnotes thereto) of the Borrower and its Subsidiaries
  for such Fiscal Year, setting forth in each case in comparative form the figures for the previous
  Fiscal Year, all in reasonable detail and reported on by an independent public accountant of
  nationally recognized standing (without a “going concern” or like qualification, exception or
  explanation and without any qualification or exception as to the scope of such audit) to the
  effect that such financial statements present fairly in all material respects the financial
  condition and the results of operations of the Borrower and its Subsidiaries for such Fiscal
  Year on a consolidated basis in accordance with GAAP and that the examination by such
  accountants in connection with such consolidated financial statements has been made in
  accordance with generally accepted auditing standards;

                       (ii)   as soon as available and in any event within 120 days after the end
of each Fiscal Year of the Holdco (commencing with the Fiscal Year ended December 31, 2014),
a copy of the annual audited report for such Fiscal Year for the Holdco and its Subsidiaries,
containing a consolidated balance sheet of the Holdco and its Subsidiaries as of the end of such
Fiscal Year and the related consolidated statements of income, members’ equity and cash flows
(together with all footnotes thereto) of the Holdco and its Subsidiaries for such Fiscal Year,
setting forth in each case in comparative form the figures for the previous Fiscal Year, all in
reasonable detail and reported on by an independent public accountant of nationally recognized
standing (without a “going concern” or like qualification, exception or explanation and without
any qualification or exception as to the scope of such audit) to the effect that such financial
statements present fairly in all material respects the financial condition and the results of
operations of the Holdco and its Subsidiaries for such Fiscal Year on a consolidated basis in
accordance with GAAP and that the examination by such accountants in connection with such
consolidated financial statements has been made in accordance with generally accepted auditing
standards;

                  (b)    as soon as available and in any event within 45 days after the end of
  each Fiscal Quarter of the Borrower (commencing with the Fiscal Quarter ended December 31,
  2014), an unaudited consolidated balance sheet of the Borrower and its Subsidiaries as of the
  end of such Fiscal Quarter and the related unaudited consolidated statements of income and
  cash flows of the Borrower and its Subsidiaries for such Fiscal Quarter and the then elapsed
  portion of such Fiscal Year, setting forth in each case in comparative form the figures for the
  corresponding Fiscal Quarter and the corresponding portion of the Borrower’s previous Fiscal
  Year, together with a narrative report containing management’s discussion and analysis of such
  financial statements;

                 (c)     concurrently with the delivery of the financial statements referred to in
  subsections (a)(i) and (b)(i) of this Section (other than the financial statements for the fourth
  Fiscal Quarter of each Fiscal Year delivered pursuant to subsection (b)(i) of this Section):

                       (i)     a Compliance Certificate signed by the chief executive officer or
        the chief financial officer of the Borrower (i) certifying as to whether there exists a
        Default or Event of Default on the date of such certificate and, if a Default or an Event of
        Default then exists, specifying the details thereof and the action which the Borrower has
        taken or proposes to take with respect thereto, (ii) setting forth in reasonable detail
        calculations demonstrating compliance with the financial covenants set forth in Article

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        VI as of the end of the applicable Fiscal Year (with computations as of the end of each
        Fiscal Quarter for the applicable period) or Fiscal Quarter, (iii) specifying any change in
        the identity of the Borrower’s Subsidiaries as of the end of the applicable Fiscal Year or
        Fiscal Quarter from the Subsidiaries identified to the Lenders on the Closing Date or in
        the prior Compliance Certificate, as the case may be, (iv) stating whether any change in
        GAAP or the application thereof has occurred since the date of the most recently
        delivered audited financial statements of the Borrower and its Subsidiaries, and, if any
        change has occurred, specifying the effect of such change on the financial statements
        accompanying such Compliance Certificate, (v) specifying the amount of all Restricted
        Payments (broken down by category), Permitted Asset Sales and other Dispositions, and
        issuances of Capital Stock that were made by any Loan Party during the applicable Fiscal
        Year (with computations as of the end of each Fiscal Quarter for the applicable period) or
        Fiscal Quarter, (vi) identifying any changes of the type described in Section 7.3 hereof
        that have not been previously reported by the Borrower, (vii) identifying the occurrence
        of any events which gave rise to a mandatory prepayment event under Section 2.11(a)(iii)
        during the applicable Fiscal Year or Fiscal Quarter and (viii) describing each Material
        Agreement entered into by any Loan Party since the date of the most recent Compliance
        Certificate delivered under this subsection and (to the extent not previously delivered to
        the Administrative Agent) attaching a fully-executed copy thereof;

                       (ii)   a brief narrative report by management outlining the business,
        financial condition and results of operations of the Borrower and its Subsidiaries, in a
        form reasonably acceptable to the Administrative Agent; and

                        (iii) updated copies of Schedules 4.14, 4.15, 4.17 and 4.22 hereto which
        are to be true and accurate as of the date of delivery thereof (as opposed to the end of the
        Fiscal Year or Fiscal Quarter with respect to which the financial statements are being
        delivered);

                  (d)     concurrently with the delivery of the financial statements referred to in
  subsection (a)(i) above, a certificate of the accounting firm that reported on such financial
  statements stating whether they obtained any knowledge during the course of their examination
  of such financial statements of any Default or Event of Default (which certificate may be
  limited to the extent required by accounting rules or guidelines);

                 (e)    as soon as available and in any event within 45 days after the end of
  each Fiscal Year of the Borrower (commencing with the Fiscal Year ending December 31,
  2014), forecasts and a pro forma budget for the succeeding Fiscal Year (broken out by Fiscal
  Quarter), containing an income statement, balance sheet and statement of cash flow;

                  (f)     within fifteen (15) days after the end of each month (commencing with
  the first full month following the Closing Date), a new Borrowing Base Certificate computed
  as of the last day of the immediately prior month, setting forth the amount of each component
  included in the Borrowing Base, and attaching reasonably detailed schedules showing the
  calculation of each such component and supporting materials, certified by a Responsible
  Officer of the Borrower;


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                 (g)     concurrently with the delivery of each Borrowing Base Certificate as set
  forth in Section (f) above, a return report with respect to returns made for the preceding rolling
  twelve month period, in form and substance acceptable to the Administrative Agent;

                 (h)     within 90 days after each December 31 (commencing with December
  31, 2014), the Borrower shall (i) cause the Approved Valuation Expert to deliver to the
  Administrative Agent a new Library Valuation Report and (ii) deliver to the Administrative
  Agent a certificate of a Responsible Officer of the Borrower which calculates the then current
  Library Valuation Amount (in accordance with the definition of such term);

               (i)     within ten (10) days after receipt thereof by the Borrower, copies of all
  management letters received by the Borrower from its auditors;

                (j)    promptly upon written request therefor, any information required by the
  Administrative Agent or any Lender under or in connection with the Patriot Act;

                 (k)    promptly after the same become publicly available, copies of all periodic
  and other reports, proxy statements and other materials filed with the Securities and Exchange
  Commission, or any Governmental Authority succeeding to any or all functions of said
  Commission, or with any national securities exchange, or distributed by the Borrower to its
  equity holders generally, as the case may be; and

                 (l)      promptly following any request therefor, such other information
  regarding the results of operations, business affairs and financial condition of the Borrower or
  any of its Subsidiaries as the Administrative Agent or any Lender may reasonably request.

      Section 5.2 Notices of Material Events. The Borrower will furnish to the
Administrative Agent and each Lender prompt written notice of the following:

                 (a)     the occurrence of any Default or Event of Default;

                  (b)    the filing or commencement of, or any material development in, any
  action, suit or proceeding by or before any arbitrator or Governmental Authority against or, to
  the knowledge of the Borrower, affecting the Borrower or any of its Subsidiaries which, if
  adversely determined, could reasonably be expected to result in a Material Adverse Effect;

                (c)     the occurrence of any event or any other development by which the
  Borrower or any of its Subsidiaries (i) fails to comply with any Environmental Law or to
  obtain, maintain or comply with any permit, license or other approval required under any
  Environmental Law, (ii) becomes subject to any Environmental Liability, (iii) receives notice
  of any claim with respect to any Environmental Liability, or (iv) becomes aware of any basis
  for any Environmental Liability, in each case which, either individually or in the aggregate,
  could reasonably be expected to result in a Material Adverse Effect;

                  (d)     promptly and in any event within 15 days after (i) the Borrower, any of
  its Subsidiaries or any ERISA Affiliate knows or has reason to know that any ERISA Event
  has occurred, a certificate of the chief financial officer of the Borrower describing such ERISA
  Event and the action, if any, proposed to be taken with respect to such ERISA Event and a

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  copy of any notice filed with the PBGC or the IRS pertaining to such ERISA Event and any
  notices received by the Borrower, such Subsidiary or such ERISA Affiliate from the PBGC or
  any other governmental agency with respect thereto, and (ii) becoming aware (1) that there has
  been an increase in Unfunded Pension Liabilities (not taking into account Plans with negative
  Unfunded Pension Liabilities) since the date the representations hereunder are given or deemed
  given, or from any prior notice, as applicable, (2) of the existence of any Withdrawal Liability,
  (3) of the adoption of, or the commencement of contributions to, any Plan subject to Section
  412 of the Code by the Borrower, any of its Subsidiaries or any ERISA Affiliate, or (4) of the
  adoption of any amendment to a Plan subject to Section 412 of the Code which results in a
  material increase in contribution obligations of the Borrower, any of its Subsidiaries or any
  ERISA Affiliate, a detailed written description thereof from the chief financial officer of the
  Borrower;

                 (e)    the payment of any Restricted Payment (and, with respect to a Permitted
  Tax Distribution, accompanied by a detailed calculation thereof from the chief financial officer
  of the Borrower);

                  (f)     the occurrence of any default or event of default, or the receipt by the
  Borrower or any of its Subsidiaries of any written notice of an alleged default or event of
  default, with respect to any Material Indebtedness of the Borrower or any of its Subsidiaries;

                (g)     any proposed material amendment or modification to any Material
  Agreement (together with a copy thereof), and prompt notice of any termination, expiration or
  loss of any Material Agreement that, individually or in the aggregate, could reasonably be
  expected to result in a mandatory prepayment event under Section 2.11(a)(iii) or a Material
  Adverse Effect; and

                (h)    any other development that results in, or could reasonably be expected to
  result in, a mandatory prepayment event under Section 2.11(a)(iii) or a Material Adverse
  Effect.

                The Borrower will furnish to the Administrative Agent and each Lender the
following:

                (x)       promptly and in any event at least 30 days prior thereto, notice of any
change (i) in any Loan Party’s legal name, (ii) in any Loan Party’s chief executive office, its
principal place of business, any office in which it maintains books or records or any office or
facility at which Collateral owned by it is located (including the establishment of any such new
office or facility), (iii) in any Loan Party’s identity or legal structure, (iv) in any Loan Party’s
federal taxpayer identification number or organizational number or (v) in any Loan Party’s
jurisdiction of organization; and

               (y)     as soon as available and in any event within 30 days after receipt thereof, a
copy of any environmental report or site assessment obtained by or for the Borrower or any of its
Subsidiaries after the Closing Date on any Real Estate.

        Each notice or other document delivered under this Section shall be accompanied by a
written statement of a Responsible Officer of the Borrower setting forth the details of the event

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or development requiring such notice or other document and any action taken or proposed to be
taken with respect thereto.

         Section 5.3 Existence; Conduct of Business. The Borrower will, and will cause each
of its Subsidiaries to, do or cause to be done all things necessary to preserve, renew and maintain
in full force and effect its legal existence and its respective rights, licenses, permits, privileges,
franchises, copyrights, trademarks, trade names, patents and other intellectual property material
to the conduct of its business; provided that nothing in this Section shall prohibit any merger,
consolidation, liquidation or dissolution permitted under Section 7.3.

        Section 5.4 Compliance with Laws. The Borrower will, and will cause each of its
Subsidiaries to, comply with all laws, rules, regulations and requirements of any Governmental
Authority applicable to its business and properties, including, without limitation, all
Environmental Laws, ERISA and OSHA, except where the failure to do so, either individually or
in the aggregate, could not reasonably be expected to result in a Material Adverse Effect.

        Section 5.5 Payment of Obligations. The Borrower will, and will cause each of its
Subsidiaries to, pay and discharge at or before maturity all of its obligations and liabilities
(including, without limitation, all taxes, assessments and other governmental charges, levies and
all other claims that could result in a statutory Lien) before the same shall become delinquent or
in default, except where (a) the validity or amount thereof is being contested in good faith by
appropriate proceedings, (b) the Borrower or such Subsidiary has set aside on its books adequate
reserves with respect thereto in accordance with GAAP and (c) the failure to make payment
pending such contest could not reasonably be expected to result in a Material Adverse Effect.

       Section 5.6 Books and Records. The Borrower will, and will cause each of its
Subsidiaries to, keep proper books of record and account in which full, true and correct entries
shall be made of all dealings and transactions in relation to its business and activities to the
extent necessary to prepare the consolidated financial statements of the Borrower in conformity
with GAAP.

      Section 5.7      Visitation and Inspection; Account Debtor Confirmations; Borrowing
Base Audits.

                (a)    The Borrower will, and will cause each of its Subsidiaries to, permit any
representative of the Administrative Agent or any Lender to visit and inspect its properties, to
examine its books and records and to make copies and take extracts therefrom, and to discuss its
affairs, finances and accounts with any of its officers and with its independent certified public
accountants, all at such reasonable times and as often as the Administrative Agent or any Lender
may reasonably request after reasonable prior notice to the Borrower; provided that if an Event
of Default has occurred and is continuing, no prior notice shall be required; and provided further
that, so long as no Event of Default shall have occurred and be continuing, no more than one
such audit or examination per Fiscal Year shall be conducted at the expense of the Borrower.

               (b)     If at any time when no Event of Default has occurred and is continuing,
the Administrative Agent wishes to confirm with account debtors and other payors the amounts
and terms of any or all receivables of any Loan Party, the Administrative Agent will so notify the


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Borrower. The Administrative Agent agrees to have such confirmation made through the
Borrower’s auditors. If for any reason such auditors fail to proceed with the confirmations in a
timely manner, the Administrative Agent may proceed to make such confirmations directly with
account debtors and other payors after prior written notice to the Borrower. Such confirmation
shall be limited to once each Fiscal Year unless an Event of Default shall have occurred and be
continuing. Upon the occurrence and during the continuance of an Event of Default, the
Administrative Agent shall be entitled to confirm directly with account debtors and other payors,
the amounts and terms of all accounts receivable of the Loan Parties.

               (c)    The Borrower will, and will cause each of its Subsidiaries to, permit the
Administrative Agent and its representatives (accompanied by any Lenders) to conduct field
audits of the Borrowing Base and procedures and controls relating thereto at the expense of the
Borrower once each Fiscal Year upon reasonable notice (which may be delivered telephonically)
and during regular business hours (in each case unless an Event of Default shall have occurred
and be continuing, in which case no such limitations shall apply).

        Section 5.8 Third Party Audit Rights. The Borrower will, and will cause each Loan
Party Subsidiary to, promptly notify the Administrative Agent of, and at all times allow the
Administrative Agent and its designees access to the results of, all audits conducted by (i) any
Loan Party with respect to any Distributor or (ii) any other contract counterparty of any Loan
Party or any Licensing Intermediary. Upon the reasonable request of the Administrative Agent
and in meaningful consultation with Borrower, to the extent that the applicable Loan Party (or, as
applicable, a Licensing Intermediary) shall have the right to conduct such audits, the Borrower
will, and will cause each Loan Party Subsidiary to, exercise (and, as applicable, will cause each
Licensing Intermediary to exercise) their audit rights with respect to any such Distributor or
other contract counterparty. If any Loan Party fails to initiate such audit within a reasonable
period of time following the Administrative Agent’s reasonable request or if an Event of Default
shall have occurred and be continuing, the Administrative Agent shall have the right to exercise
directly such Loan Party’s audit rights (and the right to request any applicable Licensing
Intermediary to exercise its audit rights) under any agreement with respect to any Item of
Product included in the Collateral.

         Section 5.9 Maintenance of Properties. The Borrower will, and will cause each of
its Subsidiaries to, (a) keep and maintain its tangible properties which are material to the conduct
of its business in good repair, working order and condition (ordinary wear and tear excepted) and
(b) (i) from time to time make (or cause to be made) all necessary and proper repairs, renewals,
replacements, additions and improvements thereto, and (ii) comply at all times with the
provisions of all Material Agreements to which it is a party so as to prevent any loss or forfeiture
thereof or thereunder unless compliance therewith is being currently contested in good faith by
appropriate proceedings and appropriate reserves have been established in accordance with
GAAP.

        Section 5.10 Insurance. The Borrower will, and will cause each of its Subsidiaries to:

               (a)   Keep its assets which are of an insurable character insured (to the extent
and for the time periods consistent with, or greater than, customary industry standards) by
financially sound and reputable insurers against all risks of loss or damage by fire, explosion,

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theft or other hazards which are included under extended coverage in amounts not less than the
insurable replacement value of the property insured or such lesser amounts, and with such
self-insured retention or deductible levels, as are consistent with normal industry standards, and
in any event in no less than the amount required by any Distribution Agreement on which any
Borrowing Base credit is extended.

               (b)    Maintain with financially sound and reputable insurers, insurance against
other hazards and risks and liability to Persons and property to the extent and in the manner
consistent with, or greater than, customary standards (including, for the avoidance of doubt,
“Errors and Omissions” insurance subsequent to the expiration of the time periods described in
clause (c) below), and in any event in no less than the amount required by any Distribution
Agreement on which any Borrowing Base credit is extended.

               (c)    Maintain, or cause to be maintained, in from the date of acquisition of
each Item of Product acquired by any Loan Party, through the Maturity Date and as otherwise
required by any Distribution Agreement or any other applicable contracts, an “Errors and
Omissions” policy covering such Item of Product, and cause such Errors and Omissions policy to
provide coverage to the extent and in such manner as is customary for Items of Product of like
type, but at a minimum, to the extent, in the amount and in such manner as is required by any
Distribution Agreement on which any Borrowing Base credit is extended.

               (d)    Commencing not later than 45 days after the Closing Date, maintain, or
cause to be maintained, in effect at all times a key man life insurance policy in an amount not
less than $5,000,000 for Bill Lee.

               (e)     Cause all such above-described insurance (excluding worker’s
compensation insurance) (i) to provide for the benefit of the Administrative Agent that at least
thirty (30) days’ prior written notice of cancellation, termination, non-renewal or lapse or
material change of coverage shall be given to the Administrative Agent; (ii) to name the
Administrative Agent (for the benefit of the Secured Parties) as a loss payee (except for (x)
“Errors and Omissions” insurance and other third party liability insurance, and (y) key man
insurance, for which rights thereunder shall at all times be assigned to the Administrative Agent
(for the benefit of the Secured Parties) pursuant to an assignment agreement in form and
substance reasonably satisfactory to the Administrative Agent); provided, that so long as no
Event of Default has occurred or is continuing, property insurance proceeds may be used to
repair damage in respect of which such proceeds were received; and (iii) to the extent that none
of the Secured Parties shall be liable for premiums or calls, to name the Administrative Agent as
additional insured, including under any “Errors and Omissions” insurance policy.

                (f)    Upon the request of the Administrative Agent from time to time, furnish to
the Administrative Agent a certificate of a Responsible Officer of the Borrower setting forth the
nature and extent of all insurance maintained by the Borrower and its Subsidiaries in accordance
with this Section.

         Section 5.11 Use of Proceeds; Margin Regulations. The Borrower will use the
proceeds of all Loans (i) to refinance the Indebtedness under the Existing Credit Agreement,
(ii) to pay interest, fees and costs under this Agreement and the other Loan Documents (including

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transaction costs incurred through the Closing Date, any increase in the aggregate Revolving
Commitments, or any amendment or other modification of the Loan Documents), (iii) to finance
the ongoing working capital needs and Capital Expenditures of the Borrower, and (iv) to finance
the partial reimbursement to Holdco of an amount not to exceed $20,000,000 of its equity
payment to Sellers in connection with the Millennium Acquisition. No part of the proceeds of
any Loan will be used, whether directly or indirectly, for any purpose that would violate any rule
or regulation of the Board of Governors of the Federal Reserve System, including Regulation T,
Regulation U or Regulation X.

        Section 5.12 Casualty and Condemnation. The Borrower (a) will furnish to the
Administrative Agent and the Lenders prompt written notice of any casualty or other insured
damage to any material portion of any Collateral or the commencement of any action or
preceding for the taking of any material portion of any Collateral or any part thereof or interest
therein under power of eminent domain or by condemnation or similar proceeding and (b) will
ensure that the net cash proceeds of any such event (whether in the form of insurance proceeds,
condemnation awards or otherwise) are collected and applied in accordance with the applicable
provisions of this Agreement and the Collateral Documents.

        Section 5.13 Cash Management, Collection Accounts. The Borrower shall, and shall
cause its Subsidiaries to:

                 (a)    maintain all cash management and treasury business with SunTrust Bank
  or a Lender or (with the prior approval of the Administrative Agent) a Permitted Third Party
  Bank (other than a Lender), including, without limitation, all deposit accounts, disbursement
  accounts, investment accounts and lockbox accounts (other than zero-balance accounts for the
  purpose of managing local disbursements, payroll, withholding and other fiduciary accounts,
  all of which the Loan Parties may maintain without restriction) (each such deposit account,
  disbursement account, investment account and lockbox account, a “Controlled Account”); each
  Controlled Account shall be a cash collateral account, with all cash, checks and other similar
  items of payment in such account securing payment of the Obligations, and in which the
  Borrower and each of its Subsidiaries shall have granted a first priority Lien to the
  Administrative Agent, on behalf of the Secured Parties, perfected either automatically under
  the UCC (with respect to Controlled Accounts at SunTrust Bank) or subject to Control
  Account Agreements; and each Controlled Account shall be under the control (within the
  meaning of Section 9-104 of the UCC) of the Administrative Agent, provided that, unless an
  Event of Default has occurred and is continuing, the Borrower may (and may permit its
  Subsidiaries to) withdraw and use proceeds in the Controlled Accounts for application to any
  lawful purpose not prohibited by the provisions of this Agreement or any other Loan
  Document, subject only to the Administrative Agent’s right to withdraw and use such proceeds
  to make payments in accordance with any contractual commitments made by the
  Administrative Agent to third Persons pursuant to any Interparty Agreement or Intercreditor
  Agreement relating to such proceeds;

                (b)    direct (and cause each Licensing Intermediary to direct), by a Notice of
  Assignment (or by an Interparty Agreement or by any other document acceptable to the
  Administrative Agent), all Persons who become Distributors, Licensing Intermediaries or other
  account debtors of any Loan Party (whether directly or through a Licensing Intermediary) to

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  make payments owing to a Loan Party under or in connection with any Distribution
  Agreements, Licensing Intermediary Agreements or other agreement directly to (i) a Collection
  Account or (ii) in the case of foreign receivables under certain Distribution Agreements, an
  account of a Licensing Intermediary pursuant to arrangements that satisfy the requirements set
  forth in Section 5.17(d); and

                 (c)     in the event a Loan Party receives such payment directly from any
  Person or pursuant to a letter of credit or otherwise, deposit promptly, and in any event no later
  than 10 Business Days after the date of receipt thereof, all cash, checks, drafts or other similar
  items of payment relating to or constituting payments made in respect of any and all accounts
  and other Collateral into a Collection Account.

        Section 5.14 Additional Subsidiaries and Collateral.

                  (a)    In the event that, subsequent to the Closing Date, any Person becomes a
  Subsidiary of a Loan Party, whether pursuant to formation, acquisition or otherwise, (x) the
  Borrower shall promptly notify the Administrative Agent and the Lenders thereof and (y)
  within 30 days after such Person becomes a Subsidiary of a Loan Party (or, with respect to a
  Foreign Subsidiary, if the Administrative Agent determines in its sole discretion that the
  Borrower is working in good faith, such longer period as the Administrative Agent shall permit
  not to exceed 60 additional days), the Borrower shall cause such Subsidiary (i) to become a
  new Guarantor and to grant Liens in favor of the Administrative Agent in all of its personal
  property by executing and delivering to the Administrative Agent a supplement to the Guaranty
  and Security Agreement in form and substance reasonably satisfactory to the Administrative
  Agent, executing and delivering a Copyright Security Agreement Supplement and a Trademark
  Security Agreement, as applicable, and authorizing and delivering, at the request of the
  Administrative Agent, such UCC financing statements or similar instruments required by the
  Administrative Agent to perfect the Liens in favor of the Administrative Agent and granted
  under any of the Loan Documents and (ii) to deliver all such other documentation (including,
  without limitation, certified organizational documents, resolutions, lien searches, insurance
  policies and, with respect to a Foreign Subsidiary, local law governed security documents) and
  take all such other actions as the Administrative Agent may reasonably request in connection
  with any of the foregoing; provided, however, that the requirements of the foregoing clause (y)
  shall not apply to a non-wholly-owned Subsidiary in which the Investments by the Loan
  Parties do not exceed the limits set forth in Section 7.4(j) hereof.

                  (b)    In addition, within 30 days after the date any Person becomes a
  Domestic Subsidiary of a Loan Party (unless such Person is a non-wholly-owned Subsidiary in
  which the Investments by the Loan Parties do not exceed the limits set forth in Section 7.4(j)
  hereof), the Borrower shall, or shall cause the applicable Loan Party to, (i) pledge all of the
  Capital Stock of such Domestic Subsidiary to the Administrative Agent as security for the
  Obligations by executing and delivering a supplement to the Guaranty and Security Agreement
  in form and substance satisfactory to the Administrative Agent, and (ii) deliver the original
  certificates (if any) evidencing such pledged Capital Stock to the Administrative Agent,
  together with appropriate powers executed in blank.



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                  (c)    In addition, within 30 days after the date any Person becomes a Foreign
  Subsidiary of a Loan Party (or, if the Administrative Agent determines in its sole discretion
  that the Borrower is working in good faith, such longer period as the Administrative Agent
  shall permit not to exceed 60 additional days), whether pursuant to formation, acquisition or
  otherwise (unless such Person is a non-wholly-owned Subsidiary in which the Investments by
  the Loan Parties do not exceed the limits set forth in Section 7.4(j) hereof), and to the extent
  such Foreign Subsidiary is owned directly by a Loan Party, the Borrower shall, or shall cause
  the applicable Loan Party to, (i) pledge all of the Capital Stock of such Foreign Subsidiary (or,
  if the pledge of all of the voting Capital Stock of such Foreign Subsidiary would result in
  materially adverse tax consequences, then such pledge shall be limited to 65% of the issued
  and outstanding voting Capital Stock and 100% of the issued and outstanding non-voting
  Capital Stock of such Foreign Subsidiary, as applicable) to the Administrative Agent as
  security for the Obligations pursuant to a pledge agreement in form and substance satisfactory
  to the Administrative Agent, (ii) deliver the original certificates (if any) evidencing such
  pledged Capital Stock to the Administrative Agent, together with appropriate powers executed
  in blank and (iii) deliver all such other documentation and take all such other actions as the
  Administrative Agent may reasonably request in connection with any of the foregoing.

                 (d)    The Borrower agrees that, following the delivery of any Collateral
  Documents required to be executed and delivered by this Section, the Administrative Agent
  shall have a valid and enforceable perfected Lien on the property required to be pledged
  pursuant to subsections (a), (b) and (c) of this Section (to the extent that such Lien can be
  perfected by execution, delivery and/or recording of the Collateral Documents or UCC
  financing statements, or possession of such Collateral), free and clear of all Liens other than
  Liens expressly permitted by Section 7.2, and with the priority contemplated by Section 4.20.
  All actions to be taken pursuant to this Section shall be at the expense of the Borrower or the
  applicable Loan Party, and shall be taken to the reasonable satisfaction of the Administrative
  Agent.

       Section 5.15 Copyrights and Trademarks. The Borrower will, and will cause each
Subsidiary Loan Party to:

                 (a)   As soon as practicable but no later than (i) thirty (30) days after (A) any
Loan Party acquires any copyright or copyrightable interest in an Item of Product or (B) to the
extent any Loan Party is or becomes the copyright proprietor thereof or otherwise acquires a
copyrightable interest therein, but not later than the initial exploitation or exhibition of an Item of
Product (or, if such Item of Product is an episodic series or program, any episode thereof), and
(ii) within fifteen (15) days after any Loan Party acquires any trademark, trade name, service
mark or service name, in each case of clauses (i) and (ii) above, take any and all actions
necessary to register the copyright for, or such other copyrightable interest in, such Item of
Product, such script or teleplay, or such trademark, service mark, trade name or service name,
respectively, in the name of such Loan Party (subject to a Lien, with the priority contemplated by
Section 4.20, in favor of the Administrative Agent for the benefit of the Secured Parties pursuant
to the Copyright Security Agreement and a Trademark Security Agreement) in conformity with
the laws of the United States and such other jurisdictions as the Administrative Agent may
reasonably specify, and promptly deliver to the Administrative Agent (x) written evidence of the
submission for registration and subsequently of registration of any and all such copyrights,

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copyrightable interests, trademarks, service marks, trade names or service names of the Loan
Parties for inclusion in the Collateral and (y) a Copyright Security Agreement Supplement
relating to such copyright or such other copyrightable interest or a Trademark Security
Agreement relating to such trademark, trade name, service mark or service name, in each case,
executed by the relevant Loan Parties.

              (b)     Obtain instruments of transfer or other documents evidencing the interest
of any Loan Party with respect to the copyright relating to any Item of Product in which such
Loan Party owns a copyrightable interest and any trademark, trade name, service mark or service
name which such Loan Party acquires, and promptly record, or cause to be recorded, if such
interest may be recorded with the U.S. Copyright Office, the U.S. Patent and Trademark Office
or such other jurisdictions, such instruments of transfer in the assignment records of the U.S.
Copyright Office, the U.S. Patent and Trademark Office or such other jurisdictions as the
Administrative Agent may reasonably specify.

        Section 5.16 Laboratories; No Removal.

                (a)      To the extent any Loan Party has control over, or rights to receive, any of
the Physical Materials relating to any Item of Product, promptly deliver or cause to be delivered
to a Laboratory or Laboratories or other entity reasonably acceptable to the Administrative Agent
all digital materials, all negative and preprint material, master tapes and all sound track materials
with respect to each such Item of Product and deliver to the Administrative Agent a fully
executed Laboratory Pledgeholder Agreement with respect to such materials. To the extent that
any Loan Party has only rights of access to such digital materials, preprint material or master
tapes and has not created duplicate materials sufficient to exploit its rights and has not stored
such duplicate materials at a Laboratory that has delivered a Laboratory Pledgeholder Agreement
to the Administrative Agent, the applicable Loan Party shall deliver to the Administrative Agent
a fully executed Laboratory Access Letter (accompanied by the related laboratory access letter
granted in favor of such Loan Party) covering such materials. Prior to a Loan Party requesting
any such Laboratory to deliver any such digital materials, negative or other preprint or sound
track material or master tapes to another Laboratory, such Loan Party shall provide the
Administrative Agent with a Laboratory Pledgeholder Agreement or Laboratory Access Letter
(accompanied by the related laboratory access letter granted in favor of such Loan Party), as
appropriate, executed by such other Laboratory and all other parties to such Laboratory
Pledgeholder Agreement or Laboratory Access Letter, as the case may be. Each Loan Party
hereby agrees not to deliver or remove or cause the delivery or removal of the original digital
materials, negative, and film or sound materials or master tapes with respect to any Item of
Product owned by any Loan Party or in which any Loan Party has an interest to a location
outside the United States without the prior written consent of the Administrative Agent.

               (b)    With respect to an Item of Product that is Completed or acquired after the
date hereof, promptly after such Completion or acquisition, deliver to the Administrative Agent
and the Laboratories that are signatories to Laboratory Pledgeholder Agreements a revised
schedule of the Physical Materials therefor on deposit with such Laboratories to the extent
applicable.



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       Section 5.17 Distribution Agreements; Licensing Intermediary Agreements;
Notices of Assignment; Letters of Credit. The Borrower will, and will cause each of its
Subsidiaries to:

               (a)     (i) Prior to the execution of any Distribution Agreement or Licensing
Intermediary Agreement under which a Loan Party (or a Licensing Intermediary, as the case may
be) is expected to receive revenues of in excess of $500,000, provide the Administrative Agent
with a substantially final form of such agreement, and (ii) promptly, and in any event within ten
(10) Business Days of receipt thereof, deliver or make available to the Administrative Agent true
and complete copies of (x) each such new Distribution Agreement and each such new Licensing
Intermediary Agreement and (y) all amendments, supplements and other modifications to any
existing Distribution Agreements and Licensing Intermediary Agreements which support any
Borrowing Base credit; provided, however, that the Borrower shall deliver any amendments to
the Distribution Agreements with respect to Netflix, Inc. within two (2) Business Days of any
Loan Party’s circulation (or receipt) of same;.

              (b)    From time to time (i) furnish to the Administrative Agent such
information and reports regarding the Distribution Agreements and the Licensing Intermediary
Agreements as the Administrative Agent may reasonably request, and (ii) upon the occurrence
and during the continuance of an Event of Default, at the request of the Administrative Agent,
make such demands and requests to the other parties to such Distribution Agreements and
Licensing Intermediary Agreements for information and reports or for action as the applicable
Loan Party (or Licensing Intermediary, as the case may be) is entitled to make under each such
Distribution Agreement and Licensing Intermediary Agreement.

               (c)    Cause each Distribution Agreement (or Notice of Assignment or
Interparty Agreement entered into in connection therewith) to provide that any and all payments
to be made in favor of a Loan Party thereunder shall be remitted directly to a Collection Account
or to a Licensing Intermediary in a manner that satisfies the parameters described in subsection
(d) below.

                (d)       Cause each Licensing Intermediary that has entered into a Distribution
Agreement (i) to execute and deliver to the Administrative Agent a Licensing Intermediary
Security Agreement, which such agreement shall in any event grant to the Administrative Agent
(for the benefit of the Secured Parties) a first priority accommodation security interest in any
distribution or other exploitation rights with respect to an Item of Product which are to be
remitted to or through such Licensing Intermediary, and in any proceeds thereof (including any
letters of credit), (ii) to agree in writing to remit all gross receipts with respect to each Item of
Product received by such Licensing Intermediary, net of its customary fees and expenses, to a
Collection Account within two (2) Business Days after its receipt thereof and (iii) to enter into
arrangements satisfactory to the Administrative Agent ensuring that such net receipts will not be
co-mingled with the assets of such Licensing Intermediary that are not related to an Item of
Product.

               (e)  Promptly upon receipt thereof by a Loan Party, deliver to the
Administrative Agent to be held as part of the Collateral, the original of all letters of credit
(including any amendments thereto) for which a Loan Party is the beneficiary (whether pursuant

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to a Distribution Agreement or otherwise) after the date hereof; provided, that, so long as no
Event of Default shall have occurred and be continuing, the Administrative Agent shall, upon
written request by the applicable Loan Party, release any such letter of credit to such Loan Party
in order to permit such Loan Party to present such letter of credit at the time of a drawing.

              (f)     Take all commercially reasonable action on its part to be performed
necessary to effect timely payments under all letters of credit for which a Loan Party or a
Licensing Intermediary is the beneficiary, including, without limitation, timely preparation,
acquisition and presentation of all documents, drafts or other instruments required to effect
payment thereunder.

        Section 5.18 Observance of Agreements. The Borrower will, and will cause each of
its Subsidiaries to, duly observe and perform all material terms and conditions of each
Distribution Agreement, each Licensing Intermediary Agreement and all other Material
Agreements to which it is a party or with respect to which it has been assigned rights or has
assumed obligations relating to the distribution or other exploitation of each Item of Product that
the failure of which would be reasonably likely to result in a Material Adverse Effect, and
diligently protect and enforce (or cause to be protected and enforced) the rights of the Borrower
and its Subsidiaries under all such agreements in a manner consistent with prudent business
judgment.

       Section 5.19 Material Agreements. To the extent not previously provided, the
Borrower shall provide, or shall cause each of its Subsidiaries to provide, to the Administrative
Agent a substantially final form of any Material Agreement or any amendment, alteration,
modification, or waiver to a Material Agreement prior to the execution thereof, and promptly
following the execution of any such document, and in any event within ten (10) Business Days
of receipt thereof, deliver or make available to the Administrative Agent true and complete
executed copies thereof.

        Section 5.20 Further Assurances. The Borrower will, and will cause each other Loan
Party to, execute any and all further documents, financing statements, agreements and
instruments, and take all such further actions (including the filing and recording of financing
statements and other documents), which may be required under any applicable law, or which the
Administrative Agent or the Required Lenders may reasonably request, to effectuate the
transactions contemplated by the Loan Documents or to grant, preserve, protect or perfect the
Liens created by the Collateral Documents or the validity or priority of any such Lien, all at the
expense of the Loan Parties. The Borrower also agrees to provide to the Administrative Agent,
from time to time upon request, evidence reasonably satisfactory to the Administrative Agent as
to the perfection and priority of the Liens created or intended to be created by the Collateral
Documents.

                                         ARTICLE VI

                                 FINANCIAL COVENANTS

       The Borrower covenants and agrees that so long as any Lender has a Commitment
hereunder or any Obligation remains unpaid or outstanding:

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        Section 6.1 Liquidity Ratio. The Borrower will maintain, as of the end of each Fiscal
Quarter, commencing with the Fiscal Quarter ending on December 31, 2014, a Liquidity Ratio of
not less than 1.10:1.00.

        Section 6.2 Fixed Charge Coverage Ratio. The Borrower will maintain, as of the
end of any consecutive rolling four (4) Fiscal Quarters, commencing with the consecutive rolling
four (4) Fiscal Quarter period ending on December 31, 2014, a Fixed Charge Coverage Ratio of
not less than 1.30:1.00.

        Section 6.3 Minimum EBITDA. The Borrower will maintain, as of the end of each
Fiscal Year, commencing with the Fiscal Year ending December 31, 2014 and measured at each
Fiscal Year end thereafter, EBITDA amounts of not less than:

                (i)     $9,900,000 as of the end of Fiscal Year 2014;

                (ii)    $10,200,000 as of the end of Fiscal Year 2015;

                (iii)   $10,500,000 as of the end of Fiscal Year 2016;

                (iv)    $10,800,000 as of the end of Fiscal Year 2017; and

                (v)     $11,100,000 as of the end of Fiscal Year 2018.

       Section 6.4 Liquidity Covenant. The Borrower will maintain not less than
$2,000,000 of liquidity, comprised of not less than $1,000,000 of unrestricted and uncommitted
cash held in Controlled Accounts and/or availability under the Revolving Commitment.

                                          ARTICLE VII

                                   NEGATIVE COVENANTS

The Borrower covenants and agrees that so long as any Lender has a Commitment hereunder or
any Obligation remains outstanding:

        Section 7.1 Indebtedness and Preferred Equity. The Borrower will not, and will
not permit any of its Subsidiaries to, create, incur, assume or suffer to exist any Indebtedness,
except:

                  (a)    Indebtedness created pursuant to the Loan Documents;

                 (b)    unsecured liabilities for acquisitions of rights in Items of Product and
  trade payables incurred in the ordinary course of business and payable on normal trade terms
  and not otherwise prohibited hereunder;

                  (c)     ordinary course liabilities relating to profit participations and other
  contingent compensation, including royalties, deferments and guild residuals with respect to
  the distribution, acquisition or other exploitation of Items of Product;



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                  (d)   Indebtedness of the Borrower owing to any Subsidiary and of any
  Subsidiary owing to the Borrower or any other Subsidiary; provided that any such
  Indebtedness that is owed by a Subsidiary that is not a Subsidiary Loan Party shall be subject
  to Section 7.4(j);

                 (e)     Indebtedness arising in connection with transactions contemplated by
  Section 7.9 hereof;

                 (f)     Guarantees permitted under Section 7.4;

                 (g)     Hedging Obligations permitted by Section 7.10;

                 (h)    at any time prior to the Closing Date, Indebtedness created pursuant to
  the Existing Credit Agreement; and

                  (i)    Indebtedness incurred in the ordinary course of business owed in respect
  of any overdrafts and related liabilities arising from treasury, depository and cash management
  services or in connection with any automated clearing-house transfers of funds in an aggregate
  principal amount not to exceed $100,000 at any time outstanding;

                 (j)    customary advances from Laboratories or other vendors made in the
  ordinary course of business in connection with the services rendered or to be rendered to the
  Loan Parties in connection with Physical Materials not to exceed $250,000 in the aggregate at
  any one time outstanding;

                 (k)    other unsecured Indebtedness of the Borrower or its Subsidiaries in an
  aggregate principal amount not to exceed $250,000 at any time outstanding; and

                 (l)    Indebtedness of the Borrower or its Subsidiaries to Sony DADC US Inc.
  (“Sony”) for advances made by Sony in connection with that certain Replication and
  Distribution Services Agreement, dated as of September 15, 2008, by and between Sony and
  the Borrower (as successor-in-interest to First Look Studios, Inc.).

        The Borrower will not, and will not permit any Subsidiary to, issue any preferred stock or
other preferred equity interest that (i) matures or is mandatorily redeemable pursuant to a sinking
fund obligation or otherwise, (ii) is or may become redeemable or repurchaseable by the
Borrower or such Subsidiary at the option of the holder thereof, in whole or in part, or (iii) is
convertible or exchangeable at the option of the holder thereof for Indebtedness or preferred
stock or any other preferred equity interest described in this paragraph, on or prior to, in the case
of clause (i), (ii) or (iii), the first anniversary of the Revolving Commitment Termination Date.

       Other than Loans made in partial reimbursement of Holdco’s equity payment to Sellers in
an amount not to exceed $20,000,000 in connection with the Millennium Acquisition, no
proceeds of the Loans, and no cash of any Loan Party other than Holdco, shall be used for any
contingent or non-contingent payments due to Sellers in connection with the Millennium
Acquisition.



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        Section 7.2 Liens. The Borrower will not, and will not permit any of its Subsidiaries
to, create, incur, assume or suffer to exist any Lien on any of its assets or property now owned or
hereafter acquired, except:

                  (a)     Liens securing the Obligations; provided that no Liens may secure
  Hedging Obligations or Bank Product Obligations without securing all other Obligations on a
  basis at least pari passu with such Hedging Obligations or Bank Product Obligations and
  subject to the priority of payments set forth in Section 2.20 and Section 8.2;

                 (b)     Permitted Encumbrances;

                 (c)    Liens on any property or asset of the Borrower or any of its Subsidiaries
  existing on the date hereof and set forth on Schedule 7.2; provided that such Liens shall not
  apply to any other property or asset of the Borrower or any Subsidiary;

                 (d)    Liens to secure transactions contemplated by Section 7.9 to the extent
  permitted thereunder;

                 (e)     Liens securing the Indebtedness set forth in Section 7.1(l), provided such
  Liens are subject to subordination agreement or other agreement reasonably satisfactory to the
  Administrative Agent which subordinates such Liens to Administrative Agent’s Lien
  hereunder; provided that Borrower shall have five (5) days from the Closing Date to enter into
  such agreement and deliver same to the Administrative Agent and in the event that such
  agreement is not delivered within such time period, the amount of the outstanding Indebtedness
  to Sony set forth in Section 7.1(l) shall be deducted from the Borrowing Base; and

                 (f)    extensions, renewals, or replacements of any Lien referred to in
  subsections (b) through (e) of this Section; provided that the principal amount of the
  Indebtedness secured thereby is not increased and that any such extension, renewal or
  replacement is limited to the assets originally encumbered thereby.

        Section 7.3 Fundamental Changes. The Borrower will not, and will not permit any
of its Subsidiaries to:

                  (a)    merge into or consolidate into any other Person, or permit any other
  Person to merge into or consolidate with it, or sell, lease, transfer or otherwise dispose of (in a
  single transaction or a series of transactions) all or substantially all of its assets (in each case,
  whether now owned or hereafter acquired) or all or substantially all of the Capital Stock of any
  of its Subsidiaries (in each case, whether now owned or hereafter acquired) or liquidate or
  dissolve; provided that if, at the time thereof and immediately after giving effect thereto, no
  Default or Event of Default shall have occurred and be continuing, (i) the Borrower or any
  Subsidiary may merge with a Person if the Borrower (or, if the Borrower is not a party to such
  merger, a Subsidiary) is the surviving Person, (ii) any Subsidiary may merge into another
  Subsidiary, provided that if any party to such merger is a Subsidiary Loan Party, the Subsidiary
  Loan Party shall be the surviving Person, (iii) any Subsidiary may sell, transfer, lease or
  otherwise dispose of all or substantially all of its assets to the Borrower or to a Subsidiary Loan
  Party, and (iv) any Subsidiary (other than a Subsidiary Loan Party) may liquidate or dissolve if
  the Borrower determines in good faith that such liquidation or dissolution is in the best

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  interests of the Borrower and is not materially disadvantageous to the Lenders; provided,
  further, that any such merger involving a Person that is not a wholly owned Subsidiary
  immediately prior to such merger shall not be permitted unless also permitted by Section 7.4;

                (b)     engage in any business other than businesses of the type conducted by
  the Borrower and its Subsidiaries on the date hereof and businesses reasonably related thereto;
  or

                  (c)     change (i) the location of its chief executive office or principal place of
  business, (ii) any of the locations where it keeps any material portion of the Collateral or any
  books and records with respect to the Collateral, or (iii) its name or jurisdiction of formation or
  organization without, in each case, (x) giving the Administrative Agent ten (10) days’ prior
  written notice of such change, and (y) filing (or authorizing the Administrative Agent to file)
  any additional Uniform Commercial Code financing statements (or foreign equivalent), and
  such other documents reasonably requested by Administrative Agent to maintain perfection of
  the security interest of the Administrative Agent (for the benefit of the Secured Parties), in the
  Collateral.

        Section 7.4 Investments, Loans, Guarantees. The Borrower will not, and will not
permit any of its Subsidiaries to, purchase, hold or acquire (including pursuant to any merger
with any Person that was not a wholly owned Subsidiary prior to such merger) any Capital
Stock, evidence of Indebtedness or other securities (including any option, warrant, or other right
to acquire any of the foregoing) of, make or permit to exist any loans or advances to, Guarantee
any obligations of, or make or permit to exist any investment or any other interest in, any other
Person (all of the foregoing being collectively called “Investments”), or purchase or otherwise
acquire (in one transaction or a series of transactions) any assets of any other Person that
constitute a business unit, or create or form any Subsidiary, except:

                 (a)     Investments (other than Permitted Investments) existing on the date
  hereof and set forth on Schedule 7.4 (including Investments in Subsidiaries);

                 (b)     Permitted Investments;

                (c)     Guarantees by the Borrower and its Subsidiaries constituting
  Indebtedness permitted by Section 7.1; provided that the aggregate principal amount of
  Indebtedness of Subsidiaries that are not Subsidiary Loan Parties that is Guaranteed by any
  Loan Party shall be subject to the limitation set forth in subsection (j) of this Section;

                  (d)    performance guarantees in the ordinary course of business to licensees
  or laboratories which are providing services in connection with the acquisition, distribution or
  other exploitation of any Item of Product by or for any Loan Party;

                 (e)     the endorsement of negotiable instruments for deposit or collection in
  the ordinary course of business;

                (f)   the Guarantees made by the Loan Parties pursuant to the Guaranty and
  Security Agreement;


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                  (g)     customary Guarantees in connection with participations and deferments
  relating to an Item of Product made in the ordinary course of business;

                (h)    Guarantees of obligations of another Loan Party that the Loan Party
  could have incurred directly as a primary obligor without violating the terms of any of the
  Loan Document;

                 (i)     Investments made by a Loan Party in or to any other Loan Party;

                  (j)    Investments made by a Loan Party in or to any Subsidiary that is not
  itself a Subsidiary Loan Party; provided that the aggregate amount of Investments by the Loan
  Parties in or to, and Guarantees by the Loan Parties of Indebtedness of, any Subsidiary that is
  not a Subsidiary Loan Party (including all such Investments and Guarantees existing on the
  Closing Date) shall not exceed $100,000 at any time outstanding or $300,000 in the aggregate
  for all such Subsidiaries;

                (k)     loans or advances to employees, officers or directors of the Borrower or
  any of its Subsidiaries in the ordinary course of business for travel, relocation and related
  expenses; provided that the aggregate amount of all such loans and advances does not exceed
  $100,000 at any time outstanding;

                 (l)     Hedging Transactions permitted by Section 7.10;

                (m)     Investments in anticipation of or in connection with the exploitation of
  Items of Product; and

                 (n)    Investments (including debt obligations) received in connection with the
  bankruptcy or reorganization of suppliers, customers or other debtors, or in settlement of
  delinquent obligations arising in the ordinary course of business.

        Section 7.5 Restricted Payments. The Borrower will not, and will not permit any of
its Subsidiaries to, declare or make, or agree to pay or make, directly or indirectly, any Restricted
Payment, except as follows (in each case, provided no Default or Event of Default has occurred
and is continuing or would occur after taking in account such payments):

                  (a)    dividends payable by the Borrower solely in interests of any class of its
  common equity; provided that such Capital Stock is pledged to the Administrative Agent (for
  the benefit of the Secured Parties) pursuant to the Pledge Agreement;

                 (b)    Restricted Payments made by any Subsidiary to the Borrower or to
  another Subsidiary, on at least a pro rata basis with any other equity holder if such Subsidiary
  is not wholly owned by the Borrower or by another wholly owned Subsidiary;

                 (c)     Permitted Tax Distributions;

                  (d)     payments to the Borrower of Allocated Overhead Expenses, subject to
  the limitations set forth in Section 7.22; and


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                (e)    payments from Borrower to Holdco, not to exceed $20,000,000, in
  reimbursement of a portion of Holdco’s equity payment to Sellers in connection with the
  Millennium Acquisition; provided that other than such payment, no proceeds of the Loans, and
  no cash of any Loan Party other than Holdco, shall be used for any contingent or non-
  contingent payments due to the Sellers after the closing of the Millennium Acquisition.

        Section 7.6 Sale of Assets. The Borrower will not, and will not permit any of its
Subsidiaries to, convey, sell, lease, assign, transfer or otherwise dispose of any of its assets,
business or property or, in the case of any Subsidiary, any shares of such Subsidiary’s Capital
Stock, in each case whether now owned or hereafter acquired, to any Person other than the
Borrower or a Subsidiary Loan Party (or to qualify directors if required by applicable law),
except:

                 (a)    the sale or other Disposition for fair market value of obsolete or worn
  out property or other property not necessary for operations disposed of in the ordinary course
  of business;

                  (b)     the sale, discount or other Disposition of notes, accounts receivable or
  other obligations owing to any Loan Party for the purpose of collection of accounts receivable
  in the ordinary course of business; provided that the Loan Parties shall be entitled to sell,
  liquidate or otherwise transfer tax deductions, rebates, credits and/or refunds so long as the
  transactions relating thereto are on terms (including an acceptable present-valued rate of return
  on the asset being transferred) and pursuant to documentation satisfactory to the
  Administrative Agent;

                 (c)     to the extent permitted under Section 7.9;

                 (d)    any sale, transfer, assignment or other Disposition of equipment to the
  extent that (i) such property is exchanged for credit against the purchase price of similar
  replacement property or (ii) the proceeds thereof are reasonably promptly applied to the
  purchase price of such replacement property;

                 (e)     dispositions of Permitted Investments; and

                (f)    licenses and sales of exploitation rights in an Item of Product in the
  ordinary course of business pursuant to Distribution Agreements and Licensing Intermediary
  Agreements.

        Section 7.7 Transactions with Affiliates. The Borrower will not, and will not permit
any of its Subsidiaries to, sell, lease or otherwise transfer any property or assets to, or purchase,
lease or otherwise acquire any property or assets from, or otherwise engage in any other
transactions with, any of its Affiliates, except:

                  (a)   in the ordinary course of business at prices and on terms and conditions
  not less favorable to the Borrower or such Subsidiary than could be obtained on an arm’s-
  length basis from unrelated third Persons;

                 (b)     transactions solely between or among Loan Parties;

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                 (c)     any Restricted Payment permitted by Section 7.5; and

                 (d)     as otherwise approved by the Administrative Agent.

         Section 7.8 Restrictive Agreements. The Borrower will not, and will not permit any
of its Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement that
prohibits, restricts or imposes any condition upon (a) either (i) the ability of the Borrower or any
of its Subsidiaries to create, incur or permit any Lien upon any of its assets or properties, whether
now owned or hereafter acquired, in favor of the Administrative Agent (for the benefit of the
Secured Parties) or in favor of any Person(s) refinancing the Indebtedness under the Loan
Documents or (ii) requiring an obligation to be secured as a result of any Lien being granted to
the Administrative Agent (for the benefit of the Secured Parties) or to any Person(s) refinancing
the Indebtedness under the Loan Documents or (b) the ability of any of its Subsidiaries to pay
dividends or other distributions with respect to its Capital Stock, to make or repay loans or
advances to the Borrower or any other Subsidiary thereof, to Guarantee Indebtedness of the
Borrower or any other Subsidiary thereof or to transfer any of its property or assets to the
Borrower or any other Subsidiary thereof; provided that (i) the foregoing shall not apply to
restrictions or conditions imposed by law or by this Agreement or any other Loan Document and
(ii) the foregoing shall not apply to customary restrictions and conditions contained in
agreements relating to the sale of a Subsidiary pending such sale, provided such restrictions and
conditions apply only to the Subsidiary that is sold and such sale is permitted hereunder.

       Section 7.9 Sale/Leaseback Transactions.             The Borrower will not, and will not
permit any of its Subsidiaries to:

               (a)     enter into any arrangement, directly or indirectly, whereby it shall sell or
transfer any property, real or personal, used or useful in its business, whether now owned or
hereinafter acquired, and thereafter rent or lease such property or other property that it intends to
use for substantially the same purpose or purposes as the property sold or transferred (each, a
“Sale/Leaseback Transaction”), unless at the time such Sale/Leaseback Transaction is entered
into (a) no Default or Event of Default has occurred and is continuing, (b) after giving pro forma
effect to such Sale/Leaseback Transaction, the Borrower is in compliance with the financial
covenants set forth in Article VI, (c) the Borrower has delivered a certificate to the Lenders
certifying the conditions set forth in clauses (a) and (b) and setting forth in reasonable detail
calculations demonstrating pro forma compliance with the financial covenants set forth in Article
VI; or

                (b)    enter into any Sale/Leaseback Transaction with any Person or Persons,
whereby in contemporaneous transactions any Loan Party sells essentially all of its right, title
and interest in an Item of Product and acquires or licenses the right to distribute or exploit such
Item of Product in media and markets accounting for substantially all the value of such Item of
Product, except such transactions as are evidenced by documentation acceptable to the
Administrative Agent in its sole discretion; provided, however, with the consent of the
Administrative Agent, a Loan Party may enter into a Sale/Leaseback Transaction and the
Administrative Agent will release its Liens relating to the relevant Item of Product, subject to
reattachment to all of the exploitation rights, for equivalent periods as were held by such Loan
Party immediately prior to such Sale/Leaseback Transaction provided the transaction (i) would

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not decrease the amount of revenue to be received by such Loan Party by more than a nominal
amount (or delay the anticipated timing of receipt of such revenue), (ii) would not result in the
Administrative Agent (for the benefit of the Secured Parties) not having a perfected Lien in the
portion of gross receipts to be applied in satisfaction of the Obligations (subject to no other Liens
other than Permitted Encumbrances of the type described in clause (i) of the definition of such
term) or in the other items of Collateral (with the priority contemplated by Section 4.20 hereof),
and (iii) is subject to customary documentation reasonably acceptable to the Administrative
Agent.

         Section 7.10 Hedging Transactions. The Borrower will not, and will not permit any
of its Subsidiaries to, enter into any Hedging Transaction, other than Hedging Transactions
entered into in the ordinary course of business to hedge or mitigate risks to which the Borrower
or any of its Subsidiaries is exposed in the conduct of its business or the management of its
liabilities. Solely for the avoidance of doubt, the Borrower acknowledges that a Hedging
Transaction entered into for speculative purposes or of a speculative nature (which shall be
deemed to include any Hedging Transaction under which the Borrower or any of its Subsidiaries
is or may become obliged to make any payment (i) in connection with the purchase by any third
party of any Capital Stock or any Indebtedness or (ii) as a result of changes in the market value
of any Capital Stock or any Indebtedness) is not a Hedging Transaction entered into in the
ordinary course of business to hedge or mitigate risks.

        Section 7.11 Amendments to Material Documents. The Borrower will not, and will
not permit any of its Subsidiaries to, amend, alter, modify, terminate or waive, or permit any
amendment, alteration, modification, termination or waiver of, (i) its certificate of formation,
limited liability company agreement or other organizational documents or (ii) any agreement
with respect to which such Person has been assigned rights or has assumed obligations relating to
the distribution or other exploitation of an Item of Product, any Distribution Agreement, or any
other Material Agreement to which such Person is a party (except in any manner that would not
(x) have an adverse effect on the Borrower or any of its Subsidiaries, any Secured Party or any
Secured Party’s respective rights under the Loan Documents or (y) result in a mandatory
prepayment event under Section 2.11(a)(iii)), (in each such case under the foregoing clauses (i)
and (ii)) without the prior written consent of the Required Lenders.

         Section 7.12 Accounting Changes. The Borrower will not, and will not permit any of
its Subsidiaries to, make any significant change in accounting treatment or reporting practices,
except as required by GAAP, or change the fiscal year end of the Borrower or of any of its
Subsidiaries, except to change the fiscal year end of a Subsidiary to conform its fiscal year end to
that of the Borrower.

        Section 7.13 Lease Obligations. The Borrower will not, and will not permit any of its
Subsidiaries to, create or suffer to exist any obligations for the payment under operating leases or
agreements to lease (but excluding any Capital Lease Obligations having a term of five years or
more) which would cause the present value of the direct or contingent liabilities of the Borrower
and its Subsidiaries under such leases or agreements to lease, on a consolidated basis, to exceed
$500,000 in the aggregate in any Fiscal Year.



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        Section 7.14 Government Regulation. The Borrower will not, and will not permit any
of its Subsidiaries to, (a) be or become subject at any time to any law, regulation or list of any
Governmental Authority of the United States (including, without limitation, the OFAC list) that
prohibits or limits the Lenders or the Administrative Agent from making any advance or
extension of credit to the Borrower or from otherwise conducting business with the Loan Parties,
or (b) fail to provide documentary and other evidence of the identity of the Loan Parties as may
be requested by the Lenders or the Administrative Agent at any time to enable the Lenders or the
Administrative Agent to verify the identity of the Loan Parties or to comply with any applicable
law or regulation, including, without limitation, Section 326 of the Patriot Act at 31 U.S.C.
Section 5318.

        Section 7.15 ERISA Compliance. The Borrower will not, and will not permit any of
its Subsidiaries to, engage in a non-exempt “prohibited transaction”, as defined in Section 406 of
ERISA or Section 4975 of the Code, with respect to any Plan or Multiemployer Plan or
knowingly consent to any other “party in interest” or any “disqualified person”, as such terms are
defined in Section 3(14) of ERISA and Section 4975(e)(2) of the Code, respectively, engaging in
any non-exempt “prohibited transaction”, with respect to any Plan or Multiemployer Plan; or
permit any Plan to fail to satisfy the minimum funding standard (within the meaning of Section
302 of ERISA or Section 412 of the Code), unless such failure shall have been waived in
advance by the Internal Revenue Service; or terminate any Plan in a manner which could result
in the imposition of a Lien on any property of any Loan Party pursuant to Section 4068 of
ERISA; or breach or knowingly permit any employee or officer or any trustee or administrator of
any Plan to breach any fiduciary responsibility imposed under Title I of ERISA with respect to
any Plan; or engage in any transaction which would result in the incurrence of a liability under
Section 4069 of ERISA; or fail to make contributions to a Plan or Multiemployer Plan which
could result in the imposition of a Lien on any property of any Loan Party pursuant to Section
303(k) of ERISA or Section 430(k) of the Code, if the occurrence of any of the foregoing events
(alone or in the aggregate) would result in a liability which would be reasonably likely to result
in a Material Adverse Effect.

        Section 7.16 Hazardous Materials. The Borrower will not, and will not permit any of
its Subsidiaries to, cause or permit any of its properties or assets to be used to generate,
manufacture, refine, transport, treat, store, handle, dispose, transfer, produce or process
Hazardous Materials, except in compliance in all material respects with all applicable
Environmental Laws, nor Release or permit or suffer any Release as a result of any intentional
act or omission on its part of Hazardous Materials onto any such property or asset in violation of
any Environmental Law, in each case except where the same could not have a Material Adverse
Effect.

        Section 7.17 No Development of Items of Product. The Borrower will not, and will
not permit any of its Subsidiaries to, engage in any production, co-financing or development
activities with respect to any Item of Product.

       Section 7.18 Subsidiaries. The Borrower will not, and will not permit any of its
Subsidiaries to, acquire or create any new direct or indirect Subsidiary except to the extent that
(i) such Subsidiaries are wholly-owned, directly or indirectly, by the Borrower and (ii) the
applicable requirements of Section 5.14 have been met with respect to such Subsidiary.

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       Section 7.19 No Adverse Selection. The Borrower will not, and will not permit any of
its Subsidiaries to, permit any motion picture, episodic series or other audio-visual or digital
work produced for theatrical, non-theatrical or television release, or for release in any other
medium, in each case whether long form, short form or episodic and whether recorded on film,
videotape, cassette, cartridge, disc or on or by any other means, method, process or device
whether now known or hereafter developed, to be acquired or exploited by the Holdco, the
Borrower or any of their Subsidiaries, other than an Item of Product which constitutes Collateral.

        Section 7.20 Capital Expenditures. The Borrower and its Subsidiaries will not make
or incur Capital Expenditures in excess of $1,000,000 during any Fiscal Year.

       Section 7.21 Overhead. The Borrower and its Subsidiaries will not pay or incur any
overhead expenses (including management fees and Allocated Overhead Expenses) in excess of
$17,500,000 in the aggregate per Fiscal Year.

        Section 7.22 Expenditures for Items of Product.

                  (a)   The Borrower and its Subsidiaries will not pay or incur any amounts in
  connection with Rights Acquisition Costs with respect to one or more Items of Product in
  excess of the following amounts:

                (i)     $30,000,000 in the aggregate for Fiscal Year 2014;

                (ii)    $33,000,000 in the aggregate for Fiscal Year 2015;

                (iii)   $36,300,000 in the aggregate for Fiscal Year 2016;

                (iv)    $40,000,000 in the aggregate for Fiscal Year 2017; and

                (v)     $44,000,000 in the aggregate, prior to the Maturity Date, for Fiscal Year
        2018.

                (b)     The Borrower and its Subsidiaries will not pay or incur any Rights
  Acquisition Costs in excess of $5,000,000 in connection any one single Item of Product.

                  (c)     With respect to any Item of Product referred to in subsections (a) and
  (b) of this Section, the foregoing limitations shall only take into account the excess of (x) the
  aggregate amounts paid or incurred with respect to such Item of Product as of the applicable
  date of computation minus (y) the aggregate amount of any Eligible Receivables attributed to
  such Item of Product (as reflected on the most recent Borrowing Base Certificate received by
  the Administrative Agent) as of the applicable date of computation.

       Section 7.23 P&A Expenditures for Items of Product. The Borrower and its
Subsidiaries will not pay or incur any prints and advertising (“P&A”) expenditures on account of
any single Item of Product in excess of $5,000,000.




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                                         ARTICLE VIII

                                    EVENTS OF DEFAULT

       Section 8.1 Events of Default. If any of the following events (each, an “Event of
Default”) shall occur:

                (a)    the Borrower shall fail to pay any principal of any Loan, when and as the
  same shall become due and payable, whether at the due date thereof or at a date fixed for
  prepayment or otherwise; or

                (b)     the Borrower shall fail to pay any interest on any Loan or any fee or any
  other amount (other than an amount payable under subsection (a) of this Section or an amount
  related to a Bank Product Obligation) payable under this Agreement or any other Loan
  Document, when and as the same shall become due and payable, and such failure shall
  continue unremedied for a period of three (3) Business Days; or

                  (c)    any representation or warranty made or deemed made by or on behalf of
  the Borrower or any of its Subsidiaries or Holdco in or in connection with this Agreement or
  any other Loan Document (including the Schedules attached hereto and thereto), or in any
  amendments or modifications hereof or waivers hereunder, or in any certificate, report,
  financial statement or other document submitted to the Administrative Agent or the Lenders by
  any Loan Party or any representative of any Loan Party pursuant to or in connection with this
  Agreement or any other Loan Document shall prove to be incorrect in any material respect
  (other than any representation or warranty that is expressly qualified by a Material Adverse
  Effect or other materiality, in which case such representation or warranty shall prove to be
  incorrect in any respect) when made or deemed made or submitted; or

                (d)     the Borrower shall fail to observe or perform any covenant or agreement
  contained in Section 5.1, 5.2, or 5.3 (with respect to the Borrower’s legal existence) or Article
  VI or VII; or

                 (e)     any Loan Party shall fail to observe or perform any covenant or
  agreement contained in this Agreement (other than those referred to in subsections (a), (b) and
  (d) of this Section) or any other Loan Document or related to any Bank Product Obligation,
  and such failure shall remain unremedied for 30 days after the earlier of (i) any officer of the
  Borrower becomes aware of such failure, or (ii) notice thereof shall have been given to the
  Borrower by the Administrative Agent or any Lender; or

                  (f)     (1) any Loan Party (whether as primary obligor or as guarantor or other
  surety) shall fail to pay any principal of, or premium or interest on, any Material Indebtedness
  (other than any Hedging Obligation) that is outstanding, when and as the same shall become
  due and payable (whether at scheduled maturity, required prepayment, acceleration, demand or
  otherwise), and such failure shall continue after the applicable grace period, if any, specified in
  the agreement or instrument evidencing or governing such Indebtedness; or any other event
  shall occur or condition shall exist under any agreement or instrument relating to any Material
  Indebtedness and shall continue after the applicable grace period, if any, specified in such


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  agreement or instrument, if the effect of such event or condition is to accelerate, or permit the
  acceleration of, the maturity of such Indebtedness; or any Material Indebtedness shall be
  declared to be due and payable, or required to be prepaid or redeemed (other than by a
  regularly scheduled required prepayment or redemption), purchased or defeased, or any offer
  to prepay, redeem, purchase or defease such Indebtedness shall be required to be made, in each
  case prior to the stated maturity thereof or (2) there occurs under any Hedging Transaction an
  Early Termination Date (as defined in such Hedge Transaction) resulting from (A) any event of
  default under such Hedging Transaction as to which the Borrower or any of its Subsidiaries is
  the Defaulting Party (as defined in such Hedging Transaction) and the Hedge Termination
  Value owed by the Borrower or such Subsidiary as a result thereof is greater than $250,000 or
  (B) any Termination Event (as so defined) under such Hedging Transaction as to which the
  Borrower or any Subsidiary is an Affected Party (as so defined) and the Hedge Termination
  Value owed by the Borrower or such Subsidiary as a result thereof is greater than $250,000 and
  is not paid; or

                  (g)     Holdco, the Borrower, or any Subsidiary of the Borrower shall
  (3) commence a voluntary case or other proceeding or file any petition seeking liquidation,
  reorganization or other relief under any federal, state or foreign bankruptcy, insolvency or
  other similar law now or hereafter in effect or seeking the appointment of a custodian, trustee,
  receiver, liquidator or other similar official of it or any substantial part of its property, (4)
  consent to the institution of, or fail to contest in a timely and appropriate manner, any
  proceeding or petition described in subsection (i) of this subsection, (5) apply for or consent to
  the appointment of a custodian, trustee, receiver, liquidator or other similar official for,
  Holdco, the Borrower, or any Subsidiary of the Borrower or for a substantial part of such
  Person’s assets, (6) file an answer admitting the material allegations of a petition filed against
  it in any such proceeding, (7) make a general assignment for the benefit of creditors, or (8) take
  any action for the purpose of effecting any of the foregoing; or

                  (h)      an involuntary proceeding shall be commenced or an involuntary
  petition shall be filed seeking (9) liquidation, reorganization or other relief in respect of
  Holdco, the Borrower, or any Subsidiary of the Borrower or any of such Person’s debts, or any
  substantial part of its assets, under any federal, state or foreign bankruptcy, insolvency or other
  similar law now or hereafter in effect or (10) the appointment of a custodian, trustee, receiver,
  liquidator or other similar official for Holdco, the Borrower, or any Subsidiary of the Borrower
  or for a substantial part of such Person’s assets, and in any such case, such proceeding or
  petition shall remain undismissed for a period of 60 days or an order or decree approving or
  ordering any of the foregoing shall be entered; or

                 (i)     Holdco, the Borrower, or any Subsidiary of the Borrower shall become
  unable to pay, shall admit in writing its inability to pay, or shall generally fail to pay, its debts
  as they become due, or shall make a general assignment for the benefit of its creditors; or

                (j)    (11) an ERISA Event shall have occurred that, in the opinion of the
  Required Lenders, when taken together with other ERISA Events that have occurred, could
  reasonably be expected to result in liability to the Borrower and its Subsidiaries in an aggregate
  amount exceeding $250,000, (12) there is or arises an Unfunded Pension Liability (not taking
  into account Plans with negative Unfunded Pension Liability) in an aggregate amount

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  exceeding $250,000, or (13) there is or arises any potential Withdrawal Liability in an
  aggregate amount exceeding $250,000; or

                 (k)     any judgment or order for the payment of money (to the extent not paid
  or fully covered by insurance) in excess of $250,000 in the aggregate shall be rendered against
  the Borrower or any of its Subsidiaries, and either (14) enforcement proceedings shall have
  been commenced by any creditor upon such judgment or order or (15) there shall be a period of
  30 consecutive days during which a stay of enforcement of such judgment or order, by reason
  of a pending appeal or otherwise, shall not be in effect; or

                 (l)     any non-monetary judgment or order shall be rendered against the
  Borrower or any of its Subsidiaries that could reasonably be expected, either individually or in
  the aggregate, to have a Material Adverse Effect, and there shall be a period of 30 consecutive
  days during which a stay of enforcement of such judgment or order, by reason of a pending
  appeal or otherwise, shall not be in effect; or

                 (m)    a Change in Control shall occur or exist; or

                 (n)    a Change in Management shall occur or exist; or

                  (o)    any provision of any Collateral Document shall for any reason cease to
  be valid and binding on, or enforceable against, any Loan Party, or any Loan Party shall so
  state in writing, or any Loan Party shall seek to terminate its obligation under any Collateral
  Document (other than the release of any guaranty or collateral to the extent permitted pursuant
  to Section 9.11); or

                  (p)     any Lien purported to be created under any Collateral Document shall
  fail or cease to be, or shall be asserted by any Loan Party not to be, a valid and perfected Lien
  on any Collateral, with the priority required by the applicable Collateral Documents;

then, and in every such event (other than an event described in subsection (h) or (i) of this
Section) and at any time thereafter during the continuance of such event, the Administrative
Agent may, and upon the written request of the Required Lenders shall, by notice to the
Borrower, take any or all of the following actions, at the same or different times: (i) terminate
the Commitments, whereupon the Commitment of each Lender shall terminate immediately,
(ii) declare the principal of and any accrued interest on the Loans, and all other Obligations
owing hereunder, to be, whereupon the same shall become, due and payable immediately,
without presentment, demand, protest or other notice of any kind, all of which are hereby waived
by the Borrower, (iii) exercise all remedies contained in any other Loan Document, and
(iv) exercise any other remedies available at law or in equity; provided that, if an Event of
Default specified in either subsection (h) or (i) shall occur, the Commitments shall automatically
terminate and the principal of the Loans then outstanding, together with accrued interest thereon,
and all fees and all other Obligations shall automatically become due and payable, without
presentment, demand, protest or other notice of any kind, all of which are hereby waived by the
Borrower.




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        Section 8.2 Application of Proceeds from Collateral. All proceeds from each sale
of, or other realization upon, all or any part of the Collateral by any Secured Party after an Event
of Default arises shall be applied as follows:

                 (a)    first, to the reimbursable expenses of the Administrative Agent incurred
  in connection with such sale or other realization upon the Collateral, until the same shall have
  been paid in full;

                (b)     second, to the fees and other reimbursable expenses of the
  Administrative Agent then due and payable pursuant to any of the Loan Documents, until the
  same shall have been paid in full;

                (c)     third, to all reimbursable expenses, if any, of the Lenders then due and
  payable pursuant to any of the Loan Documents, until the same shall have been paid in full;

               (d)       fourth, to the fees and interest then due and payable under the terms of
  this Agreement, until the same shall have been paid in full;

                 (e)    fifth, to the aggregate outstanding principal amount of the Loans, the
  Bank Product Obligations and the Net Mark-to-Market Exposure of the Hedging Obligations
  that constitute Obligations, until the same shall have been paid in full, allocated pro rata
  among the Secured Parties based on their respective pro rata shares of the aggregate amount of
  such Loans, Bank Product Obligations and Net Mark-to-Market Exposure of such Hedging
  Obligations; and

                (f)     sixth, to the extent any proceeds remain, to the Borrower, or as
  otherwise agreed by the Administrative Agent in any Intercreditor Agreement or Interparty
  Agreement, or as otherwise provided by a court of competent jurisdiction.

               All amounts allocated pursuant to the foregoing clauses third through fifth to the
Lenders as a result of amounts owed to the Lenders under the Loan Documents shall be allocated
among, and distributed to, the Lenders pro rata based on their respective Pro Rata Shares.

                 Notwithstanding the foregoing, (a) no amount received from any Guarantor
(including any proceeds of any sale of, or other realization upon, all or any part of the Collateral
owned by such Guarantor) shall be applied to any Excluded Swap Obligation of such Guarantor
and (b) Bank Product Obligations and Hedging Obligations shall be excluded from the
application described above if the Administrative Agent has not received written notice thereof,
together with such supporting documentation as the Administrative Agent may request, from the
Bank Product Provider or the Lender-Related Hedge Provider, as the case may be. Each Bank
Product Provider or Lender-Related Hedge Provider that has given the notice contemplated by
the preceding sentence shall, by such notice, be deemed to have acknowledged and accepted the
appointment of the Administrative Agent pursuant to the terms of Article IX hereof for itself and
its Affiliates as if a “Lender” party hereto.




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                                          ARTICLE IX

                              THE ADMINISTRATIVE AGENT

        Section 9.1 Appointment of the Administrative Agent. Each Lender irrevocably
appoints SunTrust Bank as the Administrative Agent and authorizes it to take such actions on its
behalf and to exercise such powers as are delegated to the Administrative Agent under this
Agreement and the other Loan Documents, together with all such actions and powers that are
reasonably incidental thereto. The Administrative Agent may perform any of its duties hereunder
or under the other Loan Documents by or through any one or more sub-agents or attorneys-in-
fact appointed by the Administrative Agent. The Administrative Agent and any such sub-agent
or attorney-in-fact may perform any and all of its duties and exercise its rights and powers
through their respective Related Parties. The exculpatory provisions set forth in this Article shall
apply to any such sub-agent, attorney-in-fact or Related Party and shall apply to their respective
activities in connection with the syndication of the credit facilities provided for herein as well as
activities as the Administrative Agent.

        Section 9.2 Nature of Duties of the Administrative Agent. The Administrative
Agent shall not have any duties or obligations except those expressly set forth in this Agreement
and the other Loan Documents. Without limiting the generality of the foregoing, (a) the
Administrative Agent shall not be subject to any fiduciary or other implied duties, regardless of
whether a Default or an Event of Default has occurred and is continuing, (b) the Administrative
Agent shall not have any duty to take any discretionary action or exercise any discretionary
powers, except those discretionary rights and powers expressly contemplated by the Loan
Documents that the Administrative Agent is required to exercise in writing by the Required
Lenders (or such other number or percentage of the Lenders as shall be necessary under the
circumstances as provided in Section 10.2), provided that the Administrative Agent shall not be
required to take any action that, in its opinion or the opinion of its counsel, may expose the
Administrative Agent to liability or that is contrary to any Loan Document or applicable law,
including for the avoidance of doubt any action that may be in violation of the automatic stay
under any Debtor Relief Law or that may effect a forfeiture, modification or termination of
property of a Defaulting Lender in violation of any Debtor Relief Law; and (c) except as
expressly set forth in the Loan Documents, the Administrative Agent shall not have any duty to
disclose, and shall not be liable for the failure to disclose, any information relating to the
Borrower or any of its Subsidiaries or Holdco that is communicated to or obtained by the
Administrative Agent or any of its Affiliates in any capacity. The Administrative Agent shall not
be liable for any action taken or not taken by it, its sub-agents or its attorneys-in-fact with the
consent or at the request of the Required Lenders (or such other number or percentage of the
Lenders as shall be necessary under the circumstances as provided in Section 10.2) or in the
absence of its own gross negligence or willful misconduct. The Administrative Agent shall not
be responsible for the negligence or misconduct of any sub-agents or attorneys-in-fact selected
by it with reasonable care. The Administrative Agent shall not be deemed to have knowledge of
any Default or Event of Default unless and until written notice thereof (which notice shall
include an express reference to such event being a “Default” or “Event of Default” hereunder) is
given to the Administrative Agent by the Borrower or any Lender, and the Administrative Agent
shall not be responsible for or have any duty to ascertain or inquire into (i) any statement,
warranty or representation made in or in connection with any Loan Document, (ii) the contents

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of any certificate, report or other document delivered hereunder or thereunder or in connection
herewith or therewith, (iii) the performance or observance of any of the covenants, agreements,
or other terms and conditions set forth in any Loan Document, (iv) the validity, enforceability,
effectiveness or genuineness of any Loan Document or any other agreement, instrument or
document, or (v) the satisfaction of any condition set forth in Article III or elsewhere in any Loan
Document, other than to confirm receipt of items expressly required to be delivered to the
Administrative Agent. The Administrative Agent may consult with legal counsel (including
counsel for the Borrower) concerning all matters pertaining to such duties.

       Section 9.3 Lack of Reliance on the Administrative Agent. Each of the Lenders
acknowledges that it has, independently and without reliance upon the Administrative Agent or
any other Lender and based on such documents and information as it has deemed appropriate,
made its own credit analysis and decision to enter into this Agreement. Each of the Lenders also
acknowledges that it will, independently and without reliance upon the Administrative Agent or
any other Lender and based on such documents and information as it has deemed appropriate,
continue to make its own decisions in taking or not taking any action under or based on this
Agreement, any related agreement or any document furnished hereunder or thereunder.

        Section 9.4 Certain Rights of the Administrative Agent. If the Administrative
Agent shall request instructions from the Required Lenders with respect to any action or actions
(including the failure to act) in connection with this Agreement, the Administrative Agent shall
be entitled to refrain from such act or taking such act unless and until it shall have received
instructions from such Lenders, and the Administrative Agent shall not incur liability to any
Person by reason of so refraining. Without limiting the foregoing, no Lender shall have any right
of action whatsoever against the Administrative Agent as a result of the Administrative Agent
acting or refraining from acting hereunder in accordance with the instructions of the Required
Lenders where required by the terms of this Agreement.

         Section 9.5 Reliance by the Administrative Agent. The Administrative Agent shall
be entitled to rely upon, and shall not incur any liability for relying upon, any notice, request,
certificate, consent, statement, instrument, document or other writing (including any electronic
message, posting or other distribution) believed by it to be genuine and to have been signed, sent
or made by the proper Person. The Administrative Agent may also rely upon any statement made
to it orally or by telephone and believed by it to be made by the proper Person and shall not incur
any liability for relying thereon. The Administrative Agent may consult with legal counsel
(including counsel for the Borrower), independent public accountants and other experts selected
by it and shall not be liable for any action taken or not taken by it in accordance with the advice
of such counsel, accountants or experts.

        Section 9.6 The Administrative Agent in its Individual Capacity. The bank serving
as the Administrative Agent shall have the same rights and powers under this Agreement and any
other Loan Document in its capacity as a Lender as any other Lender and may exercise or refrain
from exercising the same as though it were not the Administrative Agent; and the terms
“Lenders”, “Required Lenders”, or any similar terms shall, unless the context clearly otherwise
indicates, include the Administrative Agent in its individual capacity. The bank acting as the
Administrative Agent and its Affiliates may accept deposits from, lend money to, and generally


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engage in any kind of business with the Borrower or any Subsidiary or Affiliate of the Borrower
as if it were not the Administrative Agent hereunder.

        Section 9.7    Successor Administrative Agent.

                 (a)     The Administrative Agent may resign at any time by giving notice
  thereof to the Lenders and the Borrower. Upon any such resignation, the Required Lenders
  shall have the right to appoint a successor Administrative Agent, subject to approval by the
  Borrower provided that no Default or Event of Default shall exist at such time. If no successor
  Administrative Agent shall have been so appointed, and shall have accepted such appointment
  within 30 days after the retiring Administrative Agent gives notice of resignation, then the
  retiring Administrative Agent may, on behalf of the Lenders, appoint a successor
  Administrative Agent which shall be a commercial bank organized under the laws of the
  United States or any state thereof or a bank which maintains an office in the United States.

                  (b)    Upon the acceptance of its appointment as the Administrative Agent
  hereunder by a successor, such successor Administrative Agent shall thereupon succeed to and
  become vested with all the rights, powers, privileges and duties of the retiring Administrative
  Agent, and the retiring Administrative Agent shall be discharged from its duties and
  obligations under this Agreement and the other Loan Documents. If, within 45 days after
  written notice is given of the retiring Administrative Agent’s resignation under this Section, no
  successor Administrative Agent shall have been appointed and shall have accepted such
  appointment, then on such 45th day (i) the retiring Administrative Agent’s resignation shall
  become effective, (ii) the retiring Administrative Agent shall thereupon be discharged from its
  duties and obligations under the Loan Documents and (iii) the Required Lenders shall
  thereafter perform all duties of the retiring Administrative Agent under the Loan Documents
  until such time as the Required Lenders appoint a successor Administrative Agent as provided
  above. After any retiring Administrative Agent’s resignation hereunder, the provisions of this
  Article shall continue in effect for the benefit of such retiring Administrative Agent and its
  representatives and agents in respect of any actions taken or not taken by any of them while it
  was serving as the Administrative Agent.

        Section 9.8 Withholding Tax. To the extent required by any applicable law, the
Administrative Agent may withhold from any interest payment to any Lender an amount
equivalent to any applicable withholding tax. If the Internal Revenue Service or any authority of
the United States or any other jurisdiction asserts a claim that the Administrative Agent did not
properly withhold tax from amounts paid to or for the account of any Lender (because the
appropriate form was not delivered or was not properly executed, or because such Lender failed
to notify the Administrative Agent of a change in circumstances that rendered the exemption
from, or reduction of, withholding tax ineffective, or for any other reason), such Lender shall
indemnify the Administrative Agent (to the extent that the Administrative Agent has not already
been reimbursed by the Borrower and without limiting the obligation of the Borrower to do so)
fully for all amounts paid, directly or indirectly, by the Administrative Agent as tax or otherwise,
including penalties and interest, together with all expenses incurred, including legal expenses,
allocated staff costs and any out of pocket expenses.



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        Section 9.9    The Administrative Agent May File Proofs of Claim.

                 (a)     In case of the pendency of any receivership, insolvency, liquidation,
  bankruptcy, reorganization, arrangement, adjustment, composition or other judicial proceeding
  relative to any Loan Party, the Administrative Agent (irrespective of whether the principal of
  any Loan or any Revolving Credit Exposure shall then be due and payable as herein expressed
  or by declaration or otherwise and irrespective of whether the Administrative Agent shall have
  made any demand on the Borrower) shall be entitled and empowered, by intervention in such
  proceeding or otherwise:

                       (i)     to file and prove a claim for the whole amount of the principal and
        interest owing and unpaid in respect of the Loans or Revolving Credit Exposure and all
        other Obligations that are owing and unpaid and to file such other documents as may be
        necessary or advisable in order to have the claims of the Lenders and the Administrative
        Agent (including any claim for the reasonable compensation, expenses, disbursements
        and advances of the Lenders and the Administrative Agent and its agents and counsel and
        all other amounts due the Lenders and the Administrative Agent under Section 10.3)
        allowed in such judicial proceeding; and

                       (ii)   to collect and receive any monies or other property payable or
        deliverable on any such claims and to distribute the same.

                 (b)      Any custodian, receiver, assignee, trustee, liquidator, sequestrator or
  other similar official in any such judicial proceeding is hereby authorized by each Lender to
  make such payments to the Administrative Agent and, if the Administrative Agent shall
  consent to the making of such payments directly to the Lenders, to pay to the Administrative
  Agent any amount due for the reasonable compensation, expenses, disbursements and advances
  of the Administrative Agent and its agents and counsel, and any other amounts due the
  Administrative Agent under Section 10.3.

               Nothing contained herein shall be deemed to authorize the Administrative Agent
to authorize or consent to or accept or adopt on behalf of any Lender any plan of reorganization,
arrangement, adjustment or composition affecting the Obligations or the rights of any Lender or
to authorize the Administrative Agent to vote in respect of the claim of any Lender in any such
proceeding.

        Section 9.10 Authorization to Execute Other Loan Documents. Each Lender hereby
authorizes the Administrative Agent to execute on behalf of all Lenders all Loan Documents
(including, without limitation, the Collateral Documents and any subordination agreements)
other than this Agreement.

      Section 9.11 Collateral and Guaranty Matters. The Lenders irrevocably authorize
the Administrative Agent, at its option and in its discretion:

                   (a)     to release any Lien on any property granted to or held by the
  Administrative Agent under any Loan Document (i) upon the termination of all Commitments
  and the payment in full of all Obligations (other than contingent indemnification obligations)
  (ii) that is sold or otherwise disposed of, or to be sold or otherwise disposed of, as part of or in

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  connection with any sale or other Disposition permitted hereunder or under any other Loan
  Document, or (iii) if approved, authorized or ratified in writing in accordance with Section
  10.2;

                (b)    to release any Loan Party from its obligations under the applicable
  Collateral Documents if such Person ceases to be a Subsidiary as a result of a transaction
  permitted hereunder;

                 (c)     to determine that the cost to a Loan Party is disproportionate to the
  benefit to be realized by the Secured Parties by perfecting a Lien in a given asset or group of
  assets included in the Collateral (including any bank account) and that such Loan Party should
  not be required to perfect such Lien in favor of the Administrative Agent (for the benefit of the
  Secured Parties);

                (d)    to appoint subagents to be the holder of record of a Lien to be granted to
  the Administrative Agent (for the benefit of the Secured Parties);

                (e)    to confirm in writing the right of Quiet Enjoyment (as defined in the
  Guaranty and Security Agreement) of Distributors pursuant to the terms of the Guaranty and
  Security Agreement;

                 (f)    to determine when a Lender is or becomes a Defaulting Lender;

                 (g)     to enter into Interparty Agreements, Intercreditor Agreements and/or
  subordination agreements on terms acceptable to the Administrative Agent with (A) unions
  and/or guilds with respect to the security interests in favor of such unions and/or guilds
  required pursuant to the terms of collective bargaining agreements, (B) any Distributor having
  any rights to any Item of Product, (C) Persons providing any services in connection with any
  Item of Product, (D) Persons providing tax benefit, production subsidies and/or similar
  arrangements for any Item of Product or (E) sales agents or licensing intermediaries which are
  permitted by the terms hereof to be involved in the distribution of any Item of Product;

                  (h)     to approve the terms and conditions of any Sale/Leaseback Transaction,
  to the extent the Administrative Agent reasonably determines that such transaction will provide
  a positive net benefit towards the applicable Item of Product and to take any action it deems
  appropriate to facilitate the completion of such transaction;

                (i)    to accept (and, subject to compliance with Section 2.21, the
  Administrative Agent shall accept) Incremental Revolving Commitments pursuant to Section
  2.21; and

                 (j)    to enter into and perform its obligations under the Loan Documents.

Upon request by the Administrative Agent at any time, the Required Lenders will confirm in
writing the Administrative Agent’s authority to release its interest in particular types or items of
property, or to release any Loan Party from its obligations under the applicable Collateral
Documents pursuant to this Section. In each case as specified in this Section, the Administrative
Agent is authorized, at the Borrower’s expense, to execute and deliver to the applicable Loan

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Party such documents as such Loan Party may reasonably request to evidence the release of such
item of Collateral from the Liens granted under the applicable Collateral Documents, or to
release such Loan Party from its obligations under the applicable Collateral Documents, in each
case in accordance with the terms of the Loan Documents and this Section.

        Section 9.12 Documentation Agent; Syndication Agent. Each Lender hereby
designates the Administrative Agent as Documentation Agent and agrees that the Documentation
Agent, in such capacity, shall have no duties or obligations under any Loan Documents to any
Lender or any Loan Party. Each Lender hereby designates the Administrative Agent as
Syndication Agent and agrees that the Syndication Agent, in such capacity, shall have no duties
or obligations under any Loan Documents to any Lender or any Loan Party.

        Section 9.13 Right to Realize on Collateral and Enforce Guarantee. Anything
contained in any of the Loan Documents to the contrary notwithstanding, the Borrower, the
Administrative Agent and each Lender hereby agree that (i) no Lender shall have any right
individually to realize upon any of the Collateral or to enforce the Collateral Documents, it being
understood and agreed that all powers, rights and remedies hereunder and under the Collateral
Documents may be exercised solely by the Administrative Agent, and (ii) in the event of a
foreclosure by the Administrative Agent on any of the Collateral pursuant to a public or private
sale or other disposition, the Administrative Agent or any Lender may be the purchaser or
licensor of any or all of such Collateral at any such sale or other disposition and the
Administrative Agent, as agent for and representative of the Lenders (but not any Lender or
Lenders in its or their respective individual capacities unless the Required Lenders shall
otherwise agree in writing), shall be entitled, for the purpose of bidding and making settlement or
payment of the purchase price for all or any portion of the Collateral sold at any such public sale,
to use and apply any of the Obligations as a credit on account of the purchase price for any
collateral payable by the Administrative Agent at such sale or other disposition.

        Section 9.14 Secured Bank Product Obligations and Hedging Obligations. No
Bank Product Provider or Lender-Related Hedge Provider that obtains the benefits of
Section 8.2, the Collateral Documents or any Collateral by virtue of the provisions hereof or of
any other Loan Document shall have any right to notice of any action or to consent to, direct or
object to any action hereunder or under any other Loan Document or otherwise in respect of the
Collateral (including the release or impairment of any Collateral) other than in its capacity as a
Lender and, in such case, only to the extent expressly provided in the Loan Documents.
Notwithstanding any other provision of this Article to the contrary, the Administrative Agent
shall not be required to verify the payment of, or that other satisfactory arrangements have been
made with respect to, Bank Product Obligations and Hedging Obligations unless the
Administrative Agent has received written notice of such Obligations, together with such
supporting documentation as the Administrative Agent may request, from the applicable Bank
Product Provider or Lender-Related Hedge Provider, as the case may be.




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                                           ARTICLE X

                                       MISCELLANEOUS

        Section 10.1 Notices.

                 (a)    Written Notices.

                       (i)     Except in the case of notices and other communications expressly
        permitted to be given by telephone, all notices and other communications to any party
        herein to be effective shall be in writing and shall be delivered by hand or overnight
        courier service, mailed by certified or registered mail or sent by facsimile, as follows:

        To the Borrower:                     Millennium Entertainment, LLC
                                             5900 Wilshire Boulevard, Floor 18
                                             Los Angeles, California 90036
                                             Attention: Bill Lee
                                             Facsimile Number: 323-937-0750
                                             Email: blee@millenniumentertainment.me

        To the Administrative Agent:         SunTrust Bank
                                             303 Peachtree Street, N.E. / 32nd Floor
                                             Atlanta, Georgia 30308
                                             Attention: J. Matthew Rowand
                                             Facsimile Number: (404) 588-7189
                                             Email: matt.rowand @suntrust.com

        With a copy (for
        Information purposes only) to:       SunTrust Bank
                                             Agency Services
                                             303 Peachtree Street, N.E. / 25th Floor
                                             Atlanta, Georgia 30308
                                             Attention: Doug Weltz
                                             Facsimile Number: (404) 221-2001
                                             Email: douglas.weltz@suntrust.com

                                             and

                                             Akin Gump Strauss Hauer & Feld LLP
                                             2029 Century Park East, Suite 2400
                                             Los Angeles, California 90067
                                             Attention: John Burke, Esq.
                                             Facsimile Number: (310) 229-1001
                                             Email: jburke@akingump.com

        To SunTrust Bank:                    SunTrust Bank
                                             Agency Services
                                             303 Peachtree Street, N.E. / 25th Floor

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                                               Atlanta, Georgia 30308
                                               Attention: Doug Weltz
                                               Facsimile Number: (404) 221-2001
                                               Email: douglas.weltz@suntrust.com

        To any other Lender:                   the address set forth in the Administrative
                                               Questionnaire or the Assignment
                                               and Acceptance executed by such Lender

                                Any party hereto may change its address or facsimile number for
        notices and other communications hereunder by notice to the other parties hereto. All
        such notices and other communications shall be effective upon actual receipt by the
        relevant Person or, if delivered by overnight courier service, upon the first Business Day
        after the date deposited with such courier service for overnight (next-day) delivery or, if
        sent by facsimile, upon transmittal in legible form by facsimile machine or, if mailed,
        upon the third Business Day after the date deposited into the mail or, if delivered by
        hand, upon delivery; provided that notices delivered to the Administrative Agent Lender
        shall not be effective until actually received by such Person at its address specified in this
        Section.

                        (ii)   Any agreement of the Administrative Agent or any Lender herein
        to receive certain notices by telephone or facsimile is solely for the convenience and at
        the request of the Borrower. The Administrative Agent and each Lender shall be entitled
        to rely on the authority of any Person purporting to be a Person authorized by the
        Borrower to give such notice and the Administrative Agent and the Lenders shall not
        have any liability to the Borrower or other Person on account of any action taken or not
        taken by the Administrative Agent or any Lender in reliance upon such telephonic or
        facsimile notice. The obligation of the Borrower to repay the Loans and all other
        Obligations hereunder shall not be affected in any way or to any extent by any failure of
        the Administrative Agent or any Lender to receive written confirmation of any telephonic
        or facsimile notice or the receipt by the Administrative Agent or any Lender of a
        confirmation which is at variance with the terms understood by the Administrative Agent
        and such Lender to be contained in any such telephonic or facsimile notice.

                 (b)     Electronic Communications.

                        (i)    Notices and other communications to the Lenders hereunder may
        be delivered or furnished by electronic communication (including email and Internet or
        intranet websites) pursuant to procedures approved by the Administrative Agent,
        provided that the foregoing shall not apply to notices to any Lender pursuant to Article II
        unless such Lender and the Administrative Agent have agreed to receive notices under
        any Section thereof by electronic communication and have agreed to the procedures
        governing such communications. The Administrative Agent or the Borrower may, in its
        discretion, agree to accept notices and other communications to it hereunder by electronic
        communications pursuant to procedures approved by it; provided that approval of such
        procedures may be limited to particular notices or communications.


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                       (ii)    Unless the Administrative Agent otherwise prescribes, (i) notices
        and other communications sent to an e-mail address shall be deemed received upon the
        sender’s receipt of an acknowledgement from the intended recipient (such as by the
        “return receipt requested” function, as available, return e-mail or other written
        acknowledgement); provided that if such notice or other communication is not sent
        during the normal business hours of the recipient, such notice or communication shall be
        deemed to have been sent at the opening of business on the next Business Day for the
        recipient, and (ii) notices or communications posted to an Internet or intranet website
        shall be deemed received upon the deemed receipt by the intended recipient at its e-mail
        address as described in the foregoing clause (i) of notification that such notice or
        communication is available and identifying the website address therefor.

        Section 10.2 Waiver; Amendments.

                 (a)      No failure or delay by the Administrative Agent or any Lender in
  exercising any right or power hereunder or under any other Loan Document, and no course of
  dealing between the Borrower and the Administrative Agent or any Lender, shall operate as a
  waiver thereof, nor shall any single or partial exercise of any such right or power, or any
  abandonment or discontinuance of steps to enforce such right or power, preclude any other or
  further exercise thereof or the exercise of any other right or power hereunder or thereunder.
  The rights and remedies of the Administrative Agent and the Lenders hereunder and under the
  other Loan Documents are cumulative and are not exclusive of any rights or remedies provided
  by law. No waiver of any provision of this Agreement or of any other Loan Document or
  consent to any departure by the Borrower therefrom shall in any event be effective unless the
  same shall be permitted by subsection (b) of this Section, and then such waiver or consent shall
  be effective only in the specific instance and for the purpose for which given. Without limiting
  the generality of the foregoing, the making of a Loan shall not be construed as a waiver of any
  Default or Event of Default, regardless of whether the Administrative Agent or any Lender
  may have had notice or knowledge of such Default or Event of Default at the time.

                  (b)    Except to the extent specifically provided to the contrary in any other
  provision of this Agreement, no amendment or waiver of any provision of this Agreement or of
  the other Loan Documents (other than the Engagement Letter and the Fee Letter), nor consent
  to any departure by the Borrower therefrom, shall in any event be effective unless the same
  shall be in writing and signed by the Borrower and the Required Lenders, or the Borrower and
  the Administrative Agent with the consent of the Required Lenders, and then such amendment,
  waiver or consent shall be effective only in the specific instance and for the specific purpose
  for which given; provided that, in addition to the consent of the Required Lenders, no
  amendment, waiver or consent shall:

               (i)   increase the Commitment of any Lender without the written consent of
        such Lender;

               (ii)   reduce the principal amount of any Loan or reduce the rate of interest
        thereon, or reduce any fees payable hereunder, without the written consent of each
        Lender affected thereby;


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              (iii) postpone the date fixed for any payment of any principal of, or interest on,
        any Loan or any fees hereunder or reduce the amount of, waive or excuse any such
        payment, or postpone the scheduled date for the termination or reduction of any
        Commitment, without the written consent of each Lender affected thereby;

               (iv)   change Section 2.20(b) in a manner that would alter the pro rata sharing
        of payments required thereby, without the written consent of each Lender;

               (v)    change any of the provisions of this subsection (b) or the definition of
        “Required Lenders” or any other provision hereof specifying the number or percentage of
        Lenders which are required to waive, amend or modify any rights hereunder or make any
        determination or grant any consent hereunder, without the consent of each Lender;

                (vi)   change the definition of “EBITDA” without the consent of each Lender;

               (vii) release all or substantially all of the guarantors, or limit the liability of
        such guarantors, under any guaranty agreement guaranteeing any of the Obligations,
        without the written consent of each Lender; or

               (viii) release all or substantially all collateral (if any) securing any of the
        Obligations, without the written consent of each Lender;

provided, further, that no such amendment, waiver or consent shall amend, modify or otherwise
affect the rights, duties or obligations of the Administrative Agent without the prior written
consent of such Person.

Notwithstanding anything to the contrary herein, no Defaulting Lender shall have any right to
approve or disapprove any amendment, waiver or consent hereunder, except that the
Commitment of such Lender may not be increased or extended, and amounts payable to such
Lender hereunder may not be permanently reduced, without the consent of such Lender (other
than reductions in fees and interest in which such reduction does not disproportionately affect
such Lender). Notwithstanding anything contained herein to the contrary, this Agreement may
be amended and restated without the consent of any Lender (but with the consent of the
Borrower and the Administrative Agent) if, upon giving effect to such amendment and
restatement, such Lender shall no longer be a party to this Agreement (as so amended and
restated), the Commitments of such Lender shall have terminated (but such Lender shall continue
to be entitled to the benefits of Sections 2.17, 2.18, 2.19 and 10.3), such Lender shall have no
other commitment or other obligation hereunder and such Lender shall have been paid in full all
principal, interest and other amounts owing to it or accrued for its account under this Agreement.

        Section 10.3 Expenses; Indemnification.

                  (a)    The Borrower shall pay (on the Closing Date and thereafter on demand)
  (i) all reasonable, out-of-pocket costs and expenses of the Administrative Agent and its
  Affiliates, including the reasonable fees, charges and disbursements of counsel for the
  Administrative Agent and its Affiliates, in connection with the syndication of the credit
  facilities provided for herein, the due diligence in anticipation of the consummation of the
  transactions contemplated in this Agreement (including costs incurred in connection with legal,

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  title and collateral diligence (including library valuation) prior to the Closing Date) and the
  preparation and administration of the Loan Documents and any amendments, modifications or
  waivers thereof (whether or not the transactions contemplated in this Agreement or any other
  Loan Document shall be consummated), including, but not limited to, the reasonable out-of-
  pocket costs and charges of accountants and of audits or field examinations conducted by the
  Administrative Agent in connection with the administration of this Agreement, the verification
  of financial data and the transactions contemplated hereby, and (ii) all out-of-pocket costs and
  expenses (including, without limitation, the reasonable fees, charges and disbursements of
  outside counsel and the allocated cost of inside counsel) incurred by the Administrative Agent
  or any Lender in connection with the enforcement or protection of its rights in connection with
  this Agreement, including its rights under this Section, or in connection with the Loans made
  hereunder, including all such out-of-pocket expenses incurred during any workout,
  restructuring or negotiations in respect of such Loans.

                  (b)     The Borrower shall indemnify the Administrative Agent (and any sub-
  agent thereof), each Lender and each Related Party of any of the foregoing Persons (each such
  Person being called an “Indemnitee”) against, and hold each Indemnitee harmless from, any
  and all losses, claims, damages, liabilities and related expenses (including the reasonable fees,
  charges and disbursements of any outside counsel for any Indemnitee), and shall indemnify
  and hold harmless each Indemnitee from, and shall reimburse each Indemnitee upon its
  demand for, all fees and time charges and disbursements for outside attorneys of any
  Indemnitee, incurred by any Indemnitee or asserted against any Indemnitee by any third Person
  or by the Borrower, any other Loan Party, the Sponsor or any of their respective Affiliates
  arising out of, in connection with, or as a result of (i) the execution or delivery of this
  Agreement, any other Loan Document or any agreement or instrument contemplated hereby or
  thereby, the performance by the parties hereto of their respective obligations hereunder or
  thereunder or the consummation of the transactions contemplated hereby or thereby, (ii) any
  Loan or the use or proposed use of the proceeds therefrom, (iii) any actual or alleged presence
  or Release of Hazardous Materials on or from any property owned or operated by the Borrower
  or any of its Subsidiaries, or any Environmental Liability related in any way to the Borrower or
  any of its Subsidiaries, or (iv) any actual or prospective claim, litigation, investigation or
  proceeding relating to any of the foregoing, whether based on contract, tort or any other theory,
  whether brought by a third Person or by the Borrower, any other Loan Party, the Sponsor or
  any of their respective Affiliates, and regardless of whether any Indemnitee is a party thereto;
  provided that such indemnity shall not, as to any Indemnitee, be available to the extent that
  such losses, claims, damages, liabilities or related expenses are determined by a court of
  competent jurisdiction by final and non-appealable judgment to have resulted from (x) the
  gross negligence or willful misconduct of or breach of this Agreement or any other Loan
  Document by such Indemnitee or any Related Party of such Indemnitee or (y) any disputes
  solely among Indemnitees and not arising out of any action or inaction of the Borrower, any
  other Loan Party, the Sponsor or any of their respective Affiliates. No Indemnitee shall be
  liable for any damages arising from the use by others of any information or other materials
  obtained through Syndtrak, Intralinks or any other Internet or intranet website, except as a
  result of such Indemnitee’s gross negligence or willful misconduct as determined by a court of
  competent jurisdiction in a final and non-appealable judgment. The Borrower shall not (and
  shall not permit any other Loan Party, the Sponsor or any of their respective Affiliates to),
  without the prior written consent of any Indemnitee, effect any settlement of any pending or

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  threatened proceeding in respect of which such Indemnitee is a party and indemnity has been
  sought hereunder by such Indemnitee, unless such settlement includes an unconditional release
  of such Indemnitee from all liability on claims that are the subject matter of such indemnity.
  The foregoing agreements shall be in addition to any rights that any Indemnitee may have at
  common law or otherwise, including, but not limited to, any right to contribution.

                 (c)    The Borrower shall pay, and hold the Administrative Agent and each of
  the Lenders harmless from and against, any and all present and future stamp, documentary, and
  other similar taxes with respect to this Agreement and any other Loan Documents, any
  collateral described therein or any payments due thereunder, and save the Administrative
  Agent and each Lender harmless from and against any and all liabilities with respect to or
  resulting from any delay or omission to pay such taxes.

                 (d)    To the extent that the Borrower fails to pay any amount required to be
  paid to the Administrative Agent under subsection (a), (b) or (c) hereof, each Lender severally
  agrees to pay to the Administrative Agent such Lender’s pro rata share (in accordance with its
  respective Revolving Commitment (or Revolving Credit Exposure, as applicable) and Term
  Loan determined as of the time that the unreimbursed expense or indemnity payment is sought)
  of such unpaid amount; provided that the unreimbursed expense or indemnified payment,
  claim, damage, liability or related expense, as the case may be, was incurred by or asserted
  against the Administrative Agent in its capacity as such.

             (e)  TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
  BORROWER SHALL NOT ASSERT, AND HEREBY WAIVES, ANY CLAIM AGAINST
  ANY INDEMNITEE, ON ANY THEORY OF LIABILITY, FOR SPECIAL, INDIRECT,
  CONSEQUENTIAL OR PUNITIVE DAMAGES (AS OPPOSED TO ACTUAL OR DIRECT
  DAMAGES) ARISING OUT OF, IN CONNECTION WITH OR AS A RESULT OF THIS
  AGREEMENT, ANY OTHER LOAN DOCUMENT OR ANY AGREEMENT OR
  INSTRUMENT CONTEMPLATED HEREBY, THE TRANSACTIONS CONTEMPLATED
  THEREIN, ANY LOAN OR THE USE OF PROCEEDS THEREOF.

               (f)     All amounts due under this Section shall be payable promptly after
  written demand therefor.

        Section 10.4 Successors and Assigns.

                  (a)    The provisions of this Agreement shall be binding upon and inure to the
  benefit of the parties hereto and their respective successors and assigns permitted hereby,
  except that the Borrower may not assign or otherwise transfer any of its rights or obligations
  hereunder without the prior written consent of the Administrative Agent and each Lender, and
  no Lender may assign or otherwise transfer any of its rights or obligations hereunder except (i)
  to an assignee in accordance with the provisions of subsection (b) of this Section, (ii) by way
  of participation in accordance with the provisions of subsection (d) of this Section or (iii) by
  way of pledge or assignment of a security interest subject to the restrictions of subsection (f) of
  this Section (and any other attempted assignment or transfer by any party hereto shall be null
  and void). Nothing in this Agreement, expressed or implied, shall be construed to confer upon
  any Person (other than the parties hereto, their respective successors and assigns permitted

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  hereby, Participants to the extent provided in subsection (d) of this Section and, to the extent
  expressly contemplated hereby, the Related Parties of each of the Administrative Agent and the
  Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

                 (b)     Any Lender may at any time assign to one or more assignees all or a
  portion of its rights and obligations under this Agreement (including all or a portion of its
  Commitments, Loans and other Revolving Credit Exposure at the time owing to it); provided
  that any such assignment shall be subject to the following conditions:

                       (i)    Minimum Amounts.

                              (A)    in the case of an assignment of the entire remaining amount
                of the assigning Lender’s Commitments, Loans and other Revolving Credit
                Exposure at the time owing to it or in the case of an assignment to a Lender, an
                Affiliate of a Lender or an Approved Fund, no minimum amount need be
                assigned; and

                               (B)     in any case not described in subsection (b)(i)(A) of this
                Section, the aggregate amount of the Commitment (which for this purpose
                includes Loans and Revolving Credit Exposure outstanding thereunder) or, if the
                applicable Commitment is not then in effect, the principal outstanding balance of
                the Loans and Revolving Credit Exposure of the assigning Lender subject to each
                such assignment (determined as of the date the Assignment and Acceptance with
                respect to such assignment is delivered to the Administrative Agent or, if “Trade
                Date” is specified in the Assignment and Acceptance, as of the Trade Date) shall
                not be less than $1,000,000 with respect to Term Loans and $5,000,000 with
                respect to Revolving Loans and in minimum increments of $1,000,000, unless
                each of the Administrative Agent and, so long as no Event of Default has
                occurred and is continuing, the Borrower otherwise consents (each such consent
                not to be unreasonably withheld or delayed).

                      (ii)     Proportionate Amounts. Each partial assignment shall be made as
        an assignment of a proportionate part of all the assigning Lender’s rights and obligations
        under this Agreement with respect to the Loans, other Revolving Credit Exposure or the
        Commitments assigned, except that this subsection (b)(ii) shall not prohibit any Lender
        from assigning all or a portion of its rights and obligations among separate Commitments
        on a non-pro rata basis.

                     (iii) Required Consents. No consent shall be required for any
        assignment except to the extent required by subsection (b)(i)(B) of this Section and, in
        addition:

                              (A)     the consent of the Borrower (such consent not to be
                unreasonably withheld or delayed) shall be required unless (x) an Event of
                Default has occurred and is continuing at the time of such assignment or (y) such
                assignment is to a Lender, an Affiliate of such Lender or an Approved Fund of
                such Lender;


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                              (B)     the consent of the Administrative Agent (such consent not
                to be unreasonably withheld or delayed) shall be required unless such assignment
                is of a Term Loan to a Lender, an Affiliate of such Lender or an Approved Fund
                of such Lender.

                       (iv)   Assignment and Acceptance. The parties to each assignment shall
        deliver to the Administrative Agent (A) a duly executed Assignment and Acceptance,
        (B) a processing and recordation fee of $3,500, (C) an Administrative Questionnaire
        unless the assignee is already a Lender and (D) the documents required under Section
        2.19(e).

                      (v)   No Assignment to Certain Persons. No such assignment shall be
        made to (A) the Borrower or any of the Borrower’s Affiliates or Subsidiaries or (B) to
        any Defaulting Lender or any of its Subsidiaries, or any Person who, upon becoming a
        Lender hereunder, would constitute any of the foregoing Persons described in this clause
        (B).

                      (vi)    No Assignment to Natural Persons. No such assignment shall be
        made to a natural person.

                        (vii) Certain Additional Payments. In connection with any assignment
        of rights and obligations of any Defaulting Lender hereunder, no such assignment shall
        be effective unless and until, in addition to the other conditions thereto set forth herein,
        the parties to the assignment shall make such additional payments to the Administrative
        Agent in an aggregate amount sufficient, upon distribution thereof as appropriate (which
        may be outright payment, purchases by the assignee of participations or
        subparticipations, or other compensating actions, including funding, with the consent of
        the Borrower and the Administrative Agent, the applicable pro rata share of Loans
        previously requested but not funded by the Defaulting Lender, to each of which the
        applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in
        full all payment liabilities then owed by such Defaulting Lender to the Administrative
        Agent and each Lender hereunder (and interest accrued thereon), and (y) acquire (and
        fund as appropriate) its full pro rata share of all Loans. Notwithstanding the foregoing,
        in the event that any assignment of rights and obligations of any Defaulting Lender
        hereunder shall become effective under applicable law without compliance with the
        provisions of this paragraph, then the assignee of such interest shall be deemed to be a
        Defaulting Lender for all purposes of this Agreement until such compliance occurs.

                Subject to acceptance and recording thereof by the Administrative Agent pursuant
to subsection (c) of this Section, from and after the effective date specified in each Assignment
and Acceptance, the assignee thereunder shall be a party to this Agreement and, to the extent of
the interest assigned by such Assignment and Acceptance, have the rights and obligations of a
Lender under this Agreement, and the assigning Lender thereunder shall, to the extent of the
interest assigned by such Assignment and Acceptance, be released from its obligations under this
Agreement (and, in the case of an Assignment and Acceptance covering all of the assigning
Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party
hereto) but shall continue to be entitled to the benefits of Sections 2.17, 2.18, 2.19 and 10.3 with

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respect to facts and circumstances occurring prior to the effective date of such assignment;
provided that, except to the extent otherwise expressly agreed by the affected parties, no
assignment by a Defaulting Lender will constitute a waiver or release of any claim of any party
hereunder arising from such Lender’s having been a Defaulting Lender. Any assignment or
transfer by a Lender of rights or obligations under this Agreement that does not comply with this
subsection shall be treated for purposes of this Agreement as a sale by such Lender of a
participation in such rights and obligations in accordance with subsection (d) of this Section. If
the consent of the Borrower to an assignment is required hereunder (including a consent to an
assignment which does not meet the minimum assignment thresholds specified above), the
Borrower shall be deemed to have given its consent unless it shall object thereto by written
notice to the Administrative Agent within five (5) Business Days after notice thereof has actually
been delivered by the assigning Lender (through the Administrative Agent) to the Borrower.

                  (c)    The Administrative Agent, acting solely for this purpose as an agent of
  the Borrower, shall maintain at one of its offices in Atlanta, Georgia a copy of each
  Assignment and Acceptance delivered to it and a register for the recordation of the names and
  addresses of the Lenders, and the Commitments of, and principal amount of the Loans and
  Revolving Credit Exposure owing to, each Lender pursuant to the terms hereof from time to
  time (the “Register”). Information contained in the Register with respect to any Lender shall
  be available for inspection by such Lender at any reasonable time and from time to time upon
  reasonable prior notice; information contained in the Register shall also be available for
  inspection by the Borrower at any reasonable time and from time to time upon reasonable prior
  notice. In establishing and maintaining the Register, the Administrative Agent shall serve as
  the Borrower’s agent solely for tax purposes and solely with respect to the actions described in
  this Section, and the Borrower hereby agrees that, to the extent SunTrust Bank serves in such
  capacity, SunTrust Bank and its officers, directors, employees, agents, sub-agents and affiliates
  shall constitute “Indemnitees”.

                 (d)     Any Lender may at any time, without the consent of, or notice to, the
  Borrower or the Administrative Agent, sell participations to any Person (other than a natural
  person, the Borrower or any of the Borrower’s Affiliates or Subsidiaries) (each, a
  “Participant”) in all or a portion of such Lender’s rights and/or obligations under this
  Agreement (including all or a portion of its Commitment and/or the Loans owing to it);
  provided that (i) such Lender’s obligations under this Agreement shall remain unchanged, (ii)
  such Lender shall remain solely responsible to the other parties hereto for the performance of
  such obligations and (iii) the Borrower, the Administrative Agent and the Lenders shall
  continue to deal solely and directly with such Lender in connection with such Lender’s rights
  and obligations under this Agreement.

                Any agreement or instrument pursuant to which a Lender sells such a
participation shall provide that such Lender shall retain the sole right to enforce this Agreement
and to approve any amendment, modification or waiver of any provision of this Agreement;
provided that such agreement or instrument may provide that such Lender will not, without the
consent of the Participant, agree to any amendment, modification or waiver with respect to the
following to the extent affecting such Participant: (i) increase the Commitment of such Lender;
(ii) reduce the principal amount of any Loan or reduce the rate of interest thereon, or reduce any
fees payable hereunder; (iii) postpone the date fixed for any payment of any principal of, or

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interest on, any Loan or any fees hereunder or reduce the amount of, waive or excuse any such
payment, or postpone the scheduled date for the termination or reduction of any Commitment;
(iv) change Section 2.20(b) in a manner that would alter the pro rata sharing of payments
required thereby; (v) change any of the provisions of Section 10.2(b) or the definition of
“Required Lenders” or any other provision hereof specifying the number or percentage of
Lenders which are required to waive, amend or modify any rights hereunder or make any
determination or grant any consent hereunder; (vi) release all or substantially all of the
guarantors, or limit the liability of such guarantors, under any guaranty agreement guaranteeing
any of the Obligations; or (vii) release all or substantially all collateral (if any) securing any of
the Obligations. Subject to subsection (e) of this Section, the Borrower agrees that each
Participant shall be entitled to the benefits of Sections 2.17, 2.18 and 2.19 to the same extent as if
it were a Lender and had acquired its interest by assignment pursuant to subsection (b) of this
Section; provided that such Participant agrees to be subject to Section 2.22 as though it were a
Lender. To the extent permitted by law, each Participant also shall be entitled to the benefits of
Section 10.7 as though it were a Lender; provided that such Participant agrees to be subject to
Section 2.20 as though it were a Lender.

                Each Lender that sells a participation shall, acting solely for this purpose as an
agent of the Borrower, maintain a register in the United States on which it enters the name and
address of each Participant and the principal amounts (and stated interest) of each Participant’s
interest in the Loans or other obligations under the Loan Documents (the “Participant Register”).
The entries in the Participant Register shall be conclusive, absent manifest error, and such
Lender shall treat each person whose name is recorded in the Participant Register as the owner of
such participation for all purposes of this Agreement notwithstanding any notice to the contrary.
The Borrower and the Administrative Agent shall have inspection rights to such Participant
Register (upon reasonable prior notice to the applicable Lender) solely for purposes of
demonstrating that such Loans or other obligations under the Loan Documents are in “registered
form” for purposes of the Code.

                  (e)     A Participant shall not be entitled to receive any greater payment under
  Sections 2.17 and 2.19 than the applicable Lender would have been entitled to receive with
  respect to the participation sold to such Participant, unless the sale of the participation to such
  Participant is made with the Borrower’s prior written consent. A Participant shall not be
  entitled to the benefits of Section 2.19 unless the Borrower is notified of the participation sold
  to such Participant and such Participant agrees, for the benefit of the Borrower, to comply with
  Section 2.19(e) and (i) as though it were a Lender.

               (f)     Any Lender may at any time pledge or assign a security interest in all or
any portion of its rights under this Agreement to secure obligations of such Lender, including,
without limitation, any pledge or assignment to secure obligations to a Federal Reserve Bank;
provided that no such pledge or assignment shall release such Lender from any of its obligations
hereunder or substitute any such pledgee or assignee for such Lender as a party hereto.

        Section 10.5 Governing Law; Jurisdiction; Consent to Service of Process.

                 (a)    This Agreement and the other Loan Documents and any claims,
  controversy, dispute or cause of action (whether in contract or tort or otherwise) based upon,

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  arising out of or relating to this Agreement or any other Loan Document (except, as to any
  other Loan Document, as expressly set forth therein) and the transactions contemplated hereby
  and thereby shall be construed in accordance with and be governed by the law (without giving
  effect to the conflict of law principles thereof except for Sections 5-1401 and 5-1402 of the
  New York General Obligations Law) of the State of New York.

                   (b)    The Borrower hereby irrevocably and unconditionally submits, for itself
  and its property, to the exclusive jurisdiction of the United States District Court for the
  Southern District of New York, and of the Supreme Court of the State of New York sitting in
  New York county, and of any appellate court from any thereof, in any action or proceeding
  arising out of or relating to this Agreement or any other Loan Document or the transactions
  contemplated hereby or thereby, or for recognition or enforcement of any judgment, and each
  of the parties hereto hereby irrevocably and unconditionally agrees that all claims in respect of
  any such action or proceeding may be heard and determined in such District Court or such
  New York state court or, to the extent permitted by applicable law, such appellate court. Each
  of the parties hereto agrees that a final judgment in any such action or proceeding shall be
  conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
  manner provided by law. Nothing in this Agreement or any other Loan Document shall affect
  any right that the Administrative Agent or any Lender may otherwise have to bring any action
  or proceeding relating to this Agreement or any other Loan Document against the Borrower or
  its properties in the courts of any jurisdiction.

                 (c)    The Borrower irrevocably and unconditionally waives any objection
  which it may now or hereafter have to the laying of venue of any such suit, action or
  proceeding described in subsection (b) of this Section and brought in any court referred to in
  subsection (b) of this Section. Each of the parties hereto irrevocably waives, to the fullest
  extent permitted by applicable law, the defense of an inconvenient forum to the maintenance of
  such action or proceeding in any such court.

                 (d)   Each party to this Agreement irrevocably consents to the service of
  process in the manner provided for notices in Section 10.1. Nothing in this Agreement or in
  any other Loan Document will affect the right of any party hereto to serve process in any other
  manner permitted by law.

      Section 10.6 WAIVER OF JURY TRIAL.         EACH PARTY HERETO
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF THIS AGREEMENT OR ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER, AND (B)
ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS
BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS

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SECTION. ANY PARTY MAY FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS
SECTION WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF ANY
PARTY HERETO TO THE WAIVER OF ITS RIGHTS TO TRIAL BY JURY.

         Section 10.7 Right of Set-off. In addition to any rights now or hereafter granted under
applicable law and not by way of limitation of any such rights, each Lender shall have the right,
at any time or from time to time upon the occurrence and during the continuance of an Event of
Default, without prior notice to the Borrower, any such notice being expressly waived by the
Borrower to the extent permitted by applicable law, to set off and apply against all deposits
(general or special, time or demand, provisional or final) of the Borrower at any time held or
other obligations at any time owing by such Lender to or for the credit or the account of the
Borrower against any and all Obligations held by such Lender irrespective of whether such
Lender shall have made demand hereunder and although such Obligations may be unmatured;
provided that in the event that any Defaulting Lender shall exercise any such right of setoff,
(x) all amounts so set off shall be paid over immediately to the Administrative Agent for further
application in accordance with the provisions of Section 2.24(b) and, pending such payment,
shall be segregated by such Defaulting Lender from its other funds and deemed held in trust for
the benefit of the Administrative Agent and the Lenders, and (y) the Defaulting Lender shall
provide promptly to the Administrative Agent a statement describing in reasonable detail the
Obligations owing to such Defaulting Lender as to which it exercised such right of setoff. Each
Lender agrees promptly to notify the Administrative Agent and the Borrower after any such set-
off and any application made by such Lender; provided that the failure to give such notice shall
not affect the validity of such set-off and application. Each Lender agrees to apply all amounts
collected from any such set-off to the Obligations before applying such amounts to any other
Indebtedness or other obligations owed by the Borrower and any of its Subsidiaries to such
Lender.

         Section 10.8 Counterparts; Integration. This Agreement may be executed by one or
more of the parties to this Agreement on any number of separate counterparts, and all of said
counterparts taken together shall be deemed to constitute one and the same instrument. Delivery
of an executed counterpart to this Agreement or any other Loan Document by facsimile
transmission or by electronic mail in pdf format shall be as effective as delivery of a manually
executed counterpart hereof, and the parties waive any right they may have to object to said
treatment. This Agreement, the Engagement Letter, the Fee Letter, the other Loan Documents,
and any separate letter agreements relating to any fees payable to the Administrative Agent and
its Affiliates constitute the entire agreement among the parties hereto and thereto and their
affiliates regarding the subject matters hereof and thereof and supersede all prior agreements and
understandings, oral or written, regarding such subject matters.

         Section 10.9 Survival. All covenants, agreements, representations and warranties made
by the Borrower herein and in the certificates, reports, notices or other instruments delivered in
connection with or pursuant to this Agreement shall be considered to have been relied upon by
the other parties hereto and shall survive the execution and delivery of this Agreement and the
other Loan Documents and the making of any Loans, regardless of any investigation made by
any such other party or on its behalf and notwithstanding that the Administrative Agent or any
Lender may have had notice or knowledge of any Default or incorrect representation or warranty
at the time any credit is extended hereunder, and shall continue in full force and effect as long as

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the principal of or any accrued interest on any Loan or any fee or any other amount payable
under this Agreement is outstanding and unpaid and so long as the Commitments have not
expired or terminated. The provisions of Sections 2.17, 2.18, 2.19, and 10.3 and Article IX shall
survive and remain in full force and effect regardless of the consummation of the transactions
contemplated hereby, the repayment of the Loans, the expiration or termination of the
Commitments or the termination of this Agreement or any provision hereof.

        Section 10.10 Severability. Any provision of this Agreement or any other Loan
Document held to be illegal, invalid or unenforceable in any jurisdiction, shall, as to such
jurisdiction, be ineffective to the extent of such illegality, invalidity or unenforceability without
affecting the legality, validity or enforceability of the remaining provisions hereof or thereof; and
the illegality, invalidity or unenforceability of a particular provision in a particular jurisdiction
shall not invalidate or render unenforceable such provision in any other jurisdiction.

        Section 10.11 Confidentiality. Each of the Administrative Agent and the Lenders
agrees to take normal and reasonable precautions to maintain the confidentiality of any
information relating to the Borrower or any of its Subsidiaries or any of their respective
businesses, to the extent designated in writing as confidential and provided to it by the Borrower
or any of its Subsidiaries, other than any such information that is available to the Administrative
Agent or any Lender on a non-confidential basis prior to disclosure by the Borrower or any of its
Subsidiaries, except that such information may be disclosed (i) to any Related Party of the
Administrative Agent or any such Lender including, without limitation, accountants, legal
counsel and other advisors, (ii) to the extent required by applicable laws or regulations or by any
subpoena or similar legal process, (iii) to the extent requested by any regulatory agency or
authority purporting to have jurisdiction over it (including any self-regulatory authority such as
the National Association of Insurance Commissioners), (iv) to the extent that such information
becomes publicly available other than as a result of a breach of this Section, or which becomes
available to the Administrative Agent, any Lender or any Related Party of any of the foregoing
on a non-confidential basis from a source other than the Borrower or any of its Subsidiaries,
(v) in connection with the exercise of any remedy hereunder or under any other Loan Documents
or any suit, action or proceeding relating to this Agreement or any other Loan Documents or the
enforcement of rights hereunder or thereunder, (vi) subject to execution by such Person of an
agreement containing provisions substantially the same as those of this Section, to (A) any
assignee of or Participant in, or any prospective assignee of or Participant in, any of its rights or
obligations under this Agreement, or (B) any actual or prospective party (or its Related Parties)
to any swap or derivative or other transaction under which payments are to be made by reference
to the Borrower and its obligations, this Agreement or payments hereunder, (vii) to any rating
agency, (viii) to the CUSIP Service Bureau or any similar organization, or (ix) with the consent
of the Borrower. Any Person required to maintain the confidentiality of any information as
provided for in this Section shall be considered to have complied with its obligation to do so if
such Person has exercised the same degree of care to maintain the confidentiality of such
information as such Person would accord its own confidential information. In the event of any
conflict between the terms of this Section and those of any other Contractual Obligation entered
into with any Loan Party (whether or not a Loan Document), the terms of this Section shall
govern. The commitments under this Section shall terminate, with respect to a particular Person,
two (2) years after the earlier of (x) the termination of this Agreement, (y) the termination of


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such Person’s Commitments and (z) the date on which such Person ceases to be a party to this
Agreement.

        Section 10.12 Interest Rate Limitation. Notwithstanding anything herein to the
contrary, if at any time the interest rate applicable to any Loan, together with all fees, charges
and other amounts which may be treated as interest on such Loan under applicable law
(collectively, the “Charges”), shall exceed the maximum lawful rate of interest (the “Maximum
Rate”) which may be contracted for, charged, taken, received or reserved by a Lender holding
such Loan in accordance with applicable law, the rate of interest payable in respect of such Loan
hereunder, together with all Charges payable in respect thereof, shall be limited to the Maximum
Rate and, to the extent lawful, the interest and Charges that would have been payable in respect
of such Loan but were not payable as a result of the operation of this Section shall be cumulated
and the interest and Charges payable to such Lender in respect of other Loans or periods shall be
increased (but not above the Maximum Rate therefor) until such cumulated amount, together
with interest thereon at the Federal Funds Rate to the date of repayment (to the extent permitted
by applicable law), shall have been received by such Lender.

        Section 10.13 Waiver of Effect of Corporate Seal. The Borrower represents and
warrants that neither it nor any other Loan Party is required to affix its corporate seal to this
Agreement or any other Loan Document pursuant to any Requirement of Law, agrees that this
Agreement is delivered by the Borrower under seal and waives any shortening of the statute of
limitations that may result from not affixing the corporate seal to this Agreement or such other
Loan Documents.

       Section 10.14 Patriot Act. The Administrative Agent and each Lender hereby notifies
the Loan Parties that, pursuant to the requirements of the Patriot Act, it is required to obtain,
verify and record information that identifies each Loan Party, which information includes the
name and address of such Loan Party and other information that will allow such Lender or the
Administrative Agent, as applicable, to identify such Loan Party in accordance with the Patriot
Act.

        Section 10.15 No Advisory or Fiduciary Responsibility. In connection with all aspects
of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), the Borrower and each other Loan
Party acknowledges and agrees and acknowledges its Affiliates’ understanding that (i) (A) the
services regarding this Agreement provided by the Administrative Agent and/or the Lenders are
arm’s-length commercial transactions between the Borrower, each other Loan Party and their
respective Affiliates, on the one hand, and the Administrative Agent and the Lenders, on the
other hand, (B) each of the Borrower and the other Loan Parties have consulted their own legal,
accounting, regulatory and tax advisors to the extent they have deemed appropriate, and (C) the
Borrower and each other Loan Party is capable of evaluating and understanding, and understands
and accepts, the terms, risks and conditions of the transactions contemplated hereby and by the
other Loan Documents; (ii) (A) each of the Administrative Agent and the Lenders is and has been
acting solely as a principal and, except as expressly agreed in writing by the relevant parties, has
not been, is not, and will not be acting as an advisor, agent or fiduciary for the Borrower, any
other Loan Party or any of their respective Affiliates, or any other Person, and (B) neither the
Administrative Agent nor any Lender has any obligation to the Borrower, any other Loan Party

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or any of their Affiliates with respect to the transaction contemplated hereby except those
obligations expressly set forth herein and in the other Loan Documents; and (iii) the
Administrative Agent, the Lenders and their respective Affiliates may be engaged in a broad
range of transactions that involve interests that differ from those of the Borrower, the other Loan
Parties and their respective Affiliates, and each of the Administrative Agent and the Lenders has
no obligation to disclose any of such interests to the Borrower, any other Loan Party or any of
their respective Affiliates. To the fullest extent permitted by law, each of the Borrower and the
other Loan Parties hereby waives and releases any claims that it may have against the
Administrative Agent or any Lender with respect to any breach or alleged breach of agency or
fiduciary duty in connection with any aspect of any transaction contemplated hereby.

        Section 10.16 Location of Closing. Each Lender acknowledges and agrees that it has
delivered, with the intent to be bound, its executed counterparts of this Agreement to the
Administrative Agent, c/o Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of
America Tower, New York, New York 10036-6745 (marked for the attention of such Person as
the Administrative Agent or its counsel may direct prior to the Closing Date). The Borrower
acknowledges and agrees that it has delivered, with the intent to be bound, its executed
counterparts of this Agreement and each other Loan Document, together with all other
documents, instruments, opinions, certificates and other items required under Section 3.1, to the
Administrative Agent, c/o Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of
America Tower, New York, New York 10036-6745 (marked for the attention of such Person as
the Administrative Agent or its counsel may direct prior to the Closing Date. All parties agree
that the closing of the transactions contemplated by this Agreement has occurred in New York.

        Section 10.17 Engagement Letter. The Borrower hereby (a) assumes all obligations of
Virgo arising under the Engagement Letter and (b) agrees to be bound by the terms thereof from
and after the date hereof as if the Engagement Letter was originally executed by the Borrower.

        Section 10.18 Headings. Section headings used herein and the table of contents hereto
are for convenience only and are not to affect the construction of or be taken into consideration
in interpreting this Agreement.

                           (remainder of page left intentionally blank)




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                                               ANNEX A

                        ACCEPTABLE OBLIGORS AND ALLOWABLE AMOUNTS

Obligor/Customer Name   Customer Advance Retuns     Participation &   Allowable     Notes
                        Type     Rate    Reserve    Residual          Borrowing
                                         Rate       Reserve           Limit
7-ELEVEN STORES         Major    90%     35%        5%                $10,000,000
AEC ONE STOP GROUP      Non-     80%     35%        5%                $5,000,000
                        Major
ALL OTHER THEATRICAL    Non-     80%     0%         5%                $5,000,000
                        Major
ALLIANCE                Minor    50%     35%        5%                $1,000,000
ENTERTAINMENT
ALLIN MEDIA             Minor     50%    35%        5%                $1,000,000
CORPORATION
AMAZON.COM              Primary   95%    0%         5%                $15,000,000
                        Major
AMERIC                  Minor     50%    0%         5%                $1,000,000
DIRECT/MANHATTAN
INTL
AMERICAN MULTI          Non-      80%    0%         5%                $5,000,000
CINEMA INC              Major
ANDERSON                Major     90%    35%        5%                $10,000,000
MERCHANDISERS
ANDERSON-AAFES          Major     90%    35%        5%                $10,000,000
ANDERSON-BEST BUY       Major     90%    35%        5%                $10,000,000
APPLE (iTunes)          Primary   95%    0%         5%                $15,000,000
                        Major
ARK MEDIA GROUP         Minor     50%    35%        5%                $1,000,000
BAKER & TAYLOR          Major     90%    35%        5%                $10,000,000
BARJAN LLC              Major     90%    35%        5%                $10,000,000
BIG LOTS                Minor     50%    35%        5%                $1,000,000
BLOCKBUSTER DIGITAL     Major     90%    0%         5%                $10,000,000
BOOKSPAN                Minor     50%    35%        5%                $1,000,000
BORDERS                 Minor     50%    35%        5%                $1,000,000
BRAVADO                 Minor     50%    0%         5%                $1,000,000
INTERNATIONAL GROUP
CANDLELIGHT MEDIA       Major     90%    35%        5%                $10,000,000
GROUP
CARMIKE CINEMAS INC     Non-      80%    0%         5%                $5,000,000
                        Major
CFM                     Minor     50%    0%         5%                $1,000,000
CHILLER LLC             Major     90%    0%         5%                $10,000,000
CHRISTIAN CINEMA        Minor     50%    0%         5%                $1,000,000
CINEMOI NORTH           Minor     50%    0%         5%                $1,000,000
AMERICA (US)
CINETIC RIGHTS           Minor   50%   0%    5%   $1,000,000
MANAGEMENT LLC
CINSESKY PICTURES, LLC   Minor   50%   0%    5%   $1,000,000
CORDELL, LLC             Minor   50%   0%    5%   $1,000,000
COSTCO WHOLESALE         Major   90%   35%   5%   $10,000,000
CREATIVE NATIVE          Minor   50%   35%   5%   $1,000,000
PRODUCTIONS
DELIVERY AGENT - GSI     Minor   50%   35%   5%   $1,000,000
DIRECT BRANDS INC        Non-    80%   35%   5%   $5,000,000
                         Major
DIRECTV LLC              Major   90%   0%    5%   $10,000,000
DISH NETWORK LLC (US)    Major   90%   0%    5%   $10,000,000
DVA                      Minor   50%   35%   5%   $1,000,000
DVD EMPIRE               Minor   50%   35%   5%   $1,000,000
DYNAMIC                  Minor   50%   35%   5%   $1,000,000
DISTRIBUTION/GLENWAY
EDGE ENTERTAINMENT       Minor   50%   35%   5%   $1,000,000
DIST
EDWARD R HAMILTON        Major   90%   35%   5%   $10,000,000
BOOKSELLERS
EMI CMG DISTRIBUTION     Major   90%   35%   5%   $10,000,000
ENTERTAINMENT ONE        Major   90%   0%    5%   $10,000,000
ENTERTAINMENT OUTLET     Minor   50%   35%   5%   $1,000,000
ET VIDEO INC             Minor   50%   35%   5%   $1,000,000
EURPAC WAREHOUSE         Minor   50%   35%   5%   $1,000,000
SALES
EZ TAKES                 Minor   50%   0%    5%   $1,000,000
FAMILY VIDEO             Minor   50%   35%   5%   $1,000,000
FANDANGO                 Minor   50%   0%    5%   $1,000,000
(MOVIECLIPS.COM)
FLASH DISTRIBUTORS       Minor   50%   35%   5%   $1,000,000
FOLLETT LIBRARY          Non-    80%   35%   5%   $5,000,000
RESOURCES, INC           Major
FOUR WINDS TRADING       Minor   50%   35%   5%   $1,000,000
FRED MEYER SBT           Major   90%   0%    5%   $10,000,000
FRY'S ELECTRONICS, INC   Major   90%   35%   5%   $10,000,000
GRAVITAS DIGITAL         Minor   50%   0%    5%   $1,000,000
HARKINS THEATRES         Non-    80%   0%    5%   $5,000,000
                         Major
HASTINGS                 Minor   50%   35%   5%   $1,000,000
HI-WAY DISTRIBUTING      Minor   50%   35%   5%   $1,000,000
CORP
HOME ENTERTAINMENT       Minor   50%   35%   5%   $1,000,000
DIRECT
HOOPLA (BY MIDWEST       Minor   50%   0%    5%   $1,000,000
TAPE)
HORROR                 Non-      80%   0%    5%   $5,000,000
ENTERTAINMENT, LLC     Major
(US)
HULU, LLC              Major     90%   0%    5%   $10,000,000
INDEMAND               Major     90%   0%    5%   $10,000,000
INGRAM                 Non-      80%   35%   5%   $5,000,000
ENTERTAINMENT INC      Major
INTERNATIONAL FAMILY   Major     90%   0%    5%   $10,000,000
ENT (US)
J&R MUSIC              Minor     50%   35%   5%   $1,000,000
JAGUAR DISTRIBUTION    Minor     50%   0%    5%   $1,000,000
CORP US
K-MART                 Major     90%   35%   5%   $10,000,000
K-MART SBT             Major     90%   0%    5%   $10,000,000
KSG DISTRIBUTING       Minor     50%   35%   5%   $1,000,000
LANDMARK THEATERS      Non-      80%   0%    5%   $5,000,000
                       Major
LEVEL33 CUSTOMER       Minor     50%   0%    5%   $1,000,000
LIFETIME TELEVISION    Major     90%   0%    5%   $10,000,000
(US)
LODGENET INTERACTIVE   Major     90%   0%    5%   $10,000,000
CO (US)
MALCO INDUSTRIES INC   Minor     50%   0%    5%   $1,000,000
MAX360                 Minor     50%   0%    5%   $1,000,000
ENTERTAINMENT INC
MEDIA BLUE             Minor     50%   35%   5%   $1,000,000
MEIJER SBT ALLIANCE    Non-      80%   35%   5%   $5,000,000
                       Major
MGM                    Minor     50%   0%    5%   $1,000,000
MICROSOFT              Primary   95%   0%    5%   $15,000,000
                       Major
MIDWEST TAPE           Minor     50%   35%   5%   $1,000,000
MONGREL MEDIA INC.     Minor     50%   0%    5%   $1,000,000
(CA)
MOVIES UNLIMITED       Minor     50%   35%   5%   $1,000,000
MSR MEDIA LLC          Minor     50%   0%    5%   $1,000,000
MUSIC CITY RECORD      Minor     50%   35%   5%   $1,000,000
DISTRUBUTORS
MUSIC VIDEO            Minor     50%   35%   5%   $1,000,000
DISTRIBUTORS
NBC UNIVERSAL          Major     90%   0%    5%   $10,000,000
NETFLIX                Primary   95%   0%    5%   $15,000,000
                       Major
NEW POP CULTURE        Minor     50%   0%    5%   $1,000,000
PRODUCTIONS, I
ONE MEDIA, LLC         Minor     50%   35%   5%   $1,000,000
OVERDRIVE, INC         Major     90%   35%   5%   $10,000,000
PBS DISTRIBUTION          Major     90%   35%   5%   $10,000,000
PHASE 4 WALMART           Primary   95%   35%   5%   $15,000,000
                          Major
PHASE 4 Other             Non-      80%   35%   5%   $5,000,000
                          Major
PROVIDENT MUSIC           Minor     50%   35%   5%   $1,000,000
DISTRIBUTION
PSYCHOTHERAPY.NET,        Minor     50%   35%   5%   $1,000,000
LLC
PUBLISHERS CLEARING       Non-      80%   35%   5%   $5,000,000
HOUSE                     Major
REDBOX AUTOMATED          Major     90%   0%    5%   $10,000,000
DVD RENTAL
REDBOX/NCR                Major     90%   0%    5%   $10,000,000
REGAL ENTERTAINMENT       Non-      80%   0%    5%   $5,000,000
GROUP                     Major
RENTRAK CORP              Non-      80%   35%   5%   $5,000,000
                          Major
SAM'S WHOLESALE           Major     90%   35%   5%   $10,000,000
SANTIKOS THEATRES LTD     Non-      80%   0%    5%   $5,000,000
                          Major
SHANK AND CO              Minor     50%   35%   5%   $1,000,000
SHOPKO STORES,INC         Non-      80%   35%   5%   $5,000,000
                          Major
SHOUT! FACTORY, LLC       Major     90%   0%    5%   $10,000,000
SHOWTIME                  Major     90%   0%    5%   $10,000,000
SHOWTRIPPER               Minor     50%   0%    5%   $1,000,000
ENTERTAINMENT, INC
SKYANGEL US, LLC          Minor     50%   0%    5%   $1,000,000
SOFTLAND                  Non-      80%   35%   5%   $5,000,000
CORPORATION/ALLEGRO       Major
SONIC SOLUTIONS           Major     90%   0%    5%   $10,000,000
SONY NETWORK              Primary   95%   0%    5%   $15,000,000
                          Major
STARZ/ENCORE (US)         Major     90%   0%    5%   $10,000,000
STUDIO 3 PARTNERS LLC (   Major     90%   0%    5%   $10,000,000
dba EP
SUNDANCE (US)             Major     90%   0%    5%   $10,000,000
SUPER DISCOUNT            Minor     50%   35%   5%   $1,000,000
SWANK US                  Minor     50%   0%    5%   $1,000,000
TARGET CORPORATION        Primary   95%   35%   5%   $20,000,000   The limit will drop
                          Major                                    down to $15MM for
                                                                   all months within
                                                                   CYE Q2 and Q3
TELEFUTURA NETWORK        Major     90%   0%    5%   $10,000,000
(US)
THE CHESS HOUSE           Minor     50%   35%   5%   $1,000,000
TLA ENTERTAINMENT        Minor     50%   0%    5%   $1,000,000
GROUP
TRANSWORLD               Minor     50%   35%   5%   $1,000,000
ENTERTAINMENT
TRENDSOURCE              Minor     50%   0%    5%   $1,700,000
DISTRIBUTION INC
TVN SVOD                 Major     90%   0%    5%   $10,000,000
VIACOM MEDIA             Major     90%   0%    5%   $10,000,000
NETWORKS
VIDEO PRODUCTS           Minor     50%   35%   5%   $1,000,000
DISTRIBUTORS
VIDEO SERVICES CORP.     Minor     50%   0%    5%   $1,000,000
VIDEO WAREHOUSE          Minor     50%   0%    5%   $1,000,000
VUDU, INC.               Major     90%   0%    5%   $10,000,000
WARNER BROS. (US)        Major     90%   0%    5%   $10,000,000
WAX WORKS VIDEO          Minor     50%   35%   5%   $1,000,000
WE TV                    Minor     50%   0%    5%   $1,000,000
WORLD TRADE              Minor     50%   35%   5%   $1,000,000
COMPANY
YOUTUBE (GOOGLE, INC.)   Primary   95%   0%    5%   $15,000,000
                         Major
VOD CABLE                Major     90%   0%    5%   $10,000,000
   ANNEX B

LIBRARY TITLES
                    Title                Supplier                 Distributor
APOKALIPS X                      ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
COUNTDOWN                        ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
DANGER DOLLS                     ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
DEAD SUSHI                       ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
GUARDIAN                         ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
JOKER                            ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
LADDALAND                        ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
LIQUIDATOR, THE                  ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
SANCTUARY, THE                   ACTION SLATE RELEASING   MILLENNIUM ENTERTAINMENT
BRAVE                            ACTION SLATE/BIRCHTREE   MILLENNIUM ENTERTAINMENT
HIGH KICK GIRL!                  ACTION SLATE/BIRCHTREE   MILLENNIUM ENTERTAINMENT
INSIDE THE FIFTY SHADES: REAL     ALLEGRO MEDIA GROUP                MMS
7 BELOW                                ANDERSON                      MMS
AL & CHIPMNK CHRISTS                   ANDERSON                      MMS
AL & CHIPMNK VALTINE                   ANDERSON                      MMS
ALVIN & THE CHIPMUNKS                  ANDERSON                      MMS
ALVIN & THE CHIPMUNKS: BATMUNK         ANDERSON                      MMS
ALVIN & THE CHIPMUNKS: DRIVING         ANDERSON                      MMS
ALVIN AND CHIPMUNKS:CHRISTMAS          ANDERSON                      MMS
ALVIN AND CHIPMUNKS:HALLOWEEN          ANDERSON                      MMS
ALVIN AND THE CHIPMUNKS:THE            ANDERSON                      MMS
ALVIN&THE CHIPMUNKS:CHRISTMAS          ANDERSON                      MMS
ANIMALS UNITED                         ANDERSON                      MMS
ANIMALS UNITED DVD/BD COMBO            ANDERSON                      MMS
BIG SUR                                ANDERSON                      MMS
BOB LENDS A HELPING                    ANDERSON                      MMS
BREATHE IN                             ANDERSON                      MMS
BUNRAKU                                ANDERSON                      MMS
CHIPMUNKS: CHIPETTE                    ANDERSON                      MMS
CHIPPETES,THE: THE GLASS               ANDERSON                      MMS
CHRISTMAS CLASSIC GIFT SET             ANDERSON                      MMS
CHRISTMAS CLASSICS GIFT                ANDERSON                      MMS
COMPLETE FRACTURED FAIRY               ANDERSON                      MMS
DEEP IN THE HEART                      ANDERSON                      MMS
DRAGONS HOLIDAY: GIFT OF THE           ANDERSON                      MMS
DRAGONS:GIFT OF THE NIGHT FURY         ANDERSON                      MMS
DREAMWORKS HOLIDAY GIFT SET            ANDERSON                      MMS
FAMILY WEEKEND                         ANDERSON                      MMS
FOR GREATER GLORY                      ANDERSON                      MMS
FORGER, THE                            ANDERSON                      MMS
FROSTY THE SNOWMAN                     ANDERSON                      MMS
GOD LOVES YOU VERY                     ANDERSON                      MMS
HAIRBRAINED                            ANDERSON                      MMS
HALO 4: FORWARD UNTO DAWN              ANDERSON                      MMS
HELL                                   ANDERSON                      MMS
HELLRAISER REVELATIONS                 ANDERSON                      MMS
HERE COMES PETER COTTONTAIL            ANDERSON                      MMS
HOLE, THE                              ANDERSON                      MMS
HOT FLASHES, THE                       ANDERSON                      MMS
I CAN BE YOUR                          ANDERSON                      MMS
IF I SANG A SILLY                      ANDERSON                      MMS
IRONCLAD                               ANDERSON                      MMS
IRONCLAD:BATTLE FOR BLOOD              ANDERSON                      MMS
IT'S A MEANINGFUL                      ANDERSON                      MMS
JACKSON FIVE COMPLETE                  ANDERSON                      MMS
JUSTIN AND THE KNIGHTS OF              ANDERSON                      MMS
KAREEM ABDUL-JABBAR PRESENTS:          ANDERSON                      MMS
KUNG FU PANDA HOLIDAY                  ANDERSON                      MMS
LARRY LEARNS TO                        ANDERSON                      MMS
LASSIE'S CHRISTMAS                     ANDERSON                      MMS
LEGEND OF FROSTY THE SNOWMAN           ANDERSON                      MMS
LITTLE DRUMMER BOY, THE                ANDERSON                      MMS
LONE RANGER,THE KEMO SABE              ANDERSON                      MMS
LONE RANGER:THE 28 THRILLING           ANDERSON                      MMS
LORD OF THE BEANS                      ANDERSON                      MMS
LOVE PUNCH, THE                        ANDERSON                      MMS
LULLABY                                ANDERSON                      MMS
MERRY MADAGASCAR                       ANDERSON                      MMS
MINNESOTA CUKE Y LA                    ANDERSON                      MMS
MONSTERS VS ALIENS: MUTANT             ANDERSON                      MMS
MR. PEABODY&SHERMAN:VOLUME 1           ANDERSON                      MMS
MR.PEABODY & SHERMAN:COMPLETE          ANDERSON                      MMS
MR.PEABODY&SHERMAN:VOL2 GREAT          ANDERSON                      MMS
NAUGHTY LIST, THE                      ANDERSON                      MMS
NITRO CIRCUS THE MOVIE                 ANDERSON                      MMS
PENGUINS OF MADAGASCAR, THE            ANDERSON                      MMS
POCOYO:FIESTA!                         ANDERSON                      MMS
POKY LITTLE PUPPY                      ANDERSON                      MMS
PRINCESS & THE POPSTAR                 ANDERSON                      MMS
REEF 2:HIGH TIDE                       ANDERSON                      MMS
ROBIN GOOD AND HIS                     ANDERSON                      MMS

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                    Title                      Supplier             Distributor
RUDOLPH THE RED NOSED REINDEER                ANDERSON                 MMS
RUDOLPH THE RED-NOSED                         ANDERSON                 MMS
SANTA CLAUS IS COMIN'                         ANDERSON                 MMS
SCARED SHREKLESS                              ANDERSON                 MMS
SCENIC ROUTE                                  ANDERSON                 MMS
SEVEN DAYS IN UTOPIA                          ANDERSON                 MMS
SHE-RA S.1 V.1                                ANDERSON                 MMS
SHREK THE HALLS                               ANDERSON                 MMS
SHREK'S THRILLING TALES                       ANDERSON                 MMS
SILLY LITTLE THING                            ANDERSON                 MMS
SWEETWATER                                    ANDERSON                 MMS
TEKKEN:KAZUYA'S REVENGE                       ANDERSON                 MMS
THOR:LEGEND OF THE MAGICAL                    ANDERSON                 MMS
TIGER EYES                                    ANDERSON                 MMS
UNCONDITIONAL                                 ANDERSON                 MMS
VEGGIE TALES LETTUCE                          ANDERSON                 MMS
VEGGIE TALES PRINCESS                         ANDERSON                 MMS
VEGGIE TALES TWAS THE NIGHT                   ANDERSON                 MMS
VEGGIE TALES WILD WEST                        ANDERSON                 MMS
VEGGIE TALES: FUNTASTIC FOUR!                 ANDERSON                 MMS
VEGGIE TALES: THE PENNILESS                   ANDERSON                 MMS
VEGGIE TALES: ULTIMATE                        ANDERSON                 MMS
VEGGIE TALES:BEAUTY & THE BEET                ANDERSON                 MMS
VEGGIE TALES:CELERY NIGHT                     ANDERSON                 MMS
VEGGIE TALES:CHRISTMAS SING                   ANDERSON                 MMS
VEGGIE TALES:EASTER CAROL                     ANDERSON                 MMS
VEGGIE TALES:GIRL POWER TRIPLE                ANDERSON                 MMS
VEGGIE TALES:GOD MADE YOU                     ANDERSON                 MMS
VEGGIE TALES:HAPPY TOGETHER                   ANDERSON                 MMS
VEGGIE TALES:JOSH&THE BIG WALL                ANDERSON                 MMS
VEGGIE TALES:LARRYBOY SUPER                   ANDERSON                 MMS
VEGGIE TALES:LITTLE HOUSE                     ANDERSON                 MMS
VEGGIE TALES:MACLARRY AND THE                 ANDERSON                 MMS
VEGGIE TALES:MERRY LARRY&THE                  ANDERSON                 MMS
VEGGIE TALES:SILLY SONGS WITH                 ANDERSON                 MMS
VEGGIE TALES:ST NICHOLAS:STORY                ANDERSON                 MMS
VEGGIE TALES:SWEET PEA BEAUTY                 ANDERSON                 MMS
VEGGIE TALES:THE LEAGUE OF                    ANDERSON                 MMS
VEGGIE TALES:THE LITTLE HOUSE                 ANDERSON                 MMS
VEGGIE TALES:VEGGIES IN SPACE                 ANDERSON                 MMS
VEGGIETALES LIVE! SING                        ANDERSON                 MMS
VEHICLE 19                                    ANDERSON                 MMS
WAR OF THE WORLDS-GOLIATH                     ANDERSON                 MMS
WAY, THE                                      ANDERSON                 MMS
WE THE PARTY                                  ANDERSON                 MMS
BERKELEY SQUARE                  BFS ENTERTAINMENT&MULTIMEDIA LTD      MMS
FLAMBARDS                        BFS ENTERTAINMENT&MULTIMEDIA LTD      MMS
AIR RAGE                               EXCLUSIVE MEDIA GROUP           MMS
BAD BIZNESS                            EXCLUSIVE MEDIA GROUP           MMS
CORRUPT                                EXCLUSIVE MEDIA GROUP           MMS
LAST PLAY AT SHEA                      EXCLUSIVE MEDIA GROUP           MMS
URBAN MENACE                           EXCLUSIVE MEDIA GROUP           MMS
A TIGER'S TAIL                          EPIC PICTURES GROUP            MMS
BIG ASS SPIDER!                         EPIC PICTURES GROUP            MMS
BIGGEST SPIDER!                         EPIC PICTURES GROUP            MMS
HOLY NIGHT!                             EPIC PICTURES GROUP            MMS
I WILL FOLLOW YOU INTO THE              EPIC PICTURES GROUP            MMS
JURASSIC GUNFIGHTERS                    EPIC PICTURES GROUP            MMS
KILLER MERMAID                          EPIC PICTURES GROUP            MMS
PATROL, THE                             EPIC PICTURES GROUP            MMS
SWORD OF THE ASSASSIN                   EPIC PICTURES GROUP            MMS
VIKINGDOM                               EPIC PICTURES GROUP            MMS
25 HILL                              FUNIMATION ENTERTAINMENT          MMS
AFRO SAMURAI- RESSURECTION           FUNIMATION ENTERTAINMENT          MMS
AFRO SAMURAI SSN 1                   FUNIMATION ENTERTAINMENT          MMS
AFRO SAMURAI SSN 1&2                 FUNIMATION ENTERTAINMENT          MMS
AFRO SAMURAI: RESURRECTION           FUNIMATION ENTERTAINMENT          MMS
BEN HUR- JUAN DIEGO                  FUNIMATION ENTERTAINMENT          MMS
BLACK LIST, THE                      FUNIMATION ENTERTAINMENT          MMS
BLOODRAYNE: THE THIRD                FUNIMATION ENTERTAINMENT          MMS
BLOODRAYNE: THE THIRD                FUNIMATION ENTERTAINMENT          MMS
CITY UNDER SIEGE                     FUNIMATION ENTERTAINMENT          MMS
CONFUCIUS                            FUNIMATION ENTERTAINMENT          MMS
DIAS SALVAJES                        FUNIMATION ENTERTAINMENT          MMS
DRABON BALL Z: KAI                   FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL GT: SSN 1                FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL Z SSN6                   FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL Z: DEAD                  FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL Z: LEVEL 1.1             FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL Z: SSN 2                 FUNIMATION ENTERTAINMENT          MMS
DRAGON BALL Z: SSN 7                 FUNIMATION ENTERTAINMENT          MMS

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                      Title                Supplier          Distributor
DRAGON BALL Z: WORLD'S            FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL Z:BATTLE OF GODS      FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL Z:BEST OF GOKU        FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL Z-MOVIE PACK #3       FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL: MOVIE ONE            FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL: SSN 1                FUNIMATION ENTERTAINMENT      MMS
DRAGON BALL: SSN 2                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN                  FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN 3                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN 4                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN 5                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN 8                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z SSN 9                FUNIMATION ENTERTAINMENT      MMS
DRAGONBALL Z: LEVEL 1.2           FUNIMATION ENTERTAINMENT      MMS
DUELOS DE PASARELAS               FUNIMATION ENTERTAINMENT      MMS
EL PROYECTO S                     FUNIMATION ENTERTAINMENT      MMS
EVANGELION 2                      FUNIMATION ENTERTAINMENT      MMS
EVANGELION: 1.01 YOU ARE          FUNIMATION ENTERTAINMENT      MMS
EVANGELION: 1.11 YOU ARE          FUNIMATION ENTERTAINMENT      MMS
EVANGELION: 2.2 YOU CAN           FUNIMATION ENTERTAINMENT      MMS
EVANGELION: YOU ARE (NOT)         FUNIMATION ENTERTAINMENT      MMS
FANTASIAS                         FUNIMATION ENTERTAINMENT      MMS
FILM FESTIVAL GEMS:               FUNIMATION ENTERTAINMENT      MMS
FULLMETAL ALCHEMIST               FUNIMATION ENTERTAINMENT      MMS
FULLMETAL ALCHEMIST:              FUNIMATION ENTERTAINMENT      MMS
FULLMETAL ALCHEMIST: SSN 2        FUNIMATION ENTERTAINMENT      MMS
HARIMAYA BRIDGE                   FUNIMATION ENTERTAINMENT      MMS
HOWDY DOODY 5                     FUNIMATION ENTERTAINMENT      MMS
IP MAN 2                          FUNIMATION ENTERTAINMENT      MMS
LA ODISEA-NICOLAS Y LOS           FUNIMATION ENTERTAINMENT      MMS
LEGEND IS BORN: IP MAN, THE       FUNIMATION ENTERTAINMENT      MMS
LEGEND IS BORN: THE               FUNIMATION ENTERTAINMENT      MMS
LOST GIRL SEASON 1                FUNIMATION ENTERTAINMENT      MMS
LOST GIRL SEASON 2                FUNIMATION ENTERTAINMENT      MMS
LUCKY                             FUNIMATION ENTERTAINMENT      MMS
MAR ROJO                          FUNIMATION ENTERTAINMENT      MMS
OBLIVION ISLAND                   FUNIMATION ENTERTAINMENT      MMS
PASION EN EL PARAISO              FUNIMATION ENTERTAINMENT      MMS
SHINOBI: SPECIAL                  FUNIMATION ENTERTAINMENT      MMS
STOMP LIVE                        FUNIMATION ENTERTAINMENT      MMS
SWITCH                            FUNIMATION ENTERTAINMENT      MMS
THE DEAL                          FUNIMATION ENTERTAINMENT      MMS
TMNT: SHREDDER STRIKES            FUNIMATION ENTERTAINMENT      MMS
TREASURE HUNTER                   FUNIMATION ENTERTAINMENT      MMS
TRIGUN BADLANDS: ANIME            FUNIMATION ENTERTAINMENT      MMS
VEXILLE: MOVIE-SPECIAL            FUNIMATION ENTERTAINMENT      MMS
A HORSE NAMED WARRIOR                 GO ENTERTAINMENT          MMS
AMERICAN RAILROADS: HERITAGE          GO ENTERTAINMENT          MMS
ANIMAL PLANET: WILD DEEP              GO ENTERTAINMENT          MMS
BEST OF BRITISH                       GO ENTERTAINMENT          MMS
BLACK OPS:PREMIUM COLLECTOR'S         GO ENTERTAINMENT          MMS
BRITAIN IN THE 40'S,50'S&60'S         GO ENTERTAINMENT          MMS
CLASSIC CARTOONS 2DVD TREASURE        GO ENTERTAINMENT          MMS
CLASSIC CARTOONS COLLECTOR'S          GO ENTERTAINMENT          MMS
CLASSIC SPORTS CARS                   GO ENTERTAINMENT          MMS
COSTCO GO ENTERTAINMENT               GO ENTERTAINMENT          MMS
EVENTS THAT SHAPED AMERICA            GO ENTERTAINMENT          MMS
FLASH GORDON COLLECTION               GO ENTERTAINMENT          MMS
FLYING SCOTSMAN                       GO ENTERTAINMENT          MMS
GOLDEN AG OF CLASSIC, THE             GO ENTERTAINMENT          MMS
ICONS OF FLIGHT                       GO ENTERTAINMENT          MMS
JOHN WAYNE                            GO ENTERTAINMENT          MMS
JOHN WAYNE COLLECTOR'S                GO ENTERTAINMENT          MMS
LAUREL & HARDY 12 FILM COLLECT        GO ENTERTAINMENT          MMS
LAUREL & HARDY COLLECTOR'S            GO ENTERTAINMENT          MMS
MAFIA COLLECTION:PREMIUM COLLE        GO ENTERTAINMENT          MMS
QUEEN, THE 60 GLORIOUS                GO ENTERTAINMENT          MMS
ROY ROGERS COLLECTOR'S                GO ENTERTAINMENT          MMS
SECRETARIAT:40TH ANNIVERSARY          GO ENTERTAINMENT          MMS
THREE STOOGES, THE: MASTER OF         GO ENTERTAINMENT          MMS
TITANIC: 100 YEARS BELOW              GO ENTERTAINMENT          MMS
VIETNAM                               GO ENTERTAINMENT          MMS
WILD DEEP                             GO ENTERTAINMENT          MMS
WILLIAM & KATE: A ROYAL LIFE          GO ENTERTAINMENT          MMS
WWI GREAT WAR: THE HERITAGE           GO ENTERTAINMENT          MMS
WWI THE GREAT WAR:PREMIUM COLL        GO ENTERTAINMENT          MMS
WWII THE DEFINITIVE STORY             GO ENTERTAINMENT          MMS
WWII: THE HERITAGE COLLECTION         GO ENTERTAINMENT          MMS
CHASING BEAUTY                   GRAND ENTERTAINMENT GROUP      MMS
GHOST HUNTERS SEASON 9 PART 2    GRAND ENTERTAINMENT GROUP      MMS
1ST NIGHT                                 GRAVITAS              MMS

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                     Title               Supplier        Distributor
33 POSTCARDS                            GRAVITAS            MMS
4 MINUTE MILE                           GRAVITAS            MMS
ABANDONED MINE                          GRAVITAS            MMS
ALL AMERICAN CHRISTMAS CAROL            GRAVITAS            MMS
ASS BACKWARDS                           GRAVITAS            MMS
ASS BACKWARDS/BLONDE & BLONDER          GRAVITAS            MMS
BAD JOHNSON                             GRAVITAS            MMS
BRIGHTEST STAR                          GRAVITAS            MMS
CALIFORNIA SCHEMING                     GRAVITAS            MMS
CHLORINE (2013)                         GRAVITAS            MMS
CRAIGSLIST JOE                          GRAVITAS            MMS
END OF LOVE, THE                        GRAVITAS            MMS
FELONY                                  GRAVITAS            MMS
FLYING LESSONS                          GRAVITAS            MMS
HUNKY DORY                              GRAVITAS            MMS
JAMIE MARKS IS DEAD                     GRAVITAS            MMS
PERFECT SISTERS                         GRAVITAS            MMS
RED WING                                GRAVITAS            MMS
RUN LIKE HELL                           GRAVITAS            MMS
STORY OF LUKE, THE                      GRAVITAS            MMS
SUNLIGHT JR                             GRAVITAS            MMS
AIR AND SPACE COLLECTION         INCEPTION MEDIA GROUP      MMS
GHOST OF GOODNIGHT LANE          INCEPTION MEDIA GROUP      MMS
HUNT FOR BIN LADEN, THE          INCEPTION MEDIA GROUP      MMS
IMAX:RING OF FIRE                INCEPTION MEDIA GROUP      MMS
IMAX:SEARCH FOR THE GREAT        INCEPTION MEDIA GROUP      MMS
IMAX:THE GREATEST PLACE          INCEPTION MEDIA GROUP      MMS
IMAX:TROPICAL RAINFOREST         INCEPTION MEDIA GROUP      MMS
SMITHSONIAN: TITANIC             INCEPTION MEDIA GROUP      MMS
SMITHSONIAN: TITANOBOA           INCEPTION MEDIA GROUP      MMS
SMITHSONIAN:AIR & SPACE          INCEPTION MEDIA GROUP      MMS
SMITHSONIAN:MLK:THE ASSASSINAT   INCEPTION MEDIA GROUP      MMS
SMITHSONIAN:THE ORIGINS OF OZ    INCEPTION MEDIA GROUP      MMS
SMITHSONIAN:THE REAL STORY       INCEPTION MEDIA GROUP      MMS
SMITHSONIAN:WHITE HOUSE          INCEPTION MEDIA GROUP      MMS
TWINKLE TOES: DVD MUSIC          INCEPTION MEDIA GROUP      MMS
AGENCY OF VENGEANCE: DARK                LEVEL33            MMS
CADAVER CHRISTMAS                        LEVEL33            MMS
COMPOUND FRACTURE                        LEVEL33            MMS
DANCE FU                                 LEVEL33            MMS
DIVORCE INVITATION                       LEVEL33            MMS
ELEPHANT IN THE LIVING, THE              LEVEL33            MMS
EXIT STRATEGY                            LEVEL33            MMS
FORMULA, THE                             LEVEL33            MMS
GETTING THAT GIRL                        LEVEL33            MMS
HAROLD'S GOING STIFF (DIG)               LEVEL33            MMS
HOLLY & HAL MOOSE: UPLIFTING             LEVEL33            MMS
HOLLY & HAL MOOSE:UPLIFTING              LEVEL33            MMS
I DIDN'T COME HERE TO DIE (DIG           LEVEL33            MMS
I LOVE YOU                               LEVEL33            MMS
JILLIAN'S TRAVELS: AFRICA 3D             LEVEL33            MMS
JOINT BODY (DIG)                         LEVEL33            MMS
LAST LULLABY, THE                        LEVEL33            MMS
LEGEND OF PSYCH FOREST RAN (DI           LEVEL33            MMS
LIST, THE                                LEVEL33            MMS
MOLE MAN OF BELMONT AVENUE,THE           LEVEL33            MMS
REVEREND, THE                            LEVEL33            MMS
VAMP U (DIG)                             LEVEL33            MMS
WEDDING VIDEO, THE                       LEVEL33            MMS
ZOMBIE HAMLET                            LEVEL33            MMS
2:37                                MPI MEDIA GROUP         MMS
4:44 LAST DAY ON EARTH              MPI MEDIA GROUP         MMS
A L'AVENTURE                        MPI MEDIA GROUP         MMS
A TOUCH OF FROST SEASON 13          MPI MEDIA GROUP         MMS
A TOUCH OF FROST SEASON 14          MPI MEDIA GROUP         MMS
ACTION PACK! 4 FILM FEATURE         MPI MEDIA GROUP         MMS
ADV OF SHERLOCK HOLMES V.1          MPI MEDIA GROUP         MMS
ADV OF SHERLOCK HOLMES V.2          MPI MEDIA GROUP         MMS
ADV OF SHERLOCK HOLMES V.3          MPI MEDIA GROUP         MMS
ALEXANDER THE LAST                  MPI MEDIA GROUP         MMS
ALLIES AT WAR                       MPI MEDIA GROUP         MMS
AMERICAN MUSCLE CAR: 3-SEASON       MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR                  MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR CHEVELL          MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR CUDA             MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR FIREBIRD         MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR 64 FAIRLN        MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR CAMARO Z2        MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR FAIRLN GT        MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR REGAL GNX        MPI MEDIA GROUP         MMS
AMERICAN MUSCLECAR SEASON 1         MPI MEDIA GROUP         MMS

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                    Title             Supplier     Distributor
AMERICAN MUSCLECAR GRAN SPORT    MPI MEDIA GROUP      MMS
AMERICAN MUSCLECAR PLY HEMI      MPI MEDIA GROUP      MMS
AMERICAN VENUS                   MPI MEDIA GROUP      MMS
AMERICANO                        MPI MEDIA GROUP      MMS
AMERICA'S TOUGHEST SHERIFF       MPI MEDIA GROUP      MMS
AN INVISIBLE SIGN                MPI MEDIA GROUP      MMS
AND THE BEAT GOES ON             MPI MEDIA GROUP      MMS
AND THEN THERE WAS ONE           MPI MEDIA GROUP      MMS
ANTIBODIES: SPECIAL EDITION      MPI MEDIA GROUP      MMS
APPEARED                         MPI MEDIA GROUP      MMS
APRES LUI                        MPI MEDIA GROUP      MMS
ARCHIVES OF WAR                  MPI MEDIA GROUP      MMS
AS LUCK WOULD HAVE IT            MPI MEDIA GROUP      MMS
ASYLUM (1972)                    MPI MEDIA GROUP      MMS
BAADER MEINHOF COMPLEX, THE      MPI MEDIA GROUP      MMS
BARAKA                           MPI MEDIA GROUP      MMS
BARAKA:                          MPI MEDIA GROUP      MMS
BECKET                           MPI MEDIA GROUP      MMS
BEFORE THE FALL                  MPI MEDIA GROUP      MMS
BEST OF HERE'S LUCY              MPI MEDIA GROUP      MMS
BEST OF THE HONEYMOONERS         MPI MEDIA GROUP      MMS
BEST OF ZOMBIES 4 FILM FEATURE   MPI MEDIA GROUP      MMS
BEST OFFER, THE                  MPI MEDIA GROUP      MMS
BEVERLY HILLBILLIES & PETTICOA   MPI MEDIA GROUP      MMS
BEVERLY HILLBILLIES:ULT COL 1    MPI MEDIA GROUP      MMS
BEVERLY HILLBILLIES:ULT COL 2    MPI MEDIA GROUP      MMS
BIRDEMIC                         MPI MEDIA GROUP      MMS
BITTER FEAST                     MPI MEDIA GROUP      MMS
BLAME GAME, THE                  MPI MEDIA GROUP      MMS
BLUE CAPRICE                     MPI MEDIA GROUP      MMS
BOUNTY HUNTERS                   MPI MEDIA GROUP      MMS
BRAKE                            MPI MEDIA GROUP      MMS
BRIEF INTERVIEWS WITH HIDEOUS    MPI MEDIA GROUP      MMS
BUCK                             MPI MEDIA GROUP      MMS
BURKE & HARE                     MPI MEDIA GROUP      MMS
CALIFORNIA DREAMIN'              MPI MEDIA GROUP      MMS
CANYONS, THE                     MPI MEDIA GROUP      MMS
CARLIN AT CARNEGIE               MPI MEDIA GROUP      MMS
CARLIN DVD COLLECTION            MPI MEDIA GROUP      MMS
CARLIN ON CAMPUS                 MPI MEDIA GROUP      MMS
CARLIN: COMPLAINTS & GRIEVANCE   MPI MEDIA GROUP      MMS
CASE OF YOU, A                   MPI MEDIA GROUP      MMS
CAVE OF FORGOTTEN, THE           MPI MEDIA GROUP      MMS
CENTERFOLD GIRLS, THE            MPI MEDIA GROUP      MMS
CHASING MADOFF                   MPI MEDIA GROUP      MMS
CHET ATKINS                      MPI MEDIA GROUP      MMS
CISCO KID COLL 3                 MPI MEDIA GROUP      MMS
CISCO KID COLL.4                 MPI MEDIA GROUP      MMS
CISCO KID, THE                   MPI MEDIA GROUP      MMS
CLASSIC BRITISH THRILLERS        MPI MEDIA GROUP      MMS
CLOSE TO YOU                     MPI MEDIA GROUP      MMS
COLD IN JULY                     MPI MEDIA GROUP      MMS
COLLAPSE                         MPI MEDIA GROUP      MMS
COLOR HONEYMONERS                MPI MEDIA GROUP      MMS
COLOR HONEYMOONERS               MPI MEDIA GROUP      MMS
COMIC LEGEND: DON KNOTTS         MPI MEDIA GROUP      MMS
COMIC LEGENDS: 4-DISC COLLECTI   MPI MEDIA GROUP      MMS
COMPLETE SHERLOCK HOLMES         MPI MEDIA GROUP      MMS
COMPLETELY CARLIN                MPI MEDIA GROUP      MMS
CREMATOR, THE                    MPI MEDIA GROUP      MMS
DAN CURTIS                       MPI MEDIA GROUP      MMS
DAN CURTIS' DRACULA              MPI MEDIA GROUP      MMS
DARK MIRROR                      MPI MEDIA GROUP      MMS
DARK SHADOWS V.10                MPI MEDIA GROUP      MMS
DARK SHADOWS V.14                MPI MEDIA GROUP      MMS
DARK SHADOWS V.25                MPI MEDIA GROUP      MMS
DARK SHADOWS V.26                MPI MEDIA GROUP      MMS
DARK SHADOWS V.4                 MPI MEDIA GROUP      MMS
DARK SHADOWS V.6                 MPI MEDIA GROUP      MMS
DARK SHADOWS: CURSE OF THE       MPI MEDIA GROUP      MMS
DARK SHADOWS: FAN FAVORITES      MPI MEDIA GROUP      MMS
DARK SHADOWS: HAUNTING OF        MPI MEDIA GROUP      MMS
DARK SHADOWS: THE BEGINNING      MPI MEDIA GROUP      MMS
DARK SHADOWS: THE BEGINNING #4   MPI MEDIA GROUP      MMS
DARK SHADOWS: THE BEGINNING 3    MPI MEDIA GROUP      MMS
DARK SHADOWS:BEST OF THE         MPI MEDIA GROUP      MMS
DARK SHADOWS:THE BEGINNING       MPI MEDIA GROUP      MMS
DEAD OF NIGHT                    MPI MEDIA GROUP      MMS
DEAD SNOW                        MPI MEDIA GROUP      MMS
DEADBEAT AT DAWN                 MPI MEDIA GROUP      MMS
DEADGIRL RATED                   MPI MEDIA GROUP      MMS

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                    Title             Supplier     Distributor
DEADGIRL UNRATED                 MPI MEDIA GROUP      MMS
DEL TENNEY DOUBLE FEATURE        MPI MEDIA GROUP      MMS
DEL TENNEY TRIPLE FEATURE        MPI MEDIA GROUP      MMS
DEVOLVED                         MPI MEDIA GROUP      MMS
DIARY OF A NYMPHOMANIAC          MPI MEDIA GROUP      MMS
DICK VAN DYKE                    MPI MEDIA GROUP      MMS
DICK VAN DYKE AND                MPI MEDIA GROUP      MMS
DISAPPEARED                      MPI MEDIA GROUP      MMS
DISENGAGEMENT                    MPI MEDIA GROUP      MMS
DOG EAT DOG                      MPI MEDIA GROUP      MMS
DOGHOUSE                         MPI MEDIA GROUP      MMS
DON'T CALL ME BUGSY              MPI MEDIA GROUP      MMS
DORIS DAY SHOW SSN 1             MPI MEDIA GROUP      MMS
DORIS DAY SHOW SSN 4             MPI MEDIA GROUP      MMS
DORIS DAY: CHRISTMAS MEMORIES    MPI MEDIA GROUP      MMS
DORIS DAY: THE COMPLETE SERIES   MPI MEDIA GROUP      MMS
DRACULA / STRANGE CASE JEKYLL    MPI MEDIA GROUP      MMS
DRIVE IN DOUBLE FEATURE:ISLAND   MPI MEDIA GROUP      MMS
DRIVE-IN DOUBLE FEATURE: BLOOD   MPI MEDIA GROUP      MMS
DRIVE-IN DOUBLE FEATURE:ASSASS   MPI MEDIA GROUP      MMS
DRIVE-IN MOVIE DBL FEAT PRINCE   MPI MEDIA GROUP      MMS
DRIVE-IN MOVIE DBL FEAT. CREAT   MPI MEDIA GROUP      MMS
EARTH 2100                       MPI MEDIA GROUP      MMS
EIGHT MILES HIGH                 MPI MEDIA GROUP      MMS
EL HACHA II                      MPI MEDIA GROUP      MMS
ENGELBERT HUMPERDINCK: KING OF   MPI MEDIA GROUP      MMS
ENTER THE VOID                   MPI MEDIA GROUP      MMS
ESCAPIST                         MPI MEDIA GROUP      MMS
FACES OF DEATH V. 1-4            MPI MEDIA GROUP      MMS
FACES OF DEATH III               MPI MEDIA GROUP      MMS
FACES OF DEATH IV                MPI MEDIA GROUP      MMS
FACES OF DEATH: 30TH             MPI MEDIA GROUP      MMS
FALL OF COMMUNISM, THE           MPI MEDIA GROUP      MMS
FAMILY AFFAIR COMPLETE           MPI MEDIA GROUP      MMS
FAMILY AFFAIR SSN 1              MPI MEDIA GROUP      MMS
FAMILY AFFAIR SSN 2              MPI MEDIA GROUP      MMS
FAMILY AFFAIR SSN 3              MPI MEDIA GROUP      MMS
FAMILY AFFAIR SSN 4              MPI MEDIA GROUP      MMS
FAMILY AFFAIR SSN 5              MPI MEDIA GROUP      MMS
FAMILY AFFAIR: THE COMPLETE SE   MPI MEDIA GROUP      MMS
FAMOUS- HOLLYWOOD'S LEADING      MPI MEDIA GROUP      MMS
FAMOUS-AMERICA'S FINEST COMEDI   MPI MEDIA GROUP      MMS
FAMOUS-BEST ACTORS               MPI MEDIA GROUP      MMS
FAMOUS-BEST ACTRESSES            MPI MEDIA GROUP      MMS
FEARS OF THE DARK                MPI MEDIA GROUP      MMS
FEAST OF DEATH: THE DARK PLACE   MPI MEDIA GROUP      MMS
FERMAT'S ROOM                    MPI MEDIA GROUP      MMS
FIGHT AGAINST PAIN               MPI MEDIA GROUP      MMS
FIGHTERS                         MPI MEDIA GROUP      MMS
FILTH AND WISDOM                 MPI MEDIA GROUP      MMS
FIVE MINUTES OF HEAVEN           MPI MEDIA GROUP      MMS
FLAME AND CITRON                 MPI MEDIA GROUP      MMS
FLYPAPER                         MPI MEDIA GROUP      MMS
FRANKENSTEIN'S ARMY              MPI MEDIA GROUP      MMS
FRONTIER OF THE DAWN             MPI MEDIA GROUP      MMS
GAMES GIRLS PLAY                 MPI MEDIA GROUP      MMS
GAY DECEIVERS, THE               MPI MEDIA GROUP      MMS
GEORGE CARLIN                    MPI MEDIA GROUP      MMS
GEORGE CARLIN 2 PACK             MPI MEDIA GROUP      MMS
GEORGE CARLIN AGAIN              MPI MEDIA GROUP      MMS
GEORGE CARLIN BACK               MPI MEDIA GROUP      MMS
GEORGE CARLIN COMPLAINTS         MPI MEDIA GROUP      MMS
GEORGE CARLIN DOIN               MPI MEDIA GROUP      MMS
GEORGE CARLIN GEORGE'S           MPI MEDIA GROUP      MMS
GEORGE CARLIN JAMMIN' IN NEW     MPI MEDIA GROUP      MMS
GEORGE CARLIN ON                 MPI MEDIA GROUP      MMS
GEORGE CARLIN PERSONAL           MPI MEDIA GROUP      MMS
GEORGE CARLIN PLAYING            MPI MEDIA GROUP      MMS
GEORGE CARLIN WHAT               MPI MEDIA GROUP      MMS
GEORGE CARLIN YOU ARE            MPI MEDIA GROUP      MMS
GEORGE CARLIN: ALL MY STUFF      MPI MEDIA GROUP      MMS
GEORGE CARLIN:LIFE IS WORTH      MPI MEDIA GROUP      MMS
GETTYSBURG: UNKNOWN CIVIL WAR    MPI MEDIA GROUP      MMS
GHOST BOAT                       MPI MEDIA GROUP      MMS
GIRL BY THE LAKE                 MPI MEDIA GROUP      MMS
GIRLS NEXT DOOR, THE             MPI MEDIA GROUP      MMS
GIRLS NEXT DOOR, THE S.6         MPI MEDIA GROUP      MMS
GMO OMG                          MPI MEDIA GROUP      MMS
GNAW                             MPI MEDIA GROUP      MMS
GOING PLACES                     MPI MEDIA GROUP      MMS
GOLIATH                          MPI MEDIA GROUP      MMS

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                     Title            Supplier     Distributor
GREAT SHARK HUNT                 MPI MEDIA GROUP      MMS
GREATEST BATTLES OF THE CIVIL    MPI MEDIA GROUP      MMS
HAJJ, THE                        MPI MEDIA GROUP      MMS
HARRY CHAPIN: REMEMBER WHEN      MPI MEDIA GROUP      MMS
HATCHET 2                        MPI MEDIA GROUP      MMS
HATCHET III                      MPI MEDIA GROUP      MMS
HAUNTER                          MPI MEDIA GROUP      MMS
HEAVEN'S HEART                   MPI MEDIA GROUP      MMS
HENRY                            MPI MEDIA GROUP      MMS
HENRY 2                          MPI MEDIA GROUP      MMS
HENRY:PORTRAIT OF A SERIAL KIL   MPI MEDIA GROUP      MMS
HERE'S LUCY 2-PK                 MPI MEDIA GROUP      MMS
HERE'S LUCY SEASON 1             MPI MEDIA GROUP      MMS
HERE'S LUCY SEASON 2             MPI MEDIA GROUP      MMS
HG WELL'S INVISIBLE MAN:         MPI MEDIA GROUP      MMS
HIGH LONESOME                    MPI MEDIA GROUP      MMS
HIROSHIMA                        MPI MEDIA GROUP      MMS
HISTORY OF COCA COLA             MPI MEDIA GROUP      MMS
HOLLY'S WORLD S.1&2              MPI MEDIA GROUP      MMS
HOME MOVIE                       MPI MEDIA GROUP      MMS
HONEYMOONERS SPECIALS, THE       MPI MEDIA GROUP      MMS
HONEYMOONERS, THE HOLIDAY        MPI MEDIA GROUP      MMS
HOUSE OF THE DEVIL, THE          MPI MEDIA GROUP      MMS
HOW TO BE                        MPI MEDIA GROUP      MMS
HULLABALOO V.3                   MPI MEDIA GROUP      MMS
HUMAN CENTIPEDE, THE             MPI MEDIA GROUP      MMS
HYPOTHERMIA                      MPI MEDIA GROUP      MMS
I HATE VALENTINE'S DAY           MPI MEDIA GROUP      MMS
I SELL THE DEAD                  MPI MEDIA GROUP      MMS
I.T. CROWD S.4                   MPI MEDIA GROUP      MMS
I.T. CROWD, THE                  MPI MEDIA GROUP      MMS
I.T. CROWN S.3&4                 MPI MEDIA GROUP      MMS
IL DIVO                          MPI MEDIA GROUP      MMS
IN A DAY                         MPI MEDIA GROUP      MMS
IN MY FATHER'S DEN               MPI MEDIA GROUP      MMS
IN THE LOOP                      MPI MEDIA GROUP      MMS
INAUGURATION OF                  MPI MEDIA GROUP      MMS
INCREASINGLY POOR, THE           MPI MEDIA GROUP      MMS
INDECENT SEDUCTION               MPI MEDIA GROUP      MMS
INESCAPABLE                      MPI MEDIA GROUP      MMS
INNKEEPERS, THE                  MPI MEDIA GROUP      MMS
INTERROGATION OF MICHAEL CROWE   MPI MEDIA GROUP      MMS
INTRIGUE IN THE MIDDLE EAST      MPI MEDIA GROUP      MMS
INVASION OF CAROL ENDERS         MPI MEDIA GROUP      MMS
INVISIBLE MAN SEASON             MPI MEDIA GROUP      MMS
INVISIBLE MAN SEASON 2           MPI MEDIA GROUP      MMS
JACKIE GLEASON: GENIUS AT WORK   MPI MEDIA GROUP      MMS
JAVA HEAT                        MPI MEDIA GROUP      MMS
JESSE FRANCO'S DRACULA           MPI MEDIA GROUP      MMS
JFK: RECKLESS YOUTH              MPI MEDIA GROUP      MMS
JOAN RIVERS - A PIECE            MPI MEDIA GROUP      MMS
JOHN WATERS: THIS FILTHY WORLD   MPI MEDIA GROUP      MMS
JOHN WAYNE'S TRIBUTE TO AMERIC   MPI MEDIA GROUP      MMS
KENDRA S.2 & 3                   MPI MEDIA GROUP      MMS
KENNEDY: THE COMPLETE SERIES     MPI MEDIA GROUP      MMS
KENNEDY:THE MAN, THE PRESIDENT   MPI MEDIA GROUP      MMS
KILLER INSIDE ME, THE            MPI MEDIA GROUP      MMS
KILLER INSTINCTS                 MPI MEDIA GROUP      MMS
KILLER INSTINCTS: SNAKES         MPI MEDIA GROUP      MMS
KILLING IN A SMALL TOWN          MPI MEDIA GROUP      MMS
KILLING KIND, THE                MPI MEDIA GROUP      MMS
KNIFE FIGHT                      MPI MEDIA GROUP      MMS
KUKUWA DANCE WORKOUT             MPI MEDIA GROUP      MMS
LA HABITACION DE FERMAT          MPI MEDIA GROUP      MMS
LAST DAYS ON EARTH               MPI MEDIA GROUP      MMS
LAST HUNTER, THE                 MPI MEDIA GROUP      MMS
LAST LOVECRAFT, THE              MPI MEDIA GROUP      MMS
LAST RIDE OF THE DALTON GANG     MPI MEDIA GROUP      MMS
LEDGE, THE IFC                   MPI MEDIA GROUP      MMS
LEFT BANK                        MPI MEDIA GROUP      MMS
LEGENDARY LIBERACE, THE          MPI MEDIA GROUP      MMS
LEMON TREE                       MPI MEDIA GROUP      MMS
LIBERACE SHOW, THE: GREATEST     MPI MEDIA GROUP      MMS
LIBERAL ARTS                     MPI MEDIA GROUP      MMS
LIFTING THE FOG: BOMBING OF      MPI MEDIA GROUP      MMS
LINDA LOVELACE                   MPI MEDIA GROUP      MMS
LITTLE WHITE LIES                MPI MEDIA GROUP      MMS
LIZA'S AT THE PALACE             MPI MEDIA GROUP      MMS
LONELY PLACE TO DIE IFC          MPI MEDIA GROUP      MMS
LOS OJOS DE JULIA                MPI MEDIA GROUP      MMS
LOSERS                           MPI MEDIA GROUP      MMS

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                     Title            Supplier     Distributor
LOVE AND HONOR                   MPI MEDIA GROUP      MMS
LOVE, WEDDING, MARRIAGE          MPI MEDIA GROUP      MMS
LUCILLE BALL SPECIALS, THE       MPI MEDIA GROUP      MMS
LUCY & DESI: A HOME MOVIE        MPI MEDIA GROUP      MMS
LUCY CALLS THE PRESIDENT         MPI MEDIA GROUP      MMS
MADE FOR EACH OTHER              MPI MEDIA GROUP      MMS
MADHOUSE                         MPI MEDIA GROUP      MMS
MAFIA EMPIRE                     MPI MEDIA GROUP      MMS
MAGIC                            MPI MEDIA GROUP      MMS
MAGIC BLU-RAY                    MPI MEDIA GROUP      MMS
MAMMOTH                          MPI MEDIA GROUP      MMS
MAN STROKE WOMAN: COMPLETE       MPI MEDIA GROUP      MMS
MANBORG                          MPI MEDIA GROUP      MMS
MANIAC                           MPI MEDIA GROUP      MMS
MANSON FAMILY                    MPI MEDIA GROUP      MMS
MANSON FAMILY (R-RATED)          MPI MEDIA GROUP      MMS
MANSON FAMILY 2-DISC             MPI MEDIA GROUP      MMS
MARTIN LUTHER KING: I HAVE A D   MPI MEDIA GROUP      MMS
MARY & MAX                       MPI MEDIA GROUP      MMS
MEDICINE FOR MELANCHOLY          MPI MEDIA GROUP      MMS
MEMOIRS OF SHERLOCK HOLMES       MPI MEDIA GROUP      MMS
MERMAID                          MPI MEDIA GROUP      MMS
MISSILES OF OCTOBER              MPI MEDIA GROUP      MMS
MORE SPEED! CRASH! RESCUE        MPI MEDIA GROUP      MMS
MOST HIGH                        MPI MEDIA GROUP      MMS
MUHAMMAD ALI                     MPI MEDIA GROUP      MMS
MUHAMMAD ALI: IN HIS OWN WORDS   MPI MEDIA GROUP      MMS
MUHAMMAD: THE LAST PROPHET       MPI MEDIA GROUP      MMS
MURDER OF JFK A REVISIONIST      MPI MEDIA GROUP      MMS
MURDER ROOMS                     MPI MEDIA GROUP      MMS
MUSIC SCENE                      MPI MEDIA GROUP      MMS
MY AMITYVILLE HORROR             MPI MEDIA GROUP      MMS
MY BREAST                        MPI MEDIA GROUP      MMS
MY EFFORTLESS BRILLIANCE         MPI MEDIA GROUP      MMS
NAKED YOU DIE                    MPI MEDIA GROUP      MMS
NICE GUY JOHNNY                  MPI MEDIA GROUP      MMS
NIGHTMARE                        MPI MEDIA GROUP      MMS
NIGHTS AND WEEKENDS              MPI MEDIA GROUP      MMS
OBJECTIVE, THE                   MPI MEDIA GROUP      MMS
ON THE ROAD                      MPI MEDIA GROUP      MMS
ON THE WATERWAYS                 MPI MEDIA GROUP      MMS
ONLY THE BALL WAS WHITE          MPI MEDIA GROUP      MMS
OSS 117                          MPI MEDIA GROUP      MMS
OTHER WOMAN, THE                 MPI MEDIA GROUP      MMS
PAPER COVERS ROCK                MPI MEDIA GROUP      MMS
PAPER MAN, THE                   MPI MEDIA GROUP      MMS
PAPER MAN, THE BD                MPI MEDIA GROUP      MMS
PASQUALE'S KITCHEN EXPRESS       MPI MEDIA GROUP      MMS
PASSING STRANGE                  MPI MEDIA GROUP      MMS
PAT PAULSEN'S HALF A COMEDY HR   MPI MEDIA GROUP      MMS
PATSY CLINE SWEET DREAMS         MPI MEDIA GROUP      MMS
PEACE, LOVE AND                  MPI MEDIA GROUP      MMS
PEEP WORLD                       MPI MEDIA GROUP      MMS
PERFECT SENSE                    MPI MEDIA GROUP      MMS
PERRO COME PERRO                 MPI MEDIA GROUP      MMS
PETER CUSHING COLLECTION, THE    MPI MEDIA GROUP      MMS
PETTICOAT JUNCTION ULTIMATE CO   MPI MEDIA GROUP      MMS
PETTICOAT JUNCTION:RETURN TO     MPI MEDIA GROUP      MMS
PETULA CLARK                     MPI MEDIA GROUP      MMS
PHYLISS DILLER: NOT JUST ANOTH   MPI MEDIA GROUP      MMS
PICTURE OF DORIAN GRAY, THE      MPI MEDIA GROUP      MMS
PLAGUE TOWN                      MPI MEDIA GROUP      MMS
PLEASURE OF BEING ROBBED, THE    MPI MEDIA GROUP      MMS
PONTYPOOL                        MPI MEDIA GROUP      MMS
PRAYER BEADS                     MPI MEDIA GROUP      MMS
PRISONER                         MPI MEDIA GROUP      MMS
PSYCHIC KILLER                   MPI MEDIA GROUP      MMS
PULLING                          MPI MEDIA GROUP      MMS
PULLING: COMPLETE SEASON 2       MPI MEDIA GROUP      MMS
PUPPY                            MPI MEDIA GROUP      MMS
PURLIE VICTORIUS                 MPI MEDIA GROUP      MMS
PVC-1                            MPI MEDIA GROUP      MMS
QUEENS OF COUNTRY, THE           MPI MEDIA GROUP      MMS
QUIET CHAOS                      MPI MEDIA GROUP      MMS
RACE AGAINST TIME - SEARCH FOR   MPI MEDIA GROUP      MMS
RACE WITH DESTINY: THE JAMES     MPI MEDIA GROUP      MMS
RED RIDING TRILOGY               MPI MEDIA GROUP      MMS
RED RIDING TRILOGY - BD          MPI MEDIA GROUP      MMS
REPLIKATOR: CLONED TO KILL, TH   MPI MEDIA GROUP      MMS
RESURRECTION (ABC NEWS)          MPI MEDIA GROUP      MMS
RETURN OF SHERLOCK HOLMES COLL   MPI MEDIA GROUP      MMS

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                    Title             Supplier     Distributor
RETURN OF SHERLOCK HOLMES V.1    MPI MEDIA GROUP      MMS
RETURN OF SHERLOCK HOLMES V.2    MPI MEDIA GROUP      MMS
RETURN OF SHERLOCK HOLMES V.3    MPI MEDIA GROUP      MMS
RETURN OF SHERLOCK HOLMES V.4    MPI MEDIA GROUP      MMS
RETURN OF SHERLOCK HOLMES V.5    MPI MEDIA GROUP      MMS
RFK MUST DIE! THE ASSASSINATIO   MPI MEDIA GROUP      MMS
RICCO THE MEAN MACHINE           MPI MEDIA GROUP      MMS
RICH LITTLE SHOW, THE            MPI MEDIA GROUP      MMS
RIFLEMAN BOX SET                 MPI MEDIA GROUP      MMS
RIFLEMAN BOXED SET V.3           MPI MEDIA GROUP      MMS
RIFLEMAN BOXED SET V.4           MPI MEDIA GROUP      MMS
RONALD REAGAN: AMERICAN LEGEND   MPI MEDIA GROUP      MMS
RONALD REAGAN: GREAT COMMUNICA   MPI MEDIA GROUP      MMS
SAD INHERITANCE                  MPI MEDIA GROUP      MMS
SAINT NICK                       MPI MEDIA GROUP      MMS
SAMARITAN, THE                   MPI MEDIA GROUP      MMS
SAUNA                            MPI MEDIA GROUP      MMS
SAVAGE EARTH-BOX SET             MPI MEDIA GROUP      MMS
SAVAGE EARTH-HELLS CRUST         MPI MEDIA GROUP      MMS
SAVAGE EARTH-OUT OF THE INFERN   MPI MEDIA GROUP      MMS
SAVAGE EARTH-THE RESTLESS PLAN   MPI MEDIA GROUP      MMS
SAVAGE EARTH-WAVES OF DESTRUCT   MPI MEDIA GROUP      MMS
SAVAGE PLANET: BOX SET           MPI MEDIA GROUP      MMS
SAVAGE PLANET: DEADLY SKIES      MPI MEDIA GROUP      MMS
SAVAGE PLANET: EXTREMES          MPI MEDIA GROUP      MMS
SAVAGE PLANET: STORMS OF THE     MPI MEDIA GROUP      MMS
SAVAGE PLANET: VOLCANIC KILLER   MPI MEDIA GROUP      MMS
SAVAGE SEAS BOX SET              MPI MEDIA GROUP      MMS
SAVAGE SEAS: KILLER STORMS       MPI MEDIA GROUP      MMS
SAVAGE SEAS: KILLER WAVES        MPI MEDIA GROUP      MMS
SAVAGE SEAS: RESCUE              MPI MEDIA GROUP      MMS
SAVAGE SEAS: THE DEEP            MPI MEDIA GROUP      MMS
SAVE THE DATE                    MPI MEDIA GROUP      MMS
SCARY TRUE STORIES:              MPI MEDIA GROUP      MMS
SEE NO EVIL: THE STORY OF THE    MPI MEDIA GROUP      MMS
SENSATIONAL CITIES: NEW YORK     MPI MEDIA GROUP      MMS
SENSATIONAL SEVENTIES            MPI MEDIA GROUP      MMS
SERIAL KILLERS BOX SET           MPI MEDIA GROUP      MMS
SHALL WE KISS?                   MPI MEDIA GROUP      MMS
SHE-BEAST, THE                   MPI MEDIA GROUP      MMS
SHERLOCK HOLMES      COLL V.3    MPI MEDIA GROUP      MMS
SHERLOCK HOLMES      V.5         MPI MEDIA GROUP      MMS
SHERLOCK HOLMES      WASHINGTO   MPI MEDIA GROUP      MMS
SHERLOCK HOLMES SECRET WEA       MPI MEDIA GROUP      MMS
SHERLOCK HOLMES SPIDERWOMA       MPI MEDIA GROUP      MMS
SHERLOCK HOLMES VOICE OF T       MPI MEDIA GROUP      MMS
SHERLOCK HOLMES ALGIERS          MPI MEDIA GROUP      MMS
SHERLOCK HOLMES HOUSE OF FE      MPI MEDIA GROUP      MMS
SHERLOCK HOLMES PEARL OF DE      MPI MEDIA GROUP      MMS
SHERLOCK HOLMES SCARLET CLA      MPI MEDIA GROUP      MMS
SHERLOCK HOLMES TERROR BY N      MPI MEDIA GROUP      MMS
SHERLOCK HOLMES BASKERVILLES     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES BLACKMAILER      MPI MEDIA GROUP      MMS
SHERLOCK HOLMES DRESS TO KIL     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES ELIGIBLE BAC     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES HOUND BASKER     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES LAST VAMPYRE     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES SIGNS OF FOU     MPI MEDIA GROUP      MMS
SHERLOCK HOLMES V.4              MPI MEDIA GROUP      MMS
SHERLOCK HOLMES COLLECTION PK    MPI MEDIA GROUP      MMS
SHERLOCK HOLMES DF ADV OF SHER   MPI MEDIA GROUP      MMS
SHERLOCK HOLMES DF BASKERVILLE   MPI MEDIA GROUP      MMS
SHERLOCK HOLMES FAVORITES        MPI MEDIA GROUP      MMS
SHERLOCK HOLMES FEATURES         MPI MEDIA GROUP      MMS
SHERLOCK HOLMES V.2              MPI MEDIA GROUP      MMS
SHERLOCK HOLMES VOL.1            MPI MEDIA GROUP      MMS
SHERLOCK HOLMES: HOUSE OF FEAR   MPI MEDIA GROUP      MMS
SHERLOCK HOLMES: SPIDER WOMAN    MPI MEDIA GROUP      MMS
SHERLOK HOLMES: THE              MPI MEDIA GROUP      MMS
SHEROCK HOLMES                   MPI MEDIA GROUP      MMS
SHIVER                           MPI MEDIA GROUP      MMS
SHOPPING                         MPI MEDIA GROUP      MMS
SIMON:KING OF THE WITCHES        MPI MEDIA GROUP      MMS
SKEPTIC, THE                     MPI MEDIA GROUP      MMS
SLAUGHTER OF THE VAMPIRES        MPI MEDIA GROUP      MMS
SLEEP TIGHT                      MPI MEDIA GROUP      MMS
SLEEPWALK WITH ME                MPI MEDIA GROUP      MMS
SOUTHERN GOTHIC                  MPI MEDIA GROUP      MMS
SPEECHES                         MPI MEDIA GROUP      MMS
SPIDER BABY                      MPI MEDIA GROUP      MMS
STAKE LAND                       MPI MEDIA GROUP      MMS

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                     Title            Supplier     Distributor
STAKE LAND 2-DISC                MPI MEDIA GROUP      MMS
STOLEN IFC                       MPI MEDIA GROUP      MMS
STORY OF ISLAM, THE              MPI MEDIA GROUP      MMS
STRANGE CASE OF                  MPI MEDIA GROUP      MMS
STRIKE                           MPI MEDIA GROUP      MMS
STUNT MAN, THE                   MPI MEDIA GROUP      MMS
SUDOR FRIO                       MPI MEDIA GROUP      MMS
SUPER BOWL SHUFFLE, THE          MPI MEDIA GROUP      MMS
SUPER IFC                        MPI MEDIA GROUP      MMS
SUPERHEROES                      MPI MEDIA GROUP      MMS
SWEDISH AUTO                     MPI MEDIA GROUP      MMS
TELL NO ONE                      MPI MEDIA GROUP      MMS
TERROR BENEATH THE SEA           MPI MEDIA GROUP      MMS
TEXAS CHAIN SAW MASSACRE         MPI MEDIA GROUP      MMS
TEXAS CHAINSAW MASSACRE:40TH     MPI MEDIA GROUP      MMS
THE BIG EASY: COMPLETE FIRST     MPI MEDIA GROUP      MMS
THE BIG EASY: SEASON 2           MPI MEDIA GROUP      MMS
THE FABULOUS 60S                 MPI MEDIA GROUP      MMS
THE GOOD, THE BAD &              MPI MEDIA GROUP      MMS
THE SPEECHES COLLECTION V.2      MPI MEDIA GROUP      MMS
THE TRIAL OF LEE HARVEY          MPI MEDIA GROUP      MMS
THEM                             MPI MEDIA GROUP      MMS
THIS JOINT IS JUMPIN             MPI MEDIA GROUP      MMS
TIM CONWAY: TIMELESS COMEDY      MPI MEDIA GROUP      MMS
TOO YOUNG TO DIE                 MPI MEDIA GROUP      MMS
TORNADO HUNTERS                  MPI MEDIA GROUP      MMS
TOUCH OF FROST, A     SEAS. 2    MPI MEDIA GROUP      MMS
TOUCH OF FROST, A     SEAS. 3    MPI MEDIA GROUP      MMS
TOUCH OF FROST, A     SEAS. 4    MPI MEDIA GROUP      MMS
TOUCH OF FROST, A BOX SET        MPI MEDIA GROUP      MMS
TOUCH OF FROST, A SEAS 7&8       MPI MEDIA GROUP      MMS
TOUCH OF FROST, A SEAS 9&10      MPI MEDIA GROUP      MMS
TOUCH OF FROST, A SEAS. 1        MPI MEDIA GROUP      MMS
TOUCH OF FROST, A SEAS. 6        MPI MEDIA GROUP      MMS
TOUCH OF FROST, A SEAS 11&12     MPI MEDIA GROUP      MMS
TRAGIC CEREMONY                  MPI MEDIA GROUP      MMS
TRES DIAS                        MPI MEDIA GROUP      MMS
TRIAL BEGINS, THE                MPI MEDIA GROUP      MMS
TRILOGY OF TERROR                MPI MEDIA GROUP      MMS
TRILOGY OF TERROR (SPECIAL       MPI MEDIA GROUP      MMS
TRUE STORIES 2PK                 MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION:         MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION: SINS    MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION: THE     MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION: TOUCH   MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION: TWO     MPI MEDIA GROUP      MMS
TRUE STORIES COLLECTION:AFTER    MPI MEDIA GROUP      MMS
TSUNAMI: WAVE OF DESTRUCTION     MPI MEDIA GROUP      MMS
TURN OF THE SCREW                MPI MEDIA GROUP      MMS
TUYA'S MARRIAGE                  MPI MEDIA GROUP      MMS
TWISTER CHASERS                  MPI MEDIA GROUP      MMS
ULTIMATE SHERLOCK HOLMES, THE    MPI MEDIA GROUP      MMS
UNCERTAINTY                      MPI MEDIA GROUP      MMS
UNSPOKEN TRUTH                   MPI MEDIA GROUP      MMS
UNTAMED LOVE                     MPI MEDIA GROUP      MMS
VALHALLA RISING                  MPI MEDIA GROUP      MMS
VAMPIRE PARTY                    MPI MEDIA GROUP      MMS
VENDETTA FOR THE SAINTS          MPI MEDIA GROUP      MMS
VICE, THE                        MPI MEDIA GROUP      MMS
VIOLENT MIDNIGHT                 MPI MEDIA GROUP      MMS
VISIONS OF HELL: THE FILMS OF    MPI MEDIA GROUP      MMS
VOYAGE OF LA AMISTAD: QUEST      MPI MEDIA GROUP      MMS
WAKE WOOD                        MPI MEDIA GROUP      MMS
WAKE WOOD BD                     MPI MEDIA GROUP      MMS
WAR & REMEMBRANCE I              MPI MEDIA GROUP      MMS
WAR & REMEMBRANCE II             MPI MEDIA GROUP      MMS
WAR AND REMEMBRANCE: THE         MPI MEDIA GROUP      MMS
WELCOME TO THE PUNCH             MPI MEDIA GROUP      MMS
WEREWOLVES ON WHEELS             MPI MEDIA GROUP      MMS
WET ASPHALT                      MPI MEDIA GROUP      MMS
WHEN EVERY DAY WAS THE 4TH JUL   MPI MEDIA GROUP      MMS
WHERE GOD LEFT HIS SHOES         MPI MEDIA GROUP      MMS
WHERE'S JIMMY HOFFA              MPI MEDIA GROUP      MMS
WHITE NIGHT WEDDING              MPI MEDIA GROUP      MMS
WHO CAN KILL A CHILD             MPI MEDIA GROUP      MMS
WHY STOP NOW                     MPI MEDIA GROUP      MMS
WHY STOP NOW IFC                 MPI MEDIA GROUP      MMS
WILD MAN OF THE NAVIDAD, THE     MPI MEDIA GROUP      MMS
WIRED FOR SOUND: A GUITAR        MPI MEDIA GROUP      MMS
WITH GREAT POWER: STAN LEE       MPI MEDIA GROUP      MMS
WITHOUT WARNING       MPI        MPI MEDIA GROUP      MMS

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                    Title                  Supplier        Distributor
WORLD OF SHARKS & BARRACUDA           MPI MEDIA GROUP         MMS
WORLD WAR II: TURNING POINTS          MPI MEDIA GROUP         MMS
WORLD'S APART                         MPI MEDIA GROUP         MMS
WRECKED IFC                           MPI MEDIA GROUP         MMS
YOUR SISTER'S SISTER                  MPI MEDIA GROUP         MMS
ZIFT                                  MPI MEDIA GROUP         MMS
ANY DAY NOW                           MUSIC BOX FILMS         MMS
COSTCO MUSIC BOX BD TRAY              MUSIC BOX FILMS         MMS
DEEP BLUE SEA, THE                    MUSIC BOX FILMS         MMS
DRAGON TATTOO TRILOGY                 MUSIC BOX FILMS         MMS
DRAGON TATTOO TRILOGY BD              MUSIC BOX FILMS         MMS
GIRL WHO KICKED THE, THE              MUSIC BOX FILMS         MMS
GIRL WHO PLAYED WITH, THE             MUSIC BOX FILMS         MMS
GIRL WITH THE DRAGON, THE             MUSIC BOX FILMS         MMS
HAPPY PEOPLE: A YEAR IN THE           MUSIC BOX FILMS         MMS
LORE                                  MUSIC BOX FILMS         MMS
MESRINE KILLER INSTINCT               MUSIC BOX FILMS         MMS
MONSIEUR LAZHAR                       MUSIC BOX FILMS         MMS
QUEEN OF THE SUN                      MUSIC BOX FILMS         MMS
SILENCE, THE                          MUSIC BOX FILMS         MMS
STIEG LARSSON'S DRAGON                MUSIC BOX FILMS         MMS
AAAH! ZOMBIES!                   MVD ENTERTAINMENT GROUP      MMS
BLACK LIKE ME                    MVD ENTERTAINMENT GROUP      MMS
BLUES                            MVD ENTERTAINMENT GROUP      MMS
CONVOY                           MVD ENTERTAINMENT GROUP      MMS
DANCE ME OUTSIDE                 MVD ENTERTAINMENT GROUP      MMS
DEATH BY VHS                     MVD ENTERTAINMENT GROUP      MMS
FEAR LIVES HERE                  MVD ENTERTAINMENT GROUP      MMS
JUG FACE                         MVD ENTERTAINMENT GROUP      MMS
OPRAH WINFREY:PAST,PRESENT AND   MVD ENTERTAINMENT GROUP      MMS
PARANORMAL APPARITION            MVD ENTERTAINMENT GROUP      MMS
PARANORMAL CAPTIVITY             MVD ENTERTAINMENT GROUP      MMS
PERFECT HOUSE                    MVD ENTERTAINMENT GROUP      MMS
PORTLANDIA SEASON 1&2            MVD ENTERTAINMENT GROUP      MMS
PORTLANDIA SEASON 3              MVD ENTERTAINMENT GROUP      MMS
PORTLANDIA SSN 1                 MVD ENTERTAINMENT GROUP      MMS
PORTLANDIA: SEASON 2             MVD ENTERTAINMENT GROUP      MMS
PORTLANDIA: SEASON 3             MVD ENTERTAINMENT GROUP      MMS
POSSESSION OF SOPHIE LOVE, THE   MVD ENTERTAINMENT GROUP      MMS
RAY ROMANO 95 MILES              MVD ENTERTAINMENT GROUP      MMS
SAVANNAH SMILES                  MVD ENTERTAINMENT GROUP      MMS
SCREAM PARK                      MVD ENTERTAINMENT GROUP      MMS
TAILS OF ABBYGAIL DOUBLE FTR     MVD ENTERTAINMENT GROUP      MMS
A GOOD DAY FOR IT                   NAEDOMI MEDIA, LLC        MMS
ADVENTURES IN APPLETOWN             NAEDOMI MEDIA, LLC        MMS
ALL IN: THE POKER MOVIE             NAEDOMI MEDIA, LLC        MMS
ALL IN: THE POKER MOVIE BLKBST      NAEDOMI MEDIA, LLC        MMS
ALPHA MALES EXPERIMENT              NAEDOMI MEDIA, LLC        MMS
AMERICAN VIRGINS                    NAEDOMI MEDIA, LLC        MMS
AMSTERDAM HEAVY                     NAEDOMI MEDIA, LLC        MMS
APOCALYPSE OF THE                   NAEDOMI MEDIA, LLC        MMS
APOCALYPSE OF THE DEAD              NAEDOMI MEDIA, LLC        MMS
ASYLUM OF THE DEAD                  NAEDOMI MEDIA, LLC        MMS
BLAST VEGAS                         NAEDOMI MEDIA, LLC        MMS
BUSINESS OF BEING BORN              NAEDOMI MEDIA, LLC        MMS
BUTTERFLY ROOM, THE                 NAEDOMI MEDIA, LLC        MMS
CASSADAGA                           NAEDOMI MEDIA, LLC        MMS
CHERRY                              NAEDOMI MEDIA, LLC        MMS
CHERRYBOMB                          NAEDOMI MEDIA, LLC        MMS
DEATH FOR HIRE                      NAEDOMI MEDIA, LLC        MMS
DEATH FROM ABOVE                    NAEDOMI MEDIA, LLC        MMS
DONOVAN'S ECHO                      NAEDOMI MEDIA, LLC        MMS
ENDURE                              NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS: AXED             NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS: ENTITY           NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS: GERM             NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS:INHUMAN           NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS:INHUMAN RESO      NAEDOMI MEDIA, LLC        MMS
FANGORIA PRESENTS:SIN REAPER        NAEDOMI MEDIA, LLC        MMS
GIRL FROM THE NAKED                 NAEDOMI MEDIA, LLC        MMS
GIRL FROM THE NAKED EYE             NAEDOMI MEDIA, LLC        MMS
JUNKYARD DOG                        NAEDOMI MEDIA, LLC        MMS
KILL SPEED                          NAEDOMI MEDIA, LLC        MMS
KILLER MOUNTAIN                     NAEDOMI MEDIA, LLC        MMS
LEAVE                               NAEDOMI MEDIA, LLC        MMS
LEGEND OF THE RED REAPER            NAEDOMI MEDIA, LLC        MMS
LIZZIE                              NAEDOMI MEDIA, LLC        MMS
LOST & FOUND IN ARMENIA             NAEDOMI MEDIA, LLC        MMS
LUSTER                              NAEDOMI MEDIA, LLC        MMS
MISSING WILLIAM                     NAEDOMI MEDIA, LLC        MMS
MORE BUSINESS OF BEING              NAEDOMI MEDIA, LLC        MMS

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                     Title                  Supplier                     Distributor
NATIONAL LAMPOON'S SNATCHED           NAEDOMI MEDIA, LLC                    MMS
NIGHT OF THE TEMPLAR                  NAEDOMI MEDIA, LLC                    MMS
NINJA APOCALYPSE                      NAEDOMI MEDIA, LLC                    MMS
OCCUPANTS, THE                        NAEDOMI MEDIA, LLC                    MMS
ON THE ICE                            NAEDOMI MEDIA, LLC                    MMS
PARANORMAL ASYLUM                     NAEDOMI MEDIA, LLC                    MMS
PERFECT STUDENT, THE                  NAEDOMI MEDIA, LLC                    MMS
RANDOM ACTS OF VIOLENCE               NAEDOMI MEDIA, LLC                    MMS
RESURRECTION, A                       NAEDOMI MEDIA, LLC                    MMS
SERIAL BUDDIES                        NAEDOMI MEDIA, LLC                    MMS
SLEEPER'S WAKE                        NAEDOMI MEDIA, LLC                    MMS
STRANGERS,LOVERS,KILLERS              NAEDOMI MEDIA, LLC                    MMS
THE BUSINESS OF BEING BORN            NAEDOMI MEDIA, LLC                    MMS
WOLFTOWN                              NAEDOMI MEDIA, LLC                    MMS
XII                                   NAEDOMI MEDIA, LLC                    MMS
BETHENNY EVER AFTER              NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
BETHENNY GETTING MARRIED?        NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
BRAVO 2-PACK MILLIONAIRE MATCH   NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
FLIPPING OUT: SEASON 1           NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
FLIPPING OUT: SEASON 2           NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
FLIPPING OUT: SEASON 3           NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
FLIPPING OUT: SEASON 4           NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
FLIPPING OUT: SEASON 5           NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
I LOVE JENNI SEASON 1            NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
JENNI RIVERA PRESENTS: CHIQUIS   NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
KATHY GRIFFIN S.2                NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
KATHY GRIFFIN S.3                NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
KATHY GRIFFIN S.4 MY LIFE ON     NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
KELL ON EARTH: SEASON ONE        NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
MILLION DOLLAR LISTING: S.2      NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
MILLIONAIRE MATCHMAKER: S.1      NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
MILLIONAIRE MATCHMAKER: S.2      NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
PREGNANT IN HEELS SSN 1          NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
RACHEL ZOE PROJECT: SEASON 1     NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
RACHEL ZOE PROJECT: SEASON 2     NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
RACHEL ZOE PROJECT: SEASON 3     NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
RACHEL ZOE PROJECT: THE          NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
TABATHA'S SALON S.1              NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
TABATHA'S SALON TAKEOVER         NBC UNIVERSAL TV DISTRIBUTION   MILLENNIUM ENTERTAINMENT
2008 OLYMPIC                           NCIRCLE_ALLIANCE                     MMS
2008 OLYMPICS: OPENING                 NCIRCLE_ALLIANCE                     MMS
ADVENTURES OF SUPER MARIO 3            NCIRCLE_ALLIANCE                     MMS
ALMOST NAKED ANIMALS:IT'S              NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS ANIMAL                    NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS CREEPY                    NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS KITTEN                    NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS PUPPY PARTY               NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: 123'S                    NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: ABC'S                    NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: ANIMAL                   NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: CREEPY                   NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: FAMILY                   NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: FUN ON                   NCIRCLE_ALLIANCE                     MMS
ANIMAL ATLAS: PUPPY                    NCIRCLE_ALLIANCE                     MMS
BEST OF HEATHCLIFF                     NCIRCLE_ALLIANCE                     MMS
BEST OF SONIC THE                      NCIRCLE_ALLIANCE                     MMS
BUSYTOWN MYSTERIES: MYSTERIOUS         NCIRCLE_ALLIANCE                     MMS
CAILLOU:CAILLOU'S HOLIDAY              NCIRCLE_ALLIANCE                     MMS
CAT IN HAT TOLD                        NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT 3-PACK                  NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT BREEZE                  NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT MILES                   NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT THUMPS                  NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT UP                      NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT: A                      NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT: OCEAN                  NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT: SURPRISE               NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT: TALES                  NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT: TRICKS                 NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:3DVD PACK VIDEO         NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:CAT CHRISTMAS           NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:CHRISTMAS SPECI         NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:DOUBLE FEATURE          NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:LET'S CELEBRATE         NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:OCEAN COMMOTION         NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:SAFARI SO GOOD!         NCIRCLE_ALLIANCE                     MMS
CAT IN THE HAT:SPACE IS THE            NCIRCLE_ALLIANCE                     MMS
CHLOE'S CLOSET                         NCIRCLE_ALLIANCE                     MMS
CHLOE'S CLOSET: CHLOE'S                NCIRCLE_ALLIANCE                     MMS
DINO DAN: DINO                         NCIRCLE_ALLIANCE                     MMS
DINO DAN: DINO PARTY                   NCIRCLE_ALLIANCE                     MMS

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                     Title            Supplier      Distributor
DINO DAN: DOUBLE FEATURE         NCIRCLE_ALLIANCE      MMS
DINO DAN: WHERE THE DINOSAURS    NCIRCLE_ALLIANCE      MMS
DINO DAN:'TWAS A DINOSAUR        NCIRCLE_ALLIANCE      MMS
DINO DAN:TYRANNOSAURUS TREK      NCIRCLE_ALLIANCE      MMS
DIVE OLLY DIVE                   NCIRCLE_ALLIANCE      MMS
DIVE OLLY DIVE: A WHALE          NCIRCLE_ALLIANCE      MMS
DIVE OLLY DIVE: ADVENTURE        NCIRCLE_ALLIANCE      MMS
DOODLEBOP'S LET'S ROCK           NCIRCLE_ALLIANCE      MMS
DR SEUSS THE CAT IN THE          NCIRCLE_ALLIANCE      MMS
FAIRIES: MEET THE                NCIRCLE_ALLIANCE      MMS
GRUFFALO                         NCIRCLE_ALLIANCE      MMS
GRUFFALO'S CHILD, THE            NCIRCLE_ALLIANCE      MMS
HERMIE A COMMON                  NCIRCLE_ALLIANCE      MMS
HORSELAND TO TELL THE TRUTH      NCIRCLE_ALLIANCE      MMS
HURRAY FOR HUCKLE                NCIRCLE_ALLIANCE      MMS
HURRAY FOR HUCKLE: SPOOKY        NCIRCLE_ALLIANCE      MMS
HURRAY FOR HUCKLE: THE BEST      NCIRCLE_ALLIANCE      MMS
HURRAY FOR HUCKLE: ZOOMING       NCIRCLE_ALLIANCE      MMS
JOHN TEST 2-PACK                 NCIRCLE_ALLIANCE      MMS
JOHNNY TEST EXTREME              NCIRCLE_ALLIANCE      MMS
JOHNNY TEST: JOHNNY AND          NCIRCLE_ALLIANCE      MMS
MICHAEL PHELPS: INSIDE STORY     NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES                  NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES BIG              NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES BIG WHEELS       NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES DIGGERS          NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES LIGHTS           NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES MAKING           NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES MEGA             NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES ON THE           NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES REVVED           NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES REVVED UP/       NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES WINTER BLAST     NCIRCLE_ALLIANCE      MMS
MIGHTY MACHINES: SUPER           NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT: KNIGHT IN       NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT:DRAGON STORIES   NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT:JOURNEY TO       NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT:MAGICAL          NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT:MEET MIKE        NCIRCLE_ALLIANCE      MMS
MIKE THE KNIGHT:MIKE SAVES       NCIRCLE_ALLIANCE      MMS
MILO THE MANTIS WHO              NCIRCLE_ALLIANCE      MMS
NOONBORY & THE SUPER 7           NCIRCLE_ALLIANCE      MMS
NOONBURY I SENSE SOMETHING       NCIRCLE_ALLIANCE      MMS
OCTONAUTS, THE:A VERY VEGIMAL    NCIRCLE_ALLIANCE      MMS
OCTONAUTS:CALLING ALL SHARKS!    NCIRCLE_ALLIANCE      MMS
OCTONAUTS:DEEP SEA MISSION       NCIRCLE_ALLIANCE      MMS
OCTONAUTS:HERE COME THE          NCIRCLE_ALLIANCE      MMS
OCTONAUTS:MEET THE OCTONAUTS     NCIRCLE_ALLIANCE      MMS
OCTONAUTS:TO THE GUP-X!          NCIRCLE_ALLIANCE      MMS
PAJANIMALS MEET THE              NCIRCLE_ALLIANCE      MMS
PAJANIMALS: GOOD NIGHT,          NCIRCLE_ALLIANCE      MMS
POCOYO: DANCE POCOYO             NCIRCLE_ALLIANCE      MMS
POCOYO: FUN & GAMES              NCIRCLE_ALLIANCE      MMS
POCOYO: LET'S PARTY              NCIRCLE_ALLIANCE      MMS
POCOYO: MEET                     NCIRCLE_ALLIANCE      MMS
POCOYO: MEET POCOYO              NCIRCLE_ALLIANCE      MMS
POCOYO: POCOYO'S CIRCUS          NCIRCLE_ALLIANCE      MMS
PRIMA PRINCESSA                  NCIRCLE_ALLIANCE      MMS
ROOM ON THE BROOM                NCIRCLE_ALLIANCE      MMS
SID SCI KID BOX                  NCIRCLE_ALLIANCE      MMS
SID SCI KID BOX SET              NCIRCLE_ALLIANCE      MMS
SID SCI KID BUG CLUB             NCIRCLE_ALLIANCE      MMS
SID SCI KID CHANGE               NCIRCLE_ALLIANCE      MMS
SID SCI KID GIZMO                NCIRCLE_ALLIANCE      MMS
SID SCI KID GOING                NCIRCLE_ALLIANCE      MMS
SID SCI KID GREEN                NCIRCLE_ALLIANCE      MMS
SID SCI KID SING                 NCIRCLE_ALLIANCE      MMS
SID SCI KID SUPER                NCIRCLE_ALLIANCE      MMS
SID SCI KID THUMB                NCIRCLE_ALLIANCE      MMS
SID SCI KID WEATHER              NCIRCLE_ALLIANCE      MMS
SID SCIENCE KID                  NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID THE MOV      NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID: SID         NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID: SID'S       NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID:3 DVD PACK   NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID:NOW THAT'S   NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID:SID WINGS    NCIRCLE_ALLIANCE      MMS
SID THE SCIENCE KID:SID'S PET    NCIRCLE_ALLIANCE      MMS
SKUNK FU THE ART OF              NCIRCLE_ALLIANCE      MMS
SNOWMAN AND THE SNOWDOG, THE     NCIRCLE_ALLIANCE      MMS
SNOWMAN, THE                     NCIRCLE_ALLIANCE      MMS

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                    Title              Supplier      Distributor
SONIC BB 2 PACK                   NCIRCLE_ALLIANCE      MMS
SONIC CHRISTMAS                   NCIRCLE_ALLIANCE      MMS
SONIC MEGA MIX                    NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG                NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG ADV OF         NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG DOOMSDAY       NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG FIGHT          NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG FREEDOM        NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG SUPER          NCIRCLE_ALLIANCE      MMS
SONIC THE HEDGEHOG:VOL 1          NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND                 NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND READY           NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND SONIC           NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND THE             NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND: LEGEND HAS     NCIRCLE_ALLIANCE      MMS
SONIC UNDERGROUND:SECRETS OF      NCIRCLE_ALLIANCE      MMS
SUPER MARIO                       NCIRCLE_ALLIANCE      MMS
SUPER MARIO AIR                   NCIRCLE_ALLIANCE      MMS
SUPER MARIO BB 2PACK              NCIRCLE_ALLIANCE      MMS
SUPER MARIO BOX OFFICE            NCIRCLE_ALLIANCE      MMS
SUPER MARIO BROS SUPER            NCIRCLE_ALLIANCE      MMS
SUPER MARIO KING KOOPA            NCIRCLE_ALLIANCE      MMS
SUPER MARIO KOOPA'S               NCIRCLE_ALLIANCE      MMS
SUPER MARIO MARIO                 NCIRCLE_ALLIANCE      MMS
SUPER MARIO MOVIE                 NCIRCLE_ALLIANCE      MMS
SUPER MARIO ONCE UPON             NCIRCLE_ALLIANCE      MMS
SUPER MARIO SUPER SHOW            NCIRCLE_ALLIANCE      MMS
SUPER MARIO TROUBLE               NCIRCLE_ALLIANCE      MMS
SUPER MARIO WHAT A                NCIRCLE_ALLIANCE      MMS
SUPER MARIO WORLD:THE COMPLETE    NCIRCLE_ALLIANCE      MMS
SUPER MARIO YOSHI                 NCIRCLE_ALLIANCE      MMS
SUPER MARIO: ADVENTURES           NCIRCLE_ALLIANCE      MMS
SUPER MARIO: BOX OFFICE           NCIRCLE_ALLIANCE      MMS
SUPER MARIO: KOOPA                NCIRCLE_ALLIANCE      MMS
SUPER MARIO: MARIO                NCIRCLE_ALLIANCE      MMS
SUPER MARIO: MARIO OF THE         NCIRCLE_ALLIANCE      MMS
SUPER MARIO: SHOWDOWN             NCIRCLE_ALLIANCE      MMS
THE BEST OF MIGHTY                NCIRCLE_ALLIANCE      MMS
THE BEST OF SUPER MARIO           NCIRCLE_ALLIANCE      MMS
TOOBALOOBA CHRISTMAS              NCIRCLE_ALLIANCE      MMS
WIGGLES GETTING STRONG            NCIRCLE_ALLIANCE      MMS
WIGGLES POP GO THE                NCIRCLE_ALLIANCE      MMS
WIGGLES THE WIGGLES               NCIRCLE_ALLIANCE      MMS
WIGGLES YOU MAKE ME               NCIRCLE_ALLIANCE      MMS
WIGGLES: IT'S ALWAYS              NCIRCLE_ALLIANCE      MMS
WIGGLES: SURFER JEFF              NCIRCLE_ALLIANCE      MMS
WORD WORLD BOPPIN WITH            NCIRCLE_ALLIANCE      MMS
WORD WORLD FLYING                 NCIRCLE_ALLIANCE      MMS
WORD WORLD HAPPY BIRTHDAY         NCIRCLE_ALLIANCE      MMS
WORD WORLD HAPPY HOLIDAYS         NCIRCLE_ALLIANCE      MMS
WORD WORLD KOOKY                  NCIRCLE_ALLIANCE      MMS
WORD WORLD LOTS OF LETTERS        NCIRCLE_ALLIANCE      MMS
WORD WORLD LUCKY                  NCIRCLE_ALLIANCE      MMS
WORD WORLD MY FUZZY               NCIRCLE_ALLIANCE      MMS
WORD WORLD PIRATE                 NCIRCLE_ALLIANCE      MMS
WORD WORLD ROCKET TO              NCIRCLE_ALLIANCE      MMS
WORD WORLD SHEEP'S                NCIRCLE_ALLIANCE      MMS
WORD WORLD THE RACE TO            NCIRCLE_ALLIANCE      MMS
WORD WORLD TO THE                 NCIRCLE_ALLIANCE      MMS
WORD WORLD TRAIN                  NCIRCLE_ALLIANCE      MMS
WORD WORLD: CASTLES IN            NCIRCLE_ALLIANCE      MMS
WORDWORLD 3-PACK                  NCIRCLE_ALLIANCE      MMS
WORDWORLD BEAR'S                  NCIRCLE_ALLIANCE      MMS
WORDWORLD DANCIN DOG              NCIRCLE_ALLIANCE      MMS
WORDWORLD GET UP AND              NCIRCLE_ALLIANCE      MMS
WORDWORLD HAPPY HOLIDAY           NCIRCLE_ALLIANCE      MMS
WORDWORLD SCHOOL RULES            NCIRCLE_ALLIANCE      MMS
WORDWORLD SHARK'S                 NCIRCLE_ALLIANCE      MMS
WORDWORLD: SHARK'S LOOSE          NCIRCLE_ALLIANCE      MMS
WORDWORLD: WORDWORLD TO           NCIRCLE_ALLIANCE      MMS
YO GABBA GABBA LIVE!              NCIRCLE_ALLIANCE      MMS
YO GABBA GABBA LIVE! COLLECTOR    NCIRCLE_ALLIANCE      MMS
ACT OF FAITH                        NEW KINGDOM         MMS
DECEITFUL                           NEW KINGDOM         MMS
PASTOR SHIRLEY                      NEW KINGDOM         MMS
ST POPE JOHN PAUL II AQUEDUCT    NORWOOD SOFTWARE       MMS
ST POPE JOHN PAUL II CENTRAL     NORWOOD SOFTWARE       MMS
ST POPE JOHN PAUL II FULL SET    NORWOOD SOFTWARE       MMS
ST POPE JOHN PAUL II GIANTS      NORWOOD SOFTWARE       MMS
ST POPE JOHN PAUL II ORIOLE      NORWOOD SOFTWARE       MMS
ST POPE JOHN PAUL II VOL 1       NORWOOD SOFTWARE       MMS

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                     Title             Supplier      Distributor
ST POPE JOHN PAUL II VOL 2       NORWOOD SOFTWARE       MMS
AMERICA IN PRIMETIME              PBS DISTRIBUTION      MMS
AMERICAN EXPERIENCE:PRESIDENTS    PBS DISTRIBUTION      MMS
AMISH, THE                        PBS DISTRIBUTION      MMS
ARTHUR: BIG BROTHER               PBS DISTRIBUTION      MMS
ARTHUR: D.W. BOSSY                PBS DISTRIBUTION      MMS
ARTHUR: DANCING FOOLS             PBS DISTRIBUTION      MMS
ARTHUR:ARTHUR STANDS UP TO        PBS DISTRIBUTION      MMS
BIRDSONG                          PBS DISTRIBUTION      MMS
BLETCHLEY CIRCLE, THE             PBS DISTRIBUTION      MMS
BRONTE COLLECTION                 PBS DISTRIBUTION      MMS
CAILLOU: LET'S GO SLEDDING        PBS DISTRIBUTION      MMS
CAILLOU:25TH ANNIVERSARY          PBS DISTRIBUTION      MMS
CAILLOU:BIG KID CAILLOU           PBS DISTRIBUTION      MMS
CAILLOU:CAILLOU'S GARDEN ADV      PBS DISTRIBUTION      MMS
CAILLOU:FUN AND GAMES WITH        PBS DISTRIBUTION      MMS
CLASSIC ENGLISH LITERATURE        PBS DISTRIBUTION      MMS
CLASSIC ENGLISH LITERATURE 2      PBS DISTRIBUTION      MMS
CLINTON                           PBS DISTRIBUTION      MMS
CRASH OF 1929, THE                PBS DISTRIBUTION      MMS
DANIEL TIGER'S NEIGHBORHOOD       PBS DISTRIBUTION      MMS
DANIEL TIGER'S NEIGHBORHOOD:      PBS DISTRIBUTION      MMS
DINOSAUR TRAIN: BIG,BIG,BIG       PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:ADVENTURE CAMP     PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:BUDDY'S            PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:CLASSIC IN THE     PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:DINOSAURS IN       PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:NATURE TRACKERS    PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:SUBMARINE          PBS DISTRIBUTION      MMS
DINOSAUR TRAIN:T.REX TALES        PBS DISTRIBUTION      MMS
DINOUSAUR TRAIN:EGGSTRAVAGANZA    PBS DISTRIBUTION      MMS
DOWNTON ABBEY S.1                 PBS DISTRIBUTION      MMS
DOWNTON ABBEY S.2                 PBS DISTRIBUTION      MMS
DOWNTON ABBEY S.3                 PBS DISTRIBUTION      MMS
DOWNTON ABBEY SEASON 5            PBS DISTRIBUTION      MMS
DOWNTON ABBEY SSN 1&2             PBS DISTRIBUTION      MMS
DOWNTON ABBEY SSN 1-3             PBS DISTRIBUTION      MMS
DOWNTON ABBEY SSN 1-4             PBS DISTRIBUTION      MMS
DOWNTON ABBEY SSN1-4 LIMITED      PBS DISTRIBUTION      MMS
DOWNTON ABBEY SSN4                PBS DISTRIBUTION      MMS
DUST BOWL, THE                    PBS DISTRIBUTION      MMS
FAR FROM THE MADDING              PBS DISTRIBUTION      MMS
FIRST LADIES, THE                 PBS DISTRIBUTION      MMS
INSPECTOR LEWIS S5                PBS DISTRIBUTION      MMS
JOHNNY CARSON KING                PBS DISTRIBUTION      MMS
JULIA CHILD'S FRENCH CLASSIC      PBS DISTRIBUTION      MMS
MARK TWAIN A FILM BY              PBS DISTRIBUTION      MMS
MASTERPIECE CLASSIC: GREAT        PBS DISTRIBUTION      MMS
MR. SELFRIDGE                     PBS DISTRIBUTION      MMS
MR. SELFRIDGE SEASON 2            PBS DISTRIBUTION      MMS
NORTHANGER ABBY                   PBS DISTRIBUTION      MMS
NORTHHANGER ABBEY                 PBS DISTRIBUTION      MMS
NOVA: FABRIC OF THE               PBS DISTRIBUTION      MMS
PBS:AMERICAN EXPERIENCE           PBS DISTRIBUTION      MMS
PBS:FREEDOM RIDERS                PBS DISTRIBUTION      MMS
PBS:GETTYSBURG & THE CIVIL WAR    PBS DISTRIBUTION      MMS
PBS:HOW WE GOT TO NOW W/STEVEN    PBS DISTRIBUTION      MMS
PBS:LEWIS&CLARK:A FILM BY KEN     PBS DISTRIBUTION      MMS
PBS:THE ROOSEVELTS:AN INTIMATE    PBS DISTRIBUTION      MMS
PBS:WHAT ARE ANIMALS THINKING?    PBS DISTRIBUTION      MMS
PEEP STARLIGHT                    PBS DISTRIBUTION      MMS
PEEP: PEEP DISCOVERS              PBS DISTRIBUTION      MMS
PEG+CAT:CHICKENS ON THE LOOSE     PBS DISTRIBUTION      MMS
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2033 APOCALIPSIS FUTURO             PHASE 4 FILMS       MMS
ABBOTT AND COSTELLO SHOW:WHO'S      PHASE 4 FILMS       MMS

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                     Title          Supplier     Distributor
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RUBY GLOOM: GROUNDED IN             PHASE 4 FILMS        MMS
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COACH-MAKING GRAND SLAM          SYNKRONIZED US LLC      MMS

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